Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 1 of 533




                             EXHIBIT 111




                                                                         Appx. 02232
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                            Page 2 of 533




 2/18/2020                                                                                        NexBank SSB



                                  X      NEXBAN
                                          2515 McKinney Avenue, 11th Floor
                                                                                                                                                   int
                                          Dallas, Texas 75201
                                          972.934.4700                                                                                             ,) FDIC
                                          www.NexBank.com


                                                                                                          Date    6/28/19              Page    1
                                                                                                          Primary Account
                                                                                                          Enclosures




                                                           Highland Capital Management LP
                                                           300 Crescent Court Suite 700
                                                           Dallas TX 75201




                                              NexBank's Privacy Notice, which has not changed, is available on our website
                                              at www.NexBank.com/files/privacynotice.pdf.           If   you would like    a copy of our
                                              Privacy Notice mailed to you, please call          us at 972-934-4700.


                                              Checking Account/s

                                                            Account Type:    Highland Capital Management LP


                                              Analysis Checking w/ Interest
                                              Account Number                                      Statement Dates       6/03/19 thru     6/30/19




                                                                               11 1




                                              Deposits and Additions
                                              Date          Description                                           Amount




                                                6/07                                                       3,000,000.00


                                              ■
 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                     1/5




HIGHLY CONFIDENTIAL                                                                                                                                                D-CNL003528
                                                                                                                                                             Appx. 02233
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                      Entered 12/18/21 02:23:50                     Page 3 of 533




 2/18/2020                                                                                           NexBank SSB


                                              .
                                              •                                                                      =
                                 MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                    Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                                                     each banking day will be credited as of that date.




 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                2/5




HIGHLY CONFIDENTIAL                                                                                                                                        D-CNL003529
                                                                                                                                                     Appx. 02234
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                        Entered 12/18/21 02:23:50                               Page 4 of 533




 2/18/2020                                                                                             NexBank SSB


                                  X      NEXBANK-                                                                                                          121
                                          2515 McKinney Avenue, 11th Floor
                                          Dallas, Texas 75201
                                          972.934.4700
                                          www.NexBank.com
                                                                                                                                                           ) Fold
                                                                                                                 Date   6/28/19               Page     2
                                                                                                                 Primary Account
                                                                                                                 Enclosures




                                              Analysis Checking w/ Interest                            1614130     (Continued)




                                              Checks and Withdrawals
                                              Date          Description




                                              End of Statement



                                 MEMBER FDIC                                   NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                      Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                                                       each banking day will be credited as of that date.




 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                            3/5




HIGHLY CONFIDENTIAL                                                                                                                                                       D-CNL003530
                                                                                                                                                                    Appx. 02235
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                          Entered 12/18/21 02:23:50                                                       Page 5 of 533




                                                                                                               1H[%DQN66%
                                                             28767$1',1*&+(&.6                                                              5(&21&,/,$7,21,16758&7,216
                                           5HFRQFLOLDWLRQRI$FFRXQW                                                   'DWHBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                       &+(&.6:5,77(1%871273$,'
                                                180%(5                  $02817                                         3OHDVHH[DPLQHWKLVVWDWHPHQWDQG
                                                                                                                       LWHPVDWRQFHDQGUHIHUDQ\H[FHSWLRQV
                                                                                                                   LPPHGLDWHO\
                                                                                                
                                                                                                                   6RUW\RXUFKHFNVQXPHULFDOO\RUE\
                                                                                                                   GDWHLVVXHG
                                                                                                
                                                                                                                       0DUNRIILQ\RXUFKHFNERRNHDFKRI
                                                                                                                   \RXUFKHFNVSDLGE\ KHEDQNDQGOLVWWKH
                                                                                                                   QXPEHUVDQGDPRXQWVRIWKRVHQRWSDLGLQ
                                                                                                                    KHVSDFHSURYLGHGDWWKHOHIW,QFOXGHDQ\
                                                                                                                   FKHFNVV LOOQRWSDLGIURPSUHYLRXV
                                                                                                                   VWDWHPHQWV
                                                                                                                   6XEWUDFWIURP\RXUFKHFNERRN
                                                                                                                   EDODQFHDQ\6(59,&(&+$5*( 6& RU
                                                                                                                   EDQNFKDUJHDSSHDULQJRQWKLVVWDWHPHQW
                                                                                                
                                                                                                                   5HFRQFLOH\RXUVWDWHPHQWLQWKH
                                                                                                                       VSDFHSURYLGHGEHORZ
                                                                                                
                                                                                                
                                                                                                
                                                                                                                   (QWHUEDQNEDODQFH
                                                                                                                                                                                     
                                                                                                                     IURPVWDWHPHQW
                                                                                                                     $GGGHSRVLWVQRW                                            
                                                                                                                     FUHGLWHGE\EDQN                                            
                                                                                                                           LIDQ\                                                
                                                                                                
                                                                                                                                                 727$/                               
                                                                                                
                                             7RWDORI&KHFNV                                                             6XEWUDFWWRWDORI
                                                                                                                                                                                  
                                                 QRWSDLG                                                                FKHFNVQRWSDLG

                                                                                7+,6$028176+28/'(48$/<285&+(&.%22.%$/$1&(!                                                    

                                                          $Q\&KDUJHIRU,PSULQWHG&KHFNV,QFOXGHV6WDWH6DOHV7D[&RPSXWHGDWWKH&XUUHQW5DWH:KHQ$SSOLFDEOH
                                                                           1RWLFH7KH$QQXDO3HUFHQWDJH5DWHDQG'DLO\3HULRGLF5DWHPD\YDU\
                                                                   (;3/$1$7,212)%$/$1&(21:+,&+7+(,17(5(67&+$5*(,6&20387('

                                 :HILJXUHWKHLQWHUHVWFKDUJHRQ\RXUDFFRXQWE\DSSO\LQJWKHSHULRGLFUDWHWRWKHGDLO\EDODQFHRI\RXUDFFRXQWIRUHDFKGD\LQWKHELOOLQJF\FOH7RJHWWKHGDLO\
                                 EDODQFHZHWDNHWKHEHJLQQLQJEDODQFHRI\RXUDFFRXQWHDFKGD\DGGDQ\QHZDGYDQFHVIHHVDQGVXEWUDFWDQ\XQSDLGLQWHUHVWRURWKHUILQDQFHFKDUJHVDQGDQ\
                                 SD\PHQWVRUFUHGLWV7KLVJLYHVXVWKHGDLO\EDODQFH

                                                                       :+$772'2,)<287+,1.<28),1'$0,67$.(21<28567$7(0(17
                                 ,I\RXWKLQNWKHUHLVDQHUURURQ\RXUVWDWHPHQWZULWHWRXVDW
                                 1H[%DQN
                                 0F.LQQH\$YHQXHWK)ORRU
                                 'DOODV7H[DV
                                 <RXPD\DOVRFRQWDFWXVRQ KH:HEZZZQH[EDQNFRP
                                 ,Q\RXUOHWWHUJLYHXVWKHIROORZLQJLQIRUPDWLRQ
                                            $FFRXQW,QIRUPD LRQ<RXUQDPHDQGDFFRXQWQXPEHU
                                            'ROODU$PRXQW7KHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
                                            'HVFULS LRQRI3UREOHP,I\RXWKLQNWKHUHLVDQHUURURQ\RXUELOOGHVFULEHZKDW\RXEHOLHYHLVZURQJDQGZK\\RXEHOLHYHLWLVDPLVWDNH
                                 <RXPXVWFRQWDFWXVZLWKLQGD\VDIWHUWKHHUURUDSSHDUHGRQ\RXUVWDWHPHQW
                                 <RXPXVWQRWLI\XVRIDQ\SRWHQWLDOHUURUVLQZULWLQJRUHOHFWURQLFDOO\<RXPD\FDOOXVEXWLI\RXGRZHDUHQRWUHTXLUHGWRLQYHVWLJDWHDQ\SRWHQWLDOHUURUVDQG\RX
                                 PD\KDYHWRSD\WKHDPRXQWLQTXHVWLRQ
                                 :KLOHZHLQYHVWLJDWHZKHWKHURUQRW KHUHKDVEHHQDQHUURUWKHIROORZLQJDUHWUXH
                                            :HFDQQRWWU\WRFROOHFWWKHDPRXQWLQTXHVWLRQRUUHSRUW\RXDVGHOLQTXHQWRQWKDWDPRXQW
                                            7KHFKDUJHLQTXHVWLRQPD\UHPDLQRQ\RXUVWDWHPHQWDQGZHPD\FRQWLQXHWRFKDUJH\RXLQWHUHVWRQWKDWDPRXQW%XWLIZHGHWHUPLQHWKDWZHPDGHD
                                            PLVWDNH\RXZLOOQRWKDYHWRSD\WKHDPRXQWLQTXHVWLRQRUDQ\LQWHUHVWRURWKHUIHHVUHODWHGWRWKDWDPRXQW
                                            :KLOH\RXGRQRWKDYHWRSD\WKHDPRXQWLQTXHVWLRQ\RXDUHUHVSRQVLEOHIRUWKHUHPDLQGHURI\RXUEDODQFH
                                            :HFDQDSSO\DQ\XQSDLGDPRXQWDJDLQVW\RXUFUHGLWOLPLW
                                                                   ,1&$6(2)(552562548(67,216$%287<285(/(&7521,&75$16)(56
                                 ,Q&DVHRI(UURUVRU4XHVWLRQV$ERXW<RXU(OHFWURQLF7UDQVIHUV7HOHSKRQHXVDWRU:ULWHXVDW1H[%DQN0F.LQQH\$YHQXHWK)ORRU'DOODV
                                 7H[DVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQWRUUHFHLSW:H
                                 PXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
                                   7HOOXV\RXUQDPHDQGDFFRXQWQXPEHU LIDQ\ 

 ILOH*$FFRXQWLQJ6HFXUHG+&0/3$XGLW$XGLW%DQN6WDWHPHQWV1H[%DQN+&0001H[%DQNKWPO                                                                                                      




HIGHLY CONFIDENTIAL                                                                                                                                                                                              D-CNL003531
                                                                                                                                                                                                           Appx. 02236
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                          Entered 12/18/21 02:23:50                                                  Page 6 of 533




                                                                                                               1H[%DQN66%
                                   'HVFULEHWKHHUURURUWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLV
                                 DQHUURURUZK\\RXQHHGPRUHLQIRUPDWLRQ
                                   7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
                                 :HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXUDFFRXQWIRUWKH
                                 DPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ




 ILOH*$FFRXQWLQJ6HFXUHG+&0/3$XGLW$XGLW%DQN6WDWHPHQWV1H[%DQN+&0001H[%DQNKWPO                                                                                                 




HIGHLY CONFIDENTIAL                                                                                                                                                                                         D-CNL003532
                                                                                                                                                                                                      Appx. 02237
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 7 of 533




                             EXHIBIT 112




                                                                         Appx. 02238
        Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50            Page 8 of 533


               EASTWEST BANK Your financial bridge'                                               Direct inquiries to:
                                                                                                      888 895 5650
               135 N. Los Robles Ave., 6TH FL.
               Pasadena, CA 91101
                                                                                               ACCOUNT STATEMENT
                                                                                                Page 1 of 6
                                                                            STARTING DATE: December 01, 2019
                                                                              ENDING DATE: December 31, 2019
                                                                               Total days in statem n  ri : 1

                                                                                                                    ( 9)


                                                                                 Have you signed up for Direct Deposits?
                       HIGHLAND CAPITAL MANAGEMENT LP                            Get your paycheck without waiting for a
                       CHAPTER 11 DEBTOR IN POSSESSION                           paper check and making a trip to the
                       CASE #19-12239-CSS                                        bank. Payments get deposited into your
                       OPERATING ACCOUNT                                         account automatically. Enrolling is easy!
                       300 CRESCENT CT SUITE 700                                 Talk to your payer or call 888.895.5650
                       DALLAS TX 75201-0000
                                                                                 for more details!




           Commercial Analysis Checking
           A      n number
                                                                                    ( 45)
                                                                                    ( 97)




          CREDITS
          Number             Date       Transaction Description                                        A11diti n




 3409      rev 05-16



HIGHLY CONFIDENTIAL                                                                                           D-CNL003556
                                                                                                        Appx. 02239
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                      Entered 12/18/21 02:23:50      Page 9 of 533


        EAST WEST BANK Your financial bridges                                               ACCOUNT STATEMENT
                                                                                                Page 2 of 6
         135 N. Los Robles Ave., 6TH FL.                                       STARTING DATE: December 01, 2019
         Pasadena, CA 91101                                                      ENDING DATE: December 31, 2019

                HIGHLAND CAPITAL MANAGEMENT LP


       Number          Date         Transaction Description                                       Additions




                       12 23    Wire Trans-IN            JAMES D DONDERO                      783 011.86




       CHECKS
       Number          Date                     Amount                Number      Date             Amount




       DEBITS
       Date   Transaction Description                                                           Subtractions




HIGHLY CONFIDENTIAL                                                                                      D-CNL003557
                                                                                                   Appx. 02240
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50    Page 10 of 533


                                                                              
                                                                                             
                                                                          
                      
                                                                           
         !" "# $" %    

               %! && !




                                                               




HIGHLY CONFIDENTIAL                                                                   D-CNL003558
                                                                                Appx. 02241
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21    Entered 12/18/21 02:23:50    Page 11 of 533


                                                                               
                                                                                              
                                                                           
                      
                                                                            
         !" "# $" %    

               %! && !




                                                                




        
                                                              




                   




HIGHLY CONFIDENTIAL                                                                    D-CNL003559
                                                                                 Appx. 02242
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 12 of 533




HIGHLY CONFIDENTIAL                                                                 D-CNL003560
                                                                              Appx. 02243
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 13 of 533




HIGHLY CONFIDENTIAL                                                                 D-CNL003561
                                                                              Appx. 02244
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50                       Page 14 of 533



                                               STATEMENT BALANCING
                      Fill in the amounts below from the front of this statement and your checkbook.

   ENTER                                                                         ENTER
   Ending Balance of                                                             Present Balance in
   this Statement                                                                your checkbook

   Add Deposits not shown
   on this Statement                                                             Subtract any service
                                                                                 charges, finance or
                                                                                 any other charges
                    Sub Total
   Subtract Checks Issued                                                                         Sub Total
   but not on Statement
     CHECK NUMBER          AMOUNT         CHECK NUMBER          AMOUNT          Add Monthly Interest
        OR DATE                              OR DATE
                                                                                Earned
                                                                                Add any deposits not yet
                                                                                entered in checkbook
                                                                                (Reverse Advances)




                                                                                Subtract any checks not
                                                                                yet entered in checkbook
                                                                                (Reverse Payments)


          TOTAL                                TOTAL

   Total amount of outstanding
   checks

   Balance                              **    $                                 Balance


   IN CASE OF ERRORS OR QUESTIONS REGARDING YOUR CHECKING ACCOUNT
   You must examine your statement carefully and promptly. You are in the best position to discover errors and unauthorized transactions on your
   account. If you fail to notify us in writing of suspected problems or unauthorized transactions within the time periods as specified in the Deposit
   Agreement (which periods are no more than 60 days after we make the statement available to you and in some cases 30 days or less), we are not
   liable to you for, and you agree not to make a claim against us for problems or unauthorized transactions.

   IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS
   Telephone or write your local branch of account, listed on the statement front, as soon as you can if you think your statement or receipt is wrong or if
   you need more information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we send you the FIRST
   statement on which the error or problem appeared.
                  1. Tell us your name and account number.
                  2. Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe there is an error or why
                        you need more information.
                  3. Tell us the dollar amount of the suspected error.
   We will investigate your complaint and will correct any error promptly. If our investigation takes longer than 10 business days from the date we
   received your notification, we will provisionally credit your account for the disputed amount until our investigation has been completed. If the
   disputed amount involves an electronic funds transfer to or from an account within 30 days after the first deposit to the account was made, we will
   provisionally credit your account within 20 business days from the date we receive your notification.

   ACCOUNTS WITH CHECK STORAGE
   Upon your request, we will provide you, without charge, legible copies of two checks from each account statement. Additional copies of canceled
   checks are subject to our service charges. You can make a request for these copies by contacting the branch listed on the front of this statement.

   CHANGE OF ADDRESS
   Please notes us immediately for change of address by phoning or writing your local branch of account, listed on thefront of this statement.

   MEMBER FDIC

    (REV 1 1 /07)




HIGHLY CONFIDENTIAL                                                                                                                       D-CNL003562
                                                                                                                                    Appx. 02245
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 15 of 533




                             EXHIBIT 113




                                                                          Appx. 02246
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                     Entered 12/18/21 02:23:50                Page 16 of 533



    Page 1 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019       31




              21      HIGHLAND CAPITAL MANAGEMENT LP
                      MASTER OPERATING ACCOUNT
                      300 CRESCENT CT STE 700
                      DALLAS TX 75201-7849




                                                                                  Contacting Us
                                                                                  Available by phone 24/7

                                                                           Phone 1-800-266-7277

                                                                           Online bbvacompass.com

                                                                           Write BBVA Compass
                                                                                 Customer Service
                                                                                 P.O. Box 10566
                                                                                 Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                              Ending balance     Ending balance
    Account                                       Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                D-CNL003617
                                                                                                             Appx. 02247
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50   Page 17 of 533



    Page 2 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                Check/                                             Deposits/
    Date *      Serial #    Description                             Credits




HIGHLY CONFIDENTIAL                                                                       D-CNL003618
                                                                                    Appx. 02248
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50   Page 18 of 533



    Page 3 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                             Deposits/
    Date *      Serial #    Description                             Credits




HIGHLY CONFIDENTIAL                                                                       D-CNL003619
                                                                                    Appx. 02249
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50   Page 19 of 533



    Page 4 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                             Deposits/
    Date *      Serial #    Description                             Credits




HIGHLY CONFIDENTIAL                                                                       D-CNL003620
                                                                                    Appx. 02250
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50   Page 20 of 533



    Page 5 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                             Deposits/
    Date *      Serial #    Description                             Credits




HIGHLY CONFIDENTIAL                                                                       D-CNL003621
                                                                                    Appx. 02251
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50   Page 21 of 533



    Page 6 of 13
    Primary Account
    Beginning May 1, 2019 - Ending May 31, 2019            31




                Check/                                                            Deposits/
    Date *      Serial #    Description                                            Credits




    5/29                    INCOMING WIRE W/ADVICE REF                        $1,000,000.00
                            20190529F2QCZ60C00298805291425FT03 ORG
                            HIGHLAND CAPITAL M




HIGHLY CONFIDENTIAL                                                                                     D-CNL003622
                                                                                                  Appx. 02252
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50      Page 22 of 533



    Page 7 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                             Deposits/
    Date *      Serial #    Description                             Credits




    Withdrawals and Other Debits
                Check/                                                         Withdrawals/
    Date *      Serial #    Description                                              Debits




HIGHLY CONFIDENTIAL                                                                          D-CNL003623
                                                                                       Appx. 02253
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21    Entered 12/18/21 02:23:50     Page 23 of 533



   Page 8 of 13
   Primary Account:                                          BBVA Compass
   Beginning May 1,frang      May 31, 2019   31




             Check/                                                      Withdrawals/
   Date *    Serial #   Description                                            Debits

   •
   m
   U
   •
   U
   •
   U
   IN
   •
   U
   •
   U
   NI
   •
   U
   •
   U
   IN
   U
   •                                                                           =I

   MI
   •
   MI
   MI
   MI
   •
   •
   MI



HIGHLY CONFIDENTIAL                                                                    D-CNL003624
                                                                                 Appx. 02254
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50     Page 24 of 533



    Page 9 of 13
    Primary Account
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                                        Withdrawals/
    Date *      Serial #    Description                                             Debits




HIGHLY CONFIDENTIAL                                                                         D-CNL003625
                                                                                      Appx. 02255
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50     Page 25 of 533



    Page 10 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                                        Withdrawals/
    Date *      Serial #    Description                                             Debits




HIGHLY CONFIDENTIAL                                                                         D-CNL003626
                                                                                      Appx. 02256
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50     Page 26 of 533



    Page 11 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                                        Withdrawals/
    Date *      Serial #    Description                                             Debits




HIGHLY CONFIDENTIAL                                                                         D-CNL003627
                                                                                      Appx. 02257
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21         Entered 12/18/21 02:23:50     Page 27 of 533



    Page 12 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019   31




                Check/                                                        Withdrawals/
    Date *      Serial #    Description                                             Debits




HIGHLY CONFIDENTIAL                                                                         D-CNL003628
                                                                                      Appx. 02258
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                Page 28 of 533



    Page 13 of 13
    Primary Account:
    Beginning May 1, 2019 - Ending May 31, 2019                             31




    How to Balance Your Account                                                  Change of Address
                                                                                 Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                                 BBVA Compass Bank, Operations Compliance Support, P.O. Box
           • Record and deduct service charges, check printing
                                                                                 10566, Birmingham, AL 35296. Or simply call your local customer
             charges, or other bank fees.                                        service number printed on he front of this statement. Call or write as
           • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
             interest earned shown on this statement.                            you need more information about a transfer on the statement or
    Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
             in your register each check or other transaction that is            the first statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not             •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).                •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                        •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                                 credit your account for the amount you think is in error, so hat you will have the use of the
                                                                                 money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                                 Agreement for details regarding Electronic Fund Transfers.
                                                                    |            Overdraft Protection
                                                                    |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                                 computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                                 Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                                 this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                                 subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                                 balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                                 the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                                 deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                                 posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                                 Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                    |            Friday, excluding holidays.

                                                                    |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                              If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                                 2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                                 Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
     Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
              statement                                         |                which the error or problem appeared.

              • Add total from Step 3                           |                ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                                 ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |                ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                                 business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                                 Reporting Other Problems
    If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
      number on the front of this statement.                                     Compass Bank, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                           D-CNL003629
                                                                                                                                                        Appx. 02259
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 29 of 533




                             EXHIBIT 114




                                                                          Appx. 02260
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                     Page 30 of 533

  10/22/2019                                                                       FX : Accounts: Get Statement

                                                                       Welcome HAYLEY ELIASON %,                 Log Out       Contact Us         2     Messages •••   ,t), Alerts

               NEXBAN

         Accounts


                           X NEXBANK-                                                                                                             :1=
                                 2515 McKinney Avenue. 11th Floor
                                 Dallas. Tex. 75201
                                 972.934.4700                                                                                                     FDIC
                                 www.NexBank.com

                                                                                                       Date 9/30/19                  Page
                                                                                                       Primary Account
                                                                                                       Enclosures




                                                  Highland Capital Management LP
                                                  300 Crescent Court Suite 700
                                                  Dallas TX 75201




                                     NexBank's Privacy Notice, which has not changed, is available on our website
                                     at www.NexBank.com/files/privacynotice.pdf. If you would like.p copy of our
                                     Privacy Notice mailed to you, please call us at 972-934-4700d.

                                     Checking Account/s

                                                   Account Type:      Highland Capital Management LP

                                     Analysis Checking w/ Interest
                                     Account Number                                           Statement Dates        9/03/19 thru      9/30/19




                                     Deposits and Additions
                                     Date      Description                                                     Amount




                                      9/05                  er from D ****415 to                         500,000.00
                                                   D ....130

                                    •
                                    •
                                    •
                                                                                                            •
                          MEMBER FDIC                                NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                             Payments received at the address indicated on this statement by 3 00 pm. Central Standard lime
                                             each banking day will be credited as of that date.


                           X NEXBANK"
                                 2515 McKinney Avenue. 11th Floor
                                                                                                                                                  7477;
                                 Dallas. Texas 75201
                                 972.934.4700                                                                                                     FDIC
                                 www.NexBank.com

                                                                                                       Date 9/30/19                  Page     2
                                                                                                       Primary Account
                                                                                                       Enclosures




  https://nbdbisecure.fundsxpress.com/DigitalBanking/accounts/get_statement?_request_ithwhey6G6xRsGA:ozSz5977H3LU-Jw                                                                 1/3


HIGHLY CONFIDENTIAL                                                                                                                                              D-CNL003663
                                                                                                                                                           Appx. 02261
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                Entered 12/18/21 02:23:50                                                    Page 31 of 533

  10/22/2019                                                                                      FX : Accounts: Get Statement
                                         Analysis        Checking w/ Interest                                                   (Continued)




                                         Checks and Withdrawals
                                         Date             Description                                                                 Amount




                                         End of Statement




                          MEMBER FDIC                                     NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                  Payments received at the address indicated on this statement by 3 00 pm. Central Standard Time
                                                  each banking day will be credited as of that date.

                                                      OUTSTANDING CHECKS                                                              RECONCILIATION INSTRUCTIONS
                                      econciliation of Account                                                 Date
                                                CHECKS WRITTEN BUT NOT PAID
                                                                                                                  Please examine this statement and
                                         NUMBER                  AMOUNT
                                                                                                               items at once and refer any exceptions
                                                                                                               immediately.

                                                                                                                  Sort your checks numerically or by
                                                          •                                                    date issued.

                                                                                                                  Mark off in your checkbook each of
                                                                                                               your checks paid by the bank and list the
                                                                                                               numbers and amounts of those not paid in
                                                                                                               the space provided at the left. Include any
                                                                                                               checks still not paid from previous
                                                                                                               statements.

                                                                                                                  Subtract from your checkbook
                                                                                                               balance any SERVICE CHARGE (S.C.) or
                                                                                                               bank charge appearing on this statement.

                                                                                                                 Reconcile your statement in the
                                                                                                               space provided below.




                                                                                                                Enter bank balance
                                                                                                                  from statement
                                                                                                                 Add deposits not
                                                                                                                 credited by bank
                                                                                                                      (if any)

                                                                                                                                         TOTAL
                                                                                                                                                .....-
                                       Total of Checks                                                            Subtract total of
                                          not paid                                                                checks not paid

                                                                        THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE-.


                                                  Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                                   Notice: The Annual Percentage Rate and Daily Penedo Rate may vary.

                                                              EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

                          We figure the interest charge on your account by applying the periodic rate to the 'daily balance' of your account for each day in the biting cycle. To get the "daily
                          balance' we take the beginning balance of your account each day, add any new advances/fees. and subtract any unpaid ttterest or other finance charges and any
                          payments or credits. This gives us the daily balance.


                                                                WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
                          If you think there is an error on your statement write to us at
                              xBank
                          2515 McKinney Avenue. 11th Floor
                          Dallas. Tex. 75201
                          You may also contact us on the Web: vn,vw.nexbank.corn
                          In your letter. give us the following information:
                                  • Account Information: Your name and account number.
                                  • Dollar Amount: The dollar amount of the suspected error.


  https://nbdbcsecurefundsxpress.com/DigitalBanking/accounts/get_statement?_request_id=whey6G6xRsGAnSz5977H3LU-Jw                                                                                         2/3


HIGHLY CONFIDENTIAL                                                                                                                                                                                 D-CNL003664
                                                                                                                                                                                              Appx. 02262
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                  Entered 12/18/21 02:23:50                                                    Page 32 of 533

  10/22/2019                                                                                        FX : Accounts: Get Statement
                                    Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
                           You must contact us within 60 days after the error appeared on your statement.
                           You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors and you
                           may have to pay the amount in question.
                           While we investigate whether or not there has been an error, the following are true:
                                    We cannot try to collect the amount in question, or report you as delinquent on that amount.
                                    The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a
                                    mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                                    While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                                    We can apply any unpaid amount against your credit limit.
                                                             IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
                           In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor, Dallas,
                           Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
                           must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
                              (1) Tell us your name and account number (if any).
                              (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
                              an error or why you need more information.
                              (3) Tell us the dollar amount of the suspected error.
                              We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
                           amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




  https://nbdtx.secure.fundsxpress.com/DigitalBanking/accounts/get_statement?_request_id=whey6G6xRsGAxxSz5977H3LU-Jw                                                                                        3/3


HIGHLY CONFIDENTIAL                                                                                                                                                                                   D-CNL003665
                                                                                                                                                                                                Appx. 02263
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 33 of 533




                             EXHIBIT 115




                                                                          Appx. 02264
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50                Page 34 of 533



    Page 1 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019                31




              21      HIGHLAND CAPITAL MANAGEMENT LP
                      MASTER OPERATING ACCOUNT
                      300 CRESCENT CT STE 700
                      DALLAS TX 75201-7849




                                                                                           Contacting Us
                                                                                           Available by phone 24/7

                                                                                    Phone 1-800-266-7277

                                                                                    Online bbvausa.com

                                                                                    Write BBVA
                                                                                          Customer Service
                                                                                          P.O. Box 10566
                                                                                          Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                       Ending balance     Ending balance
    Account                                               Account number                last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                         D-CNL003666
                                                                                                                      Appx. 02265
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                            Entered 12/18/21 02:23:50   Page 35 of 533



    Page 2 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019              31




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                Check/                                                                Deposits/
    Date *      Serial #    Description                                                Credits




    10/3                    INCOMING WIRE W/ADVICE REF                              $375,000.00
                            20191003F2QCZ60C00240510031400FT03 ORG
                            HIGHLAND CAPITAL M




HIGHLY CONFIDENTIAL                                                                                          D-CNL003667
                                                                                                       Appx. 02266
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50      Page 36 of 533



    Page 3 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                     Deposits/
    Date *      Serial #    Description                                     Credits




    Withdrawals and Other Debits
                Check/                                                                 Withdrawals/
    Date *      Serial #    Description                                                      Debits




HIGHLY CONFIDENTIAL                                                                                  D-CNL003668
                                                                                               Appx. 02267
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 37 of 533



    Page 4 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                                Withdrawals/
    Date *      Serial #    Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                 D-CNL003669
                                                                                              Appx. 02268
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 38 of 533



    Page 5 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                                Withdrawals/
    Date *      Serial #    Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                 D-CNL003670
                                                                                              Appx. 02269
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 39 of 533



    Page 6 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                                Withdrawals/
    Date *      Serial #    Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                 D-CNL003671
                                                                                              Appx. 02270
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 40 of 533



    Page 7 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                                Withdrawals/
    Date *      Serial #    Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                 D-CNL003672
                                                                                              Appx. 02271
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 41 of 533



    Page 8 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




                Check/                                                                Withdrawals/
    Date *      Serial #    Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                 D-CNL003673
                                                                                              Appx. 02272
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50   Page 42 of 533



    Page 9 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019   31




    Date                           Balance    Date        Balance   Date              Balance




HIGHLY CONFIDENTIAL                                                                                   D-CNL003674
                                                                                                Appx. 02273
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                            Entered 12/18/21 02:23:50                              Page 43 of 533



    Page 10 of 10
    Primary Account:
    Beginning October 1, 2019 - Ending October 31, 2019                              31




    How to Balance Your Account                                             Change of Address
                                                                            Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                            BBVA, Operations Compliance Support, P.O. Box 10566,
           • Record and deduct service charges, check printing
                                                                            Birmingham, AL 35296. Or simply call your local customer service
             charges, or other bank fees.                                   number printed on he front of this statement. Call or write as soon as
           • If you have an interest bearing account, add any               you can, if you think your statement or receipt is wrong or if you need
             interest earned shown on this statement.                       more information about a transfer on the statement or receipt. We
    Step 2 • If applicable, sort checks in numerical order and mark         must hear from you no later than 60 days after we sent the first
             in your register each check or other transaction that is       statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).           •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                            credit your account for the amount you think is in error, so hat you will have the use of the
                                                                            money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                            Agreement for details regarding Electronic Fund Transfers.
                                                                    |       Overdraft Protection
                                                                    |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                            computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                            Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                            this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                            subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                            balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                            the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount               Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                            deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                            posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                            Saturday, Sunday or bank holidays. BBVA business days are Monday hrough Friday, excluding
                                                                    |       holidays.

                                                                    |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                            2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                              branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                            Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
     Step 5 • Enter the "current balance" shown on this                     from you no later than sixty (60) days after we sent you the first statement on which the error or
              statement                                         |           problem appeared.

              • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                            ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                            business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                            Reporting Other Problems
    If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone   BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
      number on the front of this statement.                                BBVA USA, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                      D-CNL003675
                                                                                                                                                   Appx. 02274
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 44 of 533




                             EXHIBIT 116




                                                                          Appx. 02275
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                 Entered 12/18/21 02:23:50                Page 45 of 533



    Page 1 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019                     30




              21     HIGHLAND CAPITAL MANAGEMENT LP
                     MASTER OPERATING ACCOUNT
                     300 CRESCENT CT STE 700
                     DALLAS TX 75201-7849




                                                                                              Contacting Us
                                                                                              Available by phone 24/7

                                                                                       Phone 1-800-266-7277

                                                                                       Online bbvausa.com

                                                                                       Write BBVA
                                                                                             Customer Service
                                                                                             P.O. Box 10566
                                                                                             Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                          Ending balance     Ending balance
    Account                                                   Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                            D-CNL003655
                                                                                                                         Appx. 02276
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 46 of 533



    Page 2 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019    30




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                Check/                                                    Deposits/
    Date *      Serial #   Description                                     Credits




HIGHLY CONFIDENTIAL                                                                              D-CNL003656
                                                                                           Appx. 02277
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                         Page 47 of 533



    Page 3 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019                                       30




                  Check/                                                                                                Deposits/
    Date *        Serial #       Description                                                                             Credits
    9/30                         INCOMING WIRE W/ADVICE REF                                                          $341,758.00
                                 20190930F2QCZ60C00512909301511FT03 ORG HCRE
                                 PARTNERS, LLC




    Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
    * The Date provided is the business day that the transaction is processed.



    Withdrawals and Other Debits
                  Check/                                                                                                                  Withdrawals/
    Date *        Serial #       Description                                                                                                    Debits




HIGHLY CONFIDENTIAL                                                                                                                                     D-CNL003657
                                                                                                                                                  Appx. 02278
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50     Page 48 of 533



   Page 4 of 8
   Primary Account:                                                 BBVA
   Beginning Septen...-      Ending September 30, 2019    30




             Check/                                                             Withdrawals/
   Date *    Serial #   Description                                                   Debits

   •
   m
   U
   NI
   U
   •
   U
   IN
   U
   U
   •
   •                                                                                  =I
   MI
   MI
   MI
   MI
   •
   INI


   MI

   MI
   MI
   MI
   MI
   MI

   MI
   MI




HIGHLY CONFIDENTIAL                                                                           D-CNL003658
                                                                                        Appx. 02279
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50     Page 49 of 533



   Page 5 of 8
   Primary Account:                                                 BBVA
   Beginning Septen...-      Ending September 30, 2019    30




             Check/                                                             Withdrawals/
   Date *    Serial #   Description                                                   Debits

   •
   •
   •
   MI
   MI
   •
   •
   MI
   MI
   MI
   •
   •
   MI
   MI
   MI
   IMI
   •
   MI

   MI
   INI
   •
   •
   MI
   MI
   MI
   •
   •
   MI



HIGHLY CONFIDENTIAL                                                                           D-CNL003659
                                                                                        Appx. 02280
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 50 of 533



    Page 6 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019    30




                Check/                                                               Withdrawals/
    Date *      Serial #   Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                D-CNL003660
                                                                                             Appx. 02281
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 51 of 533



    Page 7 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019    30




                Check/                                                               Withdrawals/
    Date *      Serial #   Description                                                     Debits




HIGHLY CONFIDENTIAL                                                                                D-CNL003661
                                                                                             Appx. 02282
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                Page 52 of 533



    Page 8 of 8
    Primary Account:
    Beginning September 1, 2019 - Ending September 30, 2019                                30




    How to Balance Your Account                                             Change of Address
                                                                            Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                            BBVA, Operations Compliance Support, P.O. Box 10566,
           • Record and deduct service charges, check printing
                                                                            Birmingham, AL 35296. Or simply call your local customer service
             charges, or other bank fees.                                   number printed on he front of this statement. Call or write as soon as
           • If you have an interest bearing account, add any               you can, if you think your statement or receipt is wrong or if you need
             interest earned shown on this statement.                       more information about a transfer on the statement or receipt. We
    Step 2 • If applicable, sort checks in numerical order and mark         must hear from you no later than 60 days after we sent the first
             in your register each check or other transaction that is       statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).           •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                            credit your account for the amount you think is in error, so hat you will have the use of the
                                                                            money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                            Agreement for details regarding Electronic Fund Transfers.
                                                                    |       Overdraft Protection
                                                                    |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                            computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                            Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                            this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                            subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                            balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                            the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount               Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                            deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                            posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                            Saturday, Sunday or bank holidays. BBVA business days are Monday hrough Friday, excluding
                                                                    |       holidays.

                                                                    |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                            2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                              branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                            Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
     Step 5 • Enter the "current balance" shown on this                     from you no later than sixty (60) days after we sent you the first statement on which the error or
              statement                                         |           problem appeared.

              • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                            ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                            business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                            Reporting Other Problems
    If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone   BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
      number on the front of this statement.                                BBVA USA, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                      D-CNL003662
                                                                                                                                                   Appx. 02283
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 53 of 533




                             EXHIBIT 117




                                                                          Appx. 02284
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50                Page 54 of 533



    Page 1 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019       30




               21      HIGHLAND CAPITAL MANAGEMENT LP
                       MASTER OPERATING ACCOUNT
                       300 CRESCENT CT STE 700
                       DALLAS TX 75201-7849




                                                                                      Contacting Us
                                                                                      Available by phone 24/7

                                                                               Phone 1-800-266-7277

                                                                               Online bbvacompass.com

                                                                               Write BBVA Compass
                                                                                     Customer Service
                                                                                     P.O. Box 10566
                                                                                     Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                  Ending balance     Ending balance
    Account                                           Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003608
                                                                                                                 Appx. 02285
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50   Page 55 of 533



    Page 2 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019          30




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                 Check/                                                             Deposits/
    Date *       Serial #     Description                                            Credits




    4/16                      INCOMING WIRE W/ADVICE REF                        $1,300,000.00
                              20190416F2QCZ60C00357704161647FT03 ORG
                              NEXPOINT ADVISORS,




HIGHLY CONFIDENTIAL                                                                                       D-CNL003609
                                                                                                    Appx. 02286
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50      Page 56 of 533



    Page 3 of 9
    Primary Account
    Beginning April 1, 2019 - Ending April 30, 2019   30




                 Check/                                                Deposits/
    Date *       Serial #     Description                               Credits




    Withdrawals and Other Debits
                 Check/                                                            Withdrawals/
    Date *       Serial #     Description                                                Debits




HIGHLY CONFIDENTIAL                                                                              D-CNL003610
                                                                                           Appx. 02287
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50     Page 57 of 533



   Page 4 of 9
   Primary Account:                                             BBVA Compass
   Beginning April 1,11 1 1ang April 30, 2019   30




              Check/                                                        Withdrawals/
   Date •     Serial #    Description                                             Debits

   •
   m
   U
   •
   U
   •
   U



   •
   U
   •
   U
   IN
   U
   U
   U
   U
   U
   •
   U
   U
   U
   U
   •
   •
   U


HIGHLY CONFIDENTIAL                                                                       D-CNL003611
                                                                                    Appx. 02288
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 58 of 533



    Page 5 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019   30




                 Check/                                                           Withdrawals/
    Date *       Serial #     Description                                               Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003612
                                                                                          Appx. 02289
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 59 of 533



    Page 6 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019   30




                 Check/                                                           Withdrawals/
    Date *       Serial #     Description                                               Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003613
                                                                                          Appx. 02290
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 60 of 533



    Page 7 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019   30




                 Check/                                                           Withdrawals/
    Date *       Serial #     Description                                               Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003614
                                                                                          Appx. 02291
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50        Page 61 of 533



    Page 8 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019               30




                 Check/                                                                           Withdrawals/
    Date *       Serial #     Description                                                               Debits




    End of Business Day Balance Summary
    Date                             Balance     Date                  Balance   Date              Balance




    Summary of Checks
    Date     Check #                  Amount     Date   Check #        Amount    Date   Check #    Amount




HIGHLY CONFIDENTIAL                                                                                                D-CNL003615
                                                                                                             Appx. 02292
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                Page 62 of 533



    Page 9 of 9
    Primary Account:
    Beginning April 1, 2019 - Ending April 30, 2019                         30




    How to Balance Your Account                                                  Change of Address
                                                                                 Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                                 BBVA Compass Bank, Operations Compliance Support, P.O. Box
           • Record and deduct service charges, check printing
                                                                                 10566, Birmingham, AL 35296. Or simply call your local customer
             charges, or other bank fees.                                        service number printed on he front of this statement. Call or write as
           • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
             interest earned shown on this statement.                            you need more information about a transfer on the statement or
    Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
             in your register each check or other transaction that is            the first statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not             •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).                •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                        •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                                 credit your account for the amount you think is in error, so hat you will have the use of the
                                                                                 money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                                 Agreement for details regarding Electronic Fund Transfers.
                                                                    |            Overdraft Protection
                                                                    |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                                 computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                                 Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                                 this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                                 subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                                 balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                                 the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                                 deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                                 posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                                 Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                    |            Friday, excluding holidays.

                                                                    |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                              If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                                 2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                                 Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
     Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
              statement                                         |                which the error or problem appeared.

              • Add total from Step 3                           |                ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                                 ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |                ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                                 business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                                 Reporting Other Problems
    If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
      number on the front of this statement.                                     Compass Bank, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                           D-CNL003616
                                                                                                                                                        Appx. 02293
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 63 of 533




                             EXHIBIT 118




                                                                          Appx. 02294
      Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                 Page 64 of 533




 2/18/2020                                                                                        NexBank SSB



                                  X      NEXBAN
                                          2515 McKinney Avenue, 11th Floor
                                                                                                                                                       int
                                          Dallas, Texas 75201
                                          972.934.4700                                                                                                 ,) FDIC
                                          www.NexBank.com


                                                                                                          Date      6/28/19                Page    1
                                                                                                          Primary Account
                                                                                                          Enclosures




                                                           Highland Capital Management LP
                                                           300 Crescent Court Suite 700
                                                           Dallas TX 75201




                                              NexBank's Privacy Notice, which has not changed, is available on our website
                                              at www.NexBank.com/files/privacynotice.pdf.           If   you would like       a copy of our
                                              Privacy Notice mailed to you, please call           us at 972-934-4700.


                                              Checking Account/s

                                                            Account Type:       Highland Capital Management LP


                                              Analysis Checking w/ Interest
                                              Account Number                                       Statement Dates          6/03/19 thru     6/30/19




                                                                                   11 1




                                              Deposits and Additions
                                              Date          Description                                             Amount




                                                                       sfer   from D ****171 to            2,100,       .

 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                         1/5




HIGHLY CONFIDENTIAL                                                                                                                                                    D-CNL003639
                                                                                                                                                                 Appx. 02295
      Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                      Entered 12/18/21 02:23:50                      Page 65 of 533




 2/18/2020                                                                                           NexBank SSB


                                              .
                                              •                                                                      =
                                 MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                    Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                                                     each banking day will be credited as of that date.




 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                 2/5




HIGHLY CONFIDENTIAL                                                                                                                                         D-CNL003640
                                                                                                                                                      Appx. 02296
      Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                        Entered 12/18/21 02:23:50                                Page 66 of 533




 2/18/2020                                                                                             NexBank SSB


                                  X      NEXBANK-                                                                                                          121
                                          2515 McKinney Avenue, 11th Floor
                                          Dallas, Texas 75201
                                          972.934.4700
                                          www.NexBank.com
                                                                                                                                                           ) Fold
                                                                                                                Date    6/28/19               Page     2
                                                                                                                Primary Account
                                                                                                                Enclosures




                                              Analysis Checking w/ Interest                                        (Continued)




                                              Checks and Withdrawals
                                              Date          Description




                                              End of Statement



                                 MEMBER FDIC                                   NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                      Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                                                       each banking day will be credited as of that date.




 file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2019/Bank Statements/NexBank 130/06-30 HCM MM NexBank 130.html                                                             3/5




HIGHLY CONFIDENTIAL                                                                                                                                                       D-CNL003641
                                                                                                                                                                    Appx. 02297
      Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                         Entered 12/18/21 02:23:50                                                    Page 67 of 533




                                                                                                               1H[%DQN66%
                                                             28767$1',1*&+(&.6                                                              5(&21&,/,$7,21,16758&7,216
                                           5HFRQFLOLDWLRQRI$FFRXQW                                                   'DWHBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                       &+(&.6:5,77(1%871273$,'
                                                180%(5                  $02817                                         3OHDVHH[DPLQHWKLVVWDWHPHQWDQG
                                                                                                                       LWHPVDWRQFHDQGUHIHUDQ\H[FHSWLRQV
                                                                                                                   LPPHGLDWHO\
                                                                                                
                                                                                                                   6RUW\RXUFKHFNVQXPHULFDOO\RUE\
                                                                                                                   GDWHLVVXHG
                                                                                                
                                                                                                                       0DUNRIILQ\RXUFKHFNERRNHDFKRI
                                                                                                                   \RXUFKHFNVSDLGE\ KHEDQNDQGOLVWWKH
                                                                                                                   QXPEHUVDQGDPRXQWVRIWKRVHQRWSDLGLQ
                                                                                                                    KHVSDFHSURYLGHGDWWKHOHIW,QFOXGHDQ\
                                                                                                                   FKHFNVV LOOQRWSDLGIURPSUHYLRXV
                                                                                                                   VWDWHPHQWV
                                                                                                                   6XEWUDFWIURP\RXUFKHFNERRN
                                                                                                                   EDODQFHDQ\6(59,&(&+$5*( 6& RU
                                                                                                                   EDQNFKDUJHDSSHDULQJRQWKLVVWDWHPHQW
                                                                                                
                                                                                                                   5HFRQFLOH\RXUVWDWHPHQWLQWKH
                                                                                                                       VSDFHSURYLGHGEHORZ
                                                                                                
                                                                                                
                                                                                                
                                                                                                                   (QWHUEDQNEDODQFH
                                                                                                                                                                                     
                                                                                                                     IURPVWDWHPHQW
                                                                                                                     $GGGHSRVLWVQRW                                            
                                                                                                                     FUHGLWHGE\EDQN                                            
                                                                                                                           LIDQ\                                                
                                                                                                
                                                                                                                                                 727$/                               
                                                                                                
                                             7RWDORI&KHFNV                                                             6XEWUDFWWRWDORI
                                                                                                                                                                                  
                                                 QRWSDLG                                                                FKHFNVQRWSDLG

                                                                                7+,6$028176+28/'(48$/<285&+(&.%22.%$/$1&(!                                                    

                                                          $Q\&KDUJHIRU,PSULQWHG&KHFNV,QFOXGHV6WDWH6DOHV7D[&RPSXWHGDWWKH&XUUHQW5DWH:KHQ$SSOLFDEOH
                                                                           1RWLFH7KH$QQXDO3HUFHQWDJH5DWHDQG'DLO\3HULRGLF5DWHPD\YDU\
                                                                   (;3/$1$7,212)%$/$1&(21:+,&+7+(,17(5(67&+$5*(,6&20387('

                                 :HILJXUHWKHLQWHUHVWFKDUJHRQ\RXUDFFRXQWE\DSSO\LQJWKHSHULRGLFUDWHWRWKHGDLO\EDODQFHRI\RXUDFFRXQWIRUHDFKGD\LQWKHELOOLQJF\FOH7RJHWWKHGDLO\
                                 EDODQFHZHWDNHWKHEHJLQQLQJEDODQFHRI\RXUDFFRXQWHDFKGD\DGGDQ\QHZDGYDQFHVIHHVDQGVXEWUDFWDQ\XQSDLGLQWHUHVWRURWKHUILQDQFHFKDUJHVDQGDQ\
                                 SD\PHQWVRUFUHGLWV7KLVJLYHVXVWKHGDLO\EDODQFH

                                                                       :+$772'2,)<287+,1.<28),1'$0,67$.(21<28567$7(0(17
                                 ,I\RXWKLQNWKHUHLVDQHUURURQ\RXUVWDWHPHQWZULWHWRXVDW
                                 1H[%DQN
                                 0F.LQQH\$YHQXHWK)ORRU
                                 'DOODV7H[DV
                                 <RXPD\DOVRFRQWDFWXVRQ KH:HEZZZQH[EDQNFRP
                                 ,Q\RXUOHWWHUJLYHXVWKHIROORZLQJLQIRUPDWLRQ
                                            $FFRXQW,QIRUPD LRQ<RXUQDPHDQGDFFRXQWQXPEHU
                                            'ROODU$PRXQW7KHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
                                            'HVFULS LRQRI3UREOHP,I\RXWKLQNWKHUHLVDQHUURURQ\RXUELOOGHVFULEHZKDW\RXEHOLHYHLVZURQJDQGZK\\RXEHOLHYHLWLVDPLVWDNH
                                 <RXPXVWFRQWDFWXVZLWKLQGD\VDIWHUWKHHUURUDSSHDUHGRQ\RXUVWDWHPHQW
                                 <RXPXVWQRWLI\XVRIDQ\SRWHQWLDOHUURUVLQZULWLQJRUHOHFWURQLFDOO\<RXPD\FDOOXVEXWLI\RXGRZHDUHQRWUHTXLUHGWRLQYHVWLJDWHDQ\SRWHQWLDOHUURUVDQG\RX
                                 PD\KDYHWRSD\WKHDPRXQWLQTXHVWLRQ
                                 :KLOHZHLQYHVWLJDWHZKHWKHURUQRW KHUHKDVEHHQDQHUURUWKHIROORZLQJDUHWUXH
                                            :HFDQQRWWU\WRFROOHFWWKHDPRXQWLQTXHVWLRQRUUHSRUW\RXDVGHOLQTXHQWRQWKDWDPRXQW
                                            7KHFKDUJHLQTXHVWLRQPD\UHPDLQRQ\RXUVWDWHPHQWDQGZHPD\FRQWLQXHWRFKDUJH\RXLQWHUHVWRQWKDWDPRXQW%XWLIZHGHWHUPLQHWKDWZHPDGHD
                                            PLVWDNH\RXZLOOQRWKDYHWRSD\WKHDPRXQWLQTXHVWLRQRUDQ\LQWHUHVWRURWKHUIHHVUHODWHGWRWKDWDPRXQW
                                            :KLOH\RXGRQRWKDYHWRSD\WKHDPRXQWLQTXHVWLRQ\RXDUHUHVSRQVLEOHIRUWKHUHPDLQGHURI\RXUEDODQFH
                                            :HFDQDSSO\DQ\XQSDLGDPRXQWDJDLQVW\RXUFUHGLWOLPLW
                                                                   ,1&$6(2)(552562548(67,216$%287<285(/(&7521,&75$16)(56
                                 ,Q&DVHRI(UURUVRU4XHVWLRQV$ERXW<RXU(OHFWURQLF7UDQVIHUV7HOHSKRQHXVDWRU:ULWHXVDW1H[%DQN0F.LQQH\$YHQXHWK)ORRU'DOODV
                                 7H[DVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQWRUUHFHLSW:H
                                 PXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
                                   7HOOXV\RXUQDPHDQGDFFRXQWQXPEHU LIDQ\ 

 ILOH*$FFRXQWLQJ6HFXUHG+&0/3$XGLW$XGLW%DQN6WDWHPHQWV1H[%DQN+&0001H[%DQNKWPO                                                                                                   




HIGHLY CONFIDENTIAL                                                                                                                                                                                              D-CNL003642
                                                                                                                                                                                                           Appx. 02298
      Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                          Entered 12/18/21 02:23:50                                                   Page 68 of 533




                                                                                                               1H[%DQN66%
                                   'HVFULEHWKHHUURURUWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLV
                                 DQHUURURUZK\\RXQHHGPRUHLQIRUPDWLRQ
                                   7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
                                 :HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXUDFFRXQWIRUWKH
                                 DPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ




 ILOH*$FFRXQWLQJ6HFXUHG+&0/3$XGLW$XGLW%DQN6WDWHPHQWV1H[%DQN+&0001H[%DQNKWPO                                                                                                  




HIGHLY CONFIDENTIAL                                                                                                                                                                                          D-CNL003643
                                                                                                                                                                                                       Appx. 02299
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 69 of 533




                             EXHIBIT 119




                                                                          Appx. 02300
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50                Page 70 of 533



    Page 1 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019       31




               21     HIGHLAND CAPITAL MANAGEMENT LP
                      MASTER OPERATING ACCOUNT
                      300 CRESCENT CT STE 700
                      DALLAS TX 75201-7849




                                                                                    Contacting Us
                                                                                    Available by phone 24/7

                                                                             Phone 1-800-266-7277

                                                                             Online bbvausa.com

                                                                             Write BBVA
                                                                                   Customer Service
                                                                                   P.O. Box 10566
                                                                                   Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                Ending balance     Ending balance
    Account                                         Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                  D-CNL003644
                                                                                                               Appx. 02301
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50   Page 71 of 533



    Page 2 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019           31




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                Check/                                                            Deposits/
    Date *      Serial #     Description                                           Credits




    7/9                      INCOMING WIRE W/ADVICE REF                         $630,000.00
                             20190709F2QCZ60C00251507091430FT03 ORG
                             NEXPOINT ADVISORS,




HIGHLY CONFIDENTIAL                                                                                      D-CNL003645
                                                                                                   Appx. 02302
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50      Page 72 of 533



    Page 3 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019   31




                Check/                                               Deposits/
    Date *      Serial #     Description                              Credits




    Withdrawals and Other Debits
                Check/                                                           Withdrawals/
    Date *      Serial #     Description                                               Debits




HIGHLY CONFIDENTIAL                                                                            D-CNL003646
                                                                                         Appx. 02303
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50     Page 73 of 533



    Page 4 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019   31




                Check/                                                          Withdrawals/
    Date *      Serial #     Description                                              Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003647
                                                                                        Appx. 02304
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50     Page 74 of 533



    Page 5 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019   31




                Check/                                                          Withdrawals/
    Date *      Serial #     Description                                              Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003648
                                                                                        Appx. 02305
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50     Page 75 of 533



    Page 6 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019   31




                Check/                                                          Withdrawals/
    Date *      Serial #     Description                                              Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003649
                                                                                        Appx. 02306
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50        Page 76 of 533



    Page 7 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019                31




                 Check/                                                                          Withdrawals/
    Date *       Serial #    Description                                                               Debits




    End of Business Day Balance Summary
    Date                             Balance    Date                  Balance   Date              Balance




    Summary of Checks
    Date     Check #                 Amount     Date   Check #        Amount    Date   Check #    Amount




HIGHLY CONFIDENTIAL                                                                                               D-CNL003650
                                                                                                            Appx. 02307
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                Page 77 of 533



    Page 8 of 8
    Primary Account:
    Beginning July 1, 2019 - Ending July 31, 2019                           31




    How to Balance Your Account                                                  Change of Address
                                                                                 Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                                 BBVA, Operations Compliance Support, P.O. Box 10566,
           • Record and deduct service charges, check printing
                                                                                 Birmingham, AL 35296. Or simply call your local customer service
             charges, or other bank fees.                                        number printed on he front of this statement. Call or write as soon as
           • If you have an interest bearing account, add any                    you can, if you think your statement or receipt is wrong or if you need
             interest earned shown on this statement.                            more information about a transfer on the statement or receipt. We
    Step 2 • If applicable, sort checks in numerical order and mark              must hear from you no later than 60 days after we sent the first
             in your register each check or other transaction that is            statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not             •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).                •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                        •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                                 credit your account for the amount you think is in error, so hat you will have the use of the
                                                                                 money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                                 Agreement for details regarding Electronic Fund Transfers.
                                                                    |            Overdraft Protection
                                                                    |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                                 computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                                 Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                                 this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                                 subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                                 balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                                 the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                                 deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                                 posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                                 Saturday, Sunday or bank holidays. BBVA business days are Monday hrough Friday, excluding
                                                                    |            holidays.

                                                                    |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                              If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                                 2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                                   branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                                 Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
     Step 5 • Enter the "current balance" shown on this                          from you no later than sixty (60) days after we sent you the first statement on which the error or
              statement                                         |                problem appeared.

              • Add total from Step 3                           |                ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                                 ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                     why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |                ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                                 business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                                 Reporting Other Problems
    If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone        BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
      number on the front of this statement.                                     BBVA USA, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                           D-CNL003651
                                                                                                                                                        Appx. 02308
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 78 of 533




                             EXHIBIT 120




                                                                          Appx. 02309
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50                Page 79 of 533



    Page 1 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019            31




              21      HIGHLAND CAPITAL MANAGEMENT LP
                      MASTER OPERATING ACCOUNT
                      300 CRESCENT CT STE 700
                      DALLAS TX 75201-7849




                                                                                      Contacting Us
                                                                                      Available by phone 24/7

                                                                               Phone 1-800-266-7277

                                                                               Online bbvacompass.com

                                                                               Write BBVA Compass
                                                                                     Customer Service
                                                                                     P.O. Box 10566
                                                                                     Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                  Ending balance     Ending balance
    Account                                           Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003598
                                                                                                                 Appx. 02310
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50   Page 80 of 533



    Page 2 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019            31




    TREASURY MANAGEMENT ANALYSIS CHECKING
    Account Number:


    Activity Summary




    Deposits and Other Credits
                Check/                                                            Deposits/
    Date *      Serial #    Description                                            Credits




    3/5                     INCOMING WIRE W/ADVICE REF                        $1,015,000.00
                            20190305F2QCZ60C00330903051708FT01 ORG
                            HIGHLAND CAPITAL M




HIGHLY CONFIDENTIAL                                                                                     D-CNL003599
                                                                                                  Appx. 02311
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                         Page 81 of 533



    Page 3 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019                                   31




                  Check/                                                                                                Deposits/
    Date *        Serial #       Description                                                                             Credits




    3/29                         INCOMING WIRE W/ADVICE REF                                                          $725,000.00
                                 20190329F2QCZ60C00647603291634FT01 ORG
                                 NEXPOINT ADVISORS,
    Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
    * The Date provided is the business day that the transaction is processed.



    Withdrawals and Other Debits
                  Check/                                                                                                                  Withdrawals/
    Date *        Serial #       Description                                                                                                    Debits




HIGHLY CONFIDENTIAL                                                                                                                                     D-CNL003600
                                                                                                                                                  Appx. 02312
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 82 of 533



    Page 4 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019   31




                Check/                                                            Withdrawals/
    Date *      Serial #    Description                                                 Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003601
                                                                                          Appx. 02313
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 83 of 533



    Page 5 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019   31




                Check/                                                            Withdrawals/
    Date *      Serial #    Description                                                 Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003602
                                                                                          Appx. 02314
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 84 of 533



    Page 6 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019   31




                Check/                                                            Withdrawals/
    Date *      Serial #    Description                                                 Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003603
                                                                                          Appx. 02315
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 85 of 533



    Page 7 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019   31




                Check/                                                            Withdrawals/
    Date *      Serial #    Description                                                 Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003604
                                                                                          Appx. 02316
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50     Page 86 of 533



    Page 8 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019   31




                Check/                                                            Withdrawals/
    Date *      Serial #    Description                                                 Debits




HIGHLY CONFIDENTIAL                                                                             D-CNL003605
                                                                                          Appx. 02317
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                         Page 87 of 533



    Page 9 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019                                   31




                  Check/                                                                                                                  Withdrawals/
    Date *        Serial #       Description                                                                                                    Debits




    Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
    * The Date provided is the business day that the transaction is processed.




HIGHLY CONFIDENTIAL                                                                                                                                     D-CNL003606
                                                                                                                                                  Appx. 02318
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                Page 88 of 533



    Page 10 of 10
    Primary Account:
    Beginning March 1, 2019 - Ending March 31, 2019                             31




    How to Balance Your Account                                             Change of Address
                                                                            Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                            BBVA Compass Bank, Operations Compliance Support, P.O. Box
           • Record and deduct service charges, check printing
                                                                            10566, Birmingham, AL 35296. Or simply call your local customer
             charges, or other bank fees.                                   service number printed on he front of this statement. Call or write as
           • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
             interest earned shown on this statement.                       you need more information about a transfer on the statement or
    Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
             in your register each check or other transaction that is       the first statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).           •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                            credit your account for the amount you think is in error, so hat you will have the use of the
                                                                            money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                            Agreement for details regarding Electronic Fund Transfers.
                                                                    |       Overdraft Protection
                                                                    |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                            computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                            Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                            this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                            subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                            balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                            the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount               Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                            deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                            posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                            Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                    |       Friday, excluding holidays.

                                                                    |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                            2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                            Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
     Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
              statement                                         |           which the error or problem appeared.

              • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                            ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                            business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                            Reporting Other Problems
    If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
      number on the front of this statement.                                Compass Bank, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                      D-CNL003607
                                                                                                                                                   Appx. 02319
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 89 of 533




                             EXHIBIT 121




                                                                          Appx. 02320
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                             Entered 12/18/21 02:23:50                                Page 90 of 533

  10/22/2019                                                                      FX : Accounts: Get Statement

                                                                      Welcome HAYLEY ELIASON %,                 Log Out       Contact Us         2 Messages •••   ,t), Alerts

               NEXBAN

         Accounts


                           X NEXBANK
                                2515 McKinney Avenue. 11th Floor
                                Dallas. Tex. 75201
                                972.934.4700
                                www.NexBank.com

                                                                                                      Date 8/30/19                  Page
                                                                                                      Primary Account
                                                                                                      Enclosures




                                                 Highland Capital Management LP
                                                 300 Crescent Court Suite 700
                                                 Dallas TX 75201




                                    NexBank's Privacy Notice, which has not changed, is available on our website
                                    at www.NexBank.com/files/privacynotice.pdf. If you would like.p copy of our
                                    Privacy Notice mailed to you, please call us at 972-934-4700d.

                                    Checking Account/s

                                                  Account Type:      Highland Capital Management LP

                                    Analysis Checking w/ Interest
                                    Account Number                                           Statement Dates        8/01/19 thru      9/02/19




                                    Deposits and Additions
                                    Date      Description                                                     Amount




                                    -
                                     8/09                  er from D ..**656 to                         550,000.00
                                                  D ,..,130

                                    -
                                     8/13                  er from D ****171 to                       1,300,000.00
                                                  D ,..,130

                                    -
                                     U           fromD                    ..**656 to                  5,600,Ca
                                                  D

                                   •
                          MEMBER FDIC                               NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                            Payments received at the address indicated on this statement by 3 00 pm. Central Standard lime
                                            each banking day will be credited as of that date.


                           X NEXBANK -
                                2515 McKinney Avenue. 11th Floor
                                Dallas. Texas 75201
                                972.934.4700
                                www.NexBank.com

                                                                                                      Date 8/30/19                  Page     2
                                                                                                      Primary Account
                                                                                                      Enclosures


  https://nbdbisecure.fundsxpress.com/DigitalBanking/accounts/get_statement?_request_id=alfsw-pZVdpRSRH8QK4WyPEM3PQ                                                             1/3


HIGHLY CONFIDENTIAL                                                                                                                                        D-CNL003652
                                                                                                                                                     Appx. 02321
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                             Entered 12/18/21 02:23:50                               Page 91 of 533

  10/22/2019                                                                      FX : Accounts: Get Statement


                                    Analysis Checking w/ Interest                                        (Continued)

                                    Deposits and Additions
                                    Date      Description                                                     Amount




                                    -



                                    Checks and Withdrawals
                                    Date      Description                                                     Amount




                                    -




                          MEMBER FDIC                               NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                            Payments received at the address indicated on this statement by 3 00 pm. Central Standard Time
                                            each banking day will be credited as of that date.


                           X NEXBANIC
                                2515 McKinney Avenue. 11th Floor
                                Dallas. Texas 75201
                                072.034.4700
                                werw.NexBank.com
                                                                                                                                                 FDIC
                                                                                                      Date 8/30/19                  Page     3
                                                                                                      Primary Account
                                                                                                      Enclosures




                                    Analysis Checking w/ Interest                                        (Continued)

                                    End of Statement




  https://nbdix.securefundsxpress.com/DigitalBanking/accounts/get_statement?_request_id=alfsw-pZVdpRSRH8QK4WyPEM3PQ                                             2/3


HIGHLY CONFIDENTIAL                                                                                                                                       D-CNL003653
                                                                                                                                                    Appx. 02322
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                                 Entered 12/18/21 02:23:50                                                    Page 92 of 533

  10/22/2019                                                                                       FX : Accounts: Get Statement




                          MEMBER FDIC                                     NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                                                  Payments received at the address indicated on this statement by 3 00 pm. Central Standard Time
                                                  each banking day will be credited as of that date.
                                                      OUTSTANDING CHECKS                                                              RECONCILIATION INSTRUCTIONS
                                    Reconciliation of Account                                                   Date ___________________________
                                               CHECKS WRITTEN BUT NOT PAID
                                        NUMBER                  AMOUNT                                             Please examine this statement and
                                                                                                                items at once and refer any exceptions
                                                                                                                immediately.

                                                                                                                   Sort your checks numerically or by
                                                                                                                date issued.

                                                                                                                   Mark off in your checkbook each of
                                                                                                                your checks paid by the bank and list the
                                                                                                                numbers and amounts of those not paid in
                                                                                                                the space provided at the left. Include any
                                                                                                                checks still not paid from previous
                                                                                                                statements.

                                                                                                                   Subtract from your checkbook
                                                                                                                balance any SERVICE CHARGE (S.C.) or
                                                                                                                bank charge appearing on this statement.

                                                                                                                   Reconcile your statement in the
                                                                                                                space provided below.



                                                                                                                Enter bank balance
                                                                                                                  from statement
                                                                                                                  Add deposits not
                                                                                                                  credited by bank
                                                                                                                       (if any)

                                                                                                                                          TOTAL
                                       Total of Checks                                                            Subtract total of
                                           not paid                                                               checks not paid

                                                                         THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                                   Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                                    Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.

                                                            EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

                          We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the "daily
                          balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance charges and any
                          payments or credits. This gives us the daily balance.


                                                                WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
                          If you think there is an error on your statement, write to us at:
                          NexBank
                          2515 McKinney Avenue, 11th Floor
                          Dallas, Texas 75201
                          You may also contact us on the Web: www.nexbank.com
                          In your letter, give us the following information:
                                     Account Information: Your name and account number.
                                     Dollar Amount: The dollar amount of the suspected error.
                                     Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
                          You must contact us within 60 days after the error appeared on your statement.
                          You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors and you
                          may have to pay the amount in question.
                          While we investigate whether or not there has been an error, the following are true:
                                     We cannot try to collect the amount in question, or report you as delinquent on that amount.
                                     The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a
                                     mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                                     While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                                     We can apply any unpaid amount against your credit limit.
                                                            IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
                          In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor, Dallas,
                          Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
                          must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
                             (1) Tell us your name and account number (if any).
                             (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
                             an error or why you need more information.
                             (3) Tell us the dollar amount of the suspected error.
                             We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
                          amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




  https://nbdtx.secure.fundsxpress.com/DigitalBanking/accounts/get_statement?_request_id=alfsw-pZVdpRSRH8QK4WyPEM3PQ                                                                                       3/3


HIGHLY CONFIDENTIAL                                                                                                                                                                                  D-CNL003654
                                                                                                                                                                                               Appx. 02323
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 93 of 533




                             EXHIBIT 122




                                                                          Appx. 02324
        Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50              Page 94 of 533


               EASTWEST BANK Your financial bridge'                                                         Direct inquiries to:
                                                                                                                888 895 5650
               135 N. Los Robles Ave., 6TH FL.
               Pasadena, CA 91101
                                                                                                         ACCOUNT STATEMENT
                                                                                                          Page 1 of 6
                                                                                      STARTING DATE: December 01, 2019
                                                                                        ENDING DATE: December 31, 2019
                                                                                         Total days in statem n  ri : 1

                                                                                                                              ( 9)


                                                                                           Have you signed up for Direct Deposits?
                        HIGHLAND CAPITAL MANAGEMENT LP                                     Get your paycheck without waiting for a
                        CHAPTER 11 DEBTOR IN POSSESSION                                    paper check and making a trip to the
                        CASE #19-12239-CSS                                                 bank. Payments get deposited into your
                        OPERATING ACCOUNT                                                  account automatically. Enrolling is easy!
                        300 CRESCENT CT SUITE 700                                          Talk to your payer or call 888.895.5650
                        DALLAS TX 75201-0000
                                                                                           for more details!




            Commercial Analysis Checking
           A      n number
                                                                                              ( 45)
                                                                                              ( 97)




           CREDITS
           Number                          Transaction Description




                              12 09    Wire Trans•IN          NEXPOINT ADVISORS, LP




 3409       rev 05-16



HIGHLY CONFIDENTIAL                                                                                                     D-CNL003676
                                                                                                                  Appx. 02325
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21                  Entered 12/18/21 02:23:50            Page 95 of 533


                                                                                                      
                                                                                                                     
                                                                                    ! "#$          
                    
                                                                                         ! "#$        
         %&&'(&   )    

                 )% * *  %




                                                                                  




                                                                


                                                                             
                                                                       
                                                



         
                                                                                   




        
                                                                                     




HIGHLY CONFIDENTIAL                                                                                          D-CNL003677
                                                                                                       Appx. 02326
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50     Page 96 of 533


         EAST WE ST BANK Your financial bridges                          ACCOUNT STATEMENT
                                                                             Page 3 of 6
         135 N. Los Robles Ave., 6TH FL.                    STARTING DATE: December 01, 2019
         Pasadena, CA 91101                                   ENDING DATE: December 31, 2019

              HIGHLAND CAPITAL MANAGEMENT LP


       Date   Transaction Description                                        Subtractions




HIGHLY CONFIDENTIAL                                                                   D-CNL003678
                                                                                Appx. 02327
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50    Page 97 of 533


                                                                         ACCOUNT STATEMENT
        EASTWESTBAN K Your financial bridge®                                 Page 4 of 6
         135 N. Los Robles Ave., 6TH FL.                    STARTING DATE: December 01, 2019
         Pasadena, CA 91101                                   ENDING DATE: December 31, 2019

             HIGHLAND CAPITAL MANAGEMENT LP




HIGHLY CONFIDENTIAL                                                                   D-CNL003679
                                                                                Appx. 02328
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 98 of 533




HIGHLY CONFIDENTIAL                                                                 D-CNL003680
                                                                              Appx. 02329
    Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 99 of 533




HIGHLY CONFIDENTIAL                                                                 D-CNL003681
                                                                              Appx. 02330
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 100 of 533




HIGHLY CONFIDENTIAL                                                                D-CNL003682
                                                                             Appx. 02331
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 101 of 533




                              EXHIBIT 123




                                                                          Appx. 02332
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50                Page 102 of 533



    Page 1 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019            30




              21      HIGHLAND CAPITAL MANAGEMENT LP
                      MASTER OPERATING ACCOUNT
                      300 CRESCENT CT STE 700
                      DALLAS TX 75201-7849




                                                                                    Contacting Us
                                                                                    Available by phone 24/7
    Your BBVA Account(s)                                                     Phone 1-800-266-7277

    Please see important message regarding your                              Online bbvausa.com
    TREASURY MANAGEMENT ANALYSIS CHECKING                                     Write BBVA
    account                                                                         Customer Service
                                                                                    P.O. Box 10566
                                                                                    Birmingham, AL 35296


    Summary of Accounts
    Deposit Accounts/ Other Products
                                                                                Ending balance     Ending balance
    Account                                         Account number               last statement     this statement
    TREASURY MANAGEMENT ANALYSIS CHECKING




    BBVA Compass is now BBVA. Transforming banking to put the world's opportunities in your hands.




HIGHLY CONFIDENTIAL                                                                                                  D-CNL003630
                                                                                                               Appx. 02333
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                     Entered 12/18/21 02:23:50    Page 103 of 533



   Page 2 of 9
   Primary Account:                                                               BBVA
   Beginning June 11.11 ang June 30, 2019                   30




   TREASURY MANAGEMENT ANALYSIS CHECKING
   Account Number:

    Account Information
    We have updated the Treasury Management Service Agreement. These terms and
    conditions will become effective as of August 1, 2019. You can find a current version of
    the agreement by going to:
    http://www.bbvausa.com/commercial/treasury-management/resource-central/
     The user ID is "treasury" and the password is "management."




    Activity Summary




   Deposits and Other Credits
              Check/                                                               Deposits/
   Date •     Serial #   Description                                                Credits

   U

    6/4                  INCOMING WIRE W/ADVICE REF                              $500,000.00
                         20190604F2QCZ60C00344906041614FT03 ORG
                         HIGHLAND CAPITAL M
    6/4                  INCOMING WIRE W/ADVICE REF                              $300,000.00
                         20190604F2QCZ60C00345006041614FT03 ORG
                         NEXPOINT ADVISORS,
   MI

   MI


   U

   U

   U

   U

   U                                                                                  =

   U                                                                                  =




HIGHLY CONFIDENTIAL                                                                                   D-CNL003631
                                                                                                Appx. 02334
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50     Page 104 of 533



   Page 3 of 9
   Primary Account:                                            BBVA
   Beginning June 11nlang      June 30, 2019   30




             Check/                                             Deposits/
   Date      Serial #   Description                               Credits

   •
   U


   U


   •

   •
   •

   •
   •
   •
   •


   •

   •


   •



    Withdrawals and Other Debits
             Check/                                                         Withdrawals/
   Date *    Serial #   Description                                               Debits

   •
   U

   U




   U

   •


HIGHLY CONFIDENTIAL                                                                       D-CNL003632
                                                                                    Appx. 02335
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50    Page 105 of 533



    Page 4 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019   30




                Check/                                                          Withdrawals/
    Date *      Serial #    Description                                               Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003633
                                                                                        Appx. 02336
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50    Page 106 of 533



    Page 5 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019   30




                Check/                                                          Withdrawals/
    Date *      Serial #    Description                                               Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003634
                                                                                        Appx. 02337
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50    Page 107 of 533



    Page 6 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019   30




                Check/                                                          Withdrawals/
    Date *      Serial #    Description                                               Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003635
                                                                                        Appx. 02338
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50    Page 108 of 533



   Page 7 of 9
   Primary Account:                                            BBVA
   Beginning June 1Iniaing     June 30, 2019   30




             Check/                                                        Withdrawals/
   Date *    Serial #   Description                                              Debits

   •
   •
   MI
   MI
   MI
   •
   •
   MI
   MI
   MI
   •                                                                             =
   •
   INI


   MI

   MI
   MI
   •
   IM
   •
   •
   MI
   MI

   MI
   •
   •
   •




HIGHLY CONFIDENTIAL                                                                        D-CNL003636
                                                                                     Appx. 02339
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50    Page 109 of 533



    Page 8 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019   30




                Check/                                                          Withdrawals/
    Date *      Serial #    Description                                               Debits




HIGHLY CONFIDENTIAL                                                                           D-CNL003637
                                                                                        Appx. 02340
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 110 of 533



    Page 9 of 9
    Primary Account:
    Beginning June 1, 2019 - Ending June 30, 2019                               30




    How to Balance Your Account                                             Change of Address
                                                                            Please call us at the telephone number listed on the front of this
    Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
             card (ATM) transactions in your register.
           • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
             transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                            BBVA, Operations Compliance Support, P.O. Box 10566,
           • Record and deduct service charges, check printing
                                                                            Birmingham, AL 35296. Or simply call your local customer service
             charges, or other bank fees.                                   number printed on he front of this statement. Call or write as soon as
           • If you have an interest bearing account, add any               you can, if you think your statement or receipt is wrong or if you need
             interest earned shown on this statement.                       more information about a transfer on the statement or receipt. We
    Step 2 • If applicable, sort checks in numerical order and mark         must hear from you no later than 60 days after we sent the first
             in your register each check or other transaction that is       statement on which the error or problem appeared.
             listed on this statement.
    Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
             appear on this statement (see space provided below).           •   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
    Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
             transactions, electronic payments and other
             deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
             space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                            credit your account for the amount you think is in error, so hat you will have the use of the
                                                                            money during the time it takes us to complete our inves igation.

     Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                            Agreement for details regarding Electronic Fund Transfers.
                                                                    |       Overdraft Protection
                                                                    |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                            computed using your annual percentage rate divided by 365 or, in he case of a leap year, 366,
                                                                    |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                            Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                    |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                            this statement, hen multiplying that sum by the number of days in the billing cycle. To get the
                                                                    |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                        Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                            subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                            balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                            the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
     Date/Description                   Check #        Amount               Payments. Payments to your overdraft protec ion loan account made through our tellers or
                                                                            deposited at our automated teller machines (ATM s) Monday through Friday before he posted
                                                                    |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                            posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                    |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                    |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or any ime
                                                                            Saturday, Sunday or bank holidays. BBVA business days are Monday hrough Friday, excluding
                                                                    |       holidays.

                                                                    |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                        Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                       $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                            2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
     Balancing Your Register to this Statement                              branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                            Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
     Step 5 • Enter the "current balance" shown on this                     from you no later than sixty (60) days after we sent you the first statement on which the error or
              statement                                         |           problem appeared.

              • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
              • Subtotal                                        |
                                                                            ·   Describe the error or he transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
              • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

              • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
                balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                            business days before the automatic deduction is scheduled to occur.
               If it does not agree, see steps below       $    |
                                                                            Reporting Other Problems
    If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
    · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
    · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
      this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
    · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
      match your register entries.
    · If you have questions or need assistance, please refer to the phone   BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
      number on the front of this statement.                                BBVA USA, Member FDIC.




HIGHLY CONFIDENTIAL                                                                                                                                      D-CNL003638
                                                                                                                                                   Appx. 02341
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 111 of 533




                              EXHIBIT 124




                                                                          Appx. 02342
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 112 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003593
                                                                            Appx. 02343
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50       Page 113 of 533


                                                                                   
                                                                                                  
                                                                               
                    
                                                                                  
               !    "

              ##      !$  $




                                                                   




HIGHLY CONFIDENTIAL                                                                        D-CNL003594
                                                                                     Appx. 02344
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50       Page 114 of 533


                                                                                   
                                                                                                  
                                                                               
                    
                                                                                  
               !    "

              ##      !$  $




                                                                   




HIGHLY CONFIDENTIAL                                                                        D-CNL003595
                                                                                     Appx. 02345
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 115 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003596
                                                                            Appx. 02346
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 116 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003597
                                                                            Appx. 02347
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 117 of 533




                              EXHIBIT 125




                                                                          Appx. 02348
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50                Page 118 of 533



   Page 1 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018                28




             21      HIGHLAND CAPITAL MANAGEMENT LP
                     MASTER OPERATING ACCOUNT
                     300 CRESCENT CT STE 700
                     DALLAS TX 75201-7849




                                                                                           Contacting Us
                                                                                           Available by phone 24/7

                                                                                    Phone 1-800-266-7277

                                                                                    Online bbvacompass.com

                                                                                     Write BBVA Compass
                                                                                           Customer Service
                                                                                           P.O. Box 10566
                                                                                           Birmingham, AL 35296




   Summary of Accounts
   Deposit Accounts/ Other Products
                                                                                       Ending balance     Ending balance
   Account                                                 Account number               last statement     this statement




CONFIDENTIAL                                                                                                             D-JDNL-033060
                                                                                                                      Appx. 02349
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50   Page 119 of 533



   Page 2 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018                 28




   TREASURY MANAGEMENT ANALYSIS CHECKING
   Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


   Activity Summary
   Beginning Balance on 2/1/18

   Deposits/Credits (130)

   Withdrawals/Debits (177)

   Ending Balance on 2/28/18



   Deposits and Other Credits
                 Check/                                                               Deposits/
   Date *        Serial #        Description                                           Credits




CONFIDENTIAL                                                                                              D-JDNL-033061
                                                                                                       Appx. 02350
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 120 of 533



   Page 3 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                   Deposits/
   Date *      Serial #    Description                                   Credits




CONFIDENTIAL                                                                                D-JDNL-033062
                                                                                         Appx. 02351
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 121 of 533



   Page 4 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                   Deposits/
   Date *      Serial #    Description                                   Credits




CONFIDENTIAL                                                                                D-JDNL-033063
                                                                                         Appx. 02352
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 122 of 533



   Page 5 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                   Deposits/
   Date *      Serial #    Description                                   Credits




CONFIDENTIAL                                                                                D-JDNL-033064
                                                                                         Appx. 02353
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 123 of 533



   Page 6 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                   Deposits/
   Date *      Serial #    Description                                   Credits




CONFIDENTIAL                                                                                D-JDNL-033065
                                                                                         Appx. 02354
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 124 of 533



   Page 7 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                   Deposits/
   Date *      Serial #    Description                                   Credits




CONFIDENTIAL                                                                                D-JDNL-033066
                                                                                         Appx. 02355
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 125 of 533



   Page 8 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018                                   28




                 Check/                                                                                                Deposits/
   Date *        Serial #       Description                                                                             Credits




   Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
   * The Date provided is the business day that the transaction is processed.



   Withdrawals and Other Debits
                 Check/                                                                                                                  Withdrawals/
   Date *        Serial #       Description                                                                                                    Debits




CONFIDENTIAL                                                                                                                                        D-JDNL-033067
                                                                                                                                                 Appx. 02356
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                      Entered 12/18/21 02:23:50     Page 126 of 533



   Page 9 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018         28




               Check/                                                                    Withdrawals/
   Date *      Serial #    Description                                                         Debits




   2/2                     OUT WT E-ACCESS REF 20180202F2QCZ60C002532                   $3,825,000.00
                           BNF James Dondero




CONFIDENTIAL                                                                                        D-JDNL-033068
                                                                                                 Appx. 02357
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 127 of 533



   Page 10 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                              Withdrawals/
   Date *      Serial #    Description                                                   Debits




CONFIDENTIAL                                                                                  D-JDNL-033069
                                                                                           Appx. 02358
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 128 of 533



   Page 11 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                              Withdrawals/
   Date *      Serial #    Description                                                   Debits




CONFIDENTIAL                                                                                  D-JDNL-033070
                                                                                           Appx. 02359
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 129 of 533



   Page 12 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018   28




               Check/                                                              Withdrawals/
   Date *      Serial #    Description                                                   Debits




CONFIDENTIAL                                                                                  D-JDNL-033071
                                                                                           Appx. 02360
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 130 of 533



   Page 13 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018                                   28




                 Check/                                                                                                                  Withdrawals/
   Date *        Serial #       Description                                                                                                    Debits




   Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
   * The Date provided is the business day that the transaction is processed.




CONFIDENTIAL                                                                                                                                        D-JDNL-033072
                                                                                                                                                 Appx. 02361
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                    Entered 12/18/21 02:23:50      Page 131 of 533



   Page 14 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018       28




   End of Business Day Balance Summary
   Date                            Balance    Date             Balance   Date             Balance




   Summary of Checks
   Date   Check #                  Amount     Date   Check #   Amount    Date   Check #   Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                           D-JDNL-033073
                                                                                                    Appx. 02362
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 132 of 533



   Page 15 of 15
   Primary Account:
   Beginning February 1, 2018 - Ending February 28, 2018                            28




   How to Balance Your Account                                             Change of Address
                                                                           Please call us at the telephone number listed on the front of this
   Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
            card (ATM) transactions in your register.
          • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
            transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                           BBVA Compass Bank, Operations Compliance Support, P.O. Box
          • Record and deduct service charges, check printing
                                                                           10566, Birmingham, AL 35296. Or simply call your local customer
            charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
          • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
            interest earned shown on this statement.                       you need more information about a transfer on the statement or
   Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
            in your register each check or other transaction that is       the first statement on which the error or problem appeared.
            listed on this statement.
   Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
            appear on this statement (see space provided below).           •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                               why you believe it is an error or why you need more information.
   Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
            transactions, electronic payments and other
            deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
            space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                           credit your account for the amount you think is in error, so that you will have the use of the
                                                                           money during the time it takes us to complete our investigation.

    Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                           Agreement for details regarding Electronic Fund Transfers.
                                                                   |       Overdraft Protection
                                                                   |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                           computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                   |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                           Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                   |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                           this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                   |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                       Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                           subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                           balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                           the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
    Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                           deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                   |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                           posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                   |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                   |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                           Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                   |       Friday, excluding holidays.

                                                                   |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                                                            If you think your statement is wrong, or if you need more information about a transaction on your
                                       Step 4 Total   $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                           2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
    Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                           Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
    Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
             statement                                         |           which the error or problem appeared.

             • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
             • Subtotal                                        |
                                                                           ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                               why you believe it is an error or what you need more information.
             • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

             • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
               balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                           business days before the automatic deduction is scheduled to occur.
              If it does not agree, see steps below       $    |
                                                                           Reporting Other Problems
   If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
   · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
   · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
     this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
   · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
     match your register entries.
   · If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
     number on the front of this statement.                                Compass Bank, Member FDIC.




CONFIDENTIAL                                                                                                                                         D-JDNL-033074
                                                                                                                                                  Appx. 02363
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 133 of 533




                              EXHIBIT 126




                                                                          Appx. 02364
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                            Page 134 of 533

  012314542                                                                         6789 ÿ9


                   4020ÿ! 3 74ÿ57 76ÿ22ÿ2
                    6ÿ+78ÿ70452
                   874&8.3&3755
                   $$$&6789 &/
                    ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ:;<=ÿÿ>?@A?A>ÿÿÿÿÿÿÿÿÿÿB;C=ÿÿÿÿÿA
                    ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿBDEF;DGÿHIIJKL<ÿÿÿÿÿÿÿÿÿ
                    ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿPLIQJRKD=R
                    ÿ
                    ÿ
                    ÿ
                    ÿÿÿÿÿÿÿÿÿÿÿSECTQ;LUÿV;WE<;QÿX;L;C=F=L<ÿYB
                    ÿÿÿÿÿÿÿÿÿÿÿ@OOÿVD=RI=L<ÿVJKD<ÿZKE<=ÿ[OO
                    ÿÿÿÿÿÿÿÿÿÿÿ:;QQ;Rÿ\]ÿ[^_OA
                    ÿ
                    ÿ
                    ÿ
                    ÿÿ`=ab;LcdRÿBDEe;IGÿ`J<EI=fÿgTEITÿT;RÿLJ<ÿIT;LC=UfÿERÿ;e;EQ;hQ=ÿJLÿJKDÿg=hRE<=
                    ÿÿ;<ÿgggi`=ab;LciIJF?jEQ=R?WDEe;IGLJ<EI=iWUjiÿÿkjÿGJKÿgJKQUÿQEc=ÿ;ÿIJWGÿJjÿJKD
                    ÿÿBDEe;IGÿ`J<EI=ÿF;EQ=Uÿ<JÿGJKfÿWQ=;R=ÿI;QQÿKRÿ;<ÿl[_ml@NmN[OOi
                    ÿ
                    ÿÿVT=IcELCÿHIIJKL<?R
                    ÿ
                    ÿÿÿÿÿÿÿÿÿÿÿÿHIIJKL<ÿ\GW=nÿÿSECTQ;LUÿV;WE<;QÿX;L;C=F=L<ÿYB
                    ÿ
                    ÿÿHL;QGRERÿVT=IcELCÿg?ÿkL<=D=R<
                    ÿÿHIIJKL<ÿ`KFh=Dÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ      OÿÿÿZ<;<=F=L<ÿ:;<=Rÿÿÿ>?OA?A>ÿ<TDKÿÿl?O@?A>
                    ÿÿY;R<ÿZ<;<=F=L<ÿb;Q;LI=ÿÿÿÿÿÿ           Mÿÿÿ:;GRÿELÿ<T=ÿR<;<=F=L<ÿW=DEJUÿÿÿÿÿÿÿ
                    ÿÿÿÿÿÿMÿ:=WJRE<R?VD=UE<Rÿÿÿÿ             OÿÿÿHe=D;C=ÿY=UC=Dÿÿÿÿÿÿÿÿÿÿÿÿ            A
                    ÿÿÿÿÿÿ@ÿVT=IcR?:=hE<Rÿÿÿÿÿÿÿÿÿ            ÿÿÿHe=D;C=ÿVJQQ=I<=Uÿÿÿÿÿÿÿÿ
                    ÿÿZ=DeEI=ÿVT;DC=ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ OÿÿÿkL<=D=R<ÿP;DL=Uÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                    ÿ
                    ÿ
                    ÿÿmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                    ÿ
                    ÿÿ:=WJRE<Rÿ;LUÿHUUE<EJLR
                    ÿÿ:;<=ÿÿÿÿÿÿ:=RIDEW<EJLÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿHFJKL<




                ÿ
                ÿÿmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                ÿ
                ÿ
         !0!901ÿ2%                         6'+%0ÿ00ÿ+ÿ(r0ÿ2'1ÿ%!('1+6+ÿ%62'1!+%'6
                       ( 4/7 ÿ7757#ÿÿ7ÿ##7ÿ# 7#ÿ ÿÿ7/7 ÿs4ÿ.55ÿ/&ÿ7 ÿ # #ÿ+/7
                        7 ÿs tÿ# 4ÿ$ÿs7ÿ7#7#ÿÿÿ ÿ# 7&ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ




  7111171 71 1 1!1"#$1%67 71 7 &'1("92)*+215*,2*ÿ-!ÿ!!ÿ6789 ÿ2.5&/                                 21.
CONFIDENTIAL                                                                                                                                 D-JDNL-033057
                                                                                                                                          Appx. 02365
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                            Entered 12/18/21 02:23:50                                     Page 135 of 533

  012314542                                                                              6789 ÿ9

                 4020ÿ! 3 74ÿ57 76ÿ22ÿ2
                  6ÿ+78ÿ70452
                 874&8.3&3755
                 $$$&6789 &/
                  ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ:;<=ÿÿ>?@A?A>ÿÿÿÿÿÿÿÿÿÿB;C=ÿÿÿÿÿD
                  ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿBEFG;EHÿIJJKLM<ÿÿÿÿÿÿÿÿÿÿÿ
                  ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿQMJRKSLE=S
                  ÿ
                  ÿ
                  ÿ
                  ÿÿIM;RHSFSÿTU=JVFMCÿW?ÿXM<=E=S<ÿÿÿÿÿÿÿÿÿÿÿÿ         ÿÿYTKM<FML=Z[
                  ÿ
                  ÿÿTU=JVSÿ;MZÿ\F<UZE;W;RS
                  ÿÿ:;<=ÿÿÿÿÿÿ:=SJEF]<FKMÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿIGKLM<
                  ÿÿÿ>?PAÿÿÿÿÿX^ÿ_E;MS`=Eÿ`EKGÿ:ÿaaaaA@Pÿ<KÿÿÿÿÿÿÿÿÿÿÿDbcPPbPPPdPPe
                  ÿÿÿÿÿÿÿÿÿÿÿÿ:ÿaaaa>>O
                  ÿÿÿ>?A@ÿÿÿÿÿX^ÿ_E;MS`=Eÿ`EKGÿ:ÿaaaaA@Pÿ<KÿÿÿÿÿÿÿÿÿÿÿDbcPPbPPPdPPe
                  ÿÿÿÿÿÿÿÿÿÿÿÿ:ÿaaaa>>O
                  ÿ
                  ÿÿeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeeee
                  ÿ
                  ÿÿ:;FRHÿ^;R;MJ=ÿXM`KEG;<FKM
                  ÿÿ:;<=ÿÿÿÿÿÿÿÿÿÿ^;R;MJ=ÿÿÿÿÿÿÿ:;<=ÿÿÿÿÿÿÿÿÿÿ^;R;MJ=ÿÿÿÿÿÿÿ:;<=ÿÿÿÿÿÿÿÿÿÿ^;R;MJ=




                  ÿ
                  ÿÿQMZÿK`ÿi<;<=G=M<
                  ÿ
                  ÿ
                  ÿ




         !0!901ÿ2%                              6'+%0ÿ00ÿ+ÿ(k0ÿ2'1ÿ%!('1+6+ÿ%62'1!+%'6
                            ( 4/7 ÿ7757#ÿÿ7ÿ##7ÿ# 7#ÿ ÿÿ7/7 ÿl4ÿ.55ÿ/&ÿ7 ÿ # #ÿ+/7
                            7 ÿl mÿ# 4ÿ$ÿl7ÿ7#7#ÿÿÿ ÿ# 7&ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ




  7111171 71 1 1!1"#$1%67 71 7 &'1("92)*+215*,2*ÿ-!ÿ!!ÿ6789 ÿ2.5&/                                               41.
CONFIDENTIAL                                                                                                                                              D-JDNL-033058
                                                                                                                                                       Appx. 02366
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                            Entered 12/18/21 02:23:50                              Page 136 of 533

  012314542                                                                              6789 ÿ9
                                   '++6%60ÿ-12                                           31'6%%+%'6ÿ%6+3+%'6
                   4567869:9;<978ÿ7>ÿ?667@8<                                7ÿAAAAAAAAAAAAAAAAAAAAAAAAAAA
                              -12ÿ"3%++16ÿ9+ÿ6'+ÿ(%                  ÿ
                       6!913                    !'6+                    ÿÿÿÿÿ(7 7ÿ78/7ÿÿ7/7 ÿ #
                   ÿ                   ÿ            ÿ         ÿ            7/ÿÿ 7ÿ #ÿ77ÿ Bÿ787 
                   ÿ                   ÿ            ÿ         ÿ            //7#7B&
                                                                           ÿ
                   ÿ                   ÿ            ÿ         ÿ            ÿÿÿÿÿÿBÿ7 ÿ/7 BÿÿCB
                   ÿ                   ÿ            ÿ         ÿ            # 7ÿ7#&
                   ÿ                   ÿ            ÿ         ÿ            ÿ
                   ÿ                   ÿ            ÿ         ÿ            ÿÿÿÿÿ! ÿÿÿBÿ7 Cÿ7 ÿ
                   ÿ                   ÿ            ÿ         ÿ            Bÿ7 ÿ #ÿCBÿ7ÿC ÿ #ÿÿ7
                                                                             /C7ÿ #ÿ/ ÿÿ7ÿÿ #ÿ
                   ÿ                   ÿ            ÿ         ÿ            7ÿ 7ÿD#7#ÿÿ7ÿ7&ÿ% #7ÿ B
                   ÿ                   ÿ            ÿ         ÿ              7 ÿÿÿ #ÿ/ÿ7D
                   ÿ                   ÿ            ÿ         ÿ            7/7 &
                   ÿ                   ÿ            ÿ         ÿ            ÿ
                   ÿ                   ÿ            ÿ         ÿ            ÿÿÿÿÿC ÿ/ÿBÿ7 C
                                                                           C  7ÿ Bÿ13E%1ÿ-301ÿF&&Gÿ
                   ÿ                   ÿ            ÿ         ÿ            C ÿ H7ÿ7 Hÿ ÿÿ7/7 &
                   ÿ                   ÿ            ÿ         ÿ            ÿ
                   ÿ                   ÿ            ÿ         ÿ            ÿÿÿÿÿ37 7ÿBÿ7/7 ÿÿ7
                   ÿ                   ÿ            ÿ         ÿ              7ÿD#7#ÿC7$&
                   ÿ                   ÿ            ÿ         ÿ            ÿ
                   ÿ                   ÿ            ÿ         ÿ
                   ÿ                   ÿ            ÿ         ÿ            1 7ÿC ÿC  7                   ÿ        ÿ                             ÿ
                   ÿ                   ÿ            ÿ         ÿ                /ÿ7/7 
                   ÿ                   ÿ            ÿ         ÿ              ##ÿ#7ÿ                ÿ        ÿ                             ÿ
                   ÿ                   ÿ            ÿ         ÿ                 7#7#ÿCBÿC                ÿ        ÿ                             ÿ
                   ÿ                   ÿ            ÿ         ÿ                     Fÿ BG                 ÿ        ÿ                             ÿ
                   ÿ                   ÿ            ÿ         ÿ                                      +'+ ÿ         ÿ                             ÿ
                   ÿ                   ÿ            ÿ         ÿ
                     +ÿÿ7  ÿ                ÿ         ÿ                 C   
                                                                                        ÿ
                                                                                          
                                                                                            ÿ             ÿ        ÿ                             ÿ
                         ÿ #                                                 7 ÿÿ #
                                                IJKLÿ?MNOPIÿLJNOQRÿSTO?QÿUNO4ÿVJSVWXNNWÿX?Q?PVSYZÿ                   ÿ                             ÿ
                                ?8[ÿV\;]^5ÿ>7]ÿK_`]98<5aÿV\56bcÿK86:@a5cÿL<;<5ÿL;:5cÿI;dÿV7_`@<5aÿ;<ÿ<\5ÿV@]]58<ÿ4;<5eÿf\58ÿ?``:96;g:5
                                                 P7<965hÿI\5ÿ?88@;:ÿi5]658<;^5ÿ4;<5ÿ;8aÿR;9:[ÿi5]97a96ÿ4;<5ÿ_;[ÿj;][k
                                         SliQ?P?IKNPÿNmÿX?Q?PVSÿNPÿfJKVJÿIJSÿKPIS4SLIÿVJ?4nSÿKLÿVNMiOISR
          "7ÿH7ÿ7ÿ77ÿ H7ÿ ÿBÿ  ÿCBÿBHÿ7ÿ7#ÿ7ÿÿ7ÿo# BÿC  7oÿÿBÿ  ÿÿ7 ÿ# Bÿÿ7ÿCHÿB7&ÿ+ÿH7ÿ7ÿo# B
          C  7oÿ$7ÿ 7ÿ7ÿC7H HÿC  7ÿÿBÿ  ÿ7 ÿ# Bpÿ##ÿ Bÿ7$ÿ#D 7177pÿ #ÿC ÿ Bÿ  #ÿ77ÿÿ7ÿ 7ÿ H7ÿ #ÿ B
           B/7 ÿÿ7#&ÿ+ÿHD7ÿÿ7ÿ# BÿC  7&
                                             fJ?IÿINÿRNÿKmÿUNOÿIJKPWÿUNOÿmKPRÿ?ÿMKLI?WSÿNPÿUNO4ÿLI?ISMSPI
          %ÿBÿ ÿ77ÿÿ ÿ7ÿ ÿBÿ7/7 pÿ$7ÿÿÿ
          P5dX;8b
          4020ÿ! 2 7BÿD7 7pÿ22ÿq
           pÿ+78ÿr0452
          sÿ/ Bÿÿ  ÿÿ ÿ7ÿ"7Cÿ$$$&78C &/
          %ÿBÿ77pÿHD7ÿÿ7ÿ$Hÿ/  
                      ÿ%/  ÿsÿ /7ÿ #ÿ  ÿ/C7&
                    ÿ/ ÿ+7ÿ#ÿ/ ÿÿ7ÿ77#ÿ7&
                    7 ÿÿ(C7/ÿ%ÿBÿ ÿ77ÿÿ ÿ7ÿ ÿBÿCpÿ#7C7ÿ$ ÿBÿC77D7ÿÿ$ Hÿ #ÿ$BÿBÿC77D7ÿÿÿÿ/ 7&
          sÿ/ÿ  ÿÿ$ÿt5ÿ# Bÿ7ÿ7ÿ7ÿ7 7#ÿ ÿBÿ7/7 &
          sÿ/ÿBÿÿÿ Bÿ7 ÿ7ÿÿ$Hÿÿ77  B&ÿsÿ/ Bÿ ÿpÿCÿÿBÿ#ÿ$7ÿ7ÿÿ7u7#ÿÿD7H 7ÿ Bÿ7 ÿ7ÿ #ÿB
          / Bÿ D7ÿÿ Bÿ7ÿ/ ÿÿu7 &
          "7ÿ$7ÿD7H 7ÿ$77ÿÿÿ77ÿ ÿC77 ÿ ÿ7pÿ7ÿ$Hÿ7ÿ7
                    "7ÿ ÿBÿÿ7ÿ7ÿ/ ÿÿu7 pÿÿ7ÿBÿÿ#7u7 ÿ ÿ ÿ/ &
                    +7ÿ H7ÿÿu7 ÿ/ Bÿ7/ ÿ ÿBÿ7/7 pÿ #ÿ$7ÿ/ Bÿ 7ÿÿ H7ÿBÿ77ÿ ÿ ÿ/ &ÿ9pÿÿ$7ÿ#77/7ÿ ÿ$7ÿ/ #7ÿ
                    / 7pÿBÿ$ÿÿ D7ÿÿ Bÿ7ÿ/ ÿÿu7 ÿÿ Bÿ77ÿÿ7ÿ77ÿ77#ÿÿ ÿ/ &
                    "7ÿBÿ#ÿÿ D7ÿÿ Bÿ7ÿ/ ÿÿu7 pÿBÿ7ÿ7 C7ÿÿ7ÿ7/ #7ÿÿBÿC  7&
                    "7ÿ ÿBÿ Bÿ  #ÿ/ ÿH ÿBÿ7#ÿ/&
                                         KPÿV?LSÿNmÿS44N4LÿN4ÿTOSLIKNPLÿ?XNOIÿUNO4ÿSQSVI4NPKVÿI4?PLmS4L
          %ÿ 7ÿÿ1ÿÿv7 ÿCÿsÿ17 ÿ+ 7pÿ+77 7ÿÿÿwr4&w.3&3r55ÿÿ"7ÿÿÿ6789 pÿ4020ÿ! 2 7BÿD7 7pÿ22ÿqpÿ p
          +78ÿr0452ÿÿ ÿÿBÿ pÿÿBÿ ÿBÿ7/7 ÿÿ77ÿÿ$ HÿÿÿBÿ77#ÿ/7ÿ/  ÿCÿÿ 7ÿ ÿ7ÿ7/7 ÿÿ77&ÿ"7
          /ÿ7 ÿ/ÿBÿÿ7ÿ ÿt5ÿ# Bÿ7ÿ$7ÿ7 ÿBÿ7ÿq%3+ÿ7/7 ÿ ÿ$ÿ7ÿ7ÿÿC7/ÿ7 7#&
          ÿÿÿÿÿF2Gÿ+7ÿÿBÿ /7ÿ #ÿ  ÿ/C7ÿFÿ BG&
          ÿÿÿÿÿF4Gÿ7C7ÿ7ÿ7ÿÿ 7ÿBÿ7ÿ 7ÿCpÿ #ÿ78ÿÿ7 BÿÿBÿ ÿ$BÿBÿC77D7ÿÿÿ
          ÿÿÿÿÿ ÿ7ÿÿ$BÿBÿ77#ÿ/7ÿ/  &
          ÿÿÿÿÿF.Gÿ+7ÿÿ7ÿ#ÿ/ ÿÿ7ÿ77#ÿ7&
          ÿÿÿÿÿ"7ÿ$ÿD7H 7ÿBÿ/ÿ #ÿ$ÿ7ÿ Bÿ7ÿ/B&ÿ%ÿ$7ÿ 7ÿ/7ÿ ÿ25ÿC7ÿ# Bÿÿ#ÿpÿ$7ÿ$ÿ7#ÿBÿ  ÿÿ7
            / ÿBÿ ÿÿÿ7pÿÿ ÿBÿ$ÿ D7ÿ7ÿÿ7ÿ/ 7Bÿ#Hÿ7ÿ/7ÿÿ 7ÿÿÿ/77ÿÿD7H  &




  7111171 71 1 1!1"#$1%67 71 7 &'1("92)*+215*,2*ÿ-!ÿ!!ÿ6789 ÿ2.5&/                                                  .1.
CONFIDENTIAL                                                                                                                                        D-JDNL-033059
                                                                                                                                                 Appx. 02367
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 137 of 533




                              EXHIBIT 127




                                                                          Appx. 02368
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                            Entered 12/18/21 02:23:50                              Page 138 of 533

012314542                                                                             6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                   4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                   444444444444444444444444444444444444444444444444444 4 444444444
                   444444444444444444444444444444444444444444444444444 
                   4
                   4
                   4
                   4444444444 ! "4# $ 4%     4&
                   4444444444'((4#   4# 4) 4*((
                   44444444449  4+,4* (
                   4
                   4
                   4
                   4- ./ 0142 444  3 4 44445- ./ 05
                   4
                   4
                   4
                   4#! 04 
                   4
                   44444444444 4+$ 644 ! "4# $ 4%     4&
                   4
                   4 4#! 04447  
                   4 4-3 444444444444444444        444)   49 444 ( 4 !44 '
                   4&  4)   4/   4444                 4449 44 ! 4   4$ "44444444
                   44444849 $ # " 44444             4442   4& " 444444444444
                   4444484#! 09 3 4444444               442   4#  "44444444
                   4) 2 4#!  4444444444444444444444 4447   4  "444444444444444
                   47   4 "4444444444444444             44 4    49 "4  "4444
                   4+!4)   4/   4444                 444( 47   4 "44444444444
                   4
                   4:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                   4
                   49 $ 4 "4"" 
                   49 4444449 $ 44444444444444444444444444444444444




              4
              4:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
              4
              4#! 04 "4; !" 4 
              49 4444449 $ 44444444444444444444444444444444444
              4
              4
              4
       01021345678                            <=>781?4@114AB@>4CBD145=3470C=3>B<>47<5=30B>7=<
                     CEFGHIJK4LHMHNOHP4EJ4JQH4EPPLHKK4NIPNMEJHP4RI4JQNK4KJEJHGHIJ4SF4T?UU4VGW48HIJLEX4@JEIPELP4>NGH
                      HEMQ4SEIYNIZ4PEF4[NXX4SH4MLHPNJHP4EK4R\4JQEJ4PEJHW444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                     HCMS000094
                                                                                                                                               Appx. 02369
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 139 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4 4 ! "4#4$   444444444444         %44&   '(
                4
                4 ! "4 '4) !' # 
                49 4444449 * 44444444444444444444444444444444444




                44 44444$+4, - 4-494..../%4 4444444444444 %%0%%%1%%2
                4444444444494....3 3
                4
                422222222222222222222222222222222222222222222222222222222222222222222222222222222222
                4
                49 4+   4$- 
                49 4444444444+   44444449 4444444444+   44444449 4444444444+  

                4
                422222222222222222222222222222222222222222222222222222222222222222222222222222222222
                4
                4444444444444444444444444444$   44 45 
                444444444444444444444444449 4444444444444444
                44444444444444444444444444
                4
                4'4-45  
                4
                4
                4




       01021345678                               67878194:114;<:84=<>14573470=738<684765730<8776
                         =?@ABCDE4FBGBHIBJ4?D4DKB4?JJFBEE4HCJHG?DBJ4LC4DKHE4ED?DBABCD4M@4N9OO4PAQ48BCDF?R4:D?CJ?FJ48HAB
                         B?GK4M?CSHCT4J?@4UHRR4MB4GFBJHDBJ4?E4LV4DK?D4J?DBQ444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000095
                                                                                                                                                          Appx. 02370
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 140 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000096
                                                                                                                                                           Appx. 02371
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 141 of 533




                              EXHIBIT 128




                                                                          Appx. 02372
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50                Page 142 of 533



 Page 1 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015                31




           21      HIGHLAND CAPITAL MANAGEMENT LP
                   MASTER OPERATING ACCOUNT
                   300 CRESCENT CT STE 700
                   DALLAS TX 75201-7849




                                                                                       Contacting Us
                                                                                       Available by phone 24/7

                                                                                Phone 1-800-266-7277

                                                                                Online bbvacompass.com

                                                                                 Write BBVA Compass
                                                                                       Customer Service
                                                                                       P.O. Box 10566
                                                                                       Birmingham, AL 35296




 Summary of Accounts
 Deposit Accounts/ Other Products
                                                                                   Ending balance     Ending balance
 Account                                               Account number               last statement     this statement


 Total Deposit Accounts




                                                                                                                        HCMS000156
                                                                                                                  Appx. 02373
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                           Entered 12/18/21 02:23:50   Page 143 of 533



 Page 2 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015                31




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                 - HIGHLAND CAPITAL MANAGEMENT LP


 Activity Summary
 Beginning Balance on 10/1/15

 Deposits/Credits (25)

 Withdrawals/Debits (154)

 Ending Balance on 10/31/15



 Deposits and Other Credits
               Check/                                                            Deposits/
 Date *        Serial #     Description                                           Credits




                                                                                                        HCMS000157
                                                                                                  Appx. 02374
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 144 of 533



 Page 3 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015                                     31




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits



 10/1                         OUT WT E-ACCESS REF 20151001F2QCZ60C001349                                                               $350,000.00
                              BNF Highland Capital M




 10/2                         OUT WT E-ACCESS REF 20151002F2QCZ60C001218                                                               $310,000.00
                              BNF Jefferies LLC




                                                                                                                                                     HCMS000158
                                                                                                                                               Appx. 02375
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50     Page 145 of 533



 Page 4 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015   31




             Check/                                                            Withdrawals/
 Date *      Serial #    Description                                                 Debits




                                                                                             HCMS000159
                                                                                       Appx. 02376
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 146 of 533



 Page 5 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015                                     31




               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




 10/30                        OUT WT E-ACCESS REF 20151030F2QCZ60C002353                                                               $100,000.00
                              BNF Highland Capital M
 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                             Balance




                                                                                                                                                        HCMS000160
                                                                                                                                                  Appx. 02377
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                    Entered 12/18/21 02:23:50    Page 147 of 533



 Page 6 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015         31




 Summary of Checks
 Date   Check #                  Amount    Date    Check #   Amount   Date   Check #   Amount




 * Indicates break in check sequence




                                                                                                      HCMS000161
                                                                                                Appx. 02378
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 148 of 533



 Page 7 of 7
 Primary Account:
 Beginning October 1, 2015 - Ending October 31, 2015                              31




 How to Balance Your Account                                             Change of Address
                                                                         Please call us at the telephone number listed on the front of this
 Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
          card (ATM) transactions in your register.
        • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
          transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                         BBVA Compass Bank, Operations Compliance Support, P.O. Box
        • Record and deduct service charges, check printing
                                                                         10566, Birmingham, AL 35296. Or simply call your local customer
          charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
        • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
          interest earned shown on this statement.                       you need more information about a transfer on the statement or
 Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
          in your register each check or other transaction that is       the first statement on which the error or problem appeared.
          listed on this statement.
 Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
          appear on this statement (see space provided below).           •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or why you need more information.
 Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
          transactions, electronic payments and other
          deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
          space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                         credit your account for the amount you think is in error, so that you will have the use of the
                                                                         money during the time it takes us to complete our investigation.

  Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                         Agreement for details regarding Electronic Fund Transfers.
                                                                 |       Overdraft Protection
                                                                 |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                         computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                 |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                         Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                 |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                         this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                 |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                     Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                         subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                         balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                         the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
  Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                         deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                 |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                         posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                 |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                 |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                         Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                 |       Friday, excluding holidays.

                                                                 |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                     Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                    $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                         2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
  Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                         Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
  Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
           statement                                         |           which the error or problem appeared.

           • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
           • Subtotal                                        |
                                                                         ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or what you need more information.
           • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

           • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
             balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                         business days before the automatic deduction is scheduled to occur.
            If it does not agree, see steps below       $    |
                                                                         Reporting Other Problems
 If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
 · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
 · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
   this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
 · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
   match your register entries.
 · If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
   number on the front of this statement.                                Compass Bank, Member FDIC.




                                                                                                                                                      HCMS000162
                                                                                                                                                Appx. 02379
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 149 of 533




                              EXHIBIT 129




                                                                          Appx. 02380
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 150 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 4444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4444444444 ! "4# $ 4%     4&
                44444444444#   4# 4' 4(
                44444444449  4)*4(+
                4
                4
                4
                4, -. /041 444  2 4 43334, -. /4
                4
                4
                4
                4#! /4 
                4
                44444444444 4)$ 544 ! "4# $ 4%     4&
                4
                4 4#! /4346  
                4 4,2 444444444444444444       444'   49 44   4 !4   
                4&  4'   4.   44444444             4449 44 ! 4   4$ "44444444
                4444 +49 $ # " 44444            (4441   4& " 444444444444
                444444#! /9 2 4444444               441   4#  "444444444
                4' 1 4#!  4444444444444444444444 4446   4  "44444444444444
                46   4 "444444444444444444           44 4    47 "4  "44444
                4)!4'   4.   4444                 444+ 46   4 "44444444444
                4
                488888888888888888888888888888888888888888888888888888888888888888888888888888888888
                4
                49 $ 4 "4"" 




              4
              4
       01021345678                               9:;781<4=114>?=;4@?A145:3470@:3;?9;4795:30?;7:9
                         @BCDEFGH4IEJEKLEM4BG4GNE4BMMIEHH4KFMKJBGEM4OF4GNKH4HGBGEDEFG4PC4Q<RR4SDT48EFGIBU4=GBFMBIM4;KDE
                         EBJN4PBFVKFW4MBC4XKUU4PE4JIEMKGEM4BH4OY4GNBG4MBGET444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000166
                                                                                                                                                          Appx. 02381
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 151 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4   4!" #4$4%  44444444444444 & ' 44(!  )*
                4
                49 +  4 )4)) 
                49 4444449 + 44444444444444444444444444444444444

                4
                4,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                4
                4!" # 4 )4- ") $ 
                49 4444449 + 44444444444444444444444444444444444


                4 .44444/012/%324-%44444444444444444444444444444456,
                444444444447%278394!%18492914:4;%!:


                4
                4,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                4
                49 4<   4%= 
                49 4444444444<   44444449 4444444444<   44444449 4444444444<  


                4
                4,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                4
                4444444444444444444444444444%  44 4: 
                444444444444444444444444449 4444444444444444
                44444444444444444444444444
                4
                4)4=4:  
                4


       01021345678                               >?@781A4B114CDB@4EDF145?3470E?3@D>@47>5?30D@7?>
                         EGHIJKLM4NJOJPQJR4GL4LSJ4GRRNJMM4PKRPOGLJR4TK4LSPM4MLGLJIJKL4UH4VAWW4XIY48JKLNGZ4BLGKRGNR4@PIJ
                         JGOS4UGK[PK\4RGH4]PZZ4UJ4ONJRPLJR4GM4T^4LSGL4RGLJY444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000167
                                                                                                                                                          Appx. 02382
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 152 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000168
                                                                                                                                                           Appx. 02383
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 153 of 533




                              EXHIBIT 130




                                                                          Appx. 02384
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 154 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4444444444 ! "4# $ 4%     4&
                44444444444#   4# 4' 4(
                44444444449  4)*4(+
                4
                4
                4
                4, -. /041 444  2 4 43334, -. /4
                4
                4
                4
                4#! /4 
                4
                44444444444 4)$ 544 ! "4# $ 4%     4&
                4
                4 4#! /4346  
                4 4,2 444444444444444444        444'   49 44   4 !4   
                4&  4'   4.   44444444              449 44 ! 4   4$ "44444444
                4444 +49 $ # " 4444              4441   4& " 444444444444
                444444#! /9 2 44444444              441   4#  "44444444
                4' 1 4#!  44444444444444444444444 4446   4  "444444444444444
                46   4 "444444444444444444          444 4    47 "4  "44444
                4)!4'   4.   44444               444+ 46   4 "444444444444
                4
                488888888888888888888888888888888888888888888888888888888888888888888888888888888888
                4
                49 $ 4 "4"" 
                49 4444449 $ 44444444444444444444444444444444444




              4
              4
       01021345678                               9:;781<4=114>?=;4@?A145:3470@:3;?9;4795:30?;7:9
                         @BCDEFGH4IEJEKLEM4BG4GNE4BMMIEHH4KFMKJBGEM4OF4GNKH4HGBGEDEFG4PC4Q<RR4SDT48EFGIBU4=GBFMBIM4;KDE
                         EBJN4PBFVKFW4MBC4XKUU4PE4JIEMKGEM4BH4OY4GNBG4MBGET444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000163
                                                                                                                                                          Appx. 02385
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 155 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4   4!" #4$4%  4444444444444           44&!  '(
                4
                49 )  4 '4'' 
                49 4444449 ) 44444444444444444444444444444444444

                4
                4***********************************************************************************
                4
                4!" # 4 '4+ "' $ 
                49 4444449 ) 44444444444444444444444444444444444
                4 44444,-./,%0/4+%1444444444444444444444444444 2  234546*
                444444444447%/78094!%.8490/90.48
                4  344444,-./,%0/4+%1444444444444444444444444444442: 536*
                444444444447%/78094!%.8490/90.48
                4 444444,-./,%0/4+%14444444444444444444444444444425*
                444444444447%/78094!%.849/9.4;1<%!;
                4
                4***********************************************************************************
                4
                49 4=   4%> 
                49 4444444444=   44444449 4444444444=   44444449 4444444444=  


                4
                4***********************************************************************************
                4
                4444444444444444444444444444%  41 4; 
                444444444444444444444444449 4444444444444441
                44444444444444444444444444
                4
                4'4>4;  
                4


       01021345678                               ?@A781B4C114DECA4FEG145@3470F@3AE?A47?5@30EA7@?
                         FHIJKLMN4OKPKQRKS4HM4MTK4HSSOKNN4QLSQPHMKS4UL4MTQN4NMHMKJKLM4VI4WBXX4YJZ48KLMOH[4CMHLSHOS4AQJK
                         KHPT4VHL\QL]4SHI4^Q[[4VK4POKSQMKS4HN4U_4MTHM4SHMKZ444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000164
                                                                                                                                                          Appx. 02386
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 156 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000165
                                                                                                                                                           Appx. 02387
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 157 of 533




                              EXHIBIT 131




                                                                          Appx. 02388
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50                              Page 158 of 533




   Customer Account Number:   AE: PB2       Statement Period: November 01, 2015 to November 30, 2015                                            PAGE 1 of 5

   MARKET INDICES
   Index




                                                                                                              HIGHLAND CAPITAL MANAGEMENT
                                                                                                              SERVICES INC
                                                                                                              ATTN CARTER CHISIM
                                                                                                              300 CRESCEN COURT
                                                                                                              SUITE 700
                                                                                                              DALLAS TX 75201-7849




   ACCOUNT VALUE SUMMARY                                                            DIVIDENDS, INTEREST, AND TAX ACTIVITY SUMMARY
   Description                   As of 10/30/15             This Period             Description                               This Statement    Year to Date




   TOTAL                                                                            TOTAL INCOME




                                                                                    TOTAL EXPENSES


                                   THIS SUMMARY IS FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED AS A TAX DOCUMENT.
                                                    THIS STATEMENT SHOULD BE RETAINED FOR YOUR RECORDS.



                                                                                                                                                 HCMS000172
                                                                                                                                               Appx. 02389
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50       Page 159 of 533




   Customer Account Number:   AE: PB2   Statement Period: November 01, 2015 to November 30, 2015          PAGE 2 of 5




                                                                                                           HCMS000173
                                                                                                         Appx. 02390
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                                    Page 160 of 533




   Customer Account Number:                    AE: PB2         Statement Period: November 01, 2015 to November 30, 2015                                                       PAGE 3 of 5


   INCOME AND DISTRIBUTION ACTIVITY
                                  Account                                                                                                                               Amount
   Date      Transaction          Type                   Quantity      Description                                                           Rate               Debit              Credit




   11/23     WIRE                 CASH                                 WIRE IN HIGHLAND CAPITAL                                                                                100,000.00
                                                                       AC 43100933
                                                                       TwoFour TradeNumber 301033575




                                                                                                                                               .24




   TOTAL INCOME AND DISTRIBUTION ACTIVITY:


   OTHER ACTIVITY
                                  Account                                                                                                                               Amount
   Date      Transaction          Type                   Quantity      Description                                                                              Debit              Credit




   TOTAL OTHER ACTIVITY:


   PORTFOLIO SUMMARY
   Bond ratings are provided by Moody s and Standard & Poor s, respectively. For more information about bond ratings please contact your financial advisor. Estimated figures shown are
   estimates and actual yield and income may differ.
   EQUITIES - LONG POSITIONS: 91.30% of Portfolio
                                                                                                                                                           Estimated           Estimated
   Account                                                                             Symbol/                        Current             Market               Annual
   Type                Quantity       Description                                      Cusip                            Price              Value              Income                Yield




                                                                                                                                                                             HCMS000174
                                                                                                                                                                           Appx. 02391
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50                Page 161 of 533




   Customer Account Number:             AE: PB2    Statement Period: November 01, 2015 to November 30, 2015                          PAGE 4 of 5


   EQUITIES - LONG POSITIONS (Continued)
                                                                                                                       Estimated      Estimated
   Account                                                               Symbol/                    Current   Market       Annual
   Type             Quantity   Description                               Cusip                        Price    Value      Income           Yield




                               MARKET VALUE OF EQUITIES - LONG POSITIONS


   MUTUAL FUNDS: 8.60% of Portfolio
                                                                                                                       Estimated      Estimated
   Account                                                               Symbol/                    Current   Market       Annual
   Type             Quantity   Description                               Cusip                        Price    Value      Income           Yield



                               TOTAL - MUTUAL FUNDS




                                                                                                                                      HCMS000175
                                                                                                                                    Appx. 02392
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50       Page 162 of 533




   Customer Account Number:   AE: PB2   Statement Period: November 01, 2015 to November 30, 2015          PAGE 5 of 5

   Customer Notice




                                                      *** END OF STATEMENT ***




                                                                                                           HCMS000176
                                                                                                         Appx. 02393
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 163 of 533




                              EXHIBIT 132




                                                                          Appx. 02394
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 164 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4444444444 ! "4# $ 4%     4&
                44444444444#   4# 4' 4(
                44444444449  4)*4(+
                4
                4
                4
                4, -. /041 444  2 4 43334, -. /4
                4
                4
                4
                4#! /4 
                4
                44444444444 4)$ 544 ! "4# $ 4%     4&
                4
                4 4#! /4346  
                4 4,2 444444444444444444        444'   49 44 + 4 !4  
                4&  4'   4.   4444                 4449 44 ! 4   4$ "44444444
                44444749 $ # " 44444            4441   4& " 44444444444
                444444#! /9 2 4444444444           4441   4#  "444444444
                4' 1 4#!  44444444444444444444444 4446   4  "44444444444444
                46   4 "44444444444444444           444 4    48 "4  "4444
                4)!4'   4.   4444                444+ 46   4 "44444444444
                4
                499999999999999999999999999999999999999999999999999999999999999999999999999999999999
                4
                49 $ 4 "4"" 
                49 4444449 $ 44444444444444444444444444444444444




              4
              4
       01021345678                               :;<781=4>114?@><4A@B145;3470A;3<@:<47:5;30@<7;:
                         ACDEFGHI4JFKFLMFN4CH4HOF4CNNJFII4LGNLKCHFN4PG4HOLI4IHCHFEFGH4QD4R=SS4TEU48FGHJCV4>HCGNCJN4<LEF
                         FCKO4QCGWLGX4NCD4YLVV4QF4KJFNLHFN4CI4PZ4HOCH4NCHFU444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000169
                                                                                                                                                          Appx. 02395
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 165 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4   4!" #4$4%  444444444444            44&!  '(
                4
                4)))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))
                4
                4!" # 4 '4* "' $ 
                49 4444449 + 44444444444444444444444444444444444


                4 ,44444%-4.  / 4/4940000 4 444444444444412)
                4444444444494000033
                4
                4)))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))
                4
                49 4-   4%/ 
                49 4444444444-   44444449 4444444444-   44444449 4444444444-  


                4
                4)))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))
                4
                4444444444444444444444444444%  44 45 
                444444444444444444444444449 4444444444444444
                44444444444444444444444444
                4
                4'4/45  
                4
                4




       01021345678                               67878194:114;<:84=<>14573470=738<684765730<8776
                         =?@ABCDE4FBGBHIBJ4?D4DKB4?JJFBEE4HCJHG?DBJ4LC4DKHE4ED?DBABCD4M@4N9OO4PAQ48BCDF?R4:D?CJ?FJ48HAB
                         B?GK4M?CSHCT4J?@4UHRR4MB4GFBJHDBJ4?E4LV4DK?D4J?DBQ444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000170
                                                                                                                                                          Appx. 02396
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 166 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000171
                                                                                                                                                           Appx. 02397
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 167 of 533




                              EXHIBIT 133




                                                                          Appx. 02398
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 168 of 533




                                                                                HCMS000072
                                                                          Appx. 02399
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 169 of 533




                                                                                HCMS000073
                                                                          Appx. 02400
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 170 of 533




                                                                                HCMS000074
                                                                          Appx. 02401
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 171 of 533




                                                                                HCMS000075
                                                                          Appx. 02402
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 172 of 533




                                                                                HCMS000076
                                                                          Appx. 02403
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 173 of 533




                                                                                HCMS000077
                                                                          Appx. 02404
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 174 of 533




                              EXHIBIT 134




                                                                          Appx. 02405
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50                Page 175 of 533



 Page 1 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016                29




           21      HIGHLAND CAPITAL MANAGEMENT LP
                   MASTER OPERATING ACCOUNT
                   300 CRESCENT CT STE 700
                   DALLAS TX 75201-7849




                                                                                         Contacting Us
                                                                                         Available by phone 24/7

                                                                                  Phone 1-800-266-7277

                                                                                  Online bbvacompass.com

                                                                                   Write BBVA Compass
                                                                                         Customer Service
                                                                                         P.O. Box 10566
                                                                                         Birmingham, AL 35296




 Summary of Accounts
 Deposit Accounts/ Other Products
                                                                                     Ending balance     Ending balance
 Account                                                 Account number               last statement     this statement


 Total Deposit Accounts




                                                                                                                          HCMS000056
                                                                                                                    Appx. 02406
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50              Page 176 of 533



 Page 2 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016                          29




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


 Activity Summary
 Beginning Balance on 2/1/16

 Deposits/Credits (145)

 Withdrawals/Debits (218)

 Ending Balance on 2/29/16



 Courtesy Overdraft Amount
 Courtesy Overdraft Amount for All Transactions


 Any payment of an item into overdraft is completely discretionary. We will charge you an “NSF Charge Paid Item”
 fee of $38.00 each time we pay a transaction into overdraft. Also, if your account becomes overdrawn and continues
 with a negative balance for ten (10) consecutive calendar days, an extended overdraft fee of $25.00 will be charged.
 An additional $25.00 extended overdraft fee will be charged if the ending daily balance in your account remains
 negative for twenty (20) consecutive calendar days. The total of the negative balance, including any and all fees and
 charges, and including all non-sufficient funds/overdraft fees is due and payable immediately, without demand. If
 you would like to opt-out of this Courtesy Overdraft Amount, visit your local Banking Center or call 1-800 Compass.


 Deposits and Other Credits
               Check/                                                                                    Deposits/
 Date *        Serial #        Description                                                                Credits




                                                                                                                                HCMS000057
                                                                                                                          Appx. 02407
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 177 of 533



 Page 3 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000058
                                                                                       Appx. 02408
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 178 of 533



 Page 4 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000059
                                                                                       Appx. 02409
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 179 of 533



 Page 5 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000060
                                                                                       Appx. 02410
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 180 of 533



 Page 6 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000061
                                                                                       Appx. 02411
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 181 of 533



 Page 7 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000062
                                                                                       Appx. 02412
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 182 of 533



 Page 8 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000063
                                                                                       Appx. 02413
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 183 of 533



 Page 9 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016                                   29




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                     HCMS000064
                                                                                                                                               Appx. 02414
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 184 of 533



 Page 10 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000065
                                                                                         Appx. 02415
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 185 of 533



 Page 11 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000066
                                                                                         Appx. 02416
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                           Entered 12/18/21 02:23:50     Page 186 of 533



 Page 12 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016              29




             Check/                                                                         Withdrawals/
 Date *      Serial #    Description                                                              Debits
 2/11                    OUT WT E-ACCESS CSTREP REF                                         $250,000.00
                         20160211F2QCZ60C001153 BNF Highland Capital M




                                                                                                          HCMS000067
                                                                                                    Appx. 02417
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 187 of 533



 Page 13 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016   29




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000068
                                                                                         Appx. 02418
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 188 of 533



 Page 14 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016                                   29




               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                             Balance




 Summary of Checks
 Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




                                                                                                                                                        HCMS000069
                                                                                                                                                  Appx. 02419
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                    Entered 12/18/21 02:23:50    Page 189 of 533



 Page 15 of 16
 Primary Account:
 Beginning February 1, 2016 - Ending February 29, 2016       29




 Date   Check #                  Amount     Date   Check #   Amount   Date   Check #   Amount




 * Indicates break in check sequence




                                                                                                      HCMS000070
                                                                                                Appx. 02420
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 190 of 533



 Page 16 of 16
 Primary Account:            2
 Beginning February 1, 2016 - Ending February 29, 2016                            29




 How to Balance Your Account                                             Change of Address
                                                                         Please call us at the telephone number listed on the front of this
 Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
          card (ATM) transactions in your register.
        • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
          transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                         BBVA Compass Bank, Operations Compliance Support, P.O. Box
        • Record and deduct service charges, check printing
                                                                         10566, Birmingham, AL 35296. Or simply call your local customer
          charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
        • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
          interest earned shown on this statement.                       you need more information about a transfer on the statement or
 Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
          in your register each check or other transaction that is       the first statement on which the error or problem appeared.
          listed on this statement.
 Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
          appear on this statement (see space provided below).           •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or why you need more information.
 Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
          transactions, electronic payments and other
          deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
          space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                         credit your account for the amount you think is in error, so that you will have the use of the
                                                                         money during the time it takes us to complete our investigation.

  Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                         Agreement for details regarding Electronic Fund Transfers.
                                                                 |       Overdraft Protection
                                                                 |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                         computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                 |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                         Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                 |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                         this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                 |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                     Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                         subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                         balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                         the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
  Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                         deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                 |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                         posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                 |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                 |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                         Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                 |       Friday, excluding holidays.

                                                                 |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                     Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                    $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                         2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
  Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                         Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
  Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
           statement                                         |           which the error or problem appeared.

           • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
           • Subtotal                                        |
                                                                         ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or what you need more information.
           • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

           • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
             balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                         business days before the automatic deduction is scheduled to occur.
            If it does not agree, see steps below       $    |
                                                                         Reporting Other Problems
 If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
 · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
 · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
   this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
 · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
   match your register entries.
 · If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
   number on the front of this statement.                                Compass Bank, Member FDIC.




                                                                                                                                                      HCMS000071
                                                                                                                                                Appx. 02421
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 191 of 533




                              EXHIBIT 135




                                                                          Appx. 02422
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50                Page 192 of 533



 Page 1 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016       30




            21      HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                                   Contacting Us
                                                                                   Available by phone 24/7
 Your BBVA Compass Account(s)                                               Phone 1-800-266-7277

 Please see important message regarding your                                Online bbvacompass.com
 TREASURY MANAGEMENT ANALYSIS CHECKING                                       Write BBVA Compass
 account                                                                           Customer Service
                                                                                   P.O. Box 10566
                                                                                   Birmingham, AL 35296




 Summary of Accounts
 Deposit Accounts/ Other Products
                                                                               Ending balance     Ending balance
 Account                                           Account number               last statement     this statement


 Total Deposit Accounts




                                                                                                                    HCMS000082
                                                                                                              Appx. 02423
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                  Page 193 of 533



 Page 2 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016                      30




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


 Account Information
 Change In Terms
 Correction: The fee changes and effective date listed on last month's statements were
 intended for other account types and are not applicable to your account. Below are the fee
 changes that will go into effect July 1, 2016:
 Checks Paid/Debits - $0.19; Deposited Items Drawn on BBVA Compass - $0.15; Incoming
 Wire - $15.00; Incoming Wire fee with fax/e-mail notification - $16.00; Incoming Wire fee
 with phone notification - $18.00; Incoming International wire - $15.75; Manual Outgoing
 repetitive wire - $20.00; Manual Outgoing non-repetitive wire - $25.00; Manual Outgoing
 repetitive wire fee with notification - $26.00; Outgoing Automatic Standing Transfer -
 $9.00; Rerun Deposited Item - $9.00; Return Deposited Item - $12.00. Call Business
 Relationship Services with questions regarding these changes.



 Activity Summary
 Beginning Balance on 4/1/16

 Deposits/Credits (53)

 Withdrawals/Debits (207)

 Ending Balance on 4/30/16



 Courtesy Overdraft Amount
 Courtesy Overdraft Amount for All Transactions                                                                          $5,000.00


 Any payment of an item into overdraft is completely discretionary. We will charge you an “NSF Charge Paid Item”
 fee of $38.00 each time we pay a transaction into overdraft. Also, if your account becomes overdrawn and continues
 with a negative balance for ten (10) consecutive calendar days, an extended overdraft fee of $25.00 will be charged.
 An additional $25.00 extended overdraft fee will be charged if the ending daily balance in your account remains
 negative for twenty (20) consecutive calendar days. The total of the negative balance, including any and all fees and
 charges, and including all non-sufficient funds/overdraft fees is due and payable immediately, without demand. If
 you would like to opt-out of this Courtesy Overdraft Amount, visit your local Banking Center or call 1-800 Compass.


 Deposits and Other Credits
               Check/                                                                                    Deposits/
 Date *        Serial #        Description                                                                Credits




                                                                                                                                    HCMS000083
                                                                                                                              Appx. 02424
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50   Page 194 of 533



 Page 3 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016   30




              Check/                                                Deposits/
 Date *       Serial #     Description                               Credits




                                                                                           HCMS000084
                                                                                     Appx. 02425
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50   Page 195 of 533



 Page 4 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016   30




              Check/                                                Deposits/
 Date *       Serial #     Description                               Credits




                                                                                           HCMS000085
                                                                                     Appx. 02426
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 196 of 533



 Page 5 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016                             30




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                     HCMS000086
                                                                                                                                               Appx. 02427
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50     Page 197 of 533



 Page 6 of 12
 Primary Account:
                              April 30, 2016              30




             Check/                                                                        Withdrawals/
 Date *      Serial #   Description                                                              Debits




 4/5                    OUT WT E-ACCESS CSTREP REF                                        $6,000,000.00
                        20160405F2QCZ60C001480 BNF Highland Capital M




                                                                                                         HCMS000087
                                                                                                   Appx. 02428
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50     Page 198 of 533



 Page 7 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016   30




              Check/                                                           Withdrawals/
 Date *       Serial #     Description                                               Debits




                                                                                             HCMS000088
                                                                                       Appx. 02429
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50     Page 199 of 533



 Page 8 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016   30




              Check/                                                           Withdrawals/
 Date *       Serial #     Description                                               Debits




                                                                                             HCMS000089
                                                                                       Appx. 02430
Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50     Page 200 of 533



 Page 9 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016   30




              Check/                                                           Withdrawals/
 Date *       Serial #     Description                                               Debits




                                                                                             HCMS000090
                                                                                       Appx. 02431
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 201 of 533



 Page 10 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016                             30




               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                             Balance




 Summary of Checks
 Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




                                                                                                                                                        HCMS000091
                                                                                                                                                  Appx. 02432
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50     Page 202 of 533



 Page 11 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016               30




 Date   Check #                    Amount     Date   Check #        Amount   Date   Check #   Amount




 * Indicates break in check sequence




                                                                                                             HCMS000092
                                                                                                       Appx. 02433
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                 Page 203 of 533



 Page 12 of 12
 Primary Account:
 Beginning April 1, 2016 - Ending April 30, 2016                         30




 How to Balance Your Account                                                  Change of Address
                                                                              Please call us at the telephone number listed on the front of this
 Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
          card (ATM) transactions in your register.
        • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
          transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                              BBVA Compass Bank, Operations Compliance Support, P.O. Box
        • Record and deduct service charges, check printing
                                                                              10566, Birmingham, AL 35296. Or simply call your local customer
          charges, or other bank fees.                                        service number printed on the front of this statement. Call or write as
        • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
          interest earned shown on this statement.                            you need more information about a transfer on the statement or
 Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
          in your register each check or other transaction that is            the first statement on which the error or problem appeared.
          listed on this statement.
 Step 3 • List any deposits or credits your have made that do not             •   Tell us your name and account number (if any).
          appear on this statement (see space provided below).                •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                  why you believe it is an error or why you need more information.
 Step 4 • List any checks you have written, debit card                        •   Tell us the dollar amount of the suspected error.
          transactions, electronic payments and other
          deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
          space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                              credit your account for the amount you think is in error, so that you will have the use of the
                                                                              money during the time it takes us to complete our investigation.

  Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                              Agreement for details regarding Electronic Fund Transfers.
                                                                 |            Overdraft Protection
                                                                 |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                              computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                 |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                              Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                 |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                              this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                 |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                     Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                              subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                              balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                              the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
  Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                              deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                 |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                              posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                 |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                 |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                              Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                 |            Friday, excluding holidays.

                                                                 |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                     Step 4 Total                              If you think your statement is wrong, or if you need more information about a transaction on your
                                                    $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                              2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
  Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                              Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
  Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
           statement                                         |                which the error or problem appeared.

           • Add total from Step 3                           |                ·   Tell us your name and account number (if any).
           • Subtotal                                        |
                                                                              ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                  why you believe it is an error or what you need more information.
           • Subtract total from Step 4                      |                ·   Tell us the dollar amount of the suspected error.

           • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
             balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                              business days before the automatic deduction is scheduled to occur.
            If it does not agree, see steps below       $    |
                                                                              Reporting Other Problems
 If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
 · Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
 · Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
   this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
 · Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
   match your register entries.
 · If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
   number on the front of this statement.                                     Compass Bank, Member FDIC.




                                                                                                                                                           HCMS000093
                                                                                                                                                     Appx. 02434
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 204 of 533




                              EXHIBIT 136




                                                                          Appx. 02435
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 205 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4444444444 ! "4# $ 4%     4&
                4444444444''4#   4# 4( 4)''
                44444444449  4*+4) ,'
                4
                4
                4
                4- ./ 0142 4-  344!!4! 4 4!  "344 2  5 4444 5
                4 44446- ./ 067 $2   6$"764487444"40 4 4$474
                42 4-  4  "4 434$  4 44 49),:9;:;)''6
                4
                4#! 04 
                4
                44444444444 4*$ <44 ! "4# $ 4%     4&
                4
                4 4#! 04448  
                4 4-5 444444444444444444       '444(   49 444 ',4 !44 
                4&  4(   4/   4444                 4449 44 ! 4   4$ "44444444
                44444949 $ # " 44444            '4442   4& " 444444444444
                44444 4#! 09 5 44444444             4442   4#  "444444444
                4( 2 4#!  4444444444444444444444 '4448   4  "444444444444444
                48   4 "444444444444444444          444 4    4= "4  "4444
                4*!4(   4/   44444               ,444,'48   4 "444444444444
                4
                4
                4:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                4
                49 $ 4 "4"" 
                49 4444449 $ 44444444444444444444444444444444444




              4
              4
              4
       01021345678                               >?@781A4B114CDB@4EDF145?3470E?3@D>@47>5?30D@7?>
                         EGHIJKLM4NJOJPQJR4GL4LSJ4GRRNJMM4PKRPOGLJR4TK4LSPM4MLGLJIJKL4UH4VAWW4XIY48JKLNGZ4BLGKRGNR4@PIJ
                         JGOS4UGK[PK\4RGH4]PZZ4UJ4ONJRPLJR4GM4T^4LSGL4RGLJY444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000097
                                                                                                                                                          Appx. 02436
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 206 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4   4!" #4$4%  4444444444444          &44'!  ()
                4
                49 *  4 (4(( 
                49 4444449 * 44444444444444444444444444444444444

                4
                4+++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++
                4
                4!" # 4 (4, "( $ 
                49 4444449 * 44444444444444444444444444444444444
                44 &-44444%.4/  0 404941111&4 4444444444423&&2&&&4&&+
                44444444444941111 




                4
                4+++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++
                4
                49 4.   4%0 
                49 4444444444.   44444449 4444444444.   44444449 4444444444.  


                4
                4+++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++
                4
                4444444444444444444444444444%  45 46 
                444444444444444444444444449 4444444444444445
                44444444444444444444444444
                4
                4(4046  
                4


       01021345678                               789781:4;114<=;94>=?14583470>839=794775830=9787
                         >@ABCDEF4GCHCIJCK4@E4ELC4@KKGCFF4IDKIH@ECK4MD4ELIF4FE@ECBCDE4NA4O:PP4QBR48CDEG@S4;E@DK@GK49IBC
                         C@HL4N@DTIDU4K@A4VISS4NC4HGCKIECK4@F4MW4EL@E4K@ECR444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000098
                                                                                                                                                          Appx. 02437
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 207 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000099
                                                                                                                                                           Appx. 02438
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 208 of 533




                              EXHIBIT 137




                                                                          Appx. 02439
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 209 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                444444444444444444444444444444444444444444444444444 4 4444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4444444444!" #4$ % 4&     4'
                4444444444())4$   4$ 4* 4 ))
                44444444449  4+,4 -)
                4
                4
                4
                4. /0 12 43 4.  445""4" 4 4"  #44 4 3  6 4445 6 
                4 45557. /0 178 %3   7%#874498445#41 4 4%484
                43 4.  4  #4 444% 4 4 4 4 :(;:; ))7
                4
                4$" 14 
                4
                44444444444 4+% <44!" #4$ % 4&     4'
                4
                4   4$" 14549 
                4 4.6 444444444444444444        444*   49 444 )4 "44 (
                4' 4*   40   44444444               4449  44 " 4   4% #44444444
                4444(49 %  $ # 4444                4443   4' # 444444444444
                44444$" 1 9 6 44444444               443   4$  #444444444
                4* 3 4$"  44444444444444444444444 4449  4  #444444444444444
                49  4 #444444444444444444             44 4    4= #4  #4444
                4+" 4*   40   44444                444)49  4 #444444444
                4
                4
                4:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                4
                49 %  4 #4## 
                49 4444449 % 44444444444444444444444444444444444




              4
              4
              4
       01021345678                               >?@781A4B114CDB@4EDF145?3470E?3@D>@47>5?30D@7?>
                         EGHIJKLM4NJOJPQJR4GL4LSJ4GRRNJMM4PKRPOGLJR4TK4LSPM4MLGLJIJKL4UH4VAWW4XIY48JKLNGZ4BLGKRGNR4@PIJ
                         JGOS4UGK[PK\4RGH4]PZZ4UJ4ONJRPLJR4GM4T^4LSGL4RGLJY444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000122
                                                                                                                                                          Appx. 02440
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 210 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4   4!" #4$4%  444444444444            44&!  '(
                4
                49 )  4 '4'' 
                49 4444449 ) 44444444444444444444444444444444444




                4
                4***********************************************************************************
                4
                4!" # 4 '4+ "' $ 
                49 4444449 ) 44444444444444444444444444444444444
                44 ,44444%-4.  / 4/49400001,4 444444444444441,2,,,3,,*
                444444444449400004
                44 ,4444456.75%874+%944444444444444444444444444444:421 ;3:*
                44444444444<%7<=894!%.=4>87>8.
                44 ;44444%-4.  / 4/49400001,4 4444444444444,,2,,,3,,*
                44444444444940000 
                44 4444456.75%874+%94444444444444444444444444444444;2 3 ;*
                44444444444<%7<=894!%.=4>87>8.4=
                44 4444456.75%874+%94444444444444444444444444442,,2,,,3,,*
                44444444444<68.94>568.%84%8?@.>8.4.96
                44 44444)   4' A 4 334444444444444444444 34:*
                44 44444)   4'  A 4 334444444444444444444 34*
                44 44444%-4.  / 4/49400001,4 44444444444444412,,,3,*
                44444444444940000;
                44 44444%-4.  / 4/49400001,4 4444444444444:2 :,3 4*
                4444444444494000041
                44 4444456.75%874+%9444444444444444444444444444444,,2,,,3,,*
                44444444444<%7<=894!%.=4>87>8.4=
              4
              4
              4
       01021345678                               BCD781E4F114GHFD4IHJ145C3470IC3DHBD47B5C30HD7CB
                         IKLMNOPQ4RNSNTUNV4KP4PWN4KVVRNQQ4TOVTSKPNV4XO4PWTQ4QPKPNMNOP4YL4ZE[[4\M]48NOPRK^4FPKOVKRV4DTMN
                         NKSW4YKO_TO`4VKL4aT^^4YN4SRNVTPNV4KQ4Xb4PWKP4VKPN]444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000123
                                                                                                                                                          Appx. 02441
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 211 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 ! !
                4
                4
                4
                4 !!4"# $4%4&  ! 444444444444           44'"  ()
                4
                4"# $!4 (4* #( % !
                49 4444449 !+ 44444444444444444444444444444444444
                                   ,
                4
                4-----------------------------------------------------------------------------------
                4
                49  4.  4&/ 
                49 4444444444.  44444449 4444444444.  44444449 4444444444. 


                4
                4-----------------------------------------------------------------------------------
                4
                4444444444444444444444444444&  ! 40 41 
                444444444444444444444444449 4444444444444440
                444444444444444444444444
                4
                4(4/41  
                4
                4
                4




       01021345678                               2347815461147864498:145334709334824472533084732
                         9;<=>?@A4B>C>DE>F4;@4@G>4;FFB>AA4D?FDC;@>F4H?4@GDA4A@;@>=>?@4I<4J5KK4L=M48>?@B;N46@;?F;BF44D=>
                         >;CG4I;?OD?P4F;<4QDNN4I>4CB>FD@>F4;A4HR4@G;@4F;@>M444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1/
                                                                                                                                                                HCMS000124
                                                                                                                                                          Appx. 02442
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 212 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000125
                                                                                                                                                           Appx. 02443
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 213 of 533




                              EXHIBIT 138




                                                                          Appx. 02444
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                            Entered 12/18/21 02:23:50                Page 214 of 533



 Page 1 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016            31




           21      HIGHLAND CAPITAL MANAGEMENT LP
                   MASTER OPERATING ACCOUNT
                   300 CRESCENT CT STE 700
                   DALLAS TX 75201-7849




                                                                                     Contacting Us
                                                                                     Available by phone 24/7
 Your BBVA Compass Account(s)                                                 Phone 1-800-266-7277

 Please see important message regarding your                                  Online bbvacompass.com
 TREASURY MANAGEMENT ANALYSIS CHECKING                                         Write BBVA Compass
 account                                                                             Customer Service
                                                                                     P.O. Box 10566
                                                                                     Birmingham, AL 35296




 Summary of Accounts
 Deposit Accounts/ Other Products
                                                                                 Ending balance     Ending balance
 Account                                             Account number               last statement     this statement


 Total Deposit Accounts


 Coming soon! Save money and go green by offering your customers online bills and payment initiation.
 BBVA Compass Electronic Bill Presentment and Payment is the most efficient way to deliver your bills
 using your company's webpage and accept payments online or by phone. If customers use their own
 banking service to pay bills online, we can help you streamline processing using BBVA Compass
 e-Lockbox. Contact your BBVA Compass Treasury Management Officer for more details.




                                                                                                                      HCMS000126
                                                                                                                Appx. 02445
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                             Entered 12/18/21 02:23:50   Page 215 of 533



 Page 2 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016                31




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


 Account Information
 As a reminder, on September 23, 2016, the Automated Clearing House (ACH) will begin
 supporting interbank same day ACH credit transactions. Interbank same day ACH
 origination will be available through BBVA Compass at a later date on an opt-in basis
 only. Please contact your Treasury Management Officer for assistance.
 To reflect this change for Interbank same day ACH through BBVA Compass, we have
 updated Section 3 of ACH Prepaid Services terms and conditions and added Section 18 to
 the ACH terms and conditions of our Treasury Management Services Agreement.
 Additional terms have also been added to the ACH terms and conditions regarding NOCs
 in Section 6, fees for returned and disputed entries in Section 7 and third party processors
 in Section 12.
 Please review the changes in the Treasury Management Services Agreement and print a
 complete copy for your records. You can find a current version of the agreement by going
 to:
 http://www.bbvacompass.com/commercial/treasury-management/resource-central/
 The user ID is "treasury" and the password is "management."



 Activity Summary
 Beginning Balance on 8/1/16

 Deposits/Credits (99)

 Withdrawals/Debits (224)

 Ending Balance on 8/31/16



 Deposits and Other Credits
               Check/                                                              Deposits/
 Date *        Serial #        Description                                          Credits




                                                                                                          HCMS000127
                                                                                                    Appx. 02446
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 216 of 533



 Page 3 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000128
                                                                                       Appx. 02447
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 217 of 533



 Page 4 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000129
                                                                                       Appx. 02448
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 218 of 533



 Page 5 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000130
                                                                                       Appx. 02449
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50   Page 219 of 533



 Page 6 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                   Deposits/
 Date *      Serial #    Description                                   Credits




                                                                                             HCMS000131
                                                                                       Appx. 02450
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 220 of 533



 Page 7 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016                                 31




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                     HCMS000132
                                                                                                                                               Appx. 02451
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                           Entered 12/18/21 02:23:50     Page 221 of 533



 Page 8 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016              31




             Check/                                                                         Withdrawals/
 Date *      Serial #    Description                                                              Debits




 8/5                     OUT WT E-ACCESS CSTREP REF                                         $525,000.00
                         20160805F2QCZ60C000943 BNF Highland Capital M




                         99994




                                                                                                          HCMS000133
                                                                                                    Appx. 02452
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 222 of 533



 Page 9 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000134
                                                                                         Appx. 02453
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 223 of 533



 Page 10 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000135
                                                                                         Appx. 02454
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50     Page 224 of 533



 Page 11 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016   31




             Check/                                                              Withdrawals/
 Date *      Serial #    Description                                                   Debits




                                                                                               HCMS000136
                                                                                         Appx. 02455
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 225 of 533



 Page 12 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016                                 31




               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                             Balance




                                                                                                                                                        HCMS000137
                                                                                                                                                  Appx. 02456
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50       Page 226 of 533



 Page 13 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016             31




 Date                            Balance   Date                     Balance   Date             Balance




 Summary of Checks
 Date   Check #                  Amount    Date      Check #        Amount    Date   Check #   Amount




 * Indicates break in check sequence




                                                                                                               HCMS000138
                                                                                                         Appx. 02457
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 227 of 533



 Page 14 of 14
 Primary Account:
 Beginning August 1, 2016 - Ending August 31, 2016                           31




 How to Balance Your Account                                             Change of Address
                                                                         Please call us at the telephone number listed on the front of this
 Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
          card (ATM) transactions in your register.
        • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
          transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                         BBVA Compass Bank, Operations Compliance Support, P.O. Box
        • Record and deduct service charges, check printing
                                                                         10566, Birmingham, AL 35296. Or simply call your local customer
          charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
        • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
          interest earned shown on this statement.                       you need more information about a transfer on the statement or
 Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
          in your register each check or other transaction that is       the first statement on which the error or problem appeared.
          listed on this statement.
 Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
          appear on this statement (see space provided below).           •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or why you need more information.
 Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
          transactions, electronic payments and other
          deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
          space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                         credit your account for the amount you think is in error, so that you will have the use of the
                                                                         money during the time it takes us to complete our investigation.

  Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                         Agreement for details regarding Electronic Fund Transfers.
                                                                 |       Overdraft Protection
                                                                 |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                         computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                 |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                         Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                 |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                         this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                 |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                     Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                         subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                         balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                         the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
  Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                         deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                 |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                         posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                 |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                 |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                         Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                 |       Friday, excluding holidays.

                                                                 |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                     Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                    $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                         2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
  Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                         Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
  Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
           statement                                         |           which the error or problem appeared.

           • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
           • Subtotal                                        |
                                                                         ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or what you need more information.
           • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

           • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
             balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                         business days before the automatic deduction is scheduled to occur.
            If it does not agree, see steps below       $    |
                                                                         Reporting Other Problems
 If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
 · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
 · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
   this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
 · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
   match your register entries.
 · If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
   number on the front of this statement.                                Compass Bank, Member FDIC.




                                                                                                                                                      HCMS000139
                                                                                                                                                Appx. 02458
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 228 of 533




                              EXHIBIT 139




                                                                          Appx. 02459
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50                        Page 229 of 533

5/18/2021                                                                    NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page      1
                                                                                      Primary Account
                                                                                      Enclosures




                                 Highland Capital Management LP
                                 300 Crescent Court Suite 700
                                 Dallas TX 75201




                   NexBank's Privacy Notice, which has not changed, is available on our website
                   at www.NexBank.com/files/privacynotice.pdf. If you would like a copy of our
                   Privacy Notice mailed to you, please call us at 972-934-4700.

                   Checking Account/s

                                  Account Type:      Highland Capital Management LP

                   Analysis Checking w/ Interest
                   Account Number                                           Statement Dates   8/01/16 thru            8/31/16
                   Last Statement Balance                                   Days in the statement period
                      11 Deposits/Credits                                   Average Ledger
                       7 Checks/Debits                                      Average Collected
                   Service Charge                                           Interest Earned
                   Interest Paid                                            Annual Percentage Yield Earned
                   This Statement Balance                                   2016 Interest Paid



                   -----------------------------------------------------------------------------------

                   Deposits and Additions
                   Date      Description                                                     Amount




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html         1/4


                                                                                                                                     HCMS000140
                                                                                                                               Appx. 02460
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50                        Page 230 of 533

5/18/2021                                                                    NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page      2
                                                                                      Primary Account
                                                                                      Enclosures




                   Analysis Checking w/ Interest                                        (Continued)

                   Deposits and Additions
                   Date      Description                                                     Amount




                   -----------------------------------------------------------------------------------

                   Checks and Withdrawals
                   Date      Description                                                     Amount




                     8/19         IB Transfer from D ****130 to                         250,000.00-
                                  D ****656




                   -----------------------------------------------------------------------------------

                   Daily Balance Information
                   Date          Balance                 Date              Balance           Date               Balance




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html         2/4


                                                                                                                                     HCMS000141
                                                                                                                               Appx. 02461
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50                        Page 231 of 533

5/18/2021                                                                    NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page      3
                                                                                      Primary Account
                                                                                      Enclosures




                   Analysis Checking w/ Interest                            1614130     (Continued)

                   -----------------------------------------------------------------------------------

                                                       Interest Rate Summary
                                                     Date               Rate


                   End of Statement




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html         3/4


                                                                                                                                     HCMS000142
                                                                                                                               Appx. 02462
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                                   Page 232 of 533

5/18/2021                                                                                     NexBank SSB

                                    OUTSTANDING CHECKS                                                              RECONCILIATION INSTRUCTIONS
                  Reconciliation of Account                                                   Date ___________________________
                             CHECKS WRITTEN BUT NOT PAID
                      NUMBER                  AMOUNT                                             Please examine this statement and
                                                                                              items at once and refer any exceptions
                                                                                              immediately.

                                                                                                 Sort your checks numerically or by
                                                                                              date issued.

                                                                                                 Mark off in your checkbook each of
                                                                                              your checks paid by the bank and list the
                                                                                              numbers and amounts of those not paid in
                                                                                              the space provided at the left. Include any
                                                                                              checks still not paid from previous
                                                                                              statements.

                                                                                                 Subtract from your checkbook
                                                                                              balance any SERVICE CHARGE (S.C.) or
                                                                                              bank charge appearing on this statement.

                                                                                                 Reconcile your statement in the
                                                                                              space provided below.



                                                                                              Enter bank balance
                                                                                                from statement
                                                                                                Add deposits not
                                                                                                credited by bank
                                                                                                     (if any)

                                                                                                                        TOTAL
                     Total of Checks                                                            Subtract total of
                         not paid                                                               checks not paid

                                                       THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                 Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                  Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.

                                          EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

        We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the "daily
        balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance charges and any
        payments or credits. This gives us the daily balance.


                                              WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
        If you think there is an error on your statement, write to us at:
        NexBank
        2515 McKinney Avenue, 11th Floor
        Dallas, Texas 75201
        You may also contact us on the Web: www.nexbank.com
        In your letter, give us the following information:
                   Account Information: Your name and account number.
                   Dollar Amount: The dollar amount of the suspected error.
                   Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
        You must contact us within 60 days after the error appeared on your statement.
        You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors and you
        may have to pay the amount in question.
        While we investigate whether or not there has been an error, the following are true:
                   We cannot try to collect the amount in question, or report you as delinquent on that amount.
                   The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a
                   mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                   While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                   We can apply any unpaid amount against your credit limit.
                                          IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
        In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor, Dallas,
        Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
        must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
           (1) Tell us your name and account number (if any).
           (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
           an error or why you need more information.
           (3) Tell us the dollar amount of the suspected error.
           We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
        amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html                                                4/4


                                                                                                                                                                  HCMS000143
                                                                                                                                                            Appx. 02463
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 233 of 533




                              EXHIBIT 140




                                                                          Appx. 02464
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50                   Page 234 of 533



 Page 1 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                      H0




           61      I GL I NADC T APGMAN S ADAL dS dDM NP
                   S AFMdR OPd RAMGDL ATTOUDM
                   H00 TRdFTdDM T M FMd 300
                   CANNAF M7 3X601E3584




                                                                                             Contacting Us
                                                                                             Availa, le , y bpone 68h3
 / our BBs A T omba. . AccountW
                              .V                                                     Ppone 1E500E6- - E3633

 Plea. e . ee imbortant me. . age regar9ing your                                     Online , , vacomba. . xcom
 MRd AFUR/ S ADAL d S d DMADAN/ FG        F T I d T YG
                                                     DL                               K rite BBs A T omba. .
 account                                                                                     T u. tomer Fervice
                                                                                             PxOxBo( 10X- -
                                                                                             Birmingpam2AN HX64-




 Fummary of Account.
 Deposit Accounts/ Other Products
                                                                                        d n9ing , alance      d n9ing , alance
 Account                                                   Account num, er                la. t . tatement      tpi. . tatement


 Total Deposit Accounts                                                                    $315,335.01         $1,090,753.79




                                                                                                                                 HCMS000144
                                                                                                                           Appx. 02465
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50   Page 235 of 533



 Page 6 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                       H0




 MRd AFUR/ S ADAL d S d DMADAN/ FG
                                 F T I d T YG
                                            DL
 Account Dum, er:                    EI G
                                        L I NADC T APGMAN S ADAL d S d DMNP


 Account Information
 K e pave ub9ate9 certain term. an9 con9ition. of tpe Mrea. ury S anagement Fervice
 Agreement for tpe L eneral Provi. ion. for tpe follo) ing . ection. : Autporiwe9
 Rebre. entative2d ligi, le Account. 2T onfi9entiality an9 “ orce S a”eurexGn a99ition2t) o ne)
 . ection. pave al. o , een a99e9 to tpe L eneral Provi. ion. : Cefinition. an9 Mpir9 Party
 Proce. . or. xPlea. e revie) tpe. e . ection. of tpe Mrea. ury S anagement Agreement online
 an9 brint a comblete coby for your recor9. xMpe. e term. an9 con9ition. ) ill , ecome
 effective a. of Cecem, er 12601- xAll otper term. an9 con9ition. of tpe Mrea. ury
 S anagement Fervice Agreement ) ill continue in full force an9 effectx/ ou can fin9 a
 current ver. ion of tpe agreement , y going to:
 pttb:hh) ) ) x, , vacomba. . xcomhcommercialhtrea. uryEmanagementhre. ourceEcentralh

 Mpe u. er G
           C i. $trea. ury$an9 tpe ba. . ) or9 i. $managementx$



 Activity Summary
 Beginning Balance on 4h1h1-

 Cebo. it. hT re9it. W
                     X- V

 K itp9ra) al. hCe, it. W
                        15- V

 Ending Balance on 9/30/16



 Deposits and Other Credits
                T peckh                                                                   Cebo. it. h
 Cate *         Ferial #        Ce. cribtion                                               T re9it.




                                                                                                                 HCMS000145
                                                                                                           Appx. 02466
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50   Page 236 of 533



 Page Hof 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-    H0




             T peckh                                                   Cebo. it. h
 Cate *      Ferial #    Ce. cribtion                                   T re9it.




                                                                                              HCMS000146
                                                                                        Appx. 02467
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50   Page 237 of 533



 Page 8 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-    H0




             T peckh                                                   Cebo. it. h
 Cate *      Ferial #    Ce. cribtion                                   T re9it.




                                                                                              HCMS000147
                                                                                        Appx. 02468
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                            Page 238 of 533



 Page X of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                         H0




                T peckh                                                                                                Cebo. it. h
 Cate *         Ferial #      Ce. cribtion                                                                              T re9it.




 Plea. e note2certain fee. an9 cparge. bo. te9 to your account may relate to . ervice. an9hor activity from tpe brior . tatement cyclex
 * Mpe Cate brovi9e9 i. tpe , u. ine. . 9ay tpat tpe tran. action i. broce. . e9x



 Withdrawals and Other Debits
                T peckh                                                                                                                   K itp9ra) al. h
 Cate *         Ferial #      Ce. cribtion                                                                                                       Ce, it.




                                                                                                                                                          HCMS000148
                                                                                                                                                    Appx. 02469
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50      Page 239 of 533



 Page - of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-    H0




             T peckh                                                              K itp9ra) al. h
 Cate *      Ferial #    Ce. cribtion                                                    Ce, it.




                                                                                                  HCMS000149
                                                                                            Appx. 02470
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50      Page 240 of 533



 Page 3 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-    H0




             T peckh                                                              K itp9ra) al. h
 Cate *      Ferial #    Ce. cribtion                                                    Ce, it.




                                                                                                  HCMS000150
                                                                                            Appx. 02471
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50      Page 241 of 533



 Page 5 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                          H0




             T peckh                                                                                    K itp9ra) al. h
 Cate *      Ferial #    Ce. cribtion                                                                          Ce, it.




 4h66                    OUMK M d EAT T d FF T FMRd P Rd “                                              Q15X2000x00
                         601- 0466“ 6Z T q- 0T 000- 5H BD“ I igplan9 Tabital S




                                                                                                                        HCMS000151
                                                                                                                  Appx. 02472
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                 Entered 12/18/21 02:23:50      Page 242 of 533



 Page 4 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-    H0




             T peckh                                                              K itp9ra) al. h
 Cate *      Ferial #    Ce. cribtion                                                    Ce, it.




                                                                                                  HCMS000152
                                                                                            Appx. 02473
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                            Page 243 of 533



 Page 10 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                         H0




                T peckh                                                                                                                   K itp9ra) al. h
 Cate *         Ferial #      Ce. cribtion                                                                                                       Ce, it.




 Plea. e note2certain fee. an9 cparge. bo. te9 to your account may relate to . ervice. an9hor activity from tpe brior . tatement cyclex
 * Mpe Cate brovi9e9 i. tpe , u. ine. . 9ay tpat tpe tran. action i. broce. . e9x



 End of Business Day Balance Summary
 Cate                                  Balance      Cate                                   Balance       Cate                              Balance




 Summary of Checks
 Cate     Tpeck #                       Amount      Cate      Tpeck #                       Amount       Cate     Tpeck #                  Amount




                                                                                                                                                           HCMS000153
                                                                                                                                                     Appx. 02474
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                  Entered 12/18/21 02:23:50     Page 244 of 533



 Page 11 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-       H0




 Cate   Tpeck #                  Amount    Cate   Tpeck #   Amount   Cate   Tpeck #   Amount


 * Indicates break in check sequence




                                                                                                     HCMS000154
                                                                                               Appx. 02475
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                       Page 245 of 533



 Page 16 of 16
 Primary Account:
 Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                      H0




 How to Balance Your Account                                                  Change of Address
                                                                              Plea. e call u. at tpe telebpone num, er li. te9 on tpe front of tpi.
 Step 1 • d nter all cpeck. 29ebo. it. 2an9 otper automate9 teller            . tatement to tell u. a, out a cpange of a99re. . x
          car9 W  AMS Vtran. action. in your regi. terx
        • Recor9 all automate9 9e9uction. 29e, it car9                        Electronic Transfers (for consumer accounts only)
          tran. action. an9 electronic , ill bayment. x                       Gn ca. e of error. or • ue. tion. a, out your d lectronic Mran. fer. 2) rite to
                                                                              BBs A T omba. . Bank2Oberation. T ombliance Fubbort2PxOxBo(
        • Recor9 an9 9e9uct . ervice cparge. 2cpeck brinting
                                                                              10X- - 2Birmingpam2AN HX64- xOr . imbly call your local cu. tomer
          cparge. 2or otper , ank fee. x                                      . ervice num, er brinte9 on tpe front of tpi. . tatementxT all or ) rite a.
        • Gf you pave an intere. t , earing account2a99 any                   . oon a. you can2if you tpink your . tatement or receibt i. ) rong or if
          intere. t earne9 . po) n on tpi. . tatementx                        you nee9 more information a, out a tran. fer on tpe . tatement or
 Step 2 • Gf abblica, le2. ort cpeck. in numerical or9er an9 mark             receibtxK e mu. t pear from you no later tpan - 0 9ay. after ) e . ent
          in your regi. ter eacp cpeck or otper tran. action tpat i.          tpe fir. t . tatement on ) picp tpe error or bro, lem abbeare9x
          li. te9 on tpi. . tatementx
 Step 3 • Ni. t any 9ebo. it. or cre9it. your pave ma9e tpat 9o not           |   Mell u. your name an9 account num, er W      if anyVx
          abbear on tpi. . tatement W   . ee . bace brovi9e9 , elo) Vx        |   Ce. cri, e tpe error or tpe tran. fer you are un. ure a, out2an9 e( blain a. clearly a. you can
                                                                                  ) py you , elieve it i. an error or ) py you nee9 more informationx
 Step 4 • Ni. t any cpeck. you pave ) ritten29e, it car9                      |   Mell u. tpe 9ollar amount of tpe . u. becte9 errorx
          tran. action. 2electronic bayment. an9 otper
          9e9uction. tpat 9o not abbear on tpi. . tatement W    . ee          K e ) ill inve. tigate your comblaint an9 ) ill correct any error brombtlyxGf ) e take more tpan 10
          . bace brovi9e9 , elo) Vx                                           , u. ine. . 9ay. W 60 on claim. on account. obene9 le. . tpan H0 calen9ar 9ay. Vto 9o tpi. 2) e ) ill
                                                                              cre9it your account for tpe amount you tpink i. in error2. o tpat you ) ill pave tpe u. e of tpe
                                                                              money 9uring tpe time it take. u. to comblete our inve. tigationx

  CatehCe. cribtion                                   Amount                  *“ or DonET on. umer Account cu. tomer. 2blea. e refer to your current DonET on. umer Account
                                                                              Agreement for 9etail. regar9ing d lectronic “ un9 Mran. fer. x
                                                                   j          Overdraft Protection
                                                                   j          Calculation of Interest Charge and Balance Subject to Interest RatexMpe intere. t cparge i.
                                                                              combute9 u. ing your annual bercentage rate 9ivi9e9 , y H- X or2in tpe ca. e of a leab year2H- - 2
                                                                   j          ) picp give. you tpe zAbblica, le Ratex" Altpougp ) e calculate tpe intere. t cparge , y abblying tpe
                                                                              Abblica, le Rate to eacp 9aily , alance2tpe intere. t cparge can al. o , e calculate9 , y multiblying
                                                                   j          tpe Abblica, le Rate , y tpe zaverage 9aily , alance"W     Balance Fu, ”ect to G
                                                                                                                                                             ntere. t RateV. po) n on
                                                                              tpi. . tatement2tpen multiblying tpat . um , y tpe num, er of 9ay. in tpe , illing cyclexMo get tpe
                                                                   j          zBalance Fu, ”ect to G   ntere. t Rate" . po) n on tpi. . tatement ) e take tpe , eginning , alance of
                                     Fteb H Motal     Q            j          your account le. . any unbai9 finance cparge. eacp 9ay2a99 any ne) a9vance. or 9e, it. 2an9
                                                                              . u, tract any bayment. or cre9it. xMpi. give. u. tpe 9aily , alancexMpen ) e a99 all tpe 9aily
                                                                              , alance. for tpe , illing cycle an9 9ivi9e , y tpe num, er of 9ay. in tpe , illing cyclexMpi. give u.
                                                                              tpe zaverage 9aily , alance" . po) n on tpe . tatement a. zBalance Fu, ”ect to G     ntere. t Rate"x
  CatehCe. cribtion                  T peck #         Amount                  Payment. xPayment. to your over9raft brotection loan account ma9e tprougp our teller. or
                                                                              9ebo. ite9 at our automate9 teller macpine. W      AMS . VS on9ay tprougp “ ri9ay , efore tpe bo. te9
                                                                   j          cutEoff time ) ill , e bo. te9 to your account on tpe 9ate tpey are accebte9xOtper) i. e2tpey ) ill , e
                                                                              bo. te9 on tpe ne( t , u. ine. . 9ayxPayment. ma9e tprougp our AMS . via a fun9. tran. fer ) ill , e
                                                                   j          bo. te9 on tpe 9ate tpey are receive9 or on tpe ne( t , u. ine. . 9ay if ma9e after - bm T MW    - bm S M
                                                                   j          for Ariwona account. an9 - bm PMfor T alifornia account. VS on9ay tprougp “ ri9ay or anytime
                                                                              Fatur9ay2Fun9ay or , ank poli9ay. xBBs A T omba. . Bank , u. ine. . 9ay. are S on9ay tprougp
                                                                   j          “ ri9ay2e( clu9ing poli9ay. x

                                                                   j          In Case of Errors or Questions About Your Statement W            Over9raft Protection OnlyV
                                     Fteb 8 Motal                              Gf you tpink your . tatement i. ) rong2or if you nee9 more information a, out a tran. action on your
                                                      Q            j          . tatement2) rite your i. . ue on a . ebarate 9ocument an9 . en9 it to Bankcar9 T enter2PxOxBo(
                                                                              66102Cecatur2AN HX- 44E0001xMelebpone in• uire. may , e ma9e , y calling your local BBs A
  Balancing Your Register to this Statement                                   T omba. . , rancp li. te9 on tpe front of tpi. . tatement to . beak ) itp a T u. tomer Fervice
                                                                              Rebre. entativexPlea. e note: a telebpone in• uiry ) ill not bre. erve your rigpt. un9er fe9eral la) x
  Step 5 | d nter tpe $current , alance$. po) n on tpi.                       K e mu. t pear from you no later tpan . i( ty W - 0V9ay. after ) e . ent you tpe fir. t . tatement on
           . tatement                                          j              ) picp tpe error or bro, lem abbeare9x

           | A99 total from Fteb H                             j              ·   Mell u. your name an9 account num, er W      if anyVx
           | Fu, total                                         j
                                                                              ·   Ce. cri, e tpe error or tpe tran. fer you are un. ure a, out2an9 e( blain a. clearly a. you can
                                                                                  ) py you , elieve it i. an error or ) pat you nee9 more informationx
           | Fu, tract total from Fteb 8                       j              ·   Mell u. tpe 9ollar amount of tpe . u. becte9 errorx

           | Mpi. , alance . poul9 e• ual your regi. ter                      / ou can . tob tpe automatic 9e9uction of tpe S inimum Payment from you cpecking account if
             , alance                                          j              you tpink your . tatement i. ) rongxMo . tob tpe bayment2your letter mu. t reacp u. tpree W
                                                                                                                                                                        HV
                                                                              , u. ine. . 9ay. , efore tpe automatic 9e9uction i. . cpe9ule9 to occurx
             G
             f it 9oe. not agree2. ee . teb. , elo)        Q   j
                                                                              Reporting Other Problems
 Gf your account 9oe. not , alance2revie) tpe follo) ing:                     Plea. e revie) your . tatement carefullyxG t i. e. . ential tpat any account error. or any imbrober
 · T peck all your a99ition an9 . u, traction a, ove in your regi. terx       tran. action. on your account , e reborte9 to u. a. . oon a. rea. ona, ly bo. . i, lexG f you fail to
 · S ake . ure you remem, ere9 to . u, tract . ervice cparge. li. te9 on      notify u. of any . u. becte9 bro, lem. 2error. or unautporiwe9 tran. action. ) itpin tpe time berio9.
   tpi. . tatement an9 a99 any intere. t earne9 to your regi. terx            . becifie9 in tpe 9ebo. it account agreement2) e are not lia, le to you for any lo. . relate9 to tpe
 · Amount. of 9ebo. it. an9 ) itp9ra) al. on tpi. . tatement . poul9          bro, lem2error or unautporiwe9 tran. actionx
   matcp your regi. ter entrie. x
 ·G f you pave • ue. tion. or nee9 a. . i. tance2blea. e refer to tpe bpone   BBs A T omba. . i. a tra9e name of T omba. . Bank2a mem, er of tpe BBs A L roubx
   num, er on tpe front of tpi. . tatementx                                   T omba. . Bank2S em, er “ CG Tx




                                                                                                                                                                  HCMS000155
                                                                                                                                                            Appx. 02476
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 246 of 533




                              EXHIBIT 141




                                                                          Appx. 02477
     Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50                        Page 247 of 533

NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                        Date 12/30/16                   Page      1
                                                                                        Primary Account
                                                                                        Enclosures



                                 Highland Capital Management LP
                                 300 Crescent Court Suite 700
                                 Dallas TX 75201



                   NexBank's Privacy Notice, which has not changed, is available on our website
                   at www.NexBank.com/files/privacynotice.pdf. If you would like a copy of our
                   Privacy Notice mailed to you, please call us at 972-934-4700.

                   Checking Account/s

                                   Account Type:     Highland Capital Management LP

                   Analysis Checking w/ Interest
                   Account Number                                            Statement Dates 12/01/16 thru 12/31/16
                   Last Statement Balance                                   Days in the statement period
                      14 Deposits/Credits                                   Average Ledger
                      11 Checks/Debits                                      Average Collected
                   Service Charge                                            Interest Earned
                   Interest Paid                                             Annual Percentage Yield Earned
                   This Statement Balance                                   2016 Interest Paid


                   -----------------------------------------------------------------------------------

                   Deposits and Additions
                   Date      Description                                                       Amount




         MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                              each banking day will be credited as of that date.



                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                        Date 12/30/16                   Page      2



file:///G|/.../1.%20Audit/Audit%202016/Bank%20Statements/NexBank%20MM%20130/12-16%20HCM%20MM%20NexBank%20130.html[3/15/2019 4:45:15 PM]
                                                                                                                                     HCMS000177
                                                                                                                               Appx. 02478
     Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50                        Page 248 of 533

NexBank SSB

                                                                                        Primary Account
                                                                                        Enclosures



                   Analysis Checking w/ Interest                                         (Continued)

                   Deposits and Additions
                   Date      Description                                                       Amount




                   -----------------------------------------------------------------------------------

                   Checks and Withdrawals
                   Date      Description                                                       Amount




                   12/12           IB Transfer from D ****130 to                       7,700,000.00-
                                   D ****656




         MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                              each banking day will be credited as of that date.



                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                        Date 12/30/16                   Page      3
                                                                                        Primary Account
                                                                                        Enclosures



                   Analysis Checking w/ Interest                                         (Continued)

                   -----------------------------------------------------------------------------------

                   Daily Balance Information



file:///G|/.../1.%20Audit/Audit%202016/Bank%20Statements/NexBank%20MM%20130/12-16%20HCM%20MM%20NexBank%20130.html[3/15/2019 4:45:15 PM]
                                                                                                                                     HCMS000178
                                                                                                                               Appx. 02479
     Case 21-03007-sgj Doc 127-3 Filed 12/18/21                            Entered 12/18/21 02:23:50                           Page 249 of 533

NexBank SSB

                   Date              Balance           Date               Balance                Date                    Balance




                   -----------------------------------------------------------------------------------

                                                      Interest Rate Summary
                                                    Date                Rate


                   End of Statement




         MEMBER FDIC                               NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                           Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                            each banking day will be credited as of that date.
                                OUTSTANDING CHECKS                                              RECONCILIATION INSTRUCTIONS
                   Reconciliation of Account                               Date ___________________________
                             CHECKS WRITTEN BUT NOT PAID
                       NUMBER                 AMOUNT                           Please examine this statement and
                                                                           items at once and refer any exceptions
                                                                           immediately.

                                                                              Sort your checks numerically or by
                                                                           date issued.

                                                                               Mark off in your checkbook each of
                                                                           your checks paid by the bank and list the
                                                                           numbers and amounts of those not paid in
                                                                           the space provided at the left. Include any
                                                                           checks still not paid from previous
                                                                           statements.

                                                                               Subtract from your checkbook
                                                                           balance any SERVICE CHARGE (S.C.) or
                                                                           bank charge appearing on this statement.

                                                                              Reconcile your statement in the
                                                                           space provided below.



                                                                           Enter bank balance
                                                                             from statement
                                                                            Add deposits not
                                                                            credited by bank
                                                                                 (if any)

                                                                                                   TOTAL




file:///G|/.../1.%20Audit/Audit%202016/Bank%20Statements/NexBank%20MM%20130/12-16%20HCM%20MM%20NexBank%20130.html[3/15/2019 4:45:15 PM]
                                                                                                                                         HCMS000179
                                                                                                                                   Appx. 02480
     Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                                Page 250 of 533

NexBank SSB


                          Total of Checks                                                        Subtract total of
                              not paid                                                           checks not paid

                                                        THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->

                                   Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                    Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.
                                             EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

              We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the
              "daily balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance
              charges and any payments or credits. This gives us the daily balance.

                                                 WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
              If you think there is an error on your statement, write to us at:
              NexBank
              2515 McKinney Avenue, 11th Floor
              Dallas, Texas 75201
              You may also contact us on the Web: www.nexbank.com
              In your letter, give us the following information:
                         Account Information: Your name and account number.
                         Dollar Amount: The dollar amount of the suspected error.
                         Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
              You must contact us within 60 days after the error appeared on your statement.
              You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors
              and you may have to pay the amount in question.
              While we investigate whether or not there has been an error, the following are true:
                         We cannot try to collect the amount in question, or report you as delinquent on that amount.
                         The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we
                         made a mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                         While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                         We can apply any unpaid amount against your credit limit.
                                              IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
              In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor,
              Dallas, Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement
              or receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
                  (1) Tell us your name and account number (if any).
                  (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
                  an error or why you need more information.
                  (3) Tell us the dollar amount of the suspected error.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for
              the amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




file:///G|/.../1.%20Audit/Audit%202016/Bank%20Statements/NexBank%20MM%20130/12-16%20HCM%20MM%20NexBank%20130.html[3/15/2019 4:45:15 PM]
                                                                                                                                                                  HCMS000180
                                                                                                                                                            Appx. 02481
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 251 of 533




                              EXHIBIT 142




                                                                          Appx. 02482
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                            Entered 12/18/21 02:23:50                              Page 252 of 533

012314542                                                                             6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                   4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                   444444444444444444444444444444444444444444444444444 4 4444444444
                   444444444444444444444444444444444444444444444444444 
                   4
                   4
                   4
                   4444444444  !4" # 4$     4%
                   4444444444 &&4"   4" 4' 4&&
                   44444444449  4()4*+&
                   4
                   4
                   4
                   4, -. /041 4,  243  4 4 4  !244 1  4 4443 4
                   4 43335, -. /56 #1   5#!654476443!4/ 4 4#464
                   41 4,  4  !4 424#  4 44 48+98 :9:&&5
                   4
                   4" /4 
                   4
                   44444444444 4(# ;44  !4" # 4$     4%
                   4
                   4 4" /4347  
                   4 4,4 444444444444444444        444'   49 444 &4 44:&+
                   4%  4'   4.   4444                 4449 44 4   4# !44444444
                   44444*49 # " ! 4444444           4441   4% ! 444444444444
                   4444+&4" /9 4 4444444                441   4"  !444444444
                   4' 1 4"  4444444444444444444444 4447   4  !444444444444444
                   47   4 !444444444444444444           44 4    4< !4  !4444
                   4( 4'   4.   44444                444+&47   4 !44444444444
                   4
                   4
                   499999999999999999999999999999999999999999999999999999999999999999999999999999999999
                   4
                   49 # 4 !4!! 
                   49 4444449 # 44444444444444444444444444444444444




              4
              499999999999999999999999999999999999999999999999999999999999999999999999999999999999
              4
              4
       01021345678                            =>?781@4A114BCA?4DCE145>3470D>3?C=?47=5>30C?7>=
                     DFGHIJKL4MINIOPIQ4FK4KRI4FQQMILL4OJQONFKIQ4SJ4KROL4LKFKIHIJK4TG4U@VV4WHX48IJKMFY4AKFJQFMQ4?OHI
                      IFNR4TFJZOJ[4QFG4\OYY4TI4NMIQOKIQ4FL4S]4KRFK4QFKIX444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                     HCMS000078
                                                                                                                                               Appx. 02483
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 253 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 444444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4 4 ! "4#4$   4444444444444         44%   &'
                4
                4 ! "4 &4( !& # 
                49 4444449 ) 44444444444444444444444444444444444




                44  44444$*4+ , 4,494---- .4 4444444444444/.0...1..2
                4444444444494----3/3
                4
                422222222222222222222222222222222222222222222222222222222222222222222222222222222222
                4
                49 4*   4$, 
                49 4444444444*   44444449 4444444444*   44444449 4444444444*  

                4
                422222222222222222222222222222222222222222222222222222222222222222222222222222222222
                4
                4

       01021345678                               4567817481149:864;:<14553470;536:464745530:6754
                         ;=>?@ABC4D@E@FG@H4=B4BI@4=HHD@CC4FAHFE=B@H4JA4BIFC4CB=B@?@AB4K>4L7MM4N?O48@ABD=P48B=AH=DH46F?@
                         @=EI4K=AQFAR4H=>4SFPP4K@4ED@HFB@H4=C4JT4BI=B4H=B@O444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000079
                                                                                                                                                          Appx. 02484
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 254 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                444444444444444444444444444444444444444444444444444 4 44444444
                444444444444444444444444444444444444444444444444444 
                4
                4
                4
                4 4 !4"4#   444444444444          $44%  &'
                4
                4444444444444444444444444444#   4( 4) 
                444444444444444444444444449 444444444444444(
                44444444444444444444444444
                4
                4&4*4)  
                4




       01021345678                               +,-781.4/11401/-4213145,34702,3-1+-47+5,301-7,+
                         2456789:4;7<7=>7?44949@744??;7::4=8?=<497?4A849@=:4:949767894B54C.DD4E6F48789;4G4/948?4;?4-=67
                         74<@4B48H=8I4?454J=GG4B74<;7?=97?44:4AK49@494?497F444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1/
                                                                                                                                                                HCMS000080
                                                                                                                                                          Appx. 02485
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 255 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000081
                                                                                                                                                           Appx. 02486
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 256 of 533




                              EXHIBIT 143




                                                                          Appx. 02487
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 257 of 533

012314542                                                                                6789 9


               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                44444444444444444444444444444444444444444444444444449 44  4444444444  44444
                4444444444444444444444444444444444444444444444444444 4 444444444
                4444444444444444444444444444444444444444444444444444 
                4
                4
                4
                44444444444 ! "4# $ 4%     4& ' 4(
                44444444444 4) 4 "*
                44444444444 4#   4# 4& 4+
                444444444449  4,-4+./
                4
                4
                4
                440 *1 234' 40  445!!4! 4 4!  "444 '  6 4445 6
                44 455570 *1 278 $'   7$"8744(8445"42 4 4$484
                44' 40  4  "4 444$  4 44 49+/:9 ;:;+7
                4
                44#! 24 
                4
                444444444444 4,$ <44 ! "4# $ 4%     4& ' 4(
                444444444444444444444444444 4) 4 "*
                4
                441 4#! 2
                44 406 44444444444444444         444&   49 444 4 !44;
                44=  4&   41   44444444             4449 44 ! 4   4$ "44444444
                44444449 $ # " 4444444          444'   4= " 4444444444444444        .
                444444.4#! 29 6 4444444444           444'   4#  "444444444444
                44& ' 4#!  4444444444444444444444 
                44(   4 "4444444444444444444444
                44,!4&   41   444444444           /
                4
                4
                44:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                4
                449 $ 4 "4"" 
                449 4444449 $ 44444444444444444444444444444444444
                444 />44444(14, 8 48494???? 4 4444444444444.47
                44444444444494????>.>
                4
                44:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                4
                44#! 24 "4@ !" 5 
                449 4444449 $ 44444444444444444444444444444444444




              4
       01021345678                               ABC781D4E114FGEC4HGI145B3470HB3CGAC47A5B30GC7BA
                         HJKLMNOP4QMRMSTMU4JO4OVM4JUUQMPP4SNUSRJOMU4WN4OVSP4POJOMLMNO4XK4YDZZ4[L\48MNOQJ]4EOJNUJQU4CSLM
                         MJRV4XJN^SN_4UJK4̀S]]4XM4RQMUSOMU4JP4Wa4OVJO4UJOM\444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                                HCMS000181
                                                                                                                                                          Appx. 02488
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 258 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                44444444444444444444444444444444444444444444444444449 44  4444444444  44444
                4444444444444444444444444444444444444444444444444444 4 444444444
                4444444444444444444444444444444444444444444444444444 
                4
                4
                4
                44!  4"# $444444444444444444444444           44%"  &'
                4
                44(((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((
                4
                4444444444444444444444444(((4")"*+4,-4-./!0410904(((
                449 4444"# $4-4444444444444444
                4
                44(((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((
                4
                449 4!   4,2 
                449 4444444444!   44444449 4444444444!   44444449 4444444444!  
                4
                44&424+          
                4




       01021345678                               34578164711489754:9;14543470:435935473543095743
                         :<=>?@AB4C?D?EF?G4<A4AH?4<GGC?BB4E@GED<A?G4I@4AHEB4BA<A?>?@A4J=4K6LL4M>N48?@AC<O47A<@G<CG45E>?
                         ?<DH4J<@PE@Q4G<=4REOO4J?4DC?GEA?G4<B4IS4AH<A4G<A?N444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000182
                                                                                                                                                          Appx. 02489
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 259 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000183
                                                                                                                                                           Appx. 02490
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 260 of 533




                              EXHIBIT 144




                                                                          Appx. 02491
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                           Entered 12/18/21 02:23:50                             Page 261 of 533

012314542                                                                             6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  44444444444444444444444444444444444444444444444444449 44 4444444444  44444
                  4444444444444444444444444444444444444444444444444444 4 444444444
                  4444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  44444444444!" #4$ % 4&     4' ( 4)
                  44444444444 4* 4! #+
                  44444444444,--4$   4$ 4' 4.--
                  444444444449  4/04.1-
                  4
                  4
                  4
                  442 +3 45 4( 42  647""4" 4 4"  #64 4 (  8 4447 8 
                  44 477792 +3 49: %(   9%#:944):447#44 4 4%4:4
                  44( 42  4  #4 464% 4 4 4 4.;,<;<.--9
                  4
                  44$" 44 
                  4
                  444444444444 4/% =44!" #4$ % 4&     4' ( 4)
                  444444444444444444444444444 4* 4! #+
                  4
                  443  4$" 4
                  44 428 44444444444444444         444'   49 444 -4 "44.-
                  44> 4'   43   44444444               4449  44 " 4   4% #4444444
                  44444                   4444444          -444(   4> # 444444444444444
                  4444                   444444444          444(   4$  #444444444444
                  44' ( 4$"  4444444444444444444444 -
                  44)  4 #44444444444444444444444
                  44/" 4'   43   4444444             1
                  4
                  4
                  44;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;
                  4
                  449 %  4 #4## 
                  449 4444449 % 44444444444444444444444444444444444
                  444 144444)34/  : 4:494????,-4 4444444444444--6---9--
                  44444444444494???? 1
                  4
                  44;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;
                  4
                  44$" 4 4 #4@ "# 7 
                  449 4444449 % 44444444444444444444444444444444444


              4
              44;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;
              4
              4
              4
       01021345678                            ABC781D4E114FGEC4HGI145B3470HB3CGAC47A5B30GC7BA
                     HJKLMNOP4QMRMSTMU4JO4OVM4JUUQMPP4SNUSRJOMU4WN4OVSP4POJOMLMNO4XK4YDZZ4[L\48MNOQJ]4EOJNUJQU4CSLM
                      MJRV4XJN^SN_4UJK4̀S]]4XM4RQMUSOMU4JP4Wa4OVJO4UJOM\444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
                                                                                                                                                   HCMS000184
                                                                                                                                             Appx. 02492
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 262 of 533

012314542                                                                                6789 9

               0121345678893 98 93223
               393102
               0
                    !9"8#5$
                44444444444444444444444444444444444444444444444444449 44 4444444444  44444
                4444444444444444444444444444444444444444444444444444 4 44444444444
                4444444444444444444444444444444444444444444444444444 
                4
                4
                4
                44!  4"# $444444444444444444444444           44%"  &'
                4
                449 4!   4() 
                449 4444444444!   44444449 4444444444!   44444449 4444444444!  
                44
                4
                44&4)4*  
                4




       01021345678                               +,-781.4/11401/-4213145,34702,3-1+-47+5,301-7,+
                         2456789:4;7<7=>7?44949@744??;7::4=8?=<497?4A849@=:4:949767894B54C.DD4E6F48789;4G4/948?4;?4-=67
                         74<@4B48H=8I4?454J=GG4B74<;7?=97?44:4AK49@494?497F444444444444444444444444444444444444444444444444444444444444444444444444444




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
                                                                                                                                                                HCMS000185
                                                                                                                                                          Appx. 02493
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 263 of 533

012314542                                                                                     6789 9
                                  012324567589 3                                                    05 7742705975321 27053
                  99                                 69
                                     39:722 59;1295029476                  9
                       513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                  9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                  9                    9             9         9            %$$(%!-/
                                                                            9
                  9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                  9                    9             9         9            (9%""0(/
                  9                    9             9         9            9
                  9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                  9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                            &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                  9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                  9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                  9                    9             9         9            "$&"/
                  9                    9             9         9            9
                  9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                            2!&*9&-93 57 9 48 963//79)+
                  9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                  9                    9             9         9            9
                  9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                  9                    9             9         9            " .*9.+)4%((92!)9/
                  9                    9             9         9            9
                  9                    9             9         9
                  9                    9             9         9               &+92&192!&*               9        9                                    9
                  9                    9             9         9                ,+)$9"$&
                  9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                  9                    9             9         9               *+(%(92-92&1                9        9                                    9
                  9                    9             9         9                    6%,9&-7                   9        9                                    9
                  9                    9             9         9                                       202 49          9                                    9
                  9                    9             9         9
                    2)!9),9'*1" 9                 9         9               30  2
                                                                                    +  *
                                                                                         9
                                                                                          )!9
                                                                                              ),               9        9                                    9
                        &)9.%(                                               *'*1"9&)9.%(
                                                 <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                 C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                          0123454678598 94345 09859 796097560069409798260
        :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
        2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
        .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                4696898979896759897594976409859896460056
        7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
        CWKU
        cded93* %&&-944&09̀ee'9f!))+
        6!!"9̀2#"9gdche
        i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
        7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                   4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                   6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                   6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
        i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
        i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
        $-9'49)9.-9'9$)0&9%&9k0"%)&/
        :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                   :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                   2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                   $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                   :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                   :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                          7594098 9089890678594 86989030 68579645 0
        7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
        2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
        $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
        999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
        999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
        99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
        999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
        99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
        $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
                                                                                                                                                                 HCMS000186
                                                                                                                                                           Appx. 02494
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 264 of 533




                              EXHIBIT 145




                                                                          Appx. 02495
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50                  Page 265 of 533



 Page 1 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210         61




            ,1     9 HI 9 GAL N DAPHCAG F AL AI EF EL C GP
                   F ATCEM S PEMACHL I ADDSRL C
                   622 DMETDEL C DC TCE O22
                   NAGGAT CU O3, 21-O7X0




                                                                                   Contacting Us
                                                                                   A5ai8a48e 4y vl one , XpO

                                                                            Pl one 1-722-, hh-O, OO

                                                                            Sn8ine 445acomva/ / scom

                                                                             . rite BBWA Domva/ /
                                                                                    Du/ tomer Ter5ice
                                                                                    PsS sBoV 123hh
                                                                                    Birmingl ambAG63, 0h


 Tummary of Account/
 Deposit Accounts/ Other Products
                                                                               Ending 4a8ance      Ending 4a8ance
 Account                                           Account num4er               8a/ t / tatement    tl i/ / tatement


 Total Deposit Accounts




                                                                                                                      HCMS000100
                                                                                                                Appx. 02496
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                      Entered 12/18/21 02:23:50   Page 266 of 533



 Page , of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210                        61




 CMEATRMx F AL AI EF EL C AL AGx THT D9 EDYHL I
 Account L um4er:                    - 9 HI 9 GAL N DAPHCAGF AL AI EF EL C GP


 Activity Summary
 Beginning Ba8ance on 3p1p10

 Nevo/ it/ pDredit/ K0O(

 . itl dra) a8/ pNe4it/ K1Oh(                       -

 Ending Balance on 5/31/19



 Deposits and Other Credits
                Dl ecwp                                                                     Nevo/ it/ p
 Nate “         Teria8”         Ne/ crivtion                                                 Dredit/




                                                                                                                   HCMS000101
                                                                                                             Appx. 02497
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50   Page 267 of 533



 Page 6 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                              Nevo/ it/ p
 Nate “      Teria8”      Ne/ crivtion                             Dredit/




                                                                                         HCMS000102
                                                                                   Appx. 02498
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50   Page 268 of 533



 Page X of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                              Nevo/ it/ p
 Nate “      Teria8”      Ne/ crivtion                             Dredit/




                                                                                         HCMS000103
                                                                                   Appx. 02499
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50   Page 269 of 533



 Page 3 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                              Nevo/ it/ p
 Nate “      Teria8”      Ne/ crivtion                             Dredit/




                                                                                         HCMS000104
                                                                                   Appx. 02500
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50   Page 270 of 533



 Page h of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                              Nevo/ it/ p
 Nate “      Teria8”      Ne/ crivtion                             Dredit/




                                                                                         HCMS000105
                                                                                   Appx. 02501
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                              Page 271 of 533



 Page Oof 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




                Dl ecwp                                                                                                  Nevo/ it/ p
 Nate “         Teria8”        Ne/ crivtion                                                                               Dredit/




 P8ea/ e notebcertain fee/ and cl arge/ vo/ ted to your account may re8ate to / er5ice/ andpor acti5ity from tl e vrior / tatement cyc8es
 “ Cl e Nate vro5ided i/ tl e 4u/ ine/ / day tl at tl e tran/ action i/ vroce/ / eds



 Withdrawals and Other Debits
                Dl ecwp                                                                                                                     . itl dra) a8/ p
 Nate “         Teria8”        Ne/ crivtion                                                                                                         Ne4it/




                                                                                                                                                             HCMS000106
                                                                                                                                                       Appx. 02502
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50       Page 272 of 533



 Page 7 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                                         . itl dra) a8/ p
 Nate “      Teria8”      Ne/ crivtion                                               Ne4it/




                                                                                              HCMS000107
                                                                                        Appx. 02503
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50       Page 273 of 533



 Page 0 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                                         . itl dra) a8/ p
 Nate “      Teria8”      Ne/ crivtion                                               Ne4it/




                                                                                              HCMS000108
                                                                                        Appx. 02504
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50       Page 274 of 533



 Page 12 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




             Dl ecwp                                                         . itl dra) a8/ p
 Nate “      Teria8”      Ne/ crivtion                                               Ne4it/




                                                                                              HCMS000109
                                                                                        Appx. 02505
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50       Page 275 of 533



 Page 11 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210                 61




             Dl ecwp                                                                             . itl dra) a8/ p
 Nate “      Teria8”      Ne/ crivtion                                                                   Ne4it/




 3p, 0                    S RC . C EBAL YHL I ME$ , 21023, 0$, k D* h2D22, 1hh                   #X22b222s22
                          BL $ 9 igl 8and Davita8F




                                                                                                                  HCMS000110
                                                                                                            Appx. 02506
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                              Page 276 of 533



 Page 1, of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




                Dl ecwp                                                                                                                     . itl dra) a8/ p
 Nate “         Teria8”        Ne/ crivtion                                                                                                         Ne4it/




 P8ea/ e notebcertain fee/ and cl arge/ vo/ ted to your account may re8ate to / er5ice/ andpor acti5ity from tl e vrior / tatement cyc8es
 “ Cl e Nate vro5ided i/ tl e 4u/ ine/ / day tl at tl e tran/ action i/ vroce/ / eds



 End of Business Day Balance Summary
 Nate                                   Ba8ance      Nate                                    Ba8ance      Nate                               Ba8ance




 Summary of Checks
 Nate     Dl ecw”                       Amount       Nate      Dl ecw”                       Amount       Nate     Dl ecw”                   Amount




 * Indicates break in check sequence




                                                                                                                                                             HCMS000111
                                                                                                                                                       Appx. 02507
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                      Entered 12/18/21 02:23:50                                      Page 277 of 533



 Page 16 of 16
 Primary Account:
 Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




 How to Balance Your Account                                                         Change of Address
                                                                                     P8ea/ e ca88u/ at tl e te8evl one num4er 8i/ ted on tl e front of tl i/
 Step 1 • Enter a88cl ecw/ bdevo/ it/ band otl er automated te88er                   / tatement to te88u/ a4out a cl ange of addre/ / s
          card KACF ( tran/ action/ in your regi/ ters
        • Mecord a88automated deduction/ bde4it card                                 Electronic Transfers (for consumer accounts only)
          tran/ action/ and e8ectronic 4i88vayment/ s                                Hn ca/ e of error/ or Que/ tion/ a4out your E8ectronic Cran/ fer/ b) rite to
                                                                                     BBWA Domva/ / BanwbS veration/ Domv8iance TuvvortbPsS sBoV
        • Mecord and deduct / er5ice cl arge/ bcl ecwvrinting
                                                                                     123hhbBirmingl ambAG63, 0hsS r / imv8y ca88your 8oca8cu/ tomer
          cl arge/ bor otl er 4anwfee/ s                                             / er5ice num4er vrinted on tl e front of tl i/ / tatementsDa88or ) rite a/
        • Hf you l a5e an intere/ t 4earing accountbadd any                          / oon a/ you canbif you tl inwyour / tatement or receivt i/ ) rong or if
          intere/ t earned / l o) n on tl i/ / tatements                             you need more information a4out a tran/ fer on tl e / tatement or
 Step 2 • Hf avv8ica48eb/ ort cl ecw/ in numerica8order and marw                     receivts. e mu/ t l ear from you no 8ater tl an h2 day/ after ) e / ent
          in your regi/ ter eacl cl ecwor otl er tran/ action tl at i/               tl e fir/ t / tatement on ) l icl tl e error or vro48em avveareds
          8i/ ted on tl i/ / tatements
 Step 3 • Gi/ t any devo/ it/ or credit/ your l a5e made tl at do not                Z   Ce88u/ your name and account num4er Kif any(s
          avvear on tl i/ / tatement K/ ee / vace vro5ided 4e8o) (s                  Z   Ne/ cri4e tl e error or tl e tran/ fer you are un/ ure a4outband eVv8ain a/ c8ear8y a/ you can
                                                                                         ) l y you 4e8ie5e it i/ an error or ) l y you need more informations
 Step 4 • Gi/ t any cl ecw/ you l a5e ) rittenbde4it card                            Z   Ce88u/ tl e do88ar amount of tl e / u/ vected errors
          tran/ action/ be8ectronic vayment/ and otl er
          deduction/ tl at do not avvear on tl i/ / tatement K/ ee                   . e ) i88in5e/ tigate your comv8aint and ) i88correct any error vromvt8ysHf ) e tawe more tl an 12
          / vace vro5ided 4e8o) (s                                                   4u/ ine/ / day/ K, 2 on c8aim/ on account/ ovened 8e/ / tl an 62 ca8endar day/ ( to do tl i/ b) e ) i88
                                                                                     credit your account for tl e amount you tl inwi/ in errorb/ o tl at you ) i88l a5e tl e u/ e of tl e
                                                                                     money during tl e time it tawe/ u/ to comv8ete our in5e/ tigations

  NatepNe/ crivtion                                   Amount                         “$or L on-Don/ umer Account cu/ tomer/ bv8ea/ e refer to your current L on-Don/ umer Account
                                                                                     Agreement for detai8/ regarding E8ectronic $und Cran/ fer/ s
                                                                     q               Overdraft Protection
                                                                     q               Calculation of Interest Charge and Balance Subject to Interest RatesCl e intere/ t cl arge i/
                                                                                     comvuted u/ ing your annua8vercentage rate di5ided 4y 6h3 orbin tl e ca/ e of a 8eav yearb6hhb
                                                                     q               ) l icl gi5e/ you tl e •Avv8ica48e Mates| A8tl ougl ) e ca8cu8ate tl e intere/ t cl arge 4y avv8ying tl e
                                                                                     Avv8ica48e Mate to eacl dai8y 4a8ancebtl e intere/ t cl arge can a8/ o 4e ca8cu8ated 4y mu8tiv8ying
                                                                     q               tl e Avv8ica48e Mate 4y tl e •a5erage dai8y 4a8ance|KBa8ance Tu4ject to Hntere/ t Mate( / l o) n on
                                                                                     tl i/ / tatementbtl en mu8tiv8ying tl at / um 4y tl e num4er of day/ in tl e 4i88ing cyc8esCo get tl e
                                                                     q               •Ba8ance Tu4ject to Hntere/ t Mate| / l o) n on tl i/ / tatement ) e tawe tl e 4eginning 4a8ance of
                                     Ttev 6 Cota8 #                  q               your account 8e/ / any unvaid finance cl arge/ eacl daybadd any ne) ad5ance/ or de4it/ band
                                                                                     / u4tract any vayment/ or credit/ sCl i/ gi5e/ u/ tl e dai8y 4a8ancesCl en ) e add a88tl e dai8y
                                                                                     4a8ance/ for tl e 4i88ing cyc8e and di5ide 4y tl e num4er of day/ in tl e 4i88ing cyc8esCl i/ gi5e u/
                                                                                     tl e •a5erage dai8y 4a8ance| / l o) n on tl e / tatement a/ •Ba8ance Tu4ject to Hntere/ t Mate|s
  NatepNe/ crivtion                   Dl ecw”         Amount                         Payment/ sPayment/ to your o5erdraft vrotection 8oan account made tl rougl our te88er/ or
                                                                                     devo/ ited at our automated te88er macl ine/ KACF / ( F onday tl rougl $riday 4efore tl e vo/ ted
                                                                     q               cut-off time ) i884e vo/ ted to your account on tl e date tl ey are accevtedsS tl er) i/ ebtl ey ) i884e
                                                                                     vo/ ted on tl e neVt 4u/ ine/ / daysPayment/ made tl rougl our ACF / 5ia a fund/ tran/ fer ) i884e
                                                                     q               vo/ ted on tl e date tl ey are recei5ed or on tl e neVt 4u/ ine/ / day if made after hvm DC Khvm F C
                                                                     q               for Arizona account/ and hvm PC for Da8ifornia account/ ( F onday tl rougl $riday or anytime
                                                                                     TaturdaybTunday or 4anwl o8iday/ sBBWA Domva/ / Banw4u/ ine/ / day/ are F onday tl rougl
                                                                     q               $ridaybeVc8uding l o8iday/ s

                                                                     q               In Case of Errors or Questions About Your Statement KS 5erdraft Protection S n8y(
                                     Ttev X Cota8 #                                   Hf you tl inwyour / tatement i/ ) rongbor if you need more information a4out a tran/ action on your
                                                                     q               / tatementb) rite your i/ / ue on a / evarate document and / end it to Banwcard DenterbPsS sBoV
                                                                                     , , 12bNecaturbAG63h00-2221sCe8evl one inQuire/ may 4e made 4y ca88ing your 8oca8BBWA
  Balancing Your Register to this Statement                                          Domva/ / 4rancl 8i/ ted on tl e front of tl i/ / tatement to / veaw) itl a Du/ tomer Ter5ice
                                                                                     Mevre/ entati5esP8ea/ e note: a te8evl one inQuiry ) i88not vre/ er5e your rigl t/ under federa88a) s
  Step 5 ZEnter tl e "current 4a8ance" / l o) n on tl i/                             . e mu/ t l ear from you no 8ater tl an / iVty Kh2( day/ after ) e / ent you tl e fir/ t / tatement on
          / tatement                                             q                   ) l icl tl e error or vro48em avveareds

            ZAdd tota8from Ttev 6                                q                   ·   Ce88u/ your name and account num4er Kif any(s
            ZTu4tota8                                            q
                                                                                     ·   Ne/ cri4e tl e error or tl e tran/ fer you are un/ ure a4outband eVv8ain a/ c8ear8y a/ you can
                                                                                         ) l y you 4e8ie5e it i/ an error or ) l at you need more informations
            ZTu4tract tota8from Ttev X                           q                   ·   Ce88u/ tl e do88ar amount of tl e / u/ vected errors

            ZCl i/ 4a8ance / l ou8d eQua8your regi/ ter                              x ou can / tov tl e automatic deduction of tl e F inimum Payment from you cl ecwing account if
             4a8ance                                             q                   you tl inwyour / tatement i/ ) rongsCo / tov tl e vaymentbyour 8etter mu/ t reacl u/ tl ree K6(
                                                                                     4u/ ine/ / day/ 4efore tl e automatic deduction i/ / cl edu8ed to occurs
             Hf it doe/ not agreeb/ ee / tev/ 4e8o)       #      q
                                                                                     Reporting Other Problems
 Hf your account doe/ not 4a8ancebre5ie) tl e fo88o) ing:                            P8ea/ e re5ie) your / tatement carefu88ysHt i/ e/ / entia8tl at any account error/ or any imvrover
 · Dl ecwa88your addition and / u4traction a4o5e in your regi/ ters                  tran/ action/ on your account 4e revorted to u/ a/ / oon a/ rea/ ona48y vo/ / i48esHf you fai8to
 · F awe / ure you remem4ered to / u4tract / er5ice cl arge/ 8i/ ted on              notify u/ of any / u/ vected vro48em/ berror/ or unautl orized tran/ action/ ) itl in tl e time veriod/
   tl i/ / tatement and add any intere/ t earned to your regi/ ters                  / vecified in tl e devo/ it account agreementb) e are not 8ia48e to you for any 8o/ / re8ated to tl e
 · Amount/ of devo/ it/ and ) itl dra) a8/ on tl i/ / tatement / l ou8d              vro48emberror or unautl orized tran/ actions
   matcl your regi/ ter entrie/ s
 · Hf you l a5e Que/ tion/ or need a/ / i/ tancebv8ea/ e refer to tl e vl one        BBWA Domva/ / i/ a trade name of Domva/ / Banwba mem4er of tl e BBWA I rouvs
   num4er on tl e front of tl i/ / tatements                                         Domva/ / BanwbF em4er $NHDs




                                                                                                                                                                      HCMS000112
                                                                                                                                                                Appx. 02508
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 278 of 533




                              EXHIBIT 146




                                                                          Appx. 02509
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50                Page 279 of 533



 Page 1 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019            30




           21      HIGHLAND CAPITAL MANAGEMENT LP
                   MASTER OPERATING ACCOUNT
                   300 CRESCENT CT STE 700
                   DALLAS TX 75201-7849




                                                                                 Contacting Us
                                                                                 Available by phone 24/7
 Your BBVA Account(s)                                                     Phone 1-800-266-7277

 Please see important message regarding your                              Online bbvausa.com
 TREASURY MANAGEMENT ANALYSIS CHECKING                                     Write BBVA
 account                                                                         Customer Service
                                                                                 P.O. Box 10566
                                                                                 Birmingham, AL 35296


 Summary of Accounts
 Deposit Accounts/ Other Products
                                                                             Ending balance     Ending balance
 Account                                         Account number               last statement     this statement


 Total Deposit Accounts


 BBVA Compass is now BBVA. Transforming banking to put the world's opportunities in your hands.




                                                                                                                  HCMS000113
                                                                                                            Appx. 02510
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                             Entered 12/18/21 02:23:50   Page 280 of 533



 Page 2 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019                    30




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


 Account Information
 We have updated the Treasury Management Service Agreement. These terms and
 conditions will become effective as of August 1, 2019. You can find a current version of
 the agreement by going to:
 http://www.bbvausa.com/commercial/treasury-management/resource-central/
  The user ID is "treasury" and the password is "management."




 Activity Summary
 Beginning Balance on 6/1/19

 Deposits/Credits (26)

 Withdrawals/Debits (154)

 Ending Balance on 6/30/19



 Deposits and Other Credits
               Check/                                                              Deposits/
 Date *        Serial #        Description                                          Credits




                                                                                                          HCMS000114
                                                                                                    Appx. 02511
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 281 of 533



 Page 3 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019                                     30




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                     HCMS000115
                                                                                                                                               Appx. 02512
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50     Page 282 of 533



 Page 4 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019   30




             Check/                                                          Withdrawals/
 Date *      Serial #    Description                                               Debits




                                                                                           HCMS000116
                                                                                     Appx. 02513
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50     Page 283 of 533



 Page 5 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019   30




             Check/                                                          Withdrawals/
 Date *      Serial #    Description                                               Debits




                                                                                           HCMS000117
                                                                                     Appx. 02514
Case 21-03007-sgj Doc 127-3 Filed 12/18/21            Entered 12/18/21 02:23:50     Page 284 of 533



 Page 6 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019   30




             Check/                                                          Withdrawals/
 Date *      Serial #    Description                                               Debits




                                                                                           HCMS000118
                                                                                     Appx. 02515
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                      Entered 12/18/21 02:23:50     Page 285 of 533



 Page 7 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019             30




             Check/                                                                    Withdrawals/
 Date *      Serial #    Description                                                         Debits




 6/26                    OUT WT EBANKING REF 20190626F2QCZ60C003151                    $150,000.00
                         BNF Highland Capital M




                                                                                                     HCMS000119
                                                                                               Appx. 02516
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                          Page 286 of 533



 Page 8 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019                                     30




               Check/                                                                                                                  Withdrawals/
 Date *        Serial #       Description                                                                                                    Debits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                             Balance




 Summary of Checks
 Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




 * Indicates break in check sequence




                                                                                                                                                        HCMS000120
                                                                                                                                                  Appx. 02517
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50                                 Page 287 of 533



 Page 9 of 9
 Primary Account:
 Beginning June 1, 2019 - Ending June 30, 2019                               30




 How to Balance Your Account                                             Change of Address
                                                                         Please call us at the telephone number listed on the front of this
 Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
          card (ATM) transactions in your register.
        • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
          transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                         BBVA, Operations Compliance Support, P.O. Box 10566,
        • Record and deduct service charges, check printing
                                                                         Birmingham, AL 35296. Or simply call your local customer service
          charges, or other bank fees.                                   number printed on the front of this statement. Call or write as soon as
        • If you have an interest bearing account, add any               you can, if you think your statement or receipt is wrong or if you need
          interest earned shown on this statement.                       more information about a transfer on the statement or receipt. We
 Step 2 • If applicable, sort checks in numerical order and mark         must hear from you no later than 60 days after we sent the first
          in your register each check or other transaction that is       statement on which the error or problem appeared.
          listed on this statement.
 Step 3 • List any deposits or credits your have made that do not        •   Tell us your name and account number (if any).
          appear on this statement (see space provided below).           •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or why you need more information.
 Step 4 • List any checks you have written, debit card                   •   Tell us the dollar amount of the suspected error.
          transactions, electronic payments and other
          deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
          space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                         credit your account for the amount you think is in error, so that you will have the use of the
                                                                         money during the time it takes us to complete our investigation.

  Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                         Agreement for details regarding Electronic Fund Transfers.
                                                                 |       Overdraft Protection
                                                                 |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                         computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                 |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                         Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                 |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                         this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                 |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                     Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                         subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                         balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                         the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
  Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                         deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                 |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                         posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                 |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                 |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                         Saturday, Sunday or bank holidays. BBVA business days are Monday through Friday, excluding
                                                                 |       holidays.

                                                                 |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                     Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                    $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                         2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
  Balancing Your Register to this Statement                              branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                         Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
  Step 5 • Enter the "current balance" shown on this                     from you no later than sixty (60) days after we sent you the first statement on which the error or
           statement                                         |           problem appeared.

           • Add total from Step 3                           |           ·   Tell us your name and account number (if any).
           • Subtotal                                        |
                                                                         ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                             why you believe it is an error or what you need more information.
           • Subtract total from Step 4                      |           ·   Tell us the dollar amount of the suspected error.

           • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
             balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                         business days before the automatic deduction is scheduled to occur.
            If it does not agree, see steps below       $    |
                                                                         Reporting Other Problems
 If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
 · Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
 · Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
   this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
 · Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
   match your register entries.
 · If you have questions or need assistance, please refer to the phone   BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
   number on the front of this statement.                                BBVA USA, Member FDIC.




                                                                                                                                                      HCMS000121
                                                                                                                                                Appx. 02518
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 288 of 533




                              EXHIBIT 147




                                                                          Appx. 02519
Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50       Page 289 of 533




  Page 1 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019       31




            21      HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                            Contacting Us
                                                                            Available by phone 24/7

                                                                     Phone 1-800-266-7277

                                                                     Online bbvacompass.com

                                                                     Write BBVA Compass
                                                                           Customer Service
                                                                           P.O. Box 10566
                                                                           Birmingham, AL 35296


  Summary of Accounts
  Deposit Accounts/ Other Products
                                                                        Ending balance     Ending balance
  Account                                       Account number           last statement     this statement
  TREASURY MANAGEMENT ANALYSIS CHECKING                                  $3,117,777.78      $1,004,810.25

  Total Deposit Accounts                                                 $3,117,777.78      $1,004,810.25




                                                                                          Appx. 02520
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50      Page 290 of 533

 Page 2 of 13
 Primary Account:
                                     May 31, 2019             31




 TREASURY MANAGEMENT ANALYSIS CHECKING
 Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


 Activity Summary
 Beginning Balance on 5/1/19

 Deposits/Credits (97)

 Withdrawals/Debits (176)

 Ending Balance on 5/31/19



 Deposits and Other Credits
               Check/                                                                 Deposits/
 Date *        Serial #        Description                                             Credits




                                                                                                   Appx. 02521
Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50        Page 291 of 533
   Page 3 of 13
   Primary Account:
   Beginning May 1, 2019 - Ending May 31, 2019   31




               Check/                                                 Deposits/
   Date *      Serial #    Description                                 Credits




                                                                                   Appx. 02522
Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50        Page 292 of 533
   Page 4 of 13
   Primary Account:
   Beginning May 1, 2019 - Ending May 31, 2019   31




               Check/                                                 Deposits/
   Date *      Serial #    Description                                 Credits




                                                                                   Appx. 02523
Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50        Page 293 of 533

   Page 5 of 13
   Primary Account:
   Beginning May 1, 2019 - Ending May 31, 2019   31




               Check/                                                 Deposits/
   Date *      Serial #    Description                                 Credits




                                                                                   Appx. 02524
Case 21-03007-sgj Doc 127-3 Filed 12/18/21       Entered 12/18/21 02:23:50        Page 294 of 533

   Page 6 of 13
   Primary Account:
   Beginning May 1, 2019 - Ending May 31, 2019   31




               Check/                                                 Deposits/
   Date *      Serial #    Description                                 Credits




                                                                                   Appx. 02525
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                          Page 295 of 533
  Page 7 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019                                 31




                Check/                                                                                                Deposits/
  Date *        Serial #       Description                                                                             Credits




  Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
  * The Date provided is the business day that the transaction is processed.



  Withdrawals and Other Debits
                Check/                                                                                                                     Withdrawals/
  Date *        Serial #       Description                                                                                                       Debits




  5/2                          OUT WT EBANKING REF 20190502F2QCZ60C001496                                                                 $2,400,000.00
                               BNF Highland Capital M




  5/3                          OUT WT EBANKING REF 20190503F2QCZ60C004047                                                                 $5,000,000.00
                               BNF Highland Capital M




                                                                                                                                        Appx. 02526
Case 21-03007-sgj Doc 127-3 Filed 12/18/21          Entered 12/18/21 02:23:50   Page 296 of 533

 Page 8 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                                 Withdrawals/
 Date *      Serial #    Description                                                      Debits




                                                                                 Appx. 02527
Case 21-03007-sgj Doc 127-3 Filed 12/18/21          Entered 12/18/21 02:23:50   Page 297 of 533

 Page 9 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                                 Withdrawals/
 Date *      Serial #    Description                                                      Debits




                                                                                 Appx. 02528
Case 21-03007-sgj Doc 127-3 Filed 12/18/21          Entered 12/18/21 02:23:50   Page 298 of 533

 Page 10 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                                 Withdrawals/
 Date *      Serial #    Description                                                      Debits




                                                                                 Appx. 02529
Case 21-03007-sgj Doc 127-3 Filed 12/18/21          Entered 12/18/21 02:23:50   Page 299 of 533

 Page 11 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                                 Withdrawals/
 Date *      Serial #    Description                                                      Debits




                                                                                 Appx. 02530
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                          Page 300 of 533




  Page 12 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019                                 31




                Check/                                                                                                                    Withdrawals/
  Date *        Serial #       Description                                                                                                      Debits




  Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
  * The Date provided is the business day that the transaction is processed.



  End of Business Day Balance Summary
  Date                                  Balance      Date                                  Balance      Date                               Balance




  Summary of Checks
  Date     Check #                      Amount      Date     Check #                       Amount       Date    Check #                    Amount




  * Indicates break in check sequence




                                                                                                                                        Appx. 02531
       Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                           Page 301 of 533


Page 13 of 13
Primary Account:
Beginning May 1, 2019 - Ending May 31, 2019                             31




How to Balance Your Account                                                  Change of Address
                                                                             Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                             BBVA Compass Bank, Operations Compliance Support, P.O. Box
       • Record and deduct service charges, check printing
                                                                             10566, Birmingham, AL 35296. Or simply call your local customer
         charges, or other bank fees.                                        service number printed on the front of this statement. Call or write as
       • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
         interest earned shown on this statement.                            you need more information about a transfer on the statement or
Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
         in your register each check or other transaction that is            the first statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not             •   Tell us your name and account number (if any).
         appear on this statement (see space provided below).                •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                 why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                        •   Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                             credit your account for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.

 Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                             Agreement for details regarding Electronic Fund Transfers.
                                                                |            Overdraft Protection
                                                                |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                             computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                             Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                             this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                             subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                             balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                             the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                             deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                             posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                             Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                |            Friday, excluding holidays.

                                                                |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                                                              If you think your statement is wrong, or if you need more information about a transaction on your
                                    Step 4 Total   $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                             2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                             Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
 Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
          statement                                         |                which the error or problem appeared.

          • Add total from Step 3                           |                ·   Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                             ·   Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                 why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |                ·   Tell us the dollar amount of the suspected error.

          • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                             business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                             Reporting Other Problems
If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
  number on the front of this statement.                                     Compass Bank, Member FDIC.


                                                                                                                                                  Appx. 02532
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 302 of 533




                              EXHIBIT 148




                                                                          Appx. 02533
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                  Entered 12/18/21 02:23:50        Page 303 of 533
        NexBank SSB                                                                                    Page 1 of 3




                13455 NOEL ROAD, 22nd Floor
                DALLAS, TEXAS 75240
                972-934-4700
                www.NexBank.com




                           HIGHLAND CAPITAL MANAGEMENT LP               Date 11/29/13           Page    1
                           300 CRESCENT COURT SUITE 700                 Account Number
                           DALLAS TX 75201                              Enclosures




                                                ---- CHECKING ACCOUNT ----

                        For 24-hour service please
                        call our telephone banking
                        number 877-538-BANK (2265)
                 BUSINESS ANALYSIS W/ INTEREST                Item Truncation
                 Account Number                               Statement Dates 11/01/13 thru 11/30/13
                 Previous Balance                             Days in the statement period
                  5 Deposits/Credits                          Average Ledger
                  3 Checks/Debits                             Average Collected
                 Service Charge
                 Interest Paid
                 Ending Balance                               2013 Interest Paid

                 Deposits and Additions
                      Date   Description                                       Amount




                 Checks and Withdrawals
                      Date   Description                                       Amount


                        11/27      WIRE TRANSFER                          100,000.00
                                   CHICAGO TITLE CO.




          MEMBER FDIC                         NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000114
                                                                                               Appx. 02534
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                  Entered 12/18/21 02:23:50          Page 304 of 533
        NexBank SSB                                                                                     Page 2 of 3




                13455 NOEL ROAD, 22nd Floor
                DALLAS, TEXAS 75240
                972-934-4700
                www.NexBank.com




                           HIGHLAND CAPITAL MANAGEMENT LP               Date 11/29/13            Page     2
                           300 CRESCENT COURT SUITE 700                 Account Number
                           DALLAS TX 75201                              Enclosures




                 BUSINESS ANALYSIS W/ INTEREST                                   (Continued)
                 Checks and Withdrawals
                      Date   Description                                       Amount



                 Daily Balance Information
                   Date       Balance                Date         Balance            Date       Balance



                                                   Interest Rate Summary




          MEMBER FDIC                         NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000115
                                                                                               Appx. 02535
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                  Entered 12/18/21 02:23:50                                     Page 305 of 533
        NexBank SSB                                                                                                                                              Page 3 of 3



                                      OUTSTANDING CHECKS                                                               RECONCILIATION INSTRUCTIONS

                    Reconciliation of Account                                                                   Date ___________________________
                               CHECKS WRITTEN BUT NOT PAID
                        NUMBER                  AMOUNT                                                              Please examine this statement and
                                                                                                                items at once and refer any exceptions
                                                                                                                             immediately.

                                                                                                                      Sort your checks numerically or by
                                                                                                                                date issued.

                                                                                                                    Mark off in your checkbook each of
                                                                                                                your checks paid by the bank and list the
                                                                                                               numbers and amounts of those not paid in
                                                                                                               the space provided at the left. Include any
                                                                                                                   checks still not paid from previous
                                                                                                                               statements.

                                                                                                                      Subtract from your checkbook
                                                                                                               balance any SERVICE CHARGE (S.C.) or
                                                                                                               bank charge appearing on this statement.

                                                                                                                       Reconcile your statement in the
                                                                                                                         space provided below.



                                                                                                 Enter bank balance
                                                                                                   from statement
                                                                                                  Add deposits not
                                                                                                  credited by bank
                                                                                                       (if any)

                                                                                                                           TOTAL

                       Total of Checks                                                            Subtract total of
                          not paid                                                                checks not paid

                                                         THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                   Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable

                                               EXPLANATION OF BALANCE ON WHICH FINANCE CHARGE IS COMPUTED

               We calculate the FINANCE CHARGE on your account by multiplying the daily balance of your account, including current transactions, by the daily periodic rate
          each day during the billing cycle. This gives us a daily finance charge. Then we add together each daily finance charge to derive a total FINANCE CHARGE for the
          billing cycle. To get the daily balance on which each daily finance charge is computed, we take the beginning balance of your account each day, add any new
          advances and subtract any payments or credits and unpaid finance charges.
               The “average daily balance” shown on the front of this statement is for purposes of illustration only. To validate the amount of your finance charge, multiply the
          number of days in the billing cycle by the average daily balance shown, then multiply the product by the daily periodic rate.
               *Note: If the statement closing date falls on a Friday or on any business day immediately prior to a non-business day, the number of days in the billing cycle will
          include the subsequent number of non-business days until the next business day,and the finance charge will continue to accrue. However, the number of days in
          the next billing cycle will not include any days included in the prior cycle.

                                                                             BILLING RIGHTS SUMMARY
          In Case of Errors or Questions About Your Account Statement
          If you think your statement is wrong, or if you need more information about a transaction on your statement, write us on a separate sheet at the address shown on
          the face of this statement as soon as possible. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem
          appeared. You can telephone us, but doing so will not preserve your rights.
          In your letter, give us the following information.
              1. Your name and account number.
              2. The dollar amount of the suspected error.
              3. Describe the error and explain, if you can, why you believe there is an error. If you need more information,
              describe the item you are unsure about.
          You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your statement that are not in question.
          While we investigate your question, we cannot report you as delinquent or take action to collect the amount you question.
                                             IN CASE OF ERROR OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
          If you need more information about an electronic transfer appearing on this statement, or if you think your statement or receipt is wrong, please telephone or write
          us as soon as possible at the phone number or address designated on the front of this statement. We must hear from you no later than 60 days after we sent you
          the FIRST statement on which the error or problem appeared.
              1. Tell us your name and account number (if any).
              2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is
              an error or why you need more information.
              3. Tell us the dollar amount of the suspected error.
              We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will recredit your account for the
          amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.
              If you would like to confirm that an automatic deposit to your account has been made as scheduled, you may call us during normal business hours at the phone
          number designated on the front of this statement.




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000116
                                                                                               Appx. 02536
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 306 of 533




                              EXHIBIT 149




                                                                          Appx. 02537
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                              Entered 12/18/21 02:23:50                   Page 307 of 533



   Page 1 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                d1




             ,1     3 HI 3 GAL N DAPHCAG T AL AI - T - L C GP
                    T AMC- S RP- SACHL I ADDRUL C
                    d22 DS- MD- L C DC MC- 722
                    NAGGAM CX 78, 2157409




                                                                                          Contacting Us
                                                                                          Availaple py h/ one , 067
                                                                                  P/ one 154225, ss57, 77
                                                                                  Rnline ppvacomha. . W
                                                                                                      com
                                                                                   V rite BBx A Domha. .
                                                                                          Du. tomer Mervice
                                                                                          PWRWBoY 128ss
                                                                                          Birming/ ambAGd8, 9s




   Mummary of Account.
   Deposit Accounts/ Other Products
                                                                                     - nEing palance      - nEing palance
   Account                                               Account numper                la. t . tatement     t/ i. . tatement


   Total Deposit Accounts




CONFIDENTIAL                                                                                                              D-HCRE-000100
                                                                                                                       Appx. 02538
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                          Entered 12/18/21 02:23:50          Page 308 of 533



   Page , of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                               d1




   CS- AMUSK T AL AI - T - L C AL AGKMHM D3 - D( HL I
   Account L umper:                      53 HI 3 GAL N DAPHCAGT AL AI - T - L C GP


   Activity Summary
   Beginning Balance on 161610

   Neho. it. 6DreEit. )d1w

   V it/ Erak al. 6Nepit. )10, w

   Ending Balance on 1/31/14



   Transaction History )eYcluEing c/ ec*. w
                   D/ ec* 6                                                                       Neho. it. 6   V it/ Erak al. 6
   Nate #          Merial F        Ne. crihtion                                                     DreEit.             Nepit.




   169                             RUC V C - 5ADD- MM S- Q , 2102129Q, Z D$s2D221794                            J122b222W
                                                                                                                        22
                                   BL Q RlE Sehuplic L atio




CONFIDENTIAL                                                                                                                  D-HCRE-000101
                                                                                                                           Appx. 02539
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50          Page 309 of 533



   Page d of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210   d1




              D/ ec* 6                                                Neho. it. 6   V it/ Erak al. 6
   Nate #     Merial F    Ne. crihtion                                  DreEit.             Nepit.




CONFIDENTIAL                                                                                      D-HCRE-000102
                                                                                               Appx. 02540
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21              Entered 12/18/21 02:23:50          Page 310 of 533



   Page 0 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210   d1




              D/ ec* 6                                                Neho. it. 6   V it/ Erak al. 6
   Nate #     Merial F    Ne. crihtion                                  DreEit.             Nepit.




CONFIDENTIAL                                                                                      D-HCRE-000103
                                                                                               Appx. 02541
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                     Entered 12/18/21 02:23:50                             Page 311 of 533



   Page 8 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                                         d1




                  D/ ec* 6                                                                                                  Neho. it. 6       V it/ Erak al. 6
   Nate #         Merial F       Ne. crihtion                                                                                 DreEit.                 Nepit.




   Plea. e notebcertain fee. anE c/ arge. ho. teE to your account may relate to . ervice. anE6or activity from t/ e hrior . tatement cycleW
   #C/ e Nate hroviEeE i. t/ e pu. ine. . Eay t/ at t/ e tran. action i. hroce. . eEW


   End of Business Day Balance Summary
   Nate                                   Balance       Nate                                   Balance        Nate                             Balance




   Summary of Checks
   Nate     D/ ec* F                      Amount        Nate     D/ ec* F                       Amount       Nate      D/ ec* F                 Amount




CONFIDENTIAL                                                                                                                                                D-HCRE-000104
                                                                                                                                                         Appx. 02542
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                  Entered 12/18/21 02:23:50     Page 312 of 533



   Page s of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210       d1




   Nate   D/ ec* F               Amount    Nate   D/ ec* F   Amount   Nate   D/ ec* F   Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                        D-HCRE-000105
                                                                                                 Appx. 02543
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                                       Page 313 of 533



   Page 7 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                                      d1




   How to Balance Your Account                                                    Change of Address
                                                                                  Plea. e call u. at t/ e teleh/ one numper li. teE on t/ e front of t/ i.
   Step 1 • - nter all c/ ec* . bEeho. it. banE ot/ er automateE teller           . tatement to tell u. apout a c/ ange of aEEre. . W
            carE )ACT wtran. action. in your regi. terW
          • SecorE all automateE EeEuction. bEepit carE                           Electronic Transfers (for consumer accounts only)
            tran. action. anE electronic pill hayment. W                          Hn ca. e of error. or que. tion. apout your - lectronic Cran. fer. bk rite to
                                                                                  BBx A Domha. . Ban*bRheration. Domhliance MuhhortbPW            RWBoY
          • SecorE anE EeEuct . ervice c/ arge. bc/ ec* hrinting
                                                                                  128ssbBirming/ ambAGd8, 9sWRr . imhly call your local cu. tomer
            c/ arge. bor ot/ er pan* fee. W                                       . ervice numper hrinteE on t/ e front of t/ i. . tatementWDall or k rite a.
          • Hf you / ave an intere. t pearing accountbaEE any                     . oon a. you canbif you t/ in* your . tatement or receiht i. k rong or if
            intere. t earneE . / ok n on t/ i. . tatementW                        you neeE more information apout a tran. fer on t/ e . tatement or
   Step 2 • Hf ahhlicapleb. ort c/ ec* . in numerical orEer anE mar*              receihtWV e mu. t / ear from you no later t/ an s2 Eay. after k e . ent
            in your regi. ter eac/ c/ ec* or ot/ er tran. action t/ at i.         t/ e fir. t . tatement on k / ic/ t/ e error or hroplem ahheareEW
            li. teE on t/ i. . tatementW
   Step 3 • Gi. t any Eeho. it. or creEit. your / ave maEe t/ at Eo not           •   Cell u. your name anE account numper )if anywW
            ahhear on t/ i. . tatement ). ee . hace hroviEeE pelok wW             •   Ne. cripe t/ e error or t/ e tran. fer you are un. ure apoutbanE eYhlain a. clearly a. you can
                                                                                      k / y you pelieve it i. an error or k / y you neeE more informationW
   Step 4 • Gi. t any c/ ec* . you / ave k rittenbEepit carE                      •   Cell u. t/ e Eollar amount of t/ e . u. hecteE errorW
            tran. action. belectronic hayment. anE ot/ er
            EeEuction. t/ at Eo not ahhear on t/ i. . tatement ). ee              V e k ill inve. tigate your comhlaint anE k ill correct any error hromhtlyWHf k e ta* e more t/ an 12
            . hace hroviEeE pelok wW                                              pu. ine. . Eay. ), 2 on claim. on account. oheneE le. . t/ an d2 calenEar Eay. wto Eo t/ i. bk e k ill
                                                                                  creEit your account for t/ e amount you t/ in* i. in errorb. o t/ at you k ill / ave t/ e u. e of t/ e
                                                                                  money Euring t/ e time it ta* e. u. to comhlete our inve. tigationW

    Nate6Ne. crihtion                                   Amount                    #Qor L on5Don. umer Account cu. tomer. bhlea. e refer to your current L on5Don. umer Account
                                                                                  Agreement for Eetail. regarEing - lectronic QunE Cran. fer. W
                                                                       |          Overdraft Protection
                                                                       |          Calculation of Interest Charge and Balance Subject to Interest RateWC/ e intere. t c/ arge i.
                                                                                  comhuteE u. ing your annual hercentage rate EiviEeE py ds8 orbin t/ e ca. e of a leah yearbdssb
                                                                       |          k / ic/ give. you t/ e “Ahhlicaple SateW   ” Alt/ oug/ k e calculate t/ e intere. t c/ arge py ahhlying t/ e
                                                                                  Ahhlicaple Sate to eac/ Eaily palancebt/ e intere. t c/ arge can al. o pe calculateE py multihlying
                                                                       |          t/ e Ahhlicaple Sate py t/ e “average Eaily palance”)Balance Mupject to Hntere. t Satew. / ok n on
                                                                                  t/ i. . tatementbt/ en multihlying t/ at . um py t/ e numper of Eay. in t/ e pilling cycleWCo get t/ e
                                                                       |          “Balance Mupject to Hntere. t Sate” . / ok n on t/ i. . tatement k e ta*e t/ e peginning palance of
                                        Mteh d Cotal    J              |          your account le. . any unhaiE finance c/ arge. eac/ EaybaEE any nek aEvance. or Eepit. banE
                                                                                  . uptract any hayment. or creEit. WC/ i. give. u. t/ e Eaily palanceWC/ en k e aEE all t/ e Eaily
                                                                                  palance. for t/ e pilling cycle anE EiviEe py t/ e numper of Eay. in t/ e pilling cycleWC/ i. give u.
                                                                                  t/ e “average Eaily palance” . / ok n on t/ e . tatement a. “Balance Mupject to Hntere. t Sate”W
    Nate6Ne. crihtion                   D/ ec* F        Amount                    Payment. WPayment. to your overEraft hrotection loan account maEe t/ roug/ our teller. or
                                                                                  Eeho. iteE at our automateE teller mac/ ine. )ACT . wT onEay t/ roug/ QriEay pefore t/ e ho. teE
                                                                       |          cut5off time k ill pe ho. teE to your account on t/ e Eate t/ ey are accehteEWRt/ erk i. ebt/ ey k ill pe
                                                                                  ho. teE on t/ e neYt pu. ine. . EayWPayment. maEe t/ roug/ our ACT . via a funE. tran. fer k ill pe
                                                                       |          ho. teE on t/ e Eate t/ ey are receiveE or on t/ e neYt pu. ine. . Eay if maEe after shm DC )shm T C
                                                                       |          for Arizona account. anE shm PC for Dalifornia account. wT onEay t/ roug/ QriEay or anytime
                                                                                  MaturEaybMunEay or pan* / oliEay. WBBx A Domha. . Ban* pu. ine. . Eay. are T onEay t/ roug/
                                                                       |          QriEaybeYcluEing / oliEay. W

                                                                       |          In Case of Errors or Questions About Your Statement )RverEraft Protection Rnlyw
                                        Mteh 0 Cotal                               Hf you t/ in* your . tatement i. k rongbor if you neeE more information apout a tran. action on your
                                                        J              |          . tatementbk rite your i. . ue on a . eharate Eocument anE . enE it to Ban*carE DenterbPW        RWBoY
                                                                                  , , 12bNecaturbAGd8s9952221WCeleh/ one inquire. may pe maEe py calling your local BBx A
    Balancing Your Register to this Statement                                     Domha. . pranc/ li. teE on t/ e front of t/ i. . tatement to . hea* k it/ a Du. tomer Mervice
                                                                                  Sehre. entativeWPlea. e note: a teleh/ one inquiry k ill not hre. erve your rig/ t. unEer feEeral lak W
    Step 5 • - nter t/ e "current palance" . / ok n on t/ i.                      V e mu. t / ear from you no later t/ an . iYty )s2wEay. after k e . ent you t/ e fir. t . tatement on
             . tatement                                            |              k / ic/ t/ e error or hroplem ahheareEW

              • AEE total from Mteh d                              |              ·   Cell u. your name anE account numper )if anywW
              • Muptotal                                           |
                                                                                  ·   Ne. cripe t/ e error or t/ e tran. fer you are un. ure apoutbanE eYhlain a. clearly a. you can
                                                                                      k / y you pelieve it i. an error or k / at you neeE more informationW
              • Muptract total from Mteh 0                         |              ·   Cell u. t/ e Eollar amount of t/ e . u. hecteE errorW

              • C/ i. palance . / oulE equal your regi. ter                       Kou can . toh t/ e automatic EeEuction of t/ e T inimum Payment from you c/ ec*ing account if
                palance                                            |              you t/ in* your . tatement i. k rongWCo . toh t/ e haymentbyour letter mu. t reac/ u. t/ ree )dw
                                                                                  pu. ine. . Eay. pefore t/ e automatic EeEuction i. . c/ eEuleE to occurW
               Hf it Eoe. not agreeb. ee . teh. pelok         J    |
                                                                                  Reporting Other Problems
   Hf your account Eoe. not palancebreviek t/ e follok ing:                       Plea. e reviek your . tatement carefullyWHt i. e. . ential t/ at any account error. or any imhroher
   · D/ ec* all your aEEition anE . uptraction apove in your regi. terW           tran. action. on your account pe rehorteE to u. a. . oon a. rea. onaply ho. . ipleWHf you fail to
   · T a*e . ure you remempereE to . uptract . ervice c/ arge. li. teE on         notify u. of any . u. hecteE hroplem. berror. or unaut/ orizeE tran. action. k it/ in t/ e time herioE.
     t/ i. . tatement anE aEE any intere. t earneE to your regi. terW             . hecifieE in t/ e Eeho. it account agreementbk e are not liaple to you for any lo. . relateE to t/ e
   · Amount. of Eeho. it. anE k it/ Erak al. on t/ i. . tatement . / oulE         hroplemberror or unaut/ orizeE tran. actionW
     matc/ your regi. ter entrie. W
   · Hf you / ave que. tion. or neeE a. . i. tancebhlea. e refer to t/ e h/ one   BBx A Domha. . i. a traEe name of Domha. . Ban*ba memper of t/ e BBx A I rouhW
     numper on t/ e front of t/ i. . tatementW                                    Domha. . Ban*bT emper QNHDW




CONFIDENTIAL                                                                                                                                                      D-HCRE-000106
                                                                                                                                                               Appx. 02544
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 314 of 533




                              EXHIBIT 150




                                                                          Appx. 02545
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                       Page 315 of 533

  012314542                                                                                6789 9


              0121345678893 98 93223
              393102
              0
                   !9"8#5$

               0000000000001231456708592 540 5653 6 04900000000007 0000000009 0000
               00000000000008 8 6 08 02 0000000000000506 !000000         
               000000000000754450 "00#$000000000000000000000000 %&!&
               0
               0000000000000000000000000''''081 8(26305886 0''''
               000000000000)!0$'*!0&!+,0-% &
               000000000000 %%0!0%-*0 .,
               000000000000 !0/'#/'056(01$$2#3
               00026 056544205026   00000000000020 ! ,
               00506 !0000000000000000         00 07 &000*!00
               009!+,&00 % 00000000              0007 6&0,0*0& 0-!,70000000 
               00000007-&,&8!7,&00             #0005+! 047!00000000000000         
               00000008*.&7 ,&0000000           0005+! 08%%700000000000         
               00!+,08* !000000000000000000000
               002!&09 ,70000000000000000        
               00 7,00 % 0000000000             000$02!&09 ,700000000000        
               000888888888888888888888888888888888888888888888888888888888888888888888888888888
               007-&,&0 70577,,&
               007 0000007&!,-,000000000000000000000000000000000005




               000888888888888888888888888888888888888888888888888888888888888888888888888888888
               008*.&0 705,*7! 9 %&
               007 0000007&!,-,000000000000000000000000000000000005
               000$:00000200 ! &;!0;!070<<<<00000000000000=>
               00000000000070<<<<2#2
               000$:00000200 ! &;!0;!070<<<<000000000000$==>
               00000000000070<<<<2#2

               0
               0
               0
               0

       01021345678                                  9 7814114 4145 3470 3 9 4795 30 79
                            4444444444!""4#$48%44
                            4&'44(%%4444)44$444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
CONFIDENTIAL                                                                                                                                                  D-HCRE-000060
                                                                                                                                                           Appx. 02546
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                       Page 316 of 533

  012314542                                                                                6789 9

              0121345678893 98 93223
              393102
              0
                   !9"8#5$

               0000000000001231456708592 540 5653 6 04900000000007 0000000009 0000
               00000000000008 8 6 08 02 0000000000000506 !"000000
               000000000000754450 #00$000000000000000000000000 %&"&
               0
               00'26 05654(20)026   000000000*00+8,-.
               008/0&0 -0),/-" 1 %&
               007 0000007&",2,000000000000000000000000000000000005 
               000000002'0 " &3"03" 070444400000000000000$56
               000000000000704444$
               000777777777777777777777777777777777777777777777777777777777777777777777777777777
               007 ,%80' % 023" ,
               007 0000000000' % 000000007 0000000000' % 000000007 0000000000' % 

               000777777777777777777777777777777777777777777777777777777777777777777777777777777
               0000000000000000000000000000002"&0 0 "8
               00000000000000000000000000
               0
               0
               0
               0




       01021345678                                  9 7814114 4145 3470 3 9 4795 30 79
                            4444444444!""4#$48%44
                            4&'44(%%4444)44$444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
CONFIDENTIAL                                                                                                                                                  D-HCRE-000061
                                                                                                                                                           Appx. 02547
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 317 of 533

  012314542                                                                                     6789 9
                                    012324567589 3                                                    05 7742705975321 27053
                    99                                 69
                                       39:722 59;1295029476                  9
                         513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                    9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                    9                    9             9         9            %$$(%!-/
                                                                              9
                    9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                    9                    9             9         9            (9%""0(/
                    9                    9             9         9            9
                    9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                    9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                              &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                    9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                    9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                    9                    9             9         9            "$&"/
                    9                    9             9         9            9
                    9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                              2!&*9&-93 57 9 48 963//79)+
                    9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                    9                    9             9         9            9
                    9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                    9                    9             9         9            " .*9.+)4%((92!)9/
                    9                    9             9         9            9
                    9                    9             9         9
                    9                    9             9         9               &+92&192!&*               9        9                                    9
                    9                    9             9         9                ,+)$9"$&
                    9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                    9                    9             9         9               *+(%(92-92&1                9        9                                    9
                    9                    9             9         9                    6%,9&-7                   9        9                                    9
                    9                    9             9         9                                       202 49          9                                    9
                    9                    9             9         9
                      2)!9),9'*1" 9                 9         9               30  2
                                                                                      +  *
                                                                                           9
                                                                                            )!9
                                                                                                ),               9        9                                    9
                          &)9.%(                                               *'*1"9&)9.%(
                                                   <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                  N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                   C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                            0123454678598 94345 09859 796097560069409798260
          :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
          2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
          .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                  4696898979896759897594976409859896460056
          7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
          CWKU
          cded93* %&&-944&09̀ee'9f!))+
          6!!"9̀2#"9gdche
          i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
          7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                     4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                     6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                     6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
          i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
          i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
          $-9'49)9.-9'9$)0&9%&9k0"%)&/
          :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                     :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                     2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                     $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                     :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                     :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                            7594098 9089890678594 86989030 68579645 0
          7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
          2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
          $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
          999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
          999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
          99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
          999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
          99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
          $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
CONFIDENTIAL                                                                                                                                                    D-HCRE-000062
                                                                                                                                                             Appx. 02548
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 318 of 533




                              EXHIBIT 151




                                                                          Appx. 02549
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                           Entered 12/18/21 02:23:50                   Page 319 of 533



   Page 1 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                H1




             21     I G
                      L I NADC T APGMAN F ADAL dF dDM NP
                    F ASMdR OPd RAMGDL ATTOUDM
                    H00 T Rd ST d DM T M SMd 600
                    CANNAS M3 67201E6X- 5




                                                                                       Contacting Us
                                                                                       A8ai4av4e vy l bone 2- p6
                                                                               Pbone 1EX00E2hhE6266
                                                                               On4ine vv8acoml a/ / scom
                                                                                . rite BBWA T oml a/ /
                                                                                       T u/ tomer Ser8ice
                                                                                       PsOsBoV 107hh
                                                                                       Birmingbam, ANH725h




   Summary of Account/
   Deposit Accounts/ Other Products
                                                                                  d n9ing va4ance      d n9ing va4ance
   Account                                            Account numver                4a/ t / tatement     tbi/ / tatement


   Total Deposit Accounts




CONFIDENTIAL                                                                                                           D-HCRE-000107
                                                                                                                    Appx. 02550
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50          Page 320 of 533



   Page 2 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-       H1




   MRd ASURx F ADAL d F d DMADANx SGS T I d T YG
                                               DL
   Account Dumver:


   Activity Summary
   Beginning Ba4ance on Hp1p1-

   Cel o/ it/ pTre9it/ K11(

   . itb9ra) a4/ pCevit/ K1X2(                        -

   Ending Balance on 1/13/34



   Transaction History KeVc4u9ing cbecw/ (
                   T becwp                                             Cel o/ it/ p   . itb9ra) a4/ p
   Cate “          Seria4”       Ce/ cril tion                           T re9it/            Cevit/




CONFIDENTIAL                                                                                       D-HCRE-000108
                                                                                                Appx. 02551
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21           Entered 12/18/21 02:23:50          Page 321 of 533



   Page H of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-   H1




              T becwp                                              Cel o/ it/ p   . itb9ra) a4/ p
   Cate “     Seria4”     Ce/ cril tion                              T re9it/            Cevit/




CONFIDENTIAL                                                                                   D-HCRE-000109
                                                                                            Appx. 02552
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                      Entered 12/18/21 02:23:50          Page 322 of 533



   Page - of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-              H1




              T becwp                                                         Cel o/ it/ p   . itb9ra) a4/ p
   Cate “     Seria4”     Ce/ cril tion                                         T re9it/            Cevit/




   Hp2X                   OUM. MdEATTdSS Rd$ 201- 0H2X$2k T* h0T00H02-                         #70,000s00
                          BD$ Werita/ Mit4e Part




CONFIDENTIAL                                                                                              D-HCRE-000110
                                                                                                       Appx. 02553
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                       Entered 12/18/21 02:23:50                           Page 323 of 533



   Page 7 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                                              H1




                  T becwp                                                                                                     Cel o/ it/ p     . itb9ra) a4/ p
   Cate “         Seria4”         Ce/ cril tion                                                                                 T re9it/              Cevit/




   P4ea/ e note, certain fee/ an9 cbarge/ l o/ te9 to your account may re4ate to / er8ice/ an9por acti8ity from tbe l rior / tatement cyc4es
   “ Mbe Cate l ro8i9e9 i/ tbe vu/ ine/ / 9ay tbat tbe tran/ action i/ l roce/ / e9s


   End of Business Day Balance Summary
   Cate                                    Ba4ance       Cate                                    Ba4ance       Cate                             Ba4ance




   Summary of Checks
   Cate     T becw”                        Amount        Cate     T becw”                        Amount        Cate      T becw”                Amount




CONFIDENTIAL                                                                                                                                                 D-HCRE-000111
                                                                                                                                                          Appx. 02554
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                     Entered 12/18/21 02:23:50    Page 324 of 533



   Page h of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-             H1




   Cate   T becw”                Amount     Cate      T becw”   Amount   Cate   T becw”   Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                          D-HCRE-000112
                                                                                                   Appx. 02555
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                                      Page 325 of 533



   Page 6 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                                         H1




   How to Balance Your Account                                                    Change of Address
                                                                                  P4ea/ e ca44u/ at tbe te4el bone numver 4i/ te9 on tbe front of tbi/
   Step 3 • d nter a44cbecw/ , 9el o/ it/ , an9 otber automate9 te44er            / tatement to te44u/ avout a cbange of a99re/ / s
            car9 KAMF ( tran/ action/ in your regi/ ters
          • Recor9 a44automate9 9e9uction/ , 9evit car9                           Electronic Transfers (for consumer accounts only)
            tran/ action/ an9 e4ectronic vi44l ayment/ s                          Gn ca/ e of error/ or Que/ tion/ avout your d 4ectronic Mran/ fer/ , ) rite to
                                                                                  BBWA Toml a/ / Banw, Ol eration/ Toml 4iance Sul l ort, PsOsBoV
          • Recor9 an9 9e9uct / er8ice cbarge/ , cbecwl rinting
                                                                                  107hh, Birmingbam, AN H725hsOr / iml 4y ca44your 4oca4cu/ tomer
            cbarge/ , or otber vanwfee/ s                                         / er8ice numver l rinte9 on tbe front of tbi/ / tatementsTa44or ) rite a/
          • Gf you ba8e an intere/ t vearing account, a99 any                     / oon a/ you can, if you tbinwyour / tatement or receil t i/ ) rong or if
            intere/ t earne9 / bo) n on tbi/ / tatements                          you nee9 more information avout a tran/ fer on tbe / tatement or
   Step 2 • Gf al l 4icav4e, / ort cbecw/ in numerica4or9er an9 marw              receil ts. e mu/ t bear from you no 4ater tban h0 9ay/ after ) e / ent
            in your regi/ ter eacb cbecwor otber tran/ action tbat i/             tbe fir/ t / tatement on ) bicb tbe error or l rov4em al l eare9s
            4i/ te9 on tbi/ / tatements
   Step 1 • Ni/ t any 9el o/ it/ or cre9it/ your ba8e ma9e tbat 9o not            Z   Me44u/ your name an9 account numver Kif any(s
            al l ear on tbi/ / tatement K/ ee / l ace l ro8i9e9 ve4o) (s          Z   Ce/ crive tbe error or tbe tran/ fer you are un/ ure avout, an9 eVl 4ain a/ c4ear4y a/ you can
                                                                                      ) by you ve4ie8e it i/ an error or ) by you nee9 more informations
   Step 4 • Ni/ t any cbecw/ you ba8e ) ritten, 9evit car9                        Z   Me44u/ tbe 9o44ar amount of tbe / u/ l ecte9 errors
            tran/ action/ , e4ectronic l ayment/ an9 otber
            9e9uction/ tbat 9o not al l ear on tbi/ / tatement K/ ee              . e ) i44in8e/ tigate your coml 4aint an9 ) i44correct any error l roml t4ys G
                                                                                                                                                               f ) e tawe more tban 10
            / l ace l ro8i9e9 ve4o) (s                                            vu/ ine/ / 9ay/ K20 on c4aim/ on account/ ol ene9 4e/ / tban H0 ca4en9ar 9ay/ ( to 9o tbi/ , ) e ) i44
                                                                                  cre9it your account for tbe amount you tbinwi/ in error, / o tbat you ) i44ba8e tbe u/ e of tbe
                                                                                  money 9uring tbe time it tawe/ u/ to coml 4ete our in8e/ tigations

    CatepCe/ cril tion                                   Amount                   “$or DonET on/ umer Account cu/ tomer/ , l 4ea/ e refer to your current DonETon/ umer Account
                                                                                  Agreement for 9etai4/ regar9ing d4ectronic $un9 Mran/ fer/ s
                                                                       q          Overdraft Protection
                                                                       q          Calculation of Interest Charge and Balance Subject to Interest RatesMbe intere/ t cbarge i/
                                                                                  coml ute9 u/ ing your annua4l ercentage rate 9i8i9e9 vy Hh7 or, in tbe ca/ e of a 4eal year, Hhh,
                                                                       q          ) bicb gi8e/ you tbe •Al l 4icav4e Rates| A4tbougb ) e ca4cu4ate tbe intere/ t cbarge vy al l 4ying tbe
                                                                                  Al l 4icav4e Rate to eacb 9ai4y va4ance, tbe intere/ t cbarge can a4/ o ve ca4cu4ate9 vy mu4til 4ying
                                                                       q          tbe Al l 4icav4e Rate vy tbe •a8erage 9ai4y va4ance|KBa4ance Suvject to G     ntere/ t Rate( / bo) n on
                                                                                  tbi/ / tatement, tben mu4til 4ying tbat / um vy tbe numver of 9ay/ in tbe vi44ing cyc4esMo get tbe
                                                                       q          •Ba4ance Suvject to G   ntere/ t Rate| / bo) n on tbi/ / tatement ) e tawe tbe veginning va4ance of
                                       Stel HMota4 #                   q          your account 4e/ / any unl ai9 finance cbarge/ eacb 9ay, a99 any ne) a98ance/ or 9evit/ , an9
                                                                                  / uvtract any l ayment/ or cre9it/ sMbi/ gi8e/ u/ tbe 9ai4y va4ancesMben ) e a99 a44tbe 9ai4y
                                                                                  va4ance/ for tbe vi44ing cyc4e an9 9i8i9e vy tbe numver of 9ay/ in tbe vi44ing cyc4esMbi/ gi8e u/
                                                                                  tbe •a8erage 9ai4y va4ance| / bo) n on tbe / tatement a/ •Ba4ance Suvject to G     ntere/ t Rate|s
    CatepCe/ cril tion                  T becw”          Amount                   Payment/ sPayment/ to your o8er9raft l rotection 4oan account ma9e tbrougb our te44er/ or
                                                                                  9el o/ ite9 at our automate9 te44er macbine/ KAMF / ( F on9ay tbrougb $ri9ay vefore tbe l o/ te9
                                                                       q          cutEoff time ) i44ve l o/ te9 to your account on tbe 9ate tbey are accel te9sOtber) i/ e, tbey ) i44ve
                                                                                  l o/ te9 on tbe neVt vu/ ine/ / 9aysPayment/ ma9e tbrougb our AMF / 8ia a fun9/ tran/ fer ) i44ve
                                                                       q          l o/ te9 on tbe 9ate tbey are recei8e9 or on tbe neVt vu/ ine/ / 9ay if ma9e after hl m TMKhl m F M
                                                                       q          for Arizona account/ an9 hl m PMfor T a4ifornia account/ ( F on9ay tbrougb $ri9ay or anytime
                                                                                  Satur9ay, Sun9ay or vanwbo4i9ay/ sBBWA Toml a/ / Banwvu/ ine/ / 9ay/ are F on9ay tbrougb
                                                                       q          $ri9ay, eVc4u9ing bo4i9ay/ s

                                                                       q          In Case of Errors or Questions About Your Statement KO8er9raft Protection On4y(
                                       Stel - Mota4 #                              Gf you tbinwyour / tatement i/ ) rong, or if you nee9 more information avout a tran/ action on your
                                                                       q          / tatement, ) rite your i/ / ue on a / el arate 9ocument an9 / en9 it to Banwcar9 Tenter, PsOsBoV
                                                                                  2210, Cecatur, ANH7h55E0001sMe4el bone inQuire/ may ve ma9e vy ca44ing your 4oca4BBWA
    Balancing Your Register to this Statement                                     Toml a/ / vrancb 4i/ te9 on tbe front of tbi/ / tatement to / l eaw) itb a Tu/ tomer Ser8ice
                                                                                  Rel re/ entati8esP4ea/ e note: a te4el bone inQuiry ) i44not l re/ er8e your rigbt/ un9er fe9era44a) s
    Step 5 Zdnter tbe "current va4ance" / bo) n on tbi/                           . e mu/ t bear from you no 4ater tban / iVty Kh0( 9ay/ after ) e / ent you tbe fir/ t / tatement on
            / tatement                                             q              ) bicb tbe error or l rov4em al l eare9s

              ZA99 tota4from Stel H                                q              ·   Me44u/ your name an9 account numver Kif any(s
              ZSuvtota4                                            q
                                                                                  ·   Ce/ crive tbe error or tbe tran/ fer you are un/ ure avout, an9 eVl 4ain a/ c4ear4y a/ you can
                                                                                      ) by you ve4ie8e it i/ an error or ) bat you nee9 more informations
              ZSuvtract tota4from Stel -                           q              ·   Me44u/ tbe 9o44ar amount of tbe / u/ l ecte9 errors

              ZMbi/ va4ance / bou49 eQua4your regi/ ter                           x ou can / tol tbe automatic 9e9uction of tbe F inimum Payment from you cbecwing account if
               va4ance                                             q              you tbinwyour / tatement i/ ) rongsMo / tol tbe l ayment, your 4etter mu/ t reacb u/ tbree KH(
                                                                                  vu/ ine/ / 9ay/ vefore tbe automatic 9e9uction i/ / cbe9u4e9 to occurs
               G
               f it 9oe/ not agree, / ee / tel / ve4o)      #      q
                                                                                  Reporting Other Problems
   Gf your account 9oe/ not va4ance, re8ie) tbe fo44o) ing:                       P4ea/ e re8ie) your / tatement carefu44ys Gt i/ e/ / entia4tbat any account error/ or any iml rol er
   · T becwa44your a99ition an9 / uvtraction avo8e in your regi/ ters             tran/ action/ on your account ve rel orte9 to u/ a/ / oon a/ rea/ onav4y l o/ / iv4esG  f you fai4to
   · F awe / ure you rememvere9 to / uvtract / er8ice cbarge/ 4i/ te9 on          notify u/ of any / u/ l ecte9 l rov4em/ , error/ or unautborize9 tran/ action/ ) itbin tbe time l erio9/
     tbi/ / tatement an9 a99 any intere/ t earne9 to your regi/ ters              / l ecifie9 in tbe 9el o/ it account agreement, ) e are not 4iav4e to you for any 4o/ / re4ate9 to tbe
   · Amount/ of 9el o/ it/ an9 ) itb9ra) a4/ on tbi/ / tatement / bou49           l rov4em, error or unautborize9 tran/ actions
     matcb your regi/ ter entrie/ s
   ·G f you ba8e Que/ tion/ or nee9 a/ / i/ tance, l 4ea/ e refer to tbe l bone   BBWA Toml a/ / i/ a tra9e name of T oml a/ / Banw, a memver of tbe BBWA L roul s
     numver on tbe front of tbi/ / tatements                                      Toml a/ / Banw, F emver $CG Ts




CONFIDENTIAL                                                                                                                                                      D-HCRE-000113
                                                                                                                                                               Appx. 02556
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 326 of 533




                              EXHIBIT 152




                                                                          Appx. 02557
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 327 of 533

  012314542                                                                                6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4444444444 ! "4# $ 4%     4&
                  44444444444#   4# 4' 4(
                  44444444449  4)*4(+
                  4
                  4
                  4
                  4, -. /041 444  2 4 43334, -. /4
                  4
                  4
                  4
                  4#! /4 
                  4
                  44444444444 4)$ 544 ! "4# $ 4%     4&
                  4
                  4 4#! /4346  
                  4 4,2 44444444444444444          44'   49 444   4 !44+  
                  4&  4'   4.   44444444             4449 44 ! 4   4$ "44444444
                  44444749 $ # " 44444             4441   4& " 444444444444444
                  44444+4#! /9 2 4444444              4441   4#  "4444444444
                  4' 1 4#!  444444444444444444444 4446   4  "44444444444444444
                  46   4 "444444444444444444          444 4    48 "4  "4444
                  4)!4'   4.   4444444              444+ 46   4 "44444444444444
                  4
                  499999999999999999999999999999999999999999999999999999999999999999999999999999999999
                  4
                  49 $ 4 "4"" 
                  49 4444449 $ 44444444444444444444444444444444444




                  4
                  499999999999999999999999999999999999999999999999999999999999999999999999999999999999
                  4
         01021345678                               :;<781=4>114?@><4A@B145;3470A;3<@:<47:5;30@<7;:
                           ACDEFGHI4JFKFLMFN4CH4HOF4CNNJFII4LGNLKCHFN4PG4HOLI4IHCHFEFGH4QD4R=SS4TEU48FGHJCV4>HCGNCJN4<LEF
                           FCKO4QCGWLGX4NCD4YLVV4QF4KJFNLHFN4CI4PZ4HOCH4NCHFU444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
CONFIDENTIAL                                                                                                                                                   D-HCRE-000063
                                                                                                                                                            Appx. 02558
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 328 of 533

  012314542                                                                                6789 9

                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 44  44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4   4!" #4$4%  4444444444444           44&!  '(
                  4
                  4!" # 4 '4) "' $ 
                  49 4444449 * 44444444444444444444444444444444444
                  44 +44444$ 4 , -4. 4/40!1.44444444444 223-
                  44444444444 **4 '454634) "
                  4
                  4-----------------------------------------------------------------------------------
                  4
                  49 47   4%/ 
                  49 44444444447   44444449 44444444447   44444449 44444444447  

                  4
                  4-----------------------------------------------------------------------------------
                  4
                  4444444444444444444444444444%  48 49 
                  444444444444444444444444449 4444444444444448
                  444444444444444444444444
                  4
                  4'4/49  
                  4
                  4
                  4




         01021345678                               :;<781=4>114?@><4A@B145;3470A;3<@:<47:5;30@<7;:
                           ACDEFGHI4JFKFLMFN4CH4HOF4CNNJFII4LGNLKCHFN4PG4HOLI4IHCHFEFGH4QD4R=SS4TEU48FGHJCV4>HCGNCJN4<LEF
                           FCKO4QCGWLGX4NCD4YLVV4QF4KJFNLHFN4CI4PZ4HOCH4NCHFU444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
CONFIDENTIAL                                                                                                                                                   D-HCRE-000064
                                                                                                                                                            Appx. 02559
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 329 of 533

  012314542                                                                                     6789 9
                                    012324567589 3                                                    05 7742705975321 27053
                    99                                 69
                                       39:722 59;1295029476                  9
                         513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                    9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                    9                    9             9         9            %$$(%!-/
                                                                              9
                    9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                    9                    9             9         9            (9%""0(/
                    9                    9             9         9            9
                    9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                    9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                              &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                    9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                    9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                    9                    9             9         9            "$&"/
                    9                    9             9         9            9
                    9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                              2!&*9&-93 57 9 48 963//79)+
                    9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                    9                    9             9         9            9
                    9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                    9                    9             9         9            " .*9.+)4%((92!)9/
                    9                    9             9         9            9
                    9                    9             9         9
                    9                    9             9         9               &+92&192!&*               9        9                                    9
                    9                    9             9         9                ,+)$9"$&
                    9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                    9                    9             9         9               *+(%(92-92&1                9        9                                    9
                    9                    9             9         9                    6%,9&-7                   9        9                                    9
                    9                    9             9         9                                       202 49          9                                    9
                    9                    9             9         9
                      2)!9),9'*1" 9                 9         9               30  2
                                                                                      +  *
                                                                                           9
                                                                                            )!9
                                                                                                ),               9        9                                    9
                          &)9.%(                                               *'*1"9&)9.%(
                                                   <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                  N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                   C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                            0123454678598 94345 09859 796097560069409798260
          :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
          2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
          .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                  4696898979896759897594976409859896460056
          7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
          CWKU
          cded93* %&&-944&09̀ee'9f!))+
          6!!"9̀2#"9gdche
          i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
          7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                     4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                     6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                     6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
          i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
          i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
          $-9'49)9.-9'9$)0&9%&9k0"%)&/
          :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                     :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                     2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                     $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                     :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                     :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                            7594098 9089890678594 86989030 68579645 0
          7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
          2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
          $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
          999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
          999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
          99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
          999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
          99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
          $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
CONFIDENTIAL                                                                                                                                                    D-HCRE-000065
                                                                                                                                                             Appx. 02560
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 330 of 533




                              EXHIBIT 153




                                                                          Appx. 02561
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                         Entered 12/18/21 02:23:50                            Page 331 of 533
        Compass e-Access                                                                                                                          Page 1 of 6



         ERD Report Filename - 7202015121002782.TXT
         Batch # - 2015121002782                                                            CLOSE
         Printed on May 04, 2015 at 08:02 AM

         1
         +@ Primary Account:
           Page 1 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015



                    HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                                                      Contacting Us
                                                                                                      ________________________________________

                                                                                               Phone: 1-800-266-7277

          S u m m a r y     o f    A c c o u n t s

          Deposit Accounts/Other Products
                                                                                                       Ending balance           Ending balance
          Account                                            Account number                            last statement           this statement
          ====================================================================================================================================


           Total Deposit Accounts
         1
         +@ Primary Account:
           Page 2 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          T R E A S U R Y   M A N A G E M E N T   A N A L Y S I S   C H E C K I N G
          Account Number: 0025876342 - HIGHLAND CAPITAL MANAGEMENT LP


          Activity Summary
          ==========================================
          Beginning Balance on 4/1/15
          Deposits/Credits (33)
          Withdrawals/Debits (189)
          __________________________________________
          Ending Balance on 4/30/15


          Deposits and Other Credits

                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
          ====================================================================================================================================




           ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
           Page 3 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Deposits and Other Credits - continued




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                      5/4/2015
CONFIDENTIAL                                                                                                                                    D-HCRE-000066
                                                                                                                                             Appx. 02562
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                         Entered 12/18/21 02:23:50                           Page 332 of 533
        Compass e-Access                                                                                                                         Page 2 of 6



                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
          ====================================================================================================================================




                                                                                                                                         _____
         1
         +@ Primary Account:
           Page 4 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Deposits and Other Credits - continued

                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
          ====================================================================================================================================


          ____________________________________________________________________________________________________________________________________

          *The Date provided is the business day that the transaction is processed.

          Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


          Withdrawals and Other Debits

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




                                                                                                                                    $1,042.30




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000067
                                                                                                                                            Appx. 02563
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                         Entered 12/18/21 02:23:50                            Page 333 of 533
        Compass e-Access                                                                                                                          Page 3 of 6



                             Doughert
          ____________________________________________________________________________________________________________________________________




           ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
           Page 5 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




          ____________________________________________________________________________________________________________________________________
          4/2                OUT WT E-ACCESS REF 20150402F2QCZ60C002636 BNF HCRE                                                 $1,500,000.00
                             Partners, LLC
          ____________________________________________________________________________________________________________________________________




           ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
           Page 6 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




          ____________________________________________________________________________________________________________________________________




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                      5/4/2015
CONFIDENTIAL                                                                                                                                    D-HCRE-000068
                                                                                                                                             Appx. 02564
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                            Page 334 of 533
        Compass e-Access                                                                                                                         Page 4 of 6




         1
         +@ Primary Account:
           Page 7 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




                                                                                                                                         _____
         1
         +@ Primary Account:
           Page 8 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000069
                                                                                                                                            Appx. 02565
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                         Entered 12/18/21 02:23:50                           Page 335 of 533
        Compass e-Access                                                                                                                         Page 5 of 6



                             Shawn Raver
          ____________________________________________________________________________________________________________________________________




          ____________________________________________________________________________________________________________________________________

          *The Date provided is the business day that the transaction is processed.

          Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


          End of Business Day Balance Summary

          Date                               Balance   Date                               Balance   Date                               Balance
          ==========================================   ==========================================   ==========================================




         1
         +@ Primary Account:
           Page 9 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015



          Summary of Checks

          Date       Check#                   Amount   Date       Check#                   Amount   Date       Check#                   Amount
          ==========================================   ==========================================   ==========================================
          4/10        15325                  $271.03   4/14        15475*               $2,992.50   4/2         15484*               $1,900.50




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000070
                                                                                                                                            Appx. 02566
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                            Page 336 of 533
        Compass e-Access                                                                                                                         Page 6 of 6



          __________________________________________   __________________________________________   __________________________________________


         1
         +@ Primary Account:
           Page 10 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Summary of Checks - continued

          Date       Check#                   Amount   Date       Check#                   Amount   Date       Check#                   Amount
          ==========================================   ==========================================   ==========================================
          4/21        15624                $6,500.00   4/23        15625                  $550.00   4/21        15626                $3,157.38




          * Indicates break in check sequence




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000071
                                                                                                                                            Appx. 02567
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 337 of 533




                              EXHIBIT 154




                                                                          Appx. 02568
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50                   Page 338 of 533



   Page 1 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                 91




              ,1     HIGHLy ND Cy PITy L My Ny GEMENT LP
                     My STER B PERy TING y CCBONT
                     922 CRESCENT CT STE 022
                     Dy LLy S TU 03, 21-07X5




                                                                                            Contacting Us
                                                                                            y 8ar4aF4e Fmvl oue , Xp0

                                                                                    Pl oue 1-722-, hh-0, 00

                                                                                    Bu4rue FF8aAoi va/ / sAoi

                                                                                     . 6rne : : Wy Coi va/ /
                                                                                            Cc/ noi e6Se68rAe
                                                                                            PsB s: oV 123hh
                                                                                            : r6i rugl ai by L 93, 5h




   Sci i a6mof y AAocun/
   Deposit Accounts/ Other Products
                                                                                        Eudrug Fa4auAe       Eudrug Fa4auAe
   y AAocun                                               y AAocunuci Fe6                4a/ n/ nanei eun     nl r/ / nanei eun


   Total Deposit Accounts




CONFIDENTIAL                                                                                                                 D-HCRE-000080
                                                                                                                          Appx. 02569
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50   Page 339 of 533



   Page , of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                        91




   TREy SORx My Ny GEMENT y Ny Lx SIS CHECYING
   y AAocunNci Fe6t                    - HIGHLy ND Cy PITy L My Ny GEMENT LP


   ActiI itf muv v arf
   : egruurug : a4auAe ou 12p1p10

   Devo/ rn/ pC6edrn/ K3h(

   . rnl d6a) a4/ pDeFrn/ K177(

   y nding Salance on EB/4E/E3                                   0



   Deposits and Other Credits
                  Cl eAwp                                                                   Devo/ rn/ p
   Dane “         Se6ra4”         De/ A6rvnrou                                               C6edrn/




CONFIDENTIAL                                                                                                    D-HCRE-000081
                                                                                                             Appx. 02570
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50   Page 340 of 533



   Page 9 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                 Devo/ rn/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                C6edrn/




CONFIDENTIAL                                                                               D-HCRE-000082
                                                                                        Appx. 02571
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50   Page 341 of 533



   Page X of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                 Devo/ rn/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                C6edrn/




CONFIDENTIAL                                                                               D-HCRE-000083
                                                                                        Appx. 02572
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                            Page 342 of 533



   Page 3 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                                    91




                 Cl eAwp                                                                                               Devo/ rn/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                            C6edrn/




   P4ea/ e uonebAe6naru fee/ aud Al a6ge/ vo/ ned no moc6aAAocuni am6e4ane no / e68rAe/ audpo6aAnr8rnmf6oi nl e v6ro6/ nanei eunAmA4es
   “ Tl e Dane v6o8rded r/ nl e Fc/ rue/ / damnl annl e n6au/ aAnrou r/ v6oAe/ / eds



   1 ithdra6 als and Other DeWits
                 Cl eAwp                                                                                                                 . rnl d6a) a4/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                                                     DeFrn/




                                                                                                                                              $, 9, s07




CONFIDENTIAL                                                                                                                                           D-HCRE-000084
                                                                                                                                                    Appx. 02573
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50       Page 343 of 533



   Page h of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                            . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                                  DeFrn/




CONFIDENTIAL                                                                                    D-HCRE-000085
                                                                                             Appx. 02574
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50       Page 344 of 533



   Page 0 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                    91




               Cl eAwp                                                                             . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                                                   DeFrn/


   12p1,                    B OT . T E-y CCESS CSTREP REk                                         $, b322b222s22
                            , 210121, k , * C#h2C222hhh : Nk HCRE Pa6nue6/ LLC




CONFIDENTIAL                                                                                                     D-HCRE-000086
                                                                                                              Appx. 02575
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50       Page 345 of 533



   Page 7 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                            . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                                  DeFrn/




CONFIDENTIAL                                                                                    D-HCRE-000087
                                                                                             Appx. 02576
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21               Entered 12/18/21 02:23:50       Page 346 of 533



   Page 5 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                            . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                                  DeFrn/




CONFIDENTIAL                                                                                    D-HCRE-000088
                                                                                             Appx. 02577
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                 Entered 12/18/21 02:23:50                            Page 347 of 533



   Page 12 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                                    91




                 Cl eAwp                                                                                                                 . rnl d6a) a4/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                                                     DeFrn/




   P4ea/ e uonebAe6naru fee/ aud Al a6ge/ vo/ ned no moc6aAAocuni am6e4ane no / e68rAe/ audpo6aAnr8rnmf6oi nl e v6ro6/ nanei eunAmA4es
   “ Tl e Dane v6o8rded r/ nl e Fc/ rue/ / damnl annl e n6au/ aAnrou r/ v6oAe/ / eds



   y nd owSusiness Daf Salance muv v arf
   Dane                                  : a4auAe    Dane                                  : a4auAe     Dane                              : a4auAe




   muv v arf owChecbs
   Dane     Cl eAw”                      y i ocun    Dane     Cl eAw”                       y i ocun    Dane     Cl eAw”                  y i ocun




   * Indicates break in check sequence




CONFIDENTIAL                                                                                                                                            D-HCRE-000089
                                                                                                                                                     Appx. 02578
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                               Entered 12/18/21 02:23:50                                     Page 348 of 533



   Page 11 of 11
   P6ri a6my AAocunt
                                               B AnoFe691b, 210                          91




   k o6 to Salance Hour Account                                                 Change owAddress
                                                                                P4ea/ e Aa44c/ annl e ne4evl oue uci Fe64r/ ned ou nl e f6ounof nl r/
   mtep E Y Eune6a44Al eAw/ bdevo/ rn/ baud onl e6acnoi aned ne44e6             / nanei eunno ne44c/ aFocna Al auge of add6e/ / s
            Aa6d Ky TM( n6au/ aAnrou/ ru moc66egr/ ne6s
          Y ReAo6d a44acnoi aned dedcAnrou/ bdeFrnAa6d                          y lectronic Transwers (for consumer accounts only)
            n6au/ aAnrou/ aud e4eAn6ourAFr44vami eun/ s                         Iu Aa/ e of e66o6/ o6Qce/ nrou/ aFocnmoc6E4eAn6ourA T6au/ fe6/ b) 6rne no
                                                                                : : Wy Coi va/ / : auwbB ve6anrou/ Coi v4rauAe Scvvo6nbPsB s: oV
          Y ReAo6d aud dedcAn/ e68rAe Al a6ge/ bAl eAwv6runrug
                                                                                123hhb: r6i rugl ai by L 93, 5hsB 6/ ri v4mAa44moc64oAa4Ac/ noi e6
            Al a6ge/ bo6onl e6Fauwfee/ s                                        / e68rAe uci Fe6v6runed ou nl e f6ounof nl r/ / nanei eunsCa44o6) 6rne a/
          Y If moc l a8e au rune6e/ nFea6rug aAAocunbadd aum                    / oou a/ moc Aaubrf moc nl ruwmoc6/ nanei euno66eAervnr/ ) 6oug o6rf
            rune6e/ nea6ued / l o) u ou nl r/ / nanei euns                      moc ueed i o6e rufo6i anrou aFocna n6au/ fe6ou nl e / nanei euno6
   mtep • Y If avv4rAaF4eb/ o6nAl eAw/ ru uci e6rAa4o6de6aud i a6w              6eAervns. e i c/ nl ea6f6oi moc uo 4ane6nl au h2 dam/ afne6) e / eun
            ru moc66egr/ ne6eaAl Al eAwo6onl e6n6au/ aAnrou nl anr/             nl e fr6/ n/ nanei eunou ) l rAl nl e e66o6o6v6oF4ei avvea6eds
            4r/ ned ou nl r/ / nanei euns
   mtep 4 Y Lr/ naumdevo/ rn/ o6A6edrn/ moc6l a8e i ade nl ando uon             Z   Te44c/ moc6uai e aud aAAocunuci Fe6Krf aum(s
            avvea6ou nl r/ / nanei eunK/ ee / vaAe v6o8rded Fe4o) (s            Z   De/ A6rFe nl e e66o6o6nl e n6au/ fe6moc a6e cu/ c6e aFocnbaud eVv4aru a/ A4ea64ma/ moc Aau
                                                                                    ) l mmoc Fe4re8e rnr/ au e66o6o6) l mmoc ueed i o6e rufo6i anrous
   mtep 0 Y Lr/ naumAl eAw/ moc l a8e ) 6rnneubdeFrnAa6d                        Z   Te44c/ nl e do44a6ai ocunof nl e / c/ veAned e66o6s
            n6au/ aAnrou/ be4eAn6ourAvami eun/ aud onl e6
            dedcAnrou/ nl ando uonavvea6ou nl r/ / nanei eunK/ ee               . e ) r44ru8e/ nrgane moc6Aoi v4arunaud ) r44Ao66eAnaume66o6v6oi vn4msIf ) e nawe i o6e nl au 12
            / vaAe v6o8rded Fe4o) (s                                            Fc/ rue/ / dam/ K, 2 ou A4ari / ou aAAocun/ oveued 4e/ / nl au 92 Aa4euda6dam/ ( no do nl r/ b) e ) r44
                                                                                A6edrnmoc6aAAocunfo6nl e ai ocunmoc nl ruwr/ ru e66o6b/ o nl anmoc ) r44l a8e nl e c/ e of nl e
                                                                                i ouemdc6rug nl e nri e rnnawe/ c/ no Aoi v4ene oc6ru8e/ nrganrous

    DanepDe/ A6rvnrou                                 y i ocun                  “k o6Nou-Cou/ ci e6y AAocunAc/ noi e6/ bv4ea/ e 6efe6no moc6Ac66eunNou-Cou/ ci e6y AAocun
                                                                                y g6eei eunfo6denar4/ 6ega6drug E4eAn6ourA k cud T6au/ fe6/ s
                                                                     q          OI erdrawt Protection
                                                                     q          Calculation ow2nterest Charge and Salance muWject to 2nterest RatesTl e rune6e/ nAl a6ge r/
                                                                                Aoi vcned c/ rug moc6auuca4ve6Aeunage 6ane dr8rded Fm9h3 o6bru nl e Aa/ e of a 4eav mea6b9hhb
                                                                     q          ) l rAl gr8e/ moc nl e •y vv4rAaF4e Ranes| y 4nl ocgl ) e Aa4Ac4ane nl e rune6e/ nAl a6ge Fmavv4mrug nl e
                                                                                y vv4rAaF4e Rane no eaAl dar4mFa4auAebnl e rune6e/ nAl a6ge Aau a4/ o Fe Aa4Ac4aned Fmi c4nrv4mrug
                                                                     q          nl e y vv4rAaF4e Rane Fmnl e •a8e6age dar4mFa4auAe|K: a4auAe ScFjeAnno Iune6e/ nRane( / l o) u ou
                                                                                nl r/ / nanei eunbnl eu i c4nrv4mrug nl an/ ci Fmnl e uci Fe6of dam/ ru nl e Fr44rug AmA4esTo gennl e
                                                                     q          •: a4auAe ScFjeAnno Iune6e/ nRane| / l o) u ou nl r/ / nanei eun) e nawe nl e Fegruurug Fa4auAe of
                                       Snev 9 Tona4 $                q          moc6aAAocun4e/ / aumcuvard fruauAe Al a6ge/ eaAl dambadd aumue) ad8auAe/ o6deFrn/ baud
                                                                                / cFn6aAnaumvami eun/ o6A6edrn/ sTl r/ gr8e/ c/ nl e dar4mFa4auAesTl eu ) e add a44nl e dar4m
                                                                                Fa4auAe/ fo6nl e Fr44rug AmA4e aud dr8rde Fmnl e uci Fe6of dam/ ru nl e Fr44rug AmA4esTl r/ gr8e c/
                                                                                nl e •a8e6age dar4mFa4auAe| / l o) u ou nl e / nanei euna/ •: a4auAe ScFjeAnno Iune6e/ nRane|s
    DanepDe/ A6rvnrou                  Cl eAw”        y i ocun                  Pami eun/ sPami eun/ no moc6o8e6d6afnv6oneAnrou 4oau aAAocuni ade nl 6ocgl oc6ne44e6/ o6
                                                                                devo/ rned anoc6acnoi aned ne44e6i aAl rue/ Ky TM / ( Moudamnl 6ocgl k 6rdamFefo6e nl e vo/ ned
                                                                     q          Acn-off nri e ) r44Fe vo/ ned no moc6aAAocunou nl e dane nl ema6e aAAevnedsB nl e6) r/ ebnl em) r44Fe
                                                                                vo/ ned ou nl e ueVnFc/ rue/ / damsPami eun/ i ade nl 6ocgl oc6y TM / 8ra a fcud/ n6au/ fe6) r44Fe
                                                                     q          vo/ ned ou nl e dane nl ema6e 6eAer8ed o6ou nl e ueVnFc/ rue/ / damrf i ade afne6hvi CT Khvi MT
                                                                     q          fo6y 6rzoua aAAocun/ aud hvi PT fo6Ca4rfo6ura aAAocun/ ( Moudamnl 6ocgl k 6rdamo6aumnri e
                                                                                Sanc6dambScudamo6Fauwl o4rdam/ s: : Wy Coi va/ / : auwFc/ rue/ / dam/ a6e Moudamnl 6ocgl
                                                                     q          k 6rdambeVA4cdrug l o4rdam/ s

                                                                     q          2n Case owy rrors or Questions AWout Hour mtatev ent KB 8e6d6afnP6oneAnrou B u4m(
                                       Snev X Tona4 $                            If moc nl ruwmoc6/ nanei eunr/ ) 6ougbo6rf moc ueed i o6e rufo6i anrou aFocna n6au/ aAnrou ou moc6
                                                                     q          / nanei eunb) 6rne moc6r/ / ce ou a / eva6ane doAci eunaud / eud rnno : auwAa6d Ceune6bPsB s: oV
                                                                                , , 12bDeAanc6by L 93h55-2221sTe4evl oue ruQcr6e/ i amFe i ade FmAa44rug moc64oAa4: : Wy
    Salancing Hour Register to this mtatev ent                                  Coi va/ / F6auAl 4r/ ned ou nl e f6ounof nl r/ / nanei eunno / veaw) rnl a Cc/ noi e6Se68rAe
                                                                                Rev6e/ eunanr8esP4ea/ e uonet a ne4evl oue ruQcr6m) r44uonv6e/ e68e moc66rgl n/ cude6fede6a44a) s
    mtep 5 ZEune6nl e "Ac66eunFa4auAe" / l o) u ou nl r/                        . e i c/ nl ea6f6oi moc uo 4ane6nl au / rVnmKh2( dam/ afne6) e / eunmoc nl e fr6/ n/ nanei eunou
            / nanei eun                                          q              ) l rAl nl e e66o6o6v6oF4ei avvea6eds

             Zy dd nona4f6oi Snev 9                              q              ·   Te44c/ moc6uai e aud aAAocunuci Fe6Krf aum(s
             ZScFnona4                                           q
                                                                                ·   De/ A6rFe nl e e66o6o6nl e n6au/ fe6moc a6e cu/ c6e aFocnbaud eVv4aru a/ A4ea64ma/ moc Aau
                                                                                    ) l mmoc Fe4re8e rnr/ au e66o6o6) l anmoc ueed i o6e rufo6i anrous
             ZScFn6aAnnona4f6oi Snev X                           q              ·   Te44c/ nl e do44a6ai ocunof nl e / c/ veAned e66o6s

             ZTl r/ Fa4auAe / l oc4d eQca4moc66egr/ ne6                         x oc Aau / nov nl e acnoi anrA dedcAnrou of nl e Mruri ci Pami eunf6oi moc Al eAwrug aAAocunrf
              Fa4auAe                                            q              moc nl ruwmoc6/ nanei eunr/ ) 6ougsTo / nov nl e vami eunbmoc64enne6i c/ n6eaAl c/ nl 6ee K9(
                                                                                Fc/ rue/ / dam/ Fefo6e nl e acnoi anrA dedcAnrou r/ / Al edc4ed no oAAc6s
               If rndoe/ uonag6eeb/ ee / nev/ Fe4o)        $     q
                                                                                Reporting Other ProWlev s
   If moc6aAAocundoe/ uonFa4auAeb6e8re) nl e fo44o) rugt                        P4ea/ e 6e8re) moc6/ nanei eunAa6efc44msInr/ e/ / eunra4nl anaumaAAocune66o6/ o6aumri v6ove6
   · Cl eAwa44moc6addrnrou aud / cFn6aAnrou aFo8e ru moc66egr/ ne6s             n6au/ aAnrou/ ou moc6aAAocunFe 6evo6ned no c/ a/ / oou a/ 6ea/ ouaF4mvo/ / rF4esIf moc far4no
   · Mawe / c6e moc 6ei ei Fe6ed no / cFn6aAn/ e68rAe Al a6ge/ 4r/ ned ou       uonrfmc/ of aum/ c/ veAned v6oF4ei / be66o6/ o6cuacnl o6rzed n6au/ aAnrou/ ) rnl ru nl e nri e ve6rod/
     nl r/ / nanei eunaud add aumrune6e/ nea6ued no moc66egr/ ne6s              / veArfred ru nl e devo/ rnaAAocunag6eei eunb) e a6e uon4raF4e no moc fo6aum4o/ / 6e4aned no nl e
   · y i ocun/ of devo/ rn/ aud ) rnl d6a) a4/ ou nl r/ / nanei eun/ l oc4d     v6oF4ei be66o6o6cuacnl o6rzed n6au/ aAnrous
     i anAl moc66egr/ ne6eun6re/ s
   · If moc l a8e Qce/ nrou/ o6ueed a/ / r/ nauAebv4ea/ e 6efe6no nl e vl oue   : : Wy Coi va/ / r/ a n6ade uai e of Coi va/ / : auwba i ei Fe6of nl e : : Wy G6ocvs
     uci Fe6ou nl e f6ounof nl r/ / nanei euns                                  Coi va/ / : auwbMei Fe6k DICs




CONFIDENTIAL                                                                                                                                                  D-HCRE-000090
                                                                                                                                                           Appx. 02579
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 349 of 533




                              EXHIBIT 155




                                                                          Appx. 02580
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                Entered 12/18/21 02:23:50                 Page 350 of 533



   Page 1 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                H1




              21      I GL I NADC T APGMAN S ADAL dS dDM NP
                      S ARMdO F Pd OAMGDL ATTF UDM
                      H00 TOdRTdDM T M RMd 300
                      CANNAR M7 3X201E3- 56




                                                                                           Contacting Us
                                                                                           A8ai4ab4e by vl one 25p3
   h our BB/ A T omvass Account.sW                                                  Pl one 1E- 00E2VVE3233

   P4ease see imvortant message regar9ing your                                      F n4ine bb8acomvassxcom
   MOd ARUOh S ADAL d S d DMADANh RG    R T I d T YG
                                                   DL                                K rite BB/ A T omvass
   account                                                                                  T ustomer Rer8ice
                                                                                            PxF xBo( 10XVV
                                                                                            Birmingl am, AN HX26V


   Rummary of Accounts
   Deposit Accounts/ Other Products
                                                                                       d n9ing ba4ance     d n9ing ba4ance
   Account                                                 Account number                4ast statement      tl is statement
   MOd ARUOh S ADAL d S d DMADANh RG
                                   R T I d T YGDL

   Total Deposit Accounts




CONFIDENTIAL                                                                                                               D-HCRE-000091
                                                                                                                        Appx. 02581
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50   Page 351 of 533



   Page 2 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                       H1




   MOd ARUOh S ADAL d S d DMADANh RGR T I d T YG
                                               DL
   Account Dumber:                    EI G
                                         L I NADC T APGMAN S ADAL d S d DMNP


   Account Information
   K e l a8e uv9ate9 tl e Mreasury S anagement Rer8ice AgreementxMl ese terms an9
   con9itions ) i44become effecti8e as of Do8ember H0, 201- x h ou can fin9 a current 8ersion
   of tl e agreement by going to:
   l ttv:pp) ) ) xbb8acomvassxcompcommercia4ptreasuryEmanagementpresourceEcentra4p

   Ml e user G
             C is wtreasurywan9 tl e vass) or9 is wmanagementxw




   Activity Summary
   Beginning Ba4ance on 10p1p1-

   CevositspT re9its .22W

   K itl 9ra) a4spCebits .1V3W

   Ending Balance on 10/31/18



   Deposits and Other Credits
                 T l ec“ p                                                                  Cevositsp
   Cate ”        Reria4$         Cescrivtion                                                 T re9its




CONFIDENTIAL                                                                                                    D-HCRE-000092
                                                                                                             Appx. 02582
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                  Entered 12/18/21 02:23:50                            Page 352 of 533



   Page Hof 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                                    H1




                 T l ec“ p                                                                                               Cevositsp
   Cate ”        Reria4$        Cescrivtion                                                                               T re9its




   P4ease note, certain fees an9 cl arges voste9 to your account may re4ate to ser8ices an9por acti8ity from tl e vrior statement cyc4ex
   ” Ml e Cate vro8i9e9 is tl e business 9ay tl at tl e transaction is vrocesse9x



   Withdrawals and Other Debits
                 T l ec“ p                                                                                                                 K itl 9ra) a4sp
   Cate ”        Reria4$        Cescrivtion                                                                                                        Cebits




                                66665




CONFIDENTIAL                                                                                                                                            D-HCRE-000093
                                                                                                                                                     Appx. 02583
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50      Page 353 of 533



   Page 5 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-   H1




               T l ec“ p                                                           K itl 9ra) a4sp
   Cate ”      Reria4$      Cescrivtion                                                    Cebits




CONFIDENTIAL                                                                                    D-HCRE-000094
                                                                                             Appx. 02584
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                 Entered 12/18/21 02:23:50      Page 354 of 533



   Page X of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                    H1




               T l ec“ p                                                                            K itl 9ra) a4sp
   Cate ”      Reria4$      Cescrivtion                                                                     Cebits




   10p1X                    F UML F GDL K GOd K pAC/ GT d Od k                                      * 3X0,000x00
                            201- 101Xk 2# T QV0T 00HXV0 BDk I T Od Partners NNT




CONFIDENTIAL                                                                                                     D-HCRE-000095
                                                                                                              Appx. 02585
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50      Page 355 of 533



   Page V of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-   H1




               T l ec“ p                                                           K itl 9ra) a4sp
   Cate ”      Reria4$      Cescrivtion                                                    Cebits




CONFIDENTIAL                                                                                    D-HCRE-000096
                                                                                             Appx. 02586
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                Entered 12/18/21 02:23:50      Page 356 of 533



   Page 3 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-   H1




               T l ec“ p                                                           K itl 9ra) a4sp
   Cate ”      Reria4$      Cescrivtion                                                    Cebits




CONFIDENTIAL                                                                                    D-HCRE-000097
                                                                                             Appx. 02587
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                  Entered 12/18/21 02:23:50                            Page 357 of 533



   Page - of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                                    H1




                 T l ec“ p                                                                                                                 K itl 9ra) a4sp
   Cate ”        Reria4$        Cescrivtion                                                                                                        Cebits




   P4ease note, certain fees an9 cl arges voste9 to your account may re4ate to ser8ices an9por acti8ity from tl e vrior statement cyc4ex
   ” Ml e Cate vro8i9e9 is tl e business 9ay tl at tl e transaction is vrocesse9x



   End of Business Day Balance Summary
   Cate                                  Ba4ance      Cate                                   Ba4ance      Cate                              Ba4ance




   Summary of Checks
   Cate     Tl ec“ $                     Amount       Cate     Tl ec“ $                      Amount       Cate     Tl ec“ $                 Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                                                                             D-HCRE-000098
                                                                                                                                                      Appx. 02588
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                             Entered 12/18/21 02:23:50                                    Page 358 of 533



   Page 6 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                               H1




   How to Balance Your Account                                                Change of Address
                                                                              P4ease ca44us at tl e te4evl one number 4iste9 on tl e front of tl is
   Step 1 • d nter a44cl ec“ s, 9evosits, an9 otl er automate9 te44er         statement to te44us about a cl ange of a99ressx
            car9 .AMS Wtransactions in your registerx
          • Oecor9 a44automate9 9e9uctions, 9ebit car9                        Electronic Transfers (for consumer accounts only)
            transactions an9 e4ectronic bi44vaymentsx                         Gn case of errors or Zuestions about your d 4ectronic Mransfers, ) rite to
                                                                              BB/ A T omvass Ban“ , F verations T omv4iance Ruvvort, PxF xBo(
          • Oecor9 an9 9e9uct ser8ice cl arges, cl ec“ vrinting
                                                                              10XVV, Birmingl am, AN HX26VxF r simv4y ca44your 4oca4customer
            cl arges, or otl er ban“ feesx                                    ser8ice number vrinte9 on tl e front of tl is statementxT a44or ) rite as
          • Gf you l a8e an interest bearing account, a99 any                 soon as you can, if you tl in“ your statement or receivt is ) rong or if
            interest earne9 sl o) n on tl is statementx                       you nee9 more information about a transfer on tl e statement or
   Step 2 • Gf avv4icab4e, sort cl ec“ s in numerica4or9er an9 mar“           receivtxK e must l ear from you no 4ater tl an V0 9ays after ) e sent
            in your register eacl cl ec“ or otl er transaction tl at is       tl e first statement on ) l icl tl e error or vrob4em avveare9x
            4iste9 on tl is statementx
   Step 3 • Nist any 9evosits or cre9its your l a8e ma9e tl at 9o not         q   Me44us your name an9 account number .if anyW       x
            avvear on tl is statement .see svace vro8i9e9 be4o) W     x       q   Cescribe tl e error or tl e transfer you are unsure about, an9 e( v4ain as c4ear4y as you can
                                                                                  ) l y you be4ie8e it is an error or ) l y you nee9 more informationx
   Step 4 • Nist any cl ec“ s you l a8e ) ritten, 9ebit car9                  q   Me44us tl e 9o44ar amount of tl e susvecte9 errorx
            transactions, e4ectronic vayments an9 otl er
            9e9uctions tl at 9o not avvear on tl is statement .see            K e ) i44in8estigate your comv4aint an9 ) i44correct any error vromvt4yxG     f ) e ta“ e more tl an 10
            svace vro8i9e9 be4o) W   x                                        business 9ays .20 on c4aims on accounts ovene9 4ess tl an H0 ca4en9ar 9aysWto 9o tl is, ) e ) i44
                                                                              cre9it your account for tl e amount you tl in“ is in error, so tl at you ) i44l a8e tl e use of tl e
                                                                              money 9uring tl e time it ta“ es us to comv4ete our in8estigationx

    CatepCescrivtion                                 Amount                   ”k or DonET onsumer Account customers, v4ease refer to your current DonET onsumer Account
                                                                              Agreement for 9etai4s regar9ing d 4ectronic k un9 Mransfersx
                                                                   •          Overdraft Protection
                                                                   •          Calculation of Interest Charge and Balance Subject to Interest RatexMl e interest cl arge is
                                                                              comvute9 using your annua4vercentage rate 9i8i9e9 by HVX or, in tl e case of a 4eav year, HVV,
                                                                   •          ) l icl gi8es you tl e |Avv4icab4e Oatexj A4tl ougl ) e ca4cu4ate tl e interest cl arge by avv4ying tl e
                                                                              Avv4icab4e Oate to eacl 9ai4y ba4ance, tl e interest cl arge can a4so be ca4cu4ate9 by mu4tiv4ying
                                                                   •          tl e Avv4icab4e Oate by tl e |a8erage 9ai4y ba4ancej .Ba4ance Rubzect to G     nterest OateWsl o) n on
                                                                              tl is statement, tl en mu4tiv4ying tl at sum by tl e number of 9ays in tl e bi44ing cyc4exMo get tl e
                                                                   •          |Ba4ance Rubzect to G   nterest Oatej sl o) n on tl is statement ) e ta“ e tl e beginning ba4ance of
                                      Rtev H Mota4 *               •          your account 4ess any unvai9 finance cl arges eacl 9ay, a99 any ne) a98ances or 9ebits, an9
                                                                              subtract any vayments or cre9itsxMl is gi8es us tl e 9ai4y ba4ancexMl en ) e a99 a44tl e 9ai4y
                                                                              ba4ances for tl e bi44ing cyc4e an9 9i8i9e by tl e number of 9ays in tl e bi44ing cyc4exMl is gi8e us
                                                                              tl e |a8erage 9ai4y ba4ancej sl o) n on tl e statement as |Ba4ance Rubzect to G     nterest Oatej x
    CatepCescrivtion                  T l ec“ $      Amount                   PaymentsxPayments to your o8er9raft vrotection 4oan account ma9e tl rougl our te44ers or
                                                                              9evosite9 at our automate9 te44er macl ines .AMS sWS on9ay tl rougl k ri9ay before tl e voste9
                                                                   •          cutEoff time ) i44be voste9 to your account on tl e 9ate tl ey are accevte9xF tl er) ise, tl ey ) i44be
                                                                              voste9 on tl e ne( t business 9ayxPayments ma9e tl rougl our AMS s 8ia a fun9s transfer ) i44be
                                                                   •          voste9 on tl e 9ate tl ey are recei8e9 or on tl e ne( t business 9ay if ma9e after Vvm T M.Vvm S M
                                                                   •          for Ari" ona accounts an9 Vvm PMfor T a4ifornia accountsWS on9ay tl rougl k ri9ay or anytime
                                                                              Ratur9ay, Run9ay or ban“ l o4i9aysxBB/ A T omvass Ban“ business 9ays are S on9ay tl rougl
                                                                   •          k ri9ay, e( c4u9ing l o4i9aysx

                                                                   •          In Case of Errors or Questions About Your Statement .F 8er9raft Protection F n4yW
                                      Rtev 5 Mota4 *                           Gf you tl in“ your statement is ) rong, or if you nee9 more information about a transaction on your
                                                                   •          statement, ) rite your issue on a sevarate 9ocument an9 sen9 it to Ban“ car9 T enter, PxF xBo(
                                                                              2210, Cecatur, AN HXV66E0001xMe4evl one inZuires may be ma9e by ca44ing your 4oca4BB/ A
    Balancing Your Register to this Statement                                 T omvass brancl 4iste9 on tl e front of tl is statement to svea“ ) itl a T ustomer Rer8ice
                                                                              Oevresentati8exP4ease note: a te4evl one inZuiry ) i44not vreser8e your rigl ts un9er fe9era44a) x
    Step 5 qd nter tl e wcurrent ba4ancewsl o) n on tl is                     K e must l ear from you no 4ater tl an si( ty .V0W9ays after ) e sent you tl e first statement on
            statement                                          •              ) l icl tl e error or vrob4em avveare9x

             qA99 tota4from Rtev H                             •              ·   Me44us your name an9 account number .if anyW        x
             qRubtota4                                         •
                                                                              ·   Cescribe tl e error or tl e transfer you are unsure about, an9 e( v4ain as c4ear4y as you can
                                                                                  ) l y you be4ie8e it is an error or ) l at you nee9 more informationx
             qRubtract tota4from Rtev 5                        •              ·   Me44us tl e 9o44ar amount of tl e susvecte9 errorx

             qMl is ba4ance sl ou49 eZua4your register                        h ou can stov tl e automatic 9e9uction of tl e S inimum Payment from you cl ec“ ing account if
              ba4ance                                          •              you tl in“ your statement is ) rongxMo stov tl e vayment, your 4etter must reacl us tl ree .HW
                                                                              business 9ays before tl e automatic 9e9uction is scl e9u4e9 to occurx
              G
              f it 9oes not agree, see stevs be4o)       *     •
                                                                              Reporting Other Problems
   Gf your account 9oes not ba4ance, re8ie) tl e fo44o) ing:                  P4ease re8ie) your statement carefu44yxG   t is essentia4tl at any account errors or any imvrover
   · T l ec“ a44your a99ition an9 subtraction abo8e in your registerx         transactions on your account be revorte9 to us as soon as reasonab4y vossib4exG       f you fai4to
   · S a“ e sure you remembere9 to subtract ser8ice cl arges 4iste9 on        notify us of any susvecte9 vrob4ems, errors or unautl ori" e9 transactions ) itl in tl e time verio9s
     tl is statement an9 a99 any interest earne9 to your registerx            svecifie9 in tl e 9evosit account agreement, ) e are not 4iab4e to you for any 4oss re4ate9 to tl e
   · Amounts of 9evosits an9 ) itl 9ra) a4s on tl is statement sl ou49        vrob4em, error or unautl ori" e9 transactionx
     matcl your register entriesx
   ·G f you l a8e Zuestions or nee9 assistance, v4ease refer to tl e vl one   BB/ A T omvass is a tra9e name of T omvass Ban“ , a member of tl e BB/ A L rouvx
     number on tl e front of tl is statementx                                 T omvass Ban“ , S ember k CGTx




CONFIDENTIAL                                                                                                                                               D-HCRE-000099
                                                                                                                                                        Appx. 02589
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 359 of 533




                              EXHIBIT 156




                                                                          Appx. 02590
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                     Page 360 of 533



   Page 1 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                      I-




              01      GLNGDACT MAPLSAD RACAN9R9CS DP
                      RAFS9O UP9 OASLCN AMMU3 CS
                      I - - MO9FM9CS MS FS9 7- -
                      T ADDAF SX 750- 1d768E




                                                                                                    Contacting Us
                                                                                                    A4aiva, ve , y bl one 08p7

                                                                                           Pl one 1d6- - d0hhd7077

                                                                                           Unvine , , 4au/ ascom

                                                                                            . rite BBWA
                                                                                                   Mu/ tomer Fer4ice
                                                                                                   PsUsBoV 1- 5hh
                                                                                                   Birmingl am2AD I 50Eh


   Fummary of Account/
   Deposit Accounts/ Other Products
                                                                                               9 nHing , avance      9 nHing , avance
   Account                                                       Account num, er                 va/ t / tatement      tl i/ / tatement
   SO9 AF3 Ox R ACAN9 R 9 CS ACADx FLF MG9 MYLCN

   Total Deposit Accounts




CONFIDENTIAL                                                                                                                         D-HCRE-000072
                                                                                                                                  Appx. 02591
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50   Page 361 of 533



   Page 0 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                   I-




   SO9 AF3 Ox R ACAN9 R 9 CS ACADx FLF MG9 MYLCN
   Account Cum, er:                       dGLNGDACT MAPLSAD R ACAN9 R 9 CS DP


   Activity Summary
   Beginning Bavance on Ep1p1E

   T ebo/ it/ pMreHit/ K0- (

   . itl Hra) av/ pT e, it/ K180(

   Ending Balance on 9/30/19



   Deposits and Other Credits
                    Ml ecwp                                                                 T ebo/ it/ p
   Tate “           Feriav”         T e/ cribtion                                             MreHit/




CONFIDENTIAL                                                                                                    D-HCRE-000073
                                                                                                             Appx. 02592
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                              Page 362 of 533



   Page I of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                                      I-




                  Ml ecwp                                                                                                  T ebo/ it/ p
   Tate “         Feriav”        T e/ cribtion                                                                               MreHit/




   Pvea/ e note2certain fee/ anH cl arge/ bo/ teH to your account may revate to / er4ice/ anHpor acti4ity from tl e brior / tatement cycves
   “ Sl e T ate bro4iHeH i/ tl e , u/ ine/ / Hay tl at tl e tran/ action i/ broce/ / eHs



   Withdrawals and Other Debits
                  Ml ecwp                                                                                                                     . itl Hra) av/ p
   Tate “         Feriav”        T e/ cribtion                                                                                                        T e, it/




CONFIDENTIAL                                                                                                                                                D-HCRE-000074
                                                                                                                                                         Appx. 02593
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                     Entered 12/18/21 02:23:50       Page 363 of 533



   Page 8 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E    I-




               Ml ecwp                                                                  . itl Hra) av/ p
   Tate “      Feriav”      T e/ cribtion                                                       T e, it/




CONFIDENTIAL                                                                                          D-HCRE-000075
                                                                                                   Appx. 02594
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                     Entered 12/18/21 02:23:50       Page 364 of 533



   Page 5 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E    I-




               Ml ecwp                                                                  . itl Hra) av/ p
   Tate “      Feriav”      T e/ cribtion                                                       T e, it/




CONFIDENTIAL                                                                                          D-HCRE-000076
                                                                                                   Appx. 02595
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                   Entered 12/18/21 02:23:50        Page 365 of 533



   Page h of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                        I-




               Ml ecwp                                                                                . itl Hra) av/ p
   Tate “      Feriav”      T e/ cribtion                                                                     T e, it/




   Ep05                     U3 S . S C9 S MAFG O9 $ 0- 1E- E05$0k M* h- M- - I I 71                   #E- - 2- - - s- -
                            BC$ GMO9 Partner/ DDM




CONFIDENTIAL                                                                                                         D-HCRE-000077
                                                                                                                  Appx. 02596
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                    Entered 12/18/21 02:23:50                              Page 366 of 533



   Page 7 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                                      I-




                  Ml ecwp                                                                                                                     . itl Hra) av/ p
   Tate “         Feriav”        T e/ cribtion                                                                                                        T e, it/




   Pvea/ e note2certain fee/ anH cl arge/ bo/ teH to your account may revate to / er4ice/ anHpor acti4ity from tl e brior / tatement cycves
   “ Sl e T ate bro4iHeH i/ tl e , u/ ine/ / Hay tl at tl e tran/ action i/ broce/ / eHs



   End of Business Day Balance Summary
   Tate                                   Bavance      Tate                                    Bavance      Tate                               Bavance




   Summary of Checks
   Tate     Ml ecw”                       Amount       Tate      Ml ecw”                       Amount       Tate     Ml ecw”                   Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                                                                                D-HCRE-000078
                                                                                                                                                         Appx. 02597
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                  Entered 12/18/21 02:23:50                                      Page 367 of 533



   Page 6 of 6
   Primary Account:
   Beginning Febtem, er 120- 1E d9 nHing Febtem, er I - 20- 1E                                    I-




   How to Balance Your Account                                                    Change of Address
                                                                                  Pvea/ e cavvu/ at tl e tevebl one num, er vi/ teH on tl e front of tl i/
   Step 1 • 9 nter avvcl ecw/ 2Hebo/ it/ 2anHotl er automateHtevver               / tatement to tevvu/ a, out a cl ange of aHHre/ / s
            carHKASR ( tran/ action/ in your regi/ ters
          • OecorHavvautomateHHeHuction/ 2He, it carH                             Electronic Transfers (for consumer accounts only)
            tran/ action/ anHevectronic , ivvbayment/ s                           Ln ca/ e of error/ or Que/ tion/ a, out your 9 vectronic Sran/ fer/ 2) rite to
                                                                                  BBWA2Uberation/ Mombviance Fubbort2PsUsBoV1- 5hh2
          • OecorHanHHeHuct / er4ice cl arge/ 2cl ecwbrinting
                                                                                  Birmingl am2AD I 50EhsUr / imbvy cavvyour vocavcu/ tomer / er4ice
            cl arge/ 2or otl er , anwfee/ s                                       num, er brinteH on tl e front of tl i/ / tatementsMavvor ) rite a/ / oon a/
          • Lf you l a4e an intere/ t , earing account2aHH any                    you can2if you tl inwyour / tatement or receibt i/ ) rong or if you neeH
            intere/ t earneH/ l o) n on tl i/ / tatements                         more information a, out a tran/ fer on tl e / tatement or receibts. e
   Step 2 • Lf abbvica, ve2/ ort cl ecw/ in numericavorHer anHmarw                mu/ t l ear from you no vater tl an h- Hay/ after ) e / ent tl e fir/ t
            in your regi/ ter eacl cl ecwor otl er tran/ action tl at i/          / tatement on ) l icl tl e error or bro, vem abbeareHs
            vi/ teHon tl i/ / tatements
   Step 3 • Di/ t any Hebo/ it/ or creHit/ your l a4e maHe tl at Ho not           Z   Sevvu/ your name anH account num, er Kif any(s
            abbear on tl i/ / tatement K/ ee / bace bro4iHeH, evo) (s             Z   T e/ cri, e tl e error or tl e tran/ fer you are un/ ure a, out2anH eVbvain a/ cvearvy a/ you can
                                                                                      ) l y you , evie4e it i/ an error or ) l y you neeH more informations
   Step 4 • Di/ t any cl ecw/ you l a4e ) ritten2He, it carH                      Z   Sevvu/ tl e Hovvar amount of tl e / u/ becteH errors
            tran/ action/ 2evectronic bayment/ anHotl er
            HeHuction/ tl at Ho not abbear on tl i/ / tatement K/ ee              . e ) ivvin4e/ tigate your combvaint anH ) ivvcorrect any error brombtvysLf ) e tawe more tl an 1-
            / bace bro4iHeH, evo) (s                                              , u/ ine/ / Hay/ K0- on cvaim/ on account/ obeneH ve/ / tl an I - cavenHar Hay/ ( to Ho tl i/ 2) e ) ivv
                                                                                  creHit your account for tl e amount you tl inwi/ in error2/ o tl at you ) ivvl a4e tl e u/ e of tl e
                                                                                  money Huring tl e time it tawe/ u/ to combvete our in4e/ tigations

    T atepT e/ cribtion                                  Amount                   “$or CondMon/ umer Account cu/ tomer/ 2bvea/ e refer to your current CondMon/ umer Account
                                                                                  Agreement for Hetaiv/ regarHing 9 vectronic $unH Sran/ fer/ s
                                                                       q          Overdraft Protection
                                                                       q          Calculation of Interest Charge and Balance Subject to Interest RatesSl e intere/ t cl arge i/
                                                                                  combuteH u/ ing your annuavbercentage rate Hi4iHeH , y I h5 or2in tl e ca/ e of a veab year2I hh2
                                                                       q          ) l icl gi4e/ you tl e •Abbvica, ve Oates| Avtl ougl ) e cavcuvate tl e intere/ t cl arge , y abbvying tl e
                                                                                  Abbvica, ve Oate to eacl Haivy , avance2tl e intere/ t cl arge can av/ o , e cavcuvateH , y muvtibvying
                                                                       q          tl e Abbvica, ve Oate , y tl e •a4erage Haivy , avance|KBavance Fu, ject to Lntere/ t Oate( / l o) n on
                                                                                  tl i/ / tatement2tl en muvtibvying tl at / um , y tl e num, er of Hay/ in tl e , ivving cycvesSo get tl e
                                                                       q          •Bavance Fu, ject to Lntere/ t Oate| / l o) n on tl i/ / tatement ) e tawe tl e , eginning , avance of
                                       Fteb I Sotav #                  q          your account ve/ / any unbaiH finance cl arge/ eacl Hay2aHH any ne) aH4ance/ or He, it/ 2anH
                                                                                  / u, tract any bayment/ or creHit/ sSl i/ gi4e/ u/ tl e Haivy , avancesSl en ) e aHH avvtl e Haivy
                                                                                  , avance/ for tl e , ivving cycve anH Hi4iHe , y tl e num, er of Hay/ in tl e , ivving cycvesSl i/ gi4e u/
                                                                                  tl e •a4erage Haivy , avance| / l o) n on tl e / tatement a/ •Bavance Fu, ject to Lntere/ t Oate|s
    T atepT e/ cribtion                 Ml ecw”          Amount                   Payment/ sPayment/ to your o4erHraft brotection voan account maHe tl rougl our tevver/ or
                                                                                  Hebo/ iteH at our automateH tevver macl ine/ KASR / ( RonHay tl rougl $riHay , efore tl e bo/ teH
                                                                       q          cutdoff time ) ivv, e bo/ teH to your account on tl e Hate tl ey are accebteHsUtl er) i/ e2tl ey ) ivv, e
                                                                                  bo/ teH on tl e neVt , u/ ine/ / HaysPayment/ maHe tl rougl our ASR / 4ia a funH/ tran/ fer ) ivv, e
                                                                       q          bo/ teH on tl e Hate tl ey are recei4eH or on tl e neVt , u/ ine/ / Hay if maHe after hbm MS Khbm R S
                                                                       q          for Arizona account/ anH hbm PS for Mavifornia account/ ( RonHay tl rougl $riHay or anytime
                                                                                  FaturHay2FunHay or , anwl oviHay/ sBBWA , u/ ine/ / Hay/ are RonHay tl rougl $riHay2eVcvuHing
                                                                       q          l oviHay/ s

                                                                       q          In Case of Errors or Questions About Your Statement KU4erHraft Protection Unvy(
                                       Fteb 8 Sotav #                              Lf you tl inwyour / tatement i/ ) rong2or if you neeH more information a, out a tran/ action on your
                                                                       q          / tatement2) rite your i/ / ue on a / ebarate Hocument anH / enH it to BanwcarH Menter2PsUsBoV
                                                                                  001- 2T ecatur2AD I 5hEEd- - - 1sSevebl one inQuire/ may , e maHe , y cavving your vocavBBWA
    Balancing Your Register to this Statement                                     , rancl vi/ teH on tl e front of tl i/ / tatement to / beaw) itl a Mu/ tomer Fer4ice Oebre/ entati4es
                                                                                  Pvea/ e note: a tevebl one inQuiry ) ivvnot bre/ er4e your rigl t/ unHer feHeravva) s. e mu/ t l ear
    Step 5 Z9 nter tl e "current , avance" / l o) n on tl i/                      from you no vater tl an / iVty Kh- ( Hay/ after ) e / ent you tl e fir/ t / tatement on ) l icl tl e error or
            / tatement                                             q              bro, vem abbeareHs

              ZAHH totavfrom Fteb I                                q              ·   Sevvu/ your name anH account num, er Kif any(s
              ZFu, totav                                           q
                                                                                  ·   T e/ cri, e tl e error or tl e tran/ fer you are un/ ure a, out2anH eVbvain a/ cvearvy a/ you can
                                                                                      ) l y you , evie4e it i/ an error or ) l at you neeH more informations
              ZFu, tract totavfrom Fteb 8                          q              ·   Sevvu/ tl e Hovvar amount of tl e / u/ becteH errors

              ZSl i/ , avance / l ouvH eQuavyour regi/ ter                        x ou can / tob tl e automatic HeHuction of tl e R inimum Payment from you cl ecwing account if
               , avance                                            q              you tl inwyour / tatement i/ ) rongsSo / tob tl e bayment2your vetter mu/ t reacl u/ tl ree KI (
                                                                                  , u/ ine/ / Hay/ , efore tl e automatic HeHuction i/ / cl eHuveH to occurs
               Lf it Hoe/ not agree2/ ee / teb/ , evo)       #     q
                                                                                  Reporting Other Problems
   Lf your account Hoe/ not , avance2re4ie) tl e fovvo) ing:                      Pvea/ e re4ie) your / tatement carefuvvysLt i/ e/ / entiavtl at any account error/ or any imbrober
   · Ml ecwavvyour aHHition anH / u, traction a, o4e in your regi/ ters           tran/ action/ on your account , e reborteH to u/ a/ / oon a/ rea/ ona, vy bo/ / i, vesLf you faivto
   · Rawe / ure you remem, ereH to / u, tract / er4ice cl arge/ vi/ teH on        notify u/ of any / u/ becteH bro, vem/ 2error/ or unautl orizeH tran/ action/ ) itl in tl e time berioH/
     tl i/ / tatement anH aHH any intere/ t earneH to your regi/ ters             / becifieH in tl e Hebo/ it account agreement2) e are not via, ve to you for any vo/ / revateH to tl e
   · Amount/ of Hebo/ it/ anH ) itl Hra) av/ on tl i/ / tatement / l ouvH         bro, vem2error or unautl orizeH tran/ actions
     matcl your regi/ ter entrie/ s
   · Lf you l a4e Que/ tion/ or neeH a/ / i/ tance2bvea/ e refer to tl e bl one   BBWA anH BBWA Momba/ / are traHe name/ of BBWA 3 FA2a mem, er of tl e BBWA Nroubs
     num, er on tl e front of tl i/ / tatements                                   BBWA 3 FA2R em, er $T LMs




CONFIDENTIAL                                                                                                                                                       D-HCRE-000079
                                                                                                                                                                Appx. 02598
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 368 of 533




                              EXHIBIT 157




                                                                          Appx. 02599
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 369 of 533

  012314542                                                                                6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4444444444!" #4$ % 4&     4'
                  4444444444())4$   4$ 4* 4+))
                  44444444449  4,-4+.)
                  4
                  4
                  4
                  4$" /4 
                  4
                  44444444444 4,% 044!" #4$ % 4&     4'
                  4
                  4   4$" /4142 
                  4 434 444444444444444444        444*   49 444 )4 "44)
                  4' 4*   45   4444                   4449  44 " 4   4% #44444444
                  444449 %  $ # 4444                4446   4' # 444444444444
                  444444$" / 9 4 4444444               4446   4$  #444444444
                  4* 6 4$"  4444444444444444444444 4442  4  #444444444444444
                  42  4 #444444444444444444            444 4    47 #4  #4444
                  4," 4*   45   44444                444)42  4 #44444444444
                  4
                  488888888888888888888888888888888888888888888888888888888888888888888888888888888888
                  4
                  49 %  4 #4## 
                  49 4444449 % 44444444444444444444444444444444444
                  44 ).44444254,  9 49494::::.4 44444444444;);.<=))
                  4444444444494::::()
                  44 ).4444423$>&23?4@2A444444444444444444444444444; ));)))=))
                  44444444444!2?!'394$2,'4&3?&3,
                  44 ) 44444254,  9 49494::::)4 4444444444444++;)=)
                  4444444444494::::()
                  44 44444& 4$ # 44444444444444444444444444444;));)))=))
                  44 (44444254,  9 49494::::<.<4 4444444444444));)))=))
                  4444444444494::::()
                  44 )44444254,  9 49494::::<.<4 44444444444;.);)))=))
                  4444444444494::::()
                  44 )4444423$>&23?4@2A444444444444444444444444444;)));)))=))
                  44444444444!2?!'394$2,'4&3?&3,4'
                  44 44444!" #4*44*64B 4#4C 444444444444444444=.
                  44 4444423$>&23?4@2A444444444444444444444444444.;.;))=<
                  44444444444@A2?!,;4',9=


                4
                4
         01021345678                               DEF781G4H114IJHF4KJL145E3470KE3FJDF47D5E30JF7ED
                           KMNOPQRS4TPUPVWPX4MR4RYP4MXXTPSS4VQXVUMRPX4ZQ4RYVS4SRMRPOPQR4[N4\G]]4^O_48PQRTM4̀HRMQXMTX4FVOP
                           PMUY4[MQaVQb4XMN4cV̀4̀[P4UTPXVRPX4MS4Zd4RYMR4XMRP_444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
CONFIDENTIAL                                                                                                                                                     D-NNL-029156
                                                                                                                                                            Appx. 02600
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 370 of 533

  012314542                                                                                6789 9

                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4   4!" #4$4%  444444444444            44&!  '(
                  4
                  49 )  4 '4'' 
                  49 4444449 ) 44444444444444444444444444444444444




                  4
                  4***********************************************************************************
                  4
                  4!" # 4 '4+ "' $ 
                  49 4444449 ) 44444444444444444444444444444444444
                  44 44444%,4-  . 4.494////014 4444444444421112111311*
                  4444444444494////4


                  4
                  4***********************************************************************************
                  4
                  49 4,   4%. 
                  49 4444444444,   44444449 4444444444,   44444449 4444444444,  


                  4
                  4***********************************************************************************
                  4
                  4444444444444444444444444444%  45 46 
                  444444444444444444444444449 4444444444444445
                  44444444444444444444444444
                  4
                  4

         01021345678                               789781:4;114<=;94>=?14583470>839=794775830=9787
                           >@ABCDEF4GCHCIJCK4@E4ELC4@KKGCFF4IDKIH@ECK4MD4ELIF4FE@ECBCDE4NA4O:PP4QBR48CDEG@S4;E@DK@GK49IBC
                           C@HL4N@DTIDU4K@A4VISS4NC4HGCKIECK4@F4MW4EL@E4K@ECR444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
CONFIDENTIAL                                                                                                                                                     D-NNL-029157
                                                                                                                                                            Appx. 02601
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 371 of 533

  012314542                                                                                6789 9

                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 44 44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 ! !
                  4
                  4
                  4
                  4 !!4"# $4%4&  ! 444444444444           44'"  ()
                  4
                  4(4*4+  
                  4
                  4




         01021345678                               ,-.781/40114120.4324145-34703-3.2,.47,5-302.7-,
                           356789:;4<8=8>?8@45:4:A845@@<8;;4>9@>=5:8@4B94:A>;4;:5:8789:4C64D/EE4F7G4889:<5H40:59@5<@4.>78
                           85=A4C59I>9J4@564K>HH4C84=<8@>:8@45;4BL4:A5:4@5:8G444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1/
CONFIDENTIAL                                                                                                                                                     D-NNL-029158
                                                                                                                                                            Appx. 02602
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 372 of 533

  012314542                                                                                     6789 9
                                    012324567589 3                                                    05 7742705975321 27053
                    99                                 69
                                       39:722 59;1295029476                  9
                         513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                    9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                    9                    9             9         9            %$$(%!-/
                                                                              9
                    9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                    9                    9             9         9            (9%""0(/
                    9                    9             9         9            9
                    9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                    9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                              &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                    9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                    9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                    9                    9             9         9            "$&"/
                    9                    9             9         9            9
                    9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                              2!&*9&-93 57 9 48 963//79)+
                    9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                    9                    9             9         9            9
                    9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                    9                    9             9         9            " .*9.+)4%((92!)9/
                    9                    9             9         9            9
                    9                    9             9         9
                    9                    9             9         9               &+92&192!&*               9        9                                    9
                    9                    9             9         9                ,+)$9"$&
                    9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                    9                    9             9         9               *+(%(92-92&1                9        9                                    9
                    9                    9             9         9                    6%,9&-7                   9        9                                    9
                    9                    9             9         9                                       202 49          9                                    9
                    9                    9             9         9
                      2)!9),9'*1" 9                 9         9               30  2
                                                                                      +  *
                                                                                           9
                                                                                            )!9
                                                                                                ),               9        9                                    9
                          &)9.%(                                               *'*1"9&)9.%(
                                                   <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                  N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                   C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                            0123454678598 94345 09859 796097560069409798260
          :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
          2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
          .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                  4696898979896759897594976409859896460056
          7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
          CWKU
          cded93* %&&-944&09̀ee'9f!))+
          6!!"9̀2#"9gdche
          i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
          7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                     4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                     6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                     6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
          i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
          i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
          $-9'49)9.-9'9$)0&9%&9k0"%)&/
          :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                     :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                     2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                     $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                     :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                     :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                            7594098 9089890678594 86989030 68579645 0
          7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
          2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
          $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
          999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
          999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
          99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
          999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
          99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
          $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
CONFIDENTIAL                                                                                                                                                      D-NNL-029159
                                                                                                                                                             Appx. 02603
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 373 of 533




                              EXHIBIT 158




                                                                          Appx. 02604
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                    Entered 12/18/21 02:23:50                              Page 374 of 533




       Customer Account Number:   AE: PB2             Statement Period: October 01, 2014 to October 31, 2014                                            PAGE 1 of 7

       MARKET INDICES
       Index




                                                                                                                  HIGHLAND CAPITAL MANAGEMENT      LP
                                                                                                                  300 CRESCENT COURT
                                                                                                                  SUITE 700
                                                                                                                  DALLAS TX 75201-7849




       ACCOUNT VALUE SUMMARY                                                            DIVIDENDS, INTEREST, AND TAX ACTIVITY SUMMARY
       Description                   As of 09/30/14              This Period            Description                               This Statement        Year to Date




       Subtotal
       Margin
       TOTAL                                                                            TOTAL INCOME




                                                                                        TOTAL EXPENSES


                                       THIS SUMMARY IS FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED AS A TAX DOCUMENT.
                                                        THIS STATEMENT SHOULD BE RETAINED FOR YOUR RECORDS.



CONFIDENTIAL                                                                                                                                          D-NNL-029160
                                                                                                                                                    Appx. 02605
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50      Page 375 of 533




       Customer Account Number:   AE: PB2   Statement Period: October 01, 2014 to October 31, 2014          PAGE 2 of 7




CONFIDENTIAL                                                                                                 D-NNL-029161
                                                                                                           Appx. 02606
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                        Entered 12/18/21 02:23:50                                      Page 376 of 533




       Customer Account Number:                      AE: PB2           Statement Period: October 01, 2014 to October 31, 2014                                                          PAGE 3 of 7


       BUY SELL TRANSACTIONS
       Credit ratings are subjective opinions and not statements of fact and should not be relied on as investment advice. S&P shall not be liable for any direct, indirect, incidental, exemplary,
       compensatory, punitive, special or consequential damages, legal fees, or losses (including lost income or profits and opportunity costs or losses caused by negligence) in connection with
       any use of credit ratings.
                                     Account                                                                                                                                     Amount
       Date      Transaction         Type                      Quantity       Description                                                            Price               Debit               Credit



       TOTAL BUY SELL TRANSACTIONS:                                                                                                                                 $65,203.60


       INCOME AND DISTRIBUTION ACTIVITY
                                     Account                                                                                                                                     Amount
       Date      Transaction         Type                      Quantity       Description                                                            Rate                Debit               Credit
       10/1      WIRE                MARGIN                                   FUNDS WIRE                                                                         $6,000,000.00
                                                                              NEXBANK SSB
                                                                              NEXPOINT ADVISORS LP
                                                                              REF# B1Q8154C009052




       TOTAL INCOME AND DISTRIBUTION ACTIVITY:




CONFIDENTIAL                                                                                                                                                                           D-NNL-029162
                                                                                                                                                                                     Appx. 02607
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                     Entered 12/18/21 02:23:50                                    Page 377 of 533




       Customer Account Number:                    AE: PB2           Statement Period: October 01, 2014 to October 31, 2014                                                       PAGE 4 of 7


       OTHER ACTIVITY
                                      Account                                                                                                                               Amount
       Date      Transaction          Type                   Quantity      Description                                                                              Debit              Credit




       TOTAL OTHER ACTIVITY:                                                                                                                                    $4,908.89


       PORTFOLIO SUMMARY
       Bond ratings are provided by Moody s and Standard & Poor s, respectively. For more information about bond ratings please contact your financial advisor. Estimated figures shown are
       estimates and actual yield and income may differ.
       EQUITIES - LONG POSITIONS: 85.00% of Portfolio
                                                                                                                                                               Estimated           Estimated
       Account                                                                             Symbol/                        Current             Market               Annual
       Type                Quantity       Description                                      Cusip                            Price              Value              Income                Yield




CONFIDENTIAL                                                                                                                                                                     D-NNL-029163
                                                                                                                                                                               Appx. 02608
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                      Entered 12/18/21 02:23:50                Page 378 of 533




       Customer Account Number:             AE: PB2      Statement Period: October 01, 2014 to October 31, 2014                           PAGE 5 of 7


       EQUITIES - LONG POSITIONS (Continued)
                                                                                                                            Estimated      Estimated
       Account                                                               Symbol/                     Current   Market       Annual
       Type             Quantity   Description                               Cusip                         Price    Value      Income           Yield




                                   MARKET VALUE OF EQUITIES - LONG POSITIONS


       CORPORATE BONDS
                                                                                                                            Estimated      Estimated
       Account                                                               Bond                        Current   Market       Annual
       Type             Quantity   Description                               Ratings                       Price    Value      Income           Yield




                                   MARKET VALUE OF CORPORATE BONDS




CONFIDENTIAL                                                                                                                               D-NNL-029164
                                                                                                                                         Appx. 02609
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                       Entered 12/18/21 02:23:50                Page 379 of 533




       Customer Account Number:             AE: PB2       Statement Period: October 01, 2014 to October 31, 2014                           PAGE 6 of 7


       US AGENCY SECURITIES
                                                                                                                             Estimated      Estimated
       Account                                                                Bond                        Current   Market       Annual
       Type             Quantity   Description                                Ratings                       Price    Value      Income           Yield




                                   MARKET VALUE OF US AGENCY SECURITIES


       MUTUAL FUNDS: 14.90% of Portfolio
                                                                                                                             Estimated      Estimated
       Account                                                                Symbol/                     Current   Market       Annual
       Type             Quantity   Description                                Cusip                         Price    Value      Income           Yield




                                   TOTAL - MUTUAL FUNDS




CONFIDENTIAL                                                                                                                                D-NNL-029165
                                                                                                                                          Appx. 02610
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50      Page 380 of 533




       Customer Account Number:   AE: PB2   Statement Period: October 01, 2014 to October 31, 2014          PAGE 7 of 7

       Customer Notice




                                                         *** END OF STATEMENT ***




CONFIDENTIAL                                                                                                 D-NNL-029166
                                                                                                           Appx. 02611
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 381 of 533




                              EXHIBIT 159




                                                                          Appx. 02612
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 382 of 533

  012314542                                                                                6789 9


                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4444444444 ! "4# $ 4%     4&
                  4444444444'((4#   4# 4) 4*((
                  44444444449  4+,4*-(
                  4
                  4
                  4
                  4. /0 1243 444  4 4 45556. /0 16
                  4
                  4
                  4
                  4#! 14 
                  4
                  44444444444 4+$ 744 ! "4# $ 4%     4&
                  4
                  4 4#! 14548  
                  4 4.4 444444444444444444       (444)   49 44 (' 4 !4 '( 
                  4&  4)   40   4444                 4449 44 ! 4   4$ "44444444
                  4444449 $ # " 44444            94443   4& " 4444444444444
                  4444494#! 19 4 44444444             4443   4#  "444444444
                  4) 3 4#!  4444444444444444444444 4448   4  "444444444444444
                  48   4 "444444444444444444          444 4    4: "4  "4444
                  4+!4)   40   44444               '444( 48   4 "44444444444
                  4
                  4;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;
                  4
                  49 $ 4 "4"" 
                  49 4444449 $ 44444444444444444444444444444444444




                                                    6


                4
                4
         01021345678                               <=>781?4@114AB@>4CBD145=3470C=3>B<>47<5=30B>7=<
                           CEFGHIJK4LHMHNOHP4EJ4JQH4EPPLHKK4NIPNMEJHP4RI4JQNK4KJEJHGHIJ4SF4T?UU4VGW48HIJLEX4@JEIPELP4>NGH
                           HEMQ4SEIYNIZ4PEF4[NXX4SH4MLHPNJHP4EK4R\4JQEJ4PEJHW444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 21.
CONFIDENTIAL                                                                                                                                                     D-NNL-029167
                                                                                                                                                            Appx. 02613
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                              Entered 12/18/21 02:23:50                                        Page 383 of 533

  012314542                                                                                6789 9

                 0121345678893 98 93223
                 393102
                 0
                      !9"8#5$
                  4444444444444444444444444444444444444444444444444449 4  44444444444  4444
                  444444444444444444444444444444444444444444444444444 4 444444444
                  444444444444444444444444444444444444444444444444444 
                  4
                  4
                  4
                  4 4 ! "4#4$   444444444444          44%   &'
                  4
                  4(((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((
                  4
                  4 ! "4 &4) !& # 
                  49 4444449 * 44444444444444444444444444444444444
                  4  44444$+4, - 4-494.... /04 4444444444412001000300(
                  4444444444494.... 4




                  4
                  4(((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((
                  4
                  49 4+   4$- 
                  49 4444444444+   44444449 4444444444+   44444449 4444444444+  


                  4
                  4(((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((((
                  4
                  4444444444444444444444444444$   45 46 
                  444444444444444444444444449 4444444444444445
                  444444444444444444444444
                  4
                  4&4-46  
                  4
                  4




         01021345678                               789781:4;114<=;94>=?14583470>839=794775830=9787
                           >@ABCDEF4GCHCIJCK4@E4ELC4@KKGCFF4IDKIH@ECK4MD4ELIF4FE@ECBCDE4NA4O:PP4QBR48CDEG@S4;E@DK@GK49IBC
                           C@HL4N@DTIDU4K@A4VISS4NC4HGCKIECK4@F4MW4EL@E4K@ECR444444444444444444444444444444444444444444444444444444444444444444444444444




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - 41.
CONFIDENTIAL                                                                                                                                                     D-NNL-029168
                                                                                                                                                            Appx. 02614
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                                   Entered 12/18/21 02:23:50                                   Page 384 of 533

  012314542                                                                                     6789 9
                                    012324567589 3                                                    05 7742705975321 27053
                    99                                 69
                                       39:722 59;1295029476                  9
                         513;                      430152                    99999!"9#$%&9'%"9"$&9&(
                    9                    9             9         9            %$"99)&*9&(9+,+9&-9#*.%)&"
                    9                    9             9         9            %$$(%!-/
                                                                              9
                    9                    9             9         9            999993)+9-)0+9*'*1"9&0$+%*!!-9)+92-
                    9                    9             9         9            (9%""0(/
                    9                    9             9         9            9
                    9                    9             9         9            999993+19),,9%&9-)0+9*'*12))19*'9),
                    9                    9             9         9            - )0+9*'*1"9.%(92-9'92&19&(9!%"9'
                                                                              &0$2+"9&(9$)0&"9),9')"9&)9.%(9%&
                    9                    9             9         9            '9".*9.+)4%((99'9!,/97&*!0(9&-
                    9                    9             9         9            *'*1"9"%!!9&)9.%(9,+)$9.+4%)0"
                    9                    9             9         9            "$&"/
                    9                    9             9         9            9
                    9                    9             9         9            99999302+*9,+)$9-)0+9*'*12))1
                                                                              2!&*9&-93 57 9 48 963//79)+
                    9                    9             9         9            2&19*'+89..+%&89)&9'%"9"$&/
                    9                    9             9         9            9
                    9                    9             9         9            99999*)&*%!9-)0+9"$&9%&9'
                    9                    9             9         9            " .*9.+)4%((92!)9/
                    9                    9             9         9            9
                    9                    9             9         9
                    9                    9             9         9               &+92&192!&*               9        9                                    9
                    9                    9             9         9                ,+)$9"$&
                    9                    9             9         9              4((9(.)"%"9&)                 9        9                                    9
                    9                    9             9         9               *+(%(92-92&1                9        9                                    9
                    9                    9             9         9                    6%,9&-7                   9        9                                    9
                    9                    9             9         9                                       202 49          9                                    9
                    9                    9             9         9
                      2)!9),9'*1" 9                 9         9               30  2
                                                                                      +  *
                                                                                           9
                                                                                            )!9
                                                                                                ),               9        9                                    9
                          &)9.%(                                               *'*1"9&)9.%(
                                                   <=>?9@ABC<9?=ABDE9FGBD9HAB9I=FIJKAAJ9KDCIFLM9                     9                                    9
                                  N9IOPQ9P9>RSPT9IOUV9>TV9?9?V9<W9IRST99O9IPP9X9YO9SSZ
                                                   C[9<O99\PQ99T9EN9\PT99RN9]PN^
                                            0123454678598 94345 09859 796097560069409798260
          :9,%80+9'9%&+"9*'+89)&9-)0+9**)0&92-9..!-%&89'9.+%)(%*9+9)9'9_(%!-92!&*_9),9-)0+9**)0&9,)+9*'9(-9%&9'92%!!%&89*-*!/92)989'9_(%!-
          2!&*_99919'928%&&%&892!&*9),9-)0+9**)0&9*'9(-9̀((9&-9&99(4&*"a,"9̀&(9"02+*9&-90&.%(9%&+"9)+9)'+9,%&&*9*'+8"9&(9&-
          .-$&"9)+9*+(%"/92'%"98%4"90"9'9(%!-92!&*/
                                                  4696898979896759897594976409859896460056
          7,9-)09'%&19'+9%"9&9++)+9)&9-)0+9"$&9̀9+%9)90"9b
          CWKU
          cded93* %&&-944&09̀ee'9f!))+
          6!!"9̀2#"9gdche
          i)09$-9!")9*)&*90"9)&9'9:2b9999/&#2&1/*)$
          7&9-)0+9!+̀98%490"9'9,)!!)9%&89%&,)+$%)&b
                     4**)0&97&,)+$%)&b9i)0+9&$9&(9**)0&9&0$2+/
                     6)!!+94$)0&b92'9()!!+9$)0&9),9'9"0".*(9++)+/
                     6"*+%.%)&9),9+)2!$b97,9-)09'%&19'+9%"9&9++)+9)&9-)0+92%!!9̀("*+%299'9-)092!%49%"99+)&89&(99'-9-)092!%49%9%"99$%"1/
          i)09$0"9*)&*90"99%'%&9jh9(-"9,+9'9++)+9..+(9)&9-)0+9"$&/
          i)09$0"9&)%,-90"9),9&-9.)&%!9++)+"9%&99+%%&89)+9!*+)&%*!!-/9i)09$-9*!!90"9̀209%,9-)09()999+9&)9+k0%+(9)9%&4"%89&-9.)&%!9++)+"9&(9-)0
          $-9'49)9.-9'9$)0&9%&9k0"%)&/
          :'%!999%&4"%899''+9)+9&)9'+9'"92&9&9++)+̀9'9,)!!)9%&89+9+0b
                     :9*&&)9+-9)9*)!!*9'9$)0&9%&9k0"%)&9̀)+9+.)+9-)09"9(!%&k0&9)&9'9$)0&/
                     2'9*'+89%&9k0"%)&9$-9+$%&9)&9-)0+9"$&9̀&(999$-9*)&%&09)9*'+89-)09%&+"9)&9'9$)0&/9;09̀%,999(+$%&9'999$(9
                     $%"19̀-)099%!!9&)9'49)9.-9'9$)0&9%&9k0"%)&9)+9&-9%&+"9)+9)'+9,"9+!(9)9'9$)0&/
                     :'%!9-)09()9&)9'49)9.-9'9$)0&9%&9k0"%)&9̀-)09+9+".)&"%2!9,)+9'9+$%&(+9),9-)0+92!&*/
                     :9*&9..!-9&-90&.%(9$)0&98%&"9-)0+9*+(%9!%$%/
                                            7594098 9089890678594 86989030 68579645 0
          7&9"9),9++)+"9)+9l0"%)&"942)09i)0+9!*+)&%*92+&",+"9̀2!.')&90"99mgc/mno/oghh9)+9:+%90"995#;&19̀cded93* %&&-944&09̀ee'9f!))+̀96!!"`
          2#"9gdche9"9"))&9"9-)09*&9̀%,9-)09'%&19-)0+9"$&9)+9+*%.9%"99+)&89)+9%,9-)09&(9$)+9%&,)+$%)&92)099+&",+9)&9'9"$&9)+9+*%./9:
          $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
          999996e792!!90"9-)0+9&$9&(9**)0&9&0$2+96%,9&-7/
          999996c796"*+%29'9++)+9)+9+&",+9-)09+90&"0+92)09̀&(9#.!%&9"9*!+!-9"9-)09*&99'-9-)092!%49%9%"9
          99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
          999996n792!!90"9'9()!!+9$)0&9),9'9"0".*(9++)+/
          99999:99%!!9%&4"%89-)0+9*)$.!%&9&(99%!!9*)++*9&-9++)+9.+)$.!-/97,99919$)+9'&9eh920"%&""9(-"9)9()9'%"9̀999%!!9*+(%9-)0+9**)0&9,)+9'
          $)0&9-)09'%&19%"9%&9++)+̀9")9'9-)099%!!9'490"9),9'9$)&-9(0+%&89'9%$9%91"90"9)9*)$.!9)0+9%&4"%8%)&/




  7111171 71777 7!" 1#$ % & $77 '7 (2)1*7 71+7$ 17 %677 14,9 - .1.
CONFIDENTIAL                                                                                                                                                      D-NNL-029169
                                                                                                                                                             Appx. 02615
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 385 of 533




                               EXHIBIT 16




                                                                          Appx. 02616
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                            Page 386 of 533
        Compass e-Access                                                                                                                         Page 1 of 4



         ERD Report Filename - 7202015031004573.TXT
         Batch # - 2015031004573                                                           CLOSE
         Printed on Feb 02, 2015 at 07:40 AM

         1
         +@ Primary Account:
          Page 1 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015



                    HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                                                     Contacting Us
                                                                                                     ________________________________________

                                                                                              Phone: 1-800-266-7277

         S u m m a r y      o f    A c c o u n t s

          Deposit Accounts/Other Products
                                                                                                       Ending balance           Ending balance
          Account                                            Account number                            last statement           this statement
          ====================================================================================================================================
          TREASURY MANAGEMENT ANALYSIS CHECKING
          ____________________________________________________________________________________________________________________________________
          Total Deposit Accounts
         1
         +@ Primary Account:
          Page 2 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015


         T R E A S U R Y   M A N A G E M E N T   A N A L Y S I S   C H E C K I N G
         Account Number: 0025876342 - HIGHLAND CAPITAL MANAGEMENT LP


         Activity Summary
         =========================================================
         Beginning Balance on 1/1/15
         Deposits/Credits (23)
         Withdrawals/Debits (130)
         _________________________________________________________
         Ending Balance on 1/31/15


         Deposits and Other Credits

                                                                                                            Deposits/
         Date*   Serial#    Description                                                                       Credits
         ====================================================================================================================================




          ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
          Page 3 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015


         Deposits and Other Credits - continued




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     2/2/2015
CONFIDENTIAL                                                                                                                                     D-NNL-029152
                                                                                                                                            Appx. 02617
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                            Page 387 of 533
        Compass e-Access                                                                                                                         Page 2 of 4



                                                                                                            Deposits/
         Date*   Serial#    Description                                                                       Credits
         ====================================================================================================================================




                                                                                                                                         _____

         *The Date provided is the business day that the transaction is processed.

         Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


         Withdrawals and Other Debits

                                                                                                                                 Withdrawals/
         Date*   Serial#    Description                                                                                                Debits
         ====================================================================================================================================




                                        ______________________________________________________________________________________________________
         1
         +@ Primary Account:
          Page 4 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                 Withdrawals/
         Date*   Serial#    Description                                                                                                Debits
         ====================================================================================================================================




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     2/2/2015
CONFIDENTIAL                                                                                                                                     D-NNL-029153
                                                                                                                                            Appx. 02618
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                            Page 388 of 533
        Compass e-Access                                                                                                                         Page 3 of 4



         ____________________________________________________________________________________________________________________________________




                                                                                                                                         _____
         1
         +@ Primary Account:
          Page 5 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015


         Withdrawals and Other Debits - continued

                                                                                                                                 Withdrawals/
         Date*   Serial#    Description                                                                                                Debits
         ====================================================================================================================================




                                                                                                                                         _____
         1
         +@ Primary Account:
          Page 6 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     2/2/2015
CONFIDENTIAL                                                                                                                                     D-NNL-029154
                                                                                                                                            Appx. 02619
   Case 21-03007-sgj Doc 127-3 Filed 12/18/21                                        Entered 12/18/21 02:23:50                           Page 389 of 533
        Compass e-Access                                                                                                                        Page 4 of 4




         ____________________________________________________________________________________________________________________________________
         1/29               OUT WT E-ACCESS REF 20150129F2QCZ60C001505 BNF NexPoint                                             $3,100,000.00
                            Advisors
         ____________________________________________________________________________________________________________________________________




                                                                                                                                  $10,000.00

         ____________________________________________________________________________________________________________________________________

         *The Date provided is the business day that the transaction is processed.

         Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


         End of Business Day Balance Summary

         Date                               Balance   Date                               Balance   Date                               Balance
         ==========================================   ==========================================   ==========================================


         1
         +@ Primary Account:
          Page 7 of 7
          Primary Account:
          Beginning January 1, 2015 - Ending January 31, 2015



         Summary of Checks

         Date       Check#                   Amount   Date       Check#                   Amount   Date       Check#                   Amount
         ==========================================   ==========================================   ==========================================
         1/16        14386                $2,304.00   1/26        14959*                  $13.83   1/6         15110*                  $40.00




         * Indicates break in check sequence




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                    2/2/2015
CONFIDENTIAL                                                                                                                                    D-NNL-029155
                                                                                                                                           Appx. 02620
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 390 of 533




                              EXHIBIT 161




                                                                          Appx. 02621
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 391 of 533




CONFIDENTIAL                                                                     D-NNL-029171
                                                                            Appx. 02622
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 392 of 533




CONFIDENTIAL                                                                     D-NNL-029172
                                                                            Appx. 02623
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 393 of 533




CONFIDENTIAL                                                                     D-NNL-029173
                                                                            Appx. 02624
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 394 of 533




CONFIDENTIAL                                                                     D-NNL-029174
                                                                            Appx. 02625
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 395 of 533




CONFIDENTIAL                                                                     D-NNL-029175
                                                                            Appx. 02626
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 396 of 533




CONFIDENTIAL                                                                     D-NNL-029176
                                                                            Appx. 02627
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 397 of 533




CONFIDENTIAL                                                                     D-NNL-029177
                                                                            Appx. 02628
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 398 of 533




CONFIDENTIAL                                                                     D-NNL-029178
                                                                            Appx. 02629
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 399 of 533




CONFIDENTIAL                                                                     D-NNL-029179
                                                                            Appx. 02630
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 400 of 533




CONFIDENTIAL                                                                     D-NNL-029180
                                                                            Appx. 02631
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 401 of 533




CONFIDENTIAL                                                                     D-NNL-029181
                                                                            Appx. 02632
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 402 of 533




CONFIDENTIAL                                                                     D-NNL-029182
                                                                            Appx. 02633
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 403 of 533




CONFIDENTIAL                                                                     D-NNL-029183
                                                                            Appx. 02634
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 404 of 533




CONFIDENTIAL                                                                     D-NNL-029184
                                                                            Appx. 02635
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 405 of 533




CONFIDENTIAL                                                                     D-NNL-029185
                                                                            Appx. 02636
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 406 of 533




                              EXHIBIT 162




                                                                          Appx. 02637
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 407 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003821
                                                                            Appx. 02638
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 408 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003822
                                                                            Appx. 02639
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 409 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003823
                                                                            Appx. 02640
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 410 of 533




                              EXHIBIT 163




                                                                          Appx. 02641
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 411 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003824
                                                                            Appx. 02642
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 412 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003825
                                                                            Appx. 02643
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 413 of 533




                              EXHIBIT 164




                                                                          Appx. 02644
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 414 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003826
                                                                            Appx. 02645
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 415 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003827
                                                                            Appx. 02646
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 416 of 533




                              EXHIBIT 165




                                                                          Appx. 02647
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 417 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003828
                                                                            Appx. 02648
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 418 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003829
                                                                            Appx. 02649
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 419 of 533




                              EXHIBIT 166




                                                                          Appx. 02650
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 420 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003830
                                                                            Appx. 02651
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 421 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003831
                                                                            Appx. 02652
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 422 of 533




                              EXHIBIT 167




                                                                          Appx. 02653
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 423 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003832
                                                                            Appx. 02654
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 424 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003833
                                                                            Appx. 02655
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 425 of 533




                              EXHIBIT 168




                                                                          Appx. 02656
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 426 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003834
                                                                            Appx. 02657
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 427 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003835
                                                                            Appx. 02658
  Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 428 of 533




HIGHLY CONFIDENTIAL                                                               D-CNL003836
                                                                            Appx. 02659
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 429 of 533




                              EXHIBIT 169




                                                                          Appx. 02660
Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50      Page 430 of 533




                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      December 31, 2020
  Board of Directors                                                  Invoice 126769
  Highland Capital Management LP                                      Client  36027
  300 Crescent Court ste. 700                                         Matter  00002
  Dallas, TX 75201
                                                                              JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2020




                                                                                                D-CNL000979
                                                                                          Appx. 02661
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 431 of 533




                                                                                D-CNL000980
                                                                          Appx. 02662
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 432 of 533




                                                                                D-CNL000981
                                                                          Appx. 02663
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 433 of 533




                                                                                D-CNL000982
                                                                          Appx. 02664
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 434 of 533




                                                                                D-CNL000983
                                                                          Appx. 02665
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 435 of 533




                                                                                D-CNL000984
                                                                          Appx. 02666
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 436 of 533




                                                                                D-CNL000985
                                                                          Appx. 02667
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 437 of 533




                                                                                D-CNL000986
                                                                          Appx. 02668
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 438 of 533




                                                                                D-CNL000987
                                                                          Appx. 02669
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 439 of 533




                                                                                D-CNL000988
                                                                          Appx. 02670
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 440 of 533




                                                                                D-CNL000989
                                                                          Appx. 02671
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 441 of 533




                              EXHIBIT 170




                                                                          Appx. 02672
Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50         Page 442 of 533




                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      January 31, 2021
  Board of Directors                                                  Invoice 127125
  Highland Capital Management LP                                      Client   36027
  300 Crescent Court ste. 700                                         Matter   00002
  Dallas, TX 75201
                                                                               JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2021




                                                                                                D-CNL000995
                                                                                          Appx. 02673
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 443 of 533




                                                                                D-CNL000996
                                                                          Appx. 02674
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 444 of 533




                                                                                D-CNL000997
                                                                          Appx. 02675
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 445 of 533




                                                                                D-CNL000998
                                                                          Appx. 02676
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 446 of 533




                                                                                D-CNL000999
                                                                          Appx. 02677
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 447 of 533




                                                                                D-CNL001000
                                                                          Appx. 02678
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 448 of 533




                                                                                D-CNL001001
                                                                          Appx. 02679
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 449 of 533




                                                                                D-CNL001002
                                                                          Appx. 02680
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 450 of 533




                                                                                D-CNL001003
                                                                          Appx. 02681
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 451 of 533




                                                                                D-CNL001004
                                                                          Appx. 02682
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 452 of 533




                                                                                D-CNL001005
                                                                          Appx. 02683
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 453 of 533




                                                                                D-CNL001006
                                                                          Appx. 02684
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 454 of 533




                                                                                D-CNL001007
                                                                          Appx. 02685
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 455 of 533




                                                                                D-CNL001008
                                                                          Appx. 02686
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 456 of 533




                                                                                D-CNL001009
                                                                          Appx. 02687
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 457 of 533




                                                                                D-CNL001010
                                                                          Appx. 02688
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 458 of 533




                                                                                D-CNL001011
                                                                          Appx. 02689
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 459 of 533




                                                                                D-CNL001012
                                                                          Appx. 02690
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 460 of 533




                                                                                D-CNL001013
                                                                          Appx. 02691
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 461 of 533




                                                                                D-CNL001014
                                                                          Appx. 02692
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 462 of 533




                                                                                D-CNL001015
                                                                          Appx. 02693
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 463 of 533




                                                                                D-CNL001016
                                                                          Appx. 02694
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 464 of 533




                              EXHIBIT 171




                                                                          Appx. 02695
Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50          Page 465 of 533




                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      February 28, 2021
  Board of Directors                                                  Invoice 127314
  Highland Capital Management LP                                      Client   36027
  300 Crescent Court ste. 700                                         Matter   00002
  Dallas, TX 75201
                                                                               JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2021




                                                                                                 D-CNL000990
                                                                                           Appx. 02696
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 466 of 533




                                                                                D-CNL000991
                                                                          Appx. 02697
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 467 of 533




                                                                                D-CNL000992
                                                                          Appx. 02698
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 468 of 533




                                                                                D-CNL000993
                                                                          Appx. 02699
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 469 of 533




                                                                                D-CNL000994
                                                                          Appx. 02700
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 470 of 533




                              EXHIBIT 172




                                                                          Appx. 02701
Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50       Page 471 of 533




                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      March 31, 2021
  Board of Directors                                                  Invoice 127522
  Highland Capital Management LP                                      Client   36027
  300 Crescent Court ste. 700                                         Matter   00002
  Dallas, TX 75201
                                                                               JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2021




                                                                                              D-CNL001080
                                                                                        Appx. 02702
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50             Page 472 of 533




  Pachulski Stang Ziehl & Jones LLP                                                              Page:    13
  Highland Capital Management LP                                                                 Invoice 127522
  36027 - 00002                                                                                  March 31, 2021


                                                                                         Hours           Rate     Amount
   03/02/2021   GVD     BL        Draft checklist of open litigation items                0.50       950.00        $475.00
   03/02/2021   GVD     BL        Conference with PSZJ team re status of UBS              0.40       950.00        $380.00
                                  settlement
   03/02/2021   HRW     BL        Prepare joint proposed scheduling order for demand      3.60       695.00       $2,502.00
                                  note adversary proceedings involving HCMFA and
                                  NPA (1.2); PSZJ WIP call (0.8); Review adversary
                                  proceedings and critical dates (0.6); Review NPA
                                  and HCMFA answer to complaints (0.4); Review
                                  Advisors motion to stay pending appeal (0.6).
   03/03/2021   IDK     BL        Attend conference call with J Pomerantz, R              1.40      1325.00       $1,855.00
                                  Feinstein, G Demo on UBS latest markup and
                                  problems with same (1.4).
   03/03/2021   IDK     BL        Review of correspondence from UBS re its new            0.40      1325.00        $530.00
                                  markup of settlement, and brief review (.2); E-mails
                                  with J Pomerantz, R Feinstein re problems with
                                  same, as well as J Pomerantz list of issues on same
                                  and need for call (.2).
   03/03/2021   JNP     BL        Emails with Robert J. Feinstein, Ira D. Kharasch and    0.10      1295.00        $129.50
                                  Gregory V. Demo regarding call to discuss UBS
                                  settlement agreement.
   03/03/2021   JNP     BL        Email to Board with latest UBS settlement               0.10      1295.00        $129.50
                                  agreement.
   03/03/2021   JNP     BL        Review and comment on latest UBS settlement             0.30      1295.00        $388.50
                                  agreement.
   03/03/2021   JNP     BL        Review emails regarding SOHC and authority              0.10      1295.00        $129.50
                                  issues.
   03/03/2021   JNP     BL        Lengthy call with Ira D. Kharasch, Robert J.            1.40      1295.00       $1,813.00
                                  Feinstein and Gregory V. Demo regarding UBS
                                  settlement agreement.
   03/03/2021   JNP     BL        Review and respond to email regarding outstanding       0.10      1295.00        $129.50
                                  notes litigation.
   03/03/2021   JNP     BL        Conference with J. Seery regarding UBS, Plan issues     0.50      1295.00        $647.50
                                  and related.
   03/03/2021   JNP     BL        Review Dondero response to Committee                    0.10      1295.00        $129.50
                                  preservation motion.
   03/03/2021   RJF     BL        Review UBS markup of settlement agreement.              0.60      1395.00        $837.00
   03/03/2021   RJF     BL        Internal call regarding UBS agreement.                  1.40      1395.00       $1,953.00
   03/03/2021   JAM     BL        Analysis of Hunter Mountain claim and related notes     1.80      1245.00       $2,241.00
                                  litigation and send e-mail to J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd re: same (0.8);
                                  draft amended deposition notices for HCRE
                                  litigation (0.2); e-mails with Z. Annable, H.




                                                                                                               D-CNL001081
                                                                                                         Appx. 02703
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50               Page 473 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    14
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                            Hours           Rate     Amount
                                  Winograd re: amended deposition notices for HCRE
                                  litigation (0.1);e-mails with J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd re: Hunter
                                  Mountain claim, Rand guaranty, and default under
                                  the notes (0.2); telephone conference with J. Seery
                                  re: litigation update (0.5).
   03/03/2021   EAW     BL        Draft discovery requests (RCT) and related email to        5.50       925.00       $5,087.50
                                  R. Feinstein.
   03/03/2021   EAW     BL        Emails to/from G. Demo re: UBS judgment against            0.10       925.00         $92.50
                                  Funds.
   03/03/2021   GVD     BL        Correspondence with Z. Annable re scheduling order         0.10       950.00         $95.00
   03/03/2021   GVD     BL        Conference with PSZJ team re status of UBS                 1.40       950.00       $1,330.00
                                  settlement agreement and next steps
   03/03/2021   GVD     BL        Review revised UBS settlement agreement                    0.30       950.00        $285.00
   03/03/2021   GVD     BL        Schedule board call re UBS settlement                      0.10       950.00         $95.00
   03/03/2021   HRW     BL        Prepare joint proposed scheduling order for demand         0.80       695.00        $556.00
                                  note adversary proceedings (0.8);
   03/04/2021   IDK     BL        Review briefly G Demo markup of UBS settlement             0.40      1325.00        $530.00
                                  agreement, including feedback of J Pomerantz re
                                  same
   03/04/2021   IDK     BL        Attend part of call with CEO, J Dubel, J Pomerantz,        1.20      1325.00       $1,590.00
                                  others on how to respond to UBS markup and our
                                  proposed counter markup (1.0); E-mails with J
                                  Pomerantz, others re his draft response to UBS on
                                  our settlement issues (.2).
   03/04/2021   IDK     BL        E-mails with G Demo re Gov Re payment re                   0.20      1325.00        $265.00
                                  Sentinel and consider (.2).
   03/04/2021   JNP     BL        Review and comment on redline of UBS settlement            0.10      1295.00        $129.50
                                  agreement.
   03/04/2021   JNP     BL        Conference with J. Seery, J. Dubel, Robert J.              1.60      1295.00       $2,072.00
                                  Feinstein, Ira D. Kharasch and Gregory V. Demo
                                  regarding UBS settlement agreement.
   03/04/2021   JNP     BL        Draft email to Latham regarding issues on settlement       0.60      1295.00        $777.00
                                  agreement.
   03/04/2021   RJF     BL        Review revised settlement agreement.                       0.40      1395.00        $558.00
   03/04/2021   RJF     BL        Internal call regarding revised settlement agreement.      1.40      1395.00       $1,953.00
   03/04/2021   RJF     BL        Call BOD regarding revised settlement agreement.           0.50      1395.00        $697.50
   03/04/2021   JAM     BL        Review/revise model scheduling order for notes             0.60      1245.00        $747.00
                                  litigation (0.3); e-mails with H. Winograd re: model
                                  scheduling order for notes litigation (0.1); e-mail to.
                                  L. Hogewood, D. Rukavina re: proposed scheduling




                                                                                                                  D-CNL001082
                                                                                                            Appx. 02704
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 474 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    15
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
                                  orders for HCMFA and Nexpoint notes litigation
                                  (0.2).
   03/04/2021   EAW     BL        Draft 2004 motion (RCT).                                  4.30       925.00       $3,977.50
   03/04/2021   GVD     BL        Conference with J. Morris re subpoena and follow          0.30       950.00        $285.00
                                  up re same
   03/04/2021   GVD     BL        Revise UBS settlement agreement                           1.30       950.00       $1,235.00
   03/04/2021   GVD     BL        Further revise UBS settlement agreement re changes        0.30       950.00        $285.00
                                  from J. Pomerantz and R. Feinstein
   03/04/2021   GVD     BL        Attend conference with J. Seery and J. Dubel re           1.60       950.00       $1,520.00
                                  UBS settlement
   03/04/2021   GVD     BL        Review draft email to UBS re settlement                   0.10       950.00         $95.00
   03/04/2021   HRW     BL        Prepare joint proposed scheduling order for demand        1.80       695.00       $1,251.00
                                  note adversary proceedings (1.8);
   03/05/2021   JNP     BL        Conference with John A. Morris regarding subpoena         0.20      1295.00        $259.00
                                  and response.
   03/05/2021   JMF     BL        Review opposition to motion to dismiss (.3) and           0.40      1050.00        $420.00
                                  scheduling stipulation and order re upcoming
                                  hearing (.1).
   03/05/2021   JAM     BL        Review United Development subpoena (0.2);                 3.60      1245.00       $4,482.00
                                  telephone conference with T. Surgent re: United
                                  Development subpoena (0.4); telephone conference
                                  with J. Pomerantz re: United Development subpoena
                                  (0.2); e-mail to N. Stephens, J. Pomerantz re: United
                                  Development subpoena (0.2); analysis and
                                  preparation of cross-examination for Dondero in
                                  connection with contempt hearing (2.3); e-mail to L.
                                  Drawhorn, H. Winograd re: proposed scheduling
                                  orders for HCRE and HCMS notes litigation (0.2);
                                  e-mail to D. Rukavina re: proposed scheduling
                                  orders for Nexpoint and HCMFA notes litigation
                                  (0.1).
   03/05/2021   EAW     BL        Research and draft 2004 motion (RCT).                     5.60       925.00       $5,180.00
   03/07/2021   JAM     BL        Review/revise proposed scheduling orders for              3.70      1245.00       $4,606.50
                                  HCMFA and NexPoint notes litigation (0.4); e-mail
                                  to D. Rukavina, L. Hogewood, H. Winograd re:
                                  revised proposed scheduling orders for HCMFA and
                                  NexPoint notes litigation (0.2); review Hunter
                                  Mountain note, Rand guaranty, and draft default
                                  letters (0.7); e-mail to J. Pomerantz, I. Kharasch, G.
                                  Demo, H. Winograd re: Hunter Mountain default
                                  under Note (0.3); work on cross-examination for J.
                                  Dondero for contempt hearing (2.1).
   03/07/2021   GVD     BL        Correspondence with J. Morris re term note defaults       0.20       950.00        $190.00




                                                                                                                 D-CNL001083
                                                                                                           Appx. 02705
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50                Page 475 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    16
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
   03/08/2021   IDK     BL        Review of Reid Collins reply to UBS opposition to         0.10      1325.00        $132.50
                                  its withdrawal motion.
   03/08/2021   IDK     BL        Review briefly Dondero petition for writ of               0.30      1325.00        $397.50
                                  mandamus, and related E-mails with J Pomerantz, H
                                  Winograd re same.
   03/08/2021   JNP     BL        Conference with John A. Morris and lawyers                0.30      1295.00        $388.50
                                  regarding third party subpoena.
   03/08/2021   JNP     BL        Conference with John A. Morris regarding                  0.10      1295.00        $129.50
                                  promissory note litigation issues.
   03/08/2021   JNP     BL        Review Reid Collins reply regarding motion to             0.10      1295.00        $129.50
                                  withdraw.
   03/08/2021   JNP     BL        Review Writ of Mandamus regarding Dondero                 0.20      1295.00        $259.00
                                  preliminary injunction and emails regarding same.
   03/08/2021   RJF     BL        Review Reid Collins reply on motion to withdraw.          0.20      1395.00        $279.00
   03/08/2021   JMF     BL        Review scheduling orders re adversary motions and         0.40      1050.00        $420.00
                                  opposition to preservation of documents re 3/22
                                  hearing.
   03/08/2021   JAM     BL        Telephone conference with J. Pomerantz re:                1.80      1245.00       $2,241.00
                                  litigation matters (0.1); e-mails with D. Rukavina, H.
                                  Winograd, Z. Annable re: scheduling orders for
                                  NexPoint and HCMFA notes litigation (0.2);
                                  telephone conference with P. Keiffer re: Hunter
                                  Mountain adversary proceeding (0.1); telephone
                                  conference with D. Klos, G. Demo re: HCRE deal
                                  structure concerning litigation (0.7); telephone
                                  conference with G. Demo re: HCRE deal structure
                                  concerning litigation (0.1); telephone conference
                                  with J. Pomerantz, counsel to United re: subpoena
                                  (0.3); communications with J. Seery, J. Pomerantz,
                                  J. Bonds re: Dondero request for extension of time
                                  to respond to notes litigation (0.2); communications
                                  with J. Seery, J. Kathman re: status of Daugherty
                                  settlement documents (0.1).
   03/08/2021   EAW     BL        Draft 2004 motion (RCT).                                  2.10       925.00       $1,942.50
   03/08/2021   GVD     BL        Review filed response of Reid Collins to withdrawal       0.20       950.00        $190.00
                                  motion
   03/08/2021   HRW     BL        Review and draft joint proposed scheduling orders         2.10       695.00       $1,459.50
                                  for Demand Note adversary proceedings relating to
                                  HCRE, HCMFA, NPA, HCMS (1.5); Research
                                  issues relating to Dondero petition for writ of
                                  mandamus (0.6); Review adversary proceeding and
                                  appeals critical deadlines and dates (1.0).
   03/09/2021   JNP     BL        Conference with J. Dubel regarding call with              0.10      1295.00        $129.50




                                                                                                                 D-CNL001084
                                                                                                           Appx. 02706
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50              Page 476 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    17
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate     Amount
                                  Latham.
   03/09/2021   JNP     BL        Conference with DSI, Gregory V. Demo, Robert J.          0.50      1295.00        $647.50
                                  Feinstein and J. Seery in preparation for call with
                                  Latham.
   03/09/2021   JNP     BL        Participate on call with Latham, J. Seery, J. Dubel      1.80      1295.00       $2,331.00
                                  and Robert J. Feinstein regarding settlement and
                                  related issues.
   03/09/2021   JNP     BL        Review proposed request for production.                  0.10      1295.00        $129.50
   03/09/2021   RJF     BL        Internal calls regarding UBS settlement.                 0.60      1395.00        $837.00
   03/09/2021   RJF     BL        Call with UBS counsel regarding settlement.              1.90      1395.00       $2,650.50
   03/09/2021   JAM     BL        Review exhibit lists for Dondero contempt hearing        4.80      1245.00       $5,976.00
                                  and send e-mail to L. Canty re: specific exhibit for
                                  review (0.5); e-mails with H. Winograd, Z. Annable
                                  re: scheduling orders for the HCRE and HCMS
                                  adversary proceedings (0.2); e-mails with H.
                                  Winograd, Z. Annable re: scheduling orders for
                                  NexPoint and HCMFA adversary proceedings (0.1);
                                  review Dondero motion for Writ of Mandamus
                                  (0.7); e-mails with H. Winograd, Z. Annable re:
                                  issues concerning opposition brief to Dondero
                                  motion for Writ of Mandamus (0.4).
   03/09/2021   EAW     BL        Draft 2004 motion (RCT).                                 1.60       925.00       $1,480.00
   03/09/2021   EAW     BL        Review exhibits to letter and potential exhhibits to     1.20       925.00       $1,110.00
                                  2004 motion
   03/09/2021   LSC     BL        Preparation of materials for upcoming hearings for J.    3.20       460.00       $1,472.00
                                  Morris.
   03/09/2021   GVD     BL        Review writ of mandamus                                  0.30       950.00        $285.00
   03/09/2021   GVD     BL        Conference with J. Seery, J. Romey, J. Pomerantz,        0.90       950.00        $855.00
                                  and R. Feinstein re preparation for UBS call
   03/09/2021   GVD     BL        Compile and send exhibits to UBS                         0.40       950.00        $380.00
   03/09/2021   HRW     BL        Review adversary proceeding and appeals critical         8.70       695.00       $6,046.50
                                  deadlines and dates (1.0); Draft response to Dondero
                                  petition for writ of mandamus (6.8); Call with J.
                                  Morris re: Dondero petition for writ of mandamus
                                  (0.1); Review joint proposed scheduling orders for
                                  Demand Note adversary proceedings relating to
                                  HCRE, HCMFA, NPA, HCMS (0.8).
   03/10/2021   IDK     BL        Review of J Morris memo to Board on Dondero writ         0.20      1325.00        $265.00
                                  and our potential response, as well as CEO feedback
                                  re same and re other litigation (.2).
   03/10/2021   JNP     BL        Conference with J. Seery and Gregory V. Demo             0.30      1295.00        $388.50
                                  regarding Arizona and employee.




                                                                                                                D-CNL001085
                                                                                                          Appx. 02707
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50              Page 477 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    18
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate     Amount
   03/10/2021   JNP     BL        Conference with John A. Morris regarding contempt        0.20      1295.00        $259.00
                                  motion hearing and email from J. Bonds and call
                                  regarding motion to continue.
   03/10/2021   JNP     BL        Conference with J. Dubel regarding UBS.                  0.20      1295.00        $259.00
   03/10/2021   JNP     BL        Review motion for continuance of contempt hearing        0.10      1295.00        $129.50
                                  and emails regarding same.
   03/10/2021   RJF     BL        Review and comment on draft 2004 request                 0.40      1395.00        $558.00
   03/10/2021   JMF     BL        Review writ of mandamus and motion to continue           0.50      1050.00        $525.00
                                  3/22 hearing.
   03/10/2021   JAM     BL        Telephone conference with J. Kathman re:                 2.30      1245.00       $2,863.50
                                  comments to Daugherty draft settlement agreements
                                  (0.4); telephone conference with B. Sharp, Sidley re:
                                  document preservation issues (0.7); communications
                                  with J. Pomerantz, J. Bonds re: Dondero request for
                                  continuance of Contempt Hearing (0.2); review
                                  Dondero's motion for continuance of Contempt
                                  Hearing (0.1); e-mail to Board, J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd re: Dondero
                                  petition for writ of mandamus and motion for
                                  continuance (0.2); communications with Z. Annable,
                                  D. Rukavina, H. Winograd re: scheduling matters
                                  for notes litigation (0.2); prepare for contempt
                                  hearing (0.5).
   03/10/2021   EAW     BL        Draft 2004 motion (RCT).                                 1.90       925.00       $1,757.50
   03/10/2021   GVD     BL        Review stipulation re transfer of privilege              0.20       950.00        $190.00
   03/10/2021   GVD     BL        Review motion to continue hearing                        0.20       950.00        $190.00
   03/10/2021   HRW     BL        Draft response to Dondero petition for writ of           9.50       695.00       $6,602.50
                                  mandamus (9.5).
   03/11/2021   EAW     BL        Draft 2004 motion (RCT).                                 0.60       925.00        $555.00
   03/11/2021   GVD     BL        Conference with J. Morris re open litigation issues      0.10       950.00         $95.00
   03/12/2021   JAM     BL        E-mail to J. Pomerantz, I. Kharasch, G. Demo, H.         0.20      1245.00        $249.00
                                  Winograd re: stipulations withdrawing proofs of
                                  claim and dismissing adversary proceeding without
                                  prejudice for Hunter Mountain (0.2).
   03/12/2021   LSC     BL        Research discovery documents, conduct legal              4.80       460.00       $2,208.00
                                  research, and prepare hearing materials for G. Demo
                                  and J. Pomerantz.
   03/13/2021   JAM     BL        Work in connection with admittance to Fifth Circuit      0.70      1245.00        $871.50
                                  for Dondero petition for writ of mandamus (0.3);
                                  e-mail to L. Canty, J. Pomerantz, G. Demo, Z.
                                  Annable re: UBS designations for appeal of Acis
                                  settlement (0.2); e-mails with G. Demo, T. Surgent,




                                                                                                                D-CNL001086
                                                                                                          Appx. 02708
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 478 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    21
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
   03/17/2021   JMF     BL        Review reply to Motion to dismiss complaint against       0.30      1050.00        $315.00
                                  advisors.
   03/17/2021   JAM     BL        Telephone conference with J. Seery re: status of          1.00      1245.00       $1,245.00
                                  litigation (0.2); e-mails with J. Pomerantz, I.
                                  Kharasch, G. Demo re: Leventon request for
                                  documents (0.1); e-mail to J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd re: discovery of
                                  Dondero on notes litigation (0.7).
   03/17/2021   EAW     BL        Emails to/from R. Feinstein re: 9019 motion (UBS).        0.10       925.00         $92.50
   03/17/2021   GVD     BL        Conference with J. Morris re open litigation issues       0.20       950.00        $190.00
   03/17/2021   GVD     BL        Conference with Latham, J. Pomerantz, and R.              1.10       950.00       $1,045.00
                                  Feinstein re draft settlement agreement
   03/17/2021   GVD     BL        Multiple conferences with J. Seery re UBS                 0.20       950.00        $190.00
                                  settlement issues
   03/17/2021   GVD     BL        Conference with R. Feinstein re UBS settlement            0.10       950.00         $95.00
                                  issues
   03/17/2021   HRW     BL        Review Dondero answer to demand note complaint            3.90       695.00       $2,710.50
                                  (0.4); Draft email to Seery re: demand note litigation
                                  scheduling (1.0); Draft discovery demands directed
                                  to Dondero for demand note litigation (2.5).
   03/18/2021   IDK     BL        E-mails with J Pomerantz re his correspondence            0.20      1325.00        $265.00
                                  with UBS on their further markup of settlement and
                                  issues (.2).
   03/18/2021   IDK     BL        Review of Dondero motion to disqualify judge,             0.40      1325.00        $530.00
                                  related correspondence re same and my feedback re
                                  same (.4).
   03/18/2021   JNP     BL        Email to J. Dubel and J. Seery regarding UBS.             0.10      1295.00        $129.50
   03/18/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS         0.30      1295.00        $388.50
                                  email regarding filing and other issues (2x).
   03/18/2021   JNP     BL        Conference with J. Seery regarding UBS, litigation        0.40      1295.00        $518.00
                                  and other case issues.
   03/18/2021   JNP     BL        Email to J. Seery regarding status of UBS Settlement      0.10      1295.00        $129.50
                                  Agreement.
   03/18/2021   JNP     BL        Conference with J. Dubel regarding UBS, motion to         0.30      1295.00        $388.50
                                  recuse.
   03/18/2021   JNP     BL        Briefly review motion to recuse and emails                0.20      1295.00        $259.00
                                  regarding same.
   03/18/2021   JNP     BL        Conference with Ira D. Kharasch regarding claims          0.20      1295.00        $259.00
                                  transfer issues, motion to recuse and UBS.
   03/18/2021   JNP     BL        Email to and from A. Clubock regarding Settlement         0.10      1295.00        $129.50
                                  Agreement.




                                                                                                                 D-CNL001087
                                                                                                           Appx. 02709
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50             Page 479 of 533




  Pachulski Stang Ziehl & Jones LLP                                                              Page:    22
  Highland Capital Management LP                                                                 Invoice 127522
  36027 - 00002                                                                                  March 31, 2021


                                                                                         Hours           Rate     Amount

   03/18/2021   JNP     BL        Review emails regarding provision of information to     0.10      1295.00        $129.50
                                  UBS.
   03/18/2021   RJF     BL        Several calls with Jeffrey N. Pomerantz, Seery          0.80      1395.00       $1,116.00
                                  regarding impending UBS motion.
   03/18/2021   RJF     BL        Prepare draft response to UBS motion.                   0.40      1395.00        $558.00
   03/18/2021   RJF     BL        Telephone conferences and emails with Seery             0.50      1395.00        $697.50
                                  regarding documents delivered to UBS.
   03/18/2021   RJF     BL        Review UBS exhibits for privilege, related emails.      0.40      1395.00        $558.00
   03/18/2021   RJF     BL        Emails with Gregory V. Demo, Jeffrey N.                 0.80      1395.00       $1,116.00
                                  Pomerantz regarding privileged documents.
   03/18/2021   JAM     BL        E-mail to J. Seery re: promissory notes' litigation     3.10      1245.00       $3,859.50
                                  (0.1); review/revise draft document request for
                                  Dondero (notes litigation) (0.2); e-mail to G. Demo,
                                  H. Winograd re: requests to admit for Dondero
                                  (notes litigation) (0.3); review draft witness and
                                  exhibit list (0.2); communications w/ J. Pomerantz,
                                  I. Kharasch, G. Demo, H. Winograd, L. Canty re:
                                  draft witness and exhibit list (0.2); e-mails w/ H.
                                  Winograd, Z. Annable re: discovery requests for
                                  Dondero (permanent injunction hearing) (0.2);
                                  prepare for contempt hearing (1.5); quick review of
                                  Dondero's recusal motion (0.4).
   03/18/2021   LSC     BL        Prepare witness and exhibit list and exhibits (3.1);    6.40       460.00       $2,944.00
                                  research and prepare attorneys' materials in
                                  connection with upcoming hearing (3.3).
   03/18/2021   GVD     BL        Correspondence with Latham re exhibits to UBS           0.20       950.00        $190.00
                                  pleading
   03/18/2021   GVD     BL        Review proposed exhibits to UBS pleading and            1.00       950.00        $950.00
                                  correspondence with J. Pomerantz and R. Feinstein
                                  re same
   03/18/2021   HRW     BL        Draft discovery demands directed to Dondero for         6.60       695.00       $4,587.00
                                  demand note litigation (2.8); Prepare exhibits for
                                  hearing on motion to stay confirmation order
                                  pending appeal (0.4); Review discovery schedules in
                                  various adversary proceedings (0.8); Draft discovery
                                  demands directed to Dondero for injunctive relief
                                  litigation (1.9); Review Dondero's motion to recuse
                                  (0.7).
   03/19/2021   IDK     BL        E-mails with J Pomerantz, G Demo re their markups       0.30      1325.00        $397.50
                                  on UBS settlement, including brief review of same
                                  (.3).
   03/19/2021   JNP     BL        Conference with Robert J. Feinstein regarding           0.10      1295.00        $129.50
                                  upcoming call with Latham and Board regarding




                                                                                                               D-CNL001088
                                                                                                         Appx. 02710
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50                Page 480 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    23
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                            Hours           Rate     Amount
                                  UBS.
   03/19/2021   JNP     BL        Conference with Gregory V. Demo regarding UBS              0.10      1295.00        $129.50
                                  Settlement Agreement and upcoming call.
   03/19/2021   JNP     BL        Email to and from L. Lambert regarding call to             0.10      1295.00        $129.50
                                  discuss litigation.
   03/19/2021   JNP     BL        Conference with J. Dubel, J Seery, Robert J.               0.30      1295.00        $388.50
                                  Feinstein, Gregory V. Demo and John A. Morris
                                  regarding UBS issues in advance of call.
   03/19/2021   JNP     BL        Conference with Latham, J. Seery, J. dubel, Gregory        0.80      1295.00       $1,036.00
                                  V. Demo and Robert J. Feinstein regarding UBS
                                  issues.
   03/19/2021   JNP     BL        Review and comment on latest draft of UBS                  0.40      1295.00        $518.00
                                  Settlement Agreement.
   03/19/2021   JNP     BL        Conference with Robert J. Feinstein and L. Lambert         0.50      1295.00        $647.50
                                  regarding potential litigation.
   03/19/2021   RJF     BL        Emails regarding privileged documents with                 0.40      1395.00        $558.00
                                  Clubock, internally.
   03/19/2021   RJF     BL        Call with Seery, Abel, Jeffrey N. Pomerantz et al          0.40      1395.00        $558.00
                                  regarding UBS issues.
   03/19/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Seery et al                0.40      1395.00        $558.00
                                  regarding UBS call.
   03/19/2021   RJF     BL        Review Jeffrey N. Pomerantz comments to                    0.30      1395.00        $418.50
                                  settlement agreement.
   03/19/2021   JMF     BL        Review preservation motion and motion to continue.         0.40      1050.00        $420.00
   03/19/2021   JAM     BL        Review/revise discovery requests to Dondero re:            4.70      1245.00       $5,851.50
                                  permanent injunction (0.2); review/revise discovery
                                  requests to Dondero re: notes litigation (0.3); e-mails
                                  to J. Seery, J. Pomernatz, I. Kharasch, G. Demo, H.
                                  Winograd re: discovery requests to Dondero re:
                                  notes litigation (0.2); review/revise and send e-mail
                                  to J. Seery, PSZJ team re: scheduling of notes
                                  litigation (0.2); follow-up call with J. Seery, J.
                                  Dubel, PSZJ team re: next steps, contempt hearing
                                  (0.7); e-mails with H. Winograd re: exhibit list (0.2);
                                  telephone conference with J. Seery, J. Dubel, J.
                                  Pomerantz, R. Feinstein, G. Demo re: UBS issues
                                  (0.4); prepare for contempt hearing (2.5).
   03/19/2021   LSC     BL        Research document productions for categories of            2.70       460.00       $1,242.00
                                  documents for G. Demo and transmit same.
   03/19/2021   GVD     BL        Review discovery re assignment agreement                   0.40       950.00        $380.00
   03/19/2021   GVD     BL        Review draft UBS settlement agreement                      0.60       950.00        $570.00
   03/19/2021   GVD     BL        Revise UBS settlement agreement                            1.00       950.00        $950.00




                                                                                                                  D-CNL001089
                                                                                                            Appx. 02711
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50              Page 481 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    25
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate       Amount
   03/20/2021   JAM     BL        Prepare for contempt hearing, including preparation      8.80      1245.00       $10,956.00
                                  of cross-examinations for Dondero and Ellington
                                  (7.5); telephone conference with J. Seery re: various
                                  litigation matters (0.4); telephone conference with
                                  G. Demo re: various litigation matters (0.1);
                                  telephone conference with J. Pomerantz, I.
                                  Kharasch, G. Demo re: UBS litigation matters,
                                  contempt hearing, bond hearing (0.6);
                                  communications with appellants' counsel, J.
                                  Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                  deposition schedule (0.2).
   03/20/2021   GVD     BL        Conference with Latham re additional discovery           0.80       950.00         $760.00
                                  issues and next steps
   03/20/2021   GVD     BL        Review and further revise UBS settlement                 0.30       950.00         $285.00
                                  agreement
   03/20/2021   GVD     BL        Conference with PSZJ team re UBS settlement              1.30       950.00        $1,235.00
                                  agreement
   03/20/2021   GVD     BL        Review J. Pomerantz revisions to UBS settlement          0.20       950.00         $190.00
                                  agreement
   03/20/2021   GVD     BL        Conference with UST re potential litigation issues       0.60       950.00         $570.00
   03/20/2021   GVD     BL        Review settlement agreement re P. Daugherty              0.70       950.00         $665.00
   03/21/2021   IDK     BL        Review briefly extensive correspondence with             0.40      1325.00         $530.00
                                  Board, J Pomerantz, G Demo re questions/issues for
                                  UBS settlement agreement and new drafts of same.
   03/21/2021   JNP     BL        Review emails regarding call with Board to discuss       0.10      1295.00         $129.50
                                  UBS Settlement Agreement.
   03/21/2021   JNP     BL        Review latest settlement agreement and email to          0.30      1295.00         $388.50
                                  Board regarding same.
   03/21/2021   JNP     BL        Conference with J. Seery, Robert J. Feinstein, and       1.00      1295.00        $1,295.00
                                  Gregory V. Demo regarding UBS Settlement
                                  Agreement.
   03/21/2021   JNP     BL        Review emails re call to discuss litigation issues.      0.10      1295.00         $129.50
   03/21/2021   RJF     BL        Revise statement regarding UBS motion and related        0.80      1395.00        $1,116.00
                                  emails.
   03/21/2021   RJF     BL        Review and comment on revised UBS settlement             0.50      1395.00         $697.50
                                  agreement, related emails.
   03/21/2021   RJF     BL        Call with BOD regarding settlement agreement.            1.00      1395.00        $1,395.00
   03/21/2021   RJF     BL        Further revisions to settlement agreement.               1.00      1395.00        $1,395.00
   03/21/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz,          1.30      1395.00        $1,813.50
                                  Seery and Gregory V. Demo regarding settlement
                                  agreement.




                                                                                                                D-CNL001090
                                                                                                          Appx. 02712
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50               Page 482 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    26
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                            Hours           Rate       Amount
   03/21/2021   JAM     BL        Review Daugherty proposed changes to settlement            7.00      1245.00        $8,715.00
                                  agreement and revise the same (1.6); e-mail to J.
                                  Pomerantz, I. Kharasch, G. Demo re: revisions to
                                  draft Daugherty settlement agreement and open
                                  issues concerning the same (0.2); prepare for
                                  contempt hearing (3.7); e-mail to J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd re: legal fees for
                                  "fee shifting" in connection with contempt motion
                                  (0.5); draft Notice of Replacement Exhibits (0.4);
                                  communications with Z. Annable, L. Canty re:
                                  Notice of Replacement Exhibits (0.1); telephone
                                  conference with L. Canty re: contempt hearing (0.1);
                                  e-mail to J. Seery, H. Winograd, L. Canty re:
                                  contempt hearing (0.4).
   03/21/2021   LSC     BL        Prepare replacement exhibits and coordinate filing         1.70       460.00         $782.00
                                  of same (.4); preparation for 3/22 hearing (1.3).
   03/21/2021   GVD     BL        Conference with J. Pomerantz (partial attendance),         1.20       950.00        $1,140.00
                                  R. Feinstein, and J. Seery re revisions to UBS
                                  settlement agreement
   03/21/2021   GVD     BL        Further revise UBS settlement agreement per                0.70       950.00         $665.00
                                  comments from J. Seery, J. Pomerantz, and R.
                                  Feinstein
   03/21/2021   GVD     BL        Revise and circulate (internally) UBS settlement           0.60       950.00         $570.00
                                  agreement in advance of board call
   03/21/2021   GVD     BL        Conference with J. Seery re revisions to UBS               0.20       950.00         $190.00
                                  settlement agreement
   03/21/2021   GVD     BL        Review and revise non opposition to UBS TRO                0.30       950.00         $285.00
   03/21/2021   HRW     BL        Review appeals and critical dates (0.4); Research          1.20       695.00         $834.00
                                  issues re: briefing schedules and designation of
                                  record (0.5); Review outline of direct and cross for
                                  contempt hearing (0.3).
   03/22/2021   IDK     BL        Attend part of Dondero contempt hearing.                   4.50      1325.00        $5,962.50
   03/22/2021   JNP     BL        Participate in hearing regarding Dondero contempt          8.50      1295.00       $11,007.50
                                  motion.
   03/22/2021   JNP     BL        Conference with Latham, Gregory V. Demo, Robert            0.40      1295.00         $518.00
                                  J. Feinstein and others regarding potential litigation.
   03/22/2021   JNP     BL        Conference with J. Seery, Gregory V. Demo and              0.30      1295.00         $388.50
                                  Robert J. Feinstein regarding litigation.
   03/22/2021   JNP     BL        Review chart regarding pending litigation and email        0.10      1295.00         $129.50
                                  to H. Winograd regarding same.
   03/22/2021   RJF     BL        Zoom call with AUSA, Jeffrey N. Pomerantz,                 0.40      1395.00         $558.00
                                  Clubok et al regarding TRO proceeding.




                                                                                                                  D-CNL001091
                                                                                                            Appx. 02713
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50             Page 483 of 533




  Pachulski Stang Ziehl & Jones LLP                                                              Page:    27
  Highland Capital Management LP                                                                 Invoice 127522
  36027 - 00002                                                                                  March 31, 2021


                                                                                         Hours           Rate       Amount
   03/22/2021   RJF     BL        Review revise draft of settlement agreement and         0.50      1395.00         $697.50
                                  related emails.
   03/22/2021   RJF     BL        Follow up call regarding potential litigation with      0.30      1395.00         $418.50
                                  Jeffrey N. Pomerantz
   03/22/2021   JMF     BL        Draft memorandum re pending case and review             1.20      1050.00        $1,260.00
                                  litigation/appeal matters.
   03/22/2021   JAM     BL        Prepare for contempt hearing (4.1): telephone          13.30      1245.00       $16,558.50
                                  conference with G. Demo re: contempt hearing and
                                  related matters (0.2); telephone conference with J.
                                  Seery re: contempt hearing (0.1); contempt hearing
                                  (morning session) (3.8); telephone conference with
                                  J. Pomerantz, I. Kharasch, G. Demo re: contempt
                                  hearing (0.1); telephone conference with M.
                                  Hartmann re: Ellington and Leventon (0.1);
                                  contempt hearing (afternoon session) (4.5);
                                  telephone conference with J. Seery, J. Pomerantz, I.
                                  Kharasch, G. Demo re: contempt hearing, bond
                                  hearing (0.3); telephone conference with H.
                                  Winograd re: contempt hearing, HCRE deposition
                                  (0.1).
   03/22/2021   LSC     BL        Prepare for and provide assistance at Dondero           8.50       460.00        $3,910.00
                                  contempt hearing.
   03/22/2021   GVD     BL        Conference with Latham and PSZJ re status of            0.40       950.00         $380.00
                                  potential litigation
   03/22/2021   GVD     BL        Conference with J. Morris re bankruptcy litigation      0.20       950.00         $190.00
                                  issues
   03/22/2021   GVD     BL        Revise and circulate UBS settlement motion              0.20       950.00         $190.00
   03/22/2021   GVD     BL        Conference with PSZJ team re status of hearing on       0.10       950.00          $95.00
                                  Dondero contempt
   03/22/2021   GVD     BL        Correspondence with J. Morris re follow up to           0.20       950.00         $190.00
                                  contempt hearing
   03/22/2021   GVD     BL        Conference with PSZJ and J. Seery re follow up to       0.30       950.00         $285.00
                                  hearing on Dondero contempt
   03/22/2021   GVD     BL        Conference with J. Pomerantz and R. Feinstein re        0.30       950.00         $285.00
                                  potential UBS litigation
   03/22/2021   GVD     BL        Attend hearing re Dondero contempt                      7.50       950.00        $7,125.00
   03/22/2021   HRW     BL        Hearing on Dondero contempt motion (7.0); Review        7.80       695.00        $5,421.00
                                  Highland Adversary Proceedings and critical dates
                                  (1.8).
   03/23/2021   IDK     BL        Review of court decision denying recusal.               0.10      1325.00         $132.50
   03/23/2021   JNP     BL        Review order on motion to recuse and emails             0.20      1295.00         $259.00
                                  regarding same.




                                                                                                               D-CNL001092
                                                                                                         Appx. 02714
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 484 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    28
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
   03/23/2021   JNP     BL        Emails regarding call with UBS regarding status.          0.10      1295.00        $129.50
   03/23/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS         0.20      1295.00        $259.00
                                  and related.
   03/23/2021   JNP     BL        Emails with Latham and internal regarding status.         0.10      1295.00        $129.50
   03/23/2021   RJF     BL        Call regarding TRO with UBS counsel.                      1.00      1395.00       $1,395.00
   03/23/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz            0.30      1395.00        $418.50
                                  regarding UBS issues.
   03/23/2021   JMF     BL        Review recusal pleadings and court order re motion.       0.30      1050.00        $315.00
   03/23/2021   JMF     BL        Review updated litigation chart.                          0.30      1050.00        $315.00
   03/23/2021   JAM     BL        Prepare for closing argument on contempt motion           2.20      1245.00       $2,739.00
                                  (1.8); telephone conference with J. Pomerantz re:
                                  various litigation matters (0.2); telephone conference
                                  with J. Seery re: contempt hearing (0.2).
   03/23/2021   LSC     BL        Prepare supplemental list for 3/24 hearing and            0.20       460.00         $92.00
                                  correspondence regarding the same.
   03/23/2021   GVD     BL        Conference with Latham re Multi Strat Allocations         0.30       950.00        $285.00
   03/23/2021   GVD     BL        Attend deposition of J. Seery (partial)                   1.30       950.00       $1,235.00
   03/23/2021   GVD     BL        Review order on motion to recuse                          0.20       950.00        $190.00
   03/23/2021   GVD     BL        Conference with L. Hogewood and J. Pomerantz re           0.20       950.00        $190.00
                                  bond issues
   03/23/2021   GVD     BL        Conference with HCMLP team and J. Morris re SE            0.50       950.00        $475.00
                                  Multi Family deposition issues
   03/23/2021   GVD     BL        Conference with K. George re common interest              0.20       950.00        $190.00
                                  privilege
   03/23/2021   GVD     BL        Conference with J. Seery re UBS settlement                0.20       950.00        $190.00
                                  agreement
   03/23/2021   GVD     BL        Conference with Latham and R. Feinstein re                1.20       950.00       $1,140.00
                                  additional litigation issues
   03/23/2021   HRW     BL        Review Highland Adversary Proceedings and                 0.90       695.00        $625.50
                                  critical dates (0.7); Review order denying Dondero
                                  Motion to Recuse (0.2).
   03/24/2021   IDK     BL        Review briefly Dondero motion to reopen contempt          1.50      1325.00       $1,987.50
                                  hearing for evidence, and feedback of J Pomerantz, J
                                  Morris re same (.3); Attend part of continuation of
                                  contempt hearing vs Dondero (1.2).
   03/24/2021   IDK     BL        E-mails with R Feinstein, J Pomerantz, G Demo re          0.20      1325.00        $265.00
                                  UBS upcoming adversary re Multistrat and various
                                  issues re same (.2).
   03/24/2021   JNP     BL        Participate in contempt hearing.                          2.30      1295.00       $2,978.50




                                                                                                                 D-CNL001093
                                                                                                           Appx. 02715
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50               Page 485 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    29
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate     Amount
   03/24/2021   JNP     BL        Follow-up call with Board regarding contempt             0.50      1295.00        $647.50
                                  hearing and litigation.
   03/24/2021   JNP     BL        Review pleading regarding upcoming litigation and        0.20      1295.00        $259.00
                                  conference with Robert J. Feinstein regarding same.
   03/24/2021   JNP     BL        Review latest turn of settlement agreement.              0.10      1295.00        $129.50
   03/24/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS        0.30      1295.00        $388.50
                                  Settlement Agreement and next steps.
   03/24/2021   JNP     BL        Email to Iain A. W. Nasatir regarding UBS                0.10      1295.00        $129.50
                                  Settlement Agreement.
   03/24/2021   JNP     BL        Conference with T. Silva, Gregory V. Demo and            0.70      1295.00        $906.50
                                  Robert J. Feinstein regarding fund issues and related
                                  matters.
   03/24/2021   JNP     BL        Email to L. Lambert regarding call.                      0.10      1295.00        $129.50
   03/24/2021   JNP     BL        Conference with Robert J. Feinstein and then with        0.30      1295.00        $388.50
                                  U. S. Trustee regarding litigation.
   03/24/2021   JNP     BL        Conference with J. Seery regarding UBS and               0.20      1295.00        $259.00
                                  information to creditors.
   03/24/2021   JNP     BL        Conference with Board, Robert J. Feinstein and           0.80      1295.00       $1,036.00
                                  Gregory V. Demo regarding UBS Settlement
                                  Agreement.
   03/24/2021   JNP     BL        Review and forward Iain A. W. Nasatir comments           0.10      1295.00        $129.50
                                  regarding settlement agreement.
   03/24/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS        0.30      1295.00        $388.50
                                  Settlement Agreement (2x).
   03/24/2021   JNP     BL        Review latest versions of settlement agreement and       0.30      1295.00        $388.50
                                  emails regarding same.
   03/24/2021   JNP     BL        Review emails regarding scheduling of preliminary        0.10      1295.00        $129.50
                                  injunction hearing regarding advisors action.
   03/24/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Rasnak of UST's          0.30      1395.00        $418.50
                                  office regarding TRO application.
   03/24/2021   RJF     BL        Telephone conference with Latham, Greg V. Demo           0.40      1395.00        $558.00
                                  regarding seal motion.
   03/24/2021   RJF     BL        Revise statement regarding TRO.                          0.30      1395.00        $418.50
   03/24/2021   RJF     BL        Revise UBS settlement agreement, review                  2.50      1395.00       $3,487.50
                                  comments and redrafts.
   03/24/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Gregory V. Demo          0.40      1395.00        $558.00
                                  regarding UBS settlement agreement.
   03/24/2021   RJF     BL        Email to Board regarding TRO papers.                     0.20      1395.00        $279.00
   03/24/2021   RJF     BL        Revise statement regarding TRO.                          0.50      1395.00        $697.50




                                                                                                                D-CNL001094
                                                                                                          Appx. 02716
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 486 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    30
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
   03/24/2021   RJF     BL        Call with BOD regarding TRO, etc.                         0.50      1395.00        $697.50
   03/24/2021   RJF     BL        Call with Wilmer Hale, Jeffrey N. Pomerantz,              0.70      1395.00        $976.50
                                  Gregory V. Demo regarding Multi-Strat.
   03/24/2021   JMF     BL        Review motion to reopen evidence.                         0.40      1050.00        $420.00
   03/24/2021   JAM     BL        E-mail to J. Pomerantz, I. Kharasch, G. Demo, H.          7.60      1245.00       $9,462.00
                                  Winograd re: discovery in connection with objection
                                  to employee claims (0.4); e-mail to H. Winograd re:
                                  objection to Dondero motion for continuance of
                                  contempt hearing (0.2); prepare for closing argument
                                  on contempt hearing (2.0); review Dondero motion
                                  to reopen evidence for rebuttal testimony (0.2); court
                                  hearing on contempt motion and related matters
                                  (2.2); telephone conference with J. Seery re:
                                  contempt hearing (0.2); telephone conference with
                                  Board, J. Pomerantz, I. Kharasch, G. Demo, R.
                                  Feinstein re: contempt hearing, UBS issues (0.5);
                                  telephone conference with M. Hankin re: contempt
                                  hearing and related matters (0.2); review/revise
                                  Daugherty settlement agreement (0.7); e-mail to J.
                                  Seery, J. Pomerantz, I. Kharasch, G. Demo re:
                                  revised Daugherty agreement (0.2); telephone
                                  conference with G. Demo re: HCRE documents and
                                  facts (0.3); telephone conference with H. Winograd
                                  re: HCRE facts and depositions (0.2);
                                  communications with L. Drawhorn re: depositions
                                  and scheduling (0.2); e-mail to A. Russell, M.
                                  Clemente re: scheduling of litigation matters (0.1).
   03/24/2021   LSC     BL        Assist at closing arguments re Dondero contempt           2.00       460.00        $920.00
                                  motion.
   03/24/2021   GVD     BL        Review claim transfers                                    0.30       950.00        $285.00
   03/24/2021   GVD     BL        Review revisions to UBS settlement agreement              0.30       950.00        $285.00
   03/24/2021   GVD     BL        Review Dondero motion to re-open evidence                 0.20       950.00        $190.00
   03/24/2021   GVD     BL        Attend Dondero contempt hearing                           2.00       950.00       $1,900.00
   03/24/2021   GVD     BL        Conference with Board and PSZJ team re UBS                0.60       950.00        $570.00
                                  settlement agreement and Dondero contempt hearing
   03/24/2021   GVD     BL        Conference with K. George re UBS settlement               0.20       950.00        $190.00
                                  agreement and next steps
   03/24/2021   GVD     BL        Conference with J. Pomerantz, R. Feinstein, and T.        0.70       950.00        $665.00
                                  Silva re UBS settlement agreement
   03/24/2021   GVD     BL        Conference with J. Morris re HCRE deposition prep         0.20       950.00        $190.00
   03/24/2021   GVD     BL        Conference with J. Winograd re HCRE deposition            0.20       950.00        $190.00
                                  prep




                                                                                                                 D-CNL001095
                                                                                                           Appx. 02717
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50             Page 487 of 533




  Pachulski Stang Ziehl & Jones LLP                                                              Page:    31
  Highland Capital Management LP                                                                 Invoice 127522
  36027 - 00002                                                                                  March 31, 2021


                                                                                         Hours           Rate     Amount
   03/24/2021   GVD     BL        Conference with R. Feinstein and K. George re           0.50       950.00        $475.00
                                  additional UBS discovery
   03/24/2021   GVD     BL        Conference with Board re UBS settlement                 0.90       950.00        $855.00
                                  agreement
   03/24/2021   GVD     BL        Review R. Feinstein revisions to UBS settlement         0.30       950.00        $285.00
                                  agreement
   03/24/2021   HRW     BL        Review Advisors' reply to motion to dismiss             2.20       695.00       $1,529.00
                                  complaint for injunctive relief and related research
                                  (1.8); Draft response to Dondero's motion for a
                                  continuance of demand note proceeding (0.4).
   03/25/2021   JNP     BL        Conference with Robert J. Feinstein and Gregory V.      0.50      1295.00        $647.50
                                  Demo regarding latest version of UBS Settlement
                                  Agreement, changes and review same.
   03/25/2021   JNP     BL        Conference with John A. Morris regarding Hunter         0.20      1295.00        $259.00
                                  Mountain and other litigation issues.
   03/25/2021   JNP     BL        Review emails from B. Assink regarding motion to        0.10      1295.00        $129.50
                                  continue schedule for Dondero litigation.
   03/25/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo         0.50      1295.00        $647.50
                                  and DSI for part regarding document issues and
                                  litigation issues.
   03/25/2021   JNP     BL        Conference with J. Dubel regarding UBS status.          0.30      1295.00        $388.50
   03/25/2021   JNP     BL        Review proposed extension of time regarding UBS         0.20      1295.00        $259.00
                                  appeal of Redeemer settlement brief and emails with
                                  team regarding same.
   03/25/2021   RJF     BL        Emails Latham, Jeffrey N. Pomerantz regarding           0.40      1395.00        $558.00
                                  TRO motion, confidentiality.
   03/25/2021   JAM     BL        Telephone conference with J. Seery re: litigation       3.80      1245.00       $4,731.00
                                  matters (0.3); review/revise response to Dondero
                                  motion for continuance of contempt hearing (0.2);
                                  e-mails with Z. Annable, H. Winograd re: response
                                  to Dondero motion for continuance of contempt
                                  hearing (0.1); communications with J. Bonds, L.
                                  Drawhorn re: schedule for HCRE-related
                                  depositions (0.4); prepare amended deposition
                                  notices for the HCRE litigation (0.3);
                                  communications with Z. Annable, H. Winograd re:
                                  amended deposition notices for the HCRE litigation
                                  (0.2); telephone conference with J. Pomerantz re:
                                  litigation matters (0.1); e-mails w/ B. Assink re:
                                  discovery and trial date for permanent injunction
                                  against Dondero (0.3); review/revise documents for
                                  Hunter Mountain dismissal (0.2); e-mail to J.
                                  Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                  Hunter Mountain dismissal (0.2); telephone




                                                                                                               D-CNL001096
                                                                                                         Appx. 02718
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50             Page 488 of 533




  Pachulski Stang Ziehl & Jones LLP                                                             Page:    32
  Highland Capital Management LP                                                                Invoice 127522
  36027 - 00002                                                                                 March 31, 2021


                                                                                        Hours           Rate     Amount
                                  conference with J. Seery re: Hunter Mountain
                                  dismissal (0.1); review documents re: HCRE
                                  deposition (1.4).
   03/25/2021   JAM     BL        E-mails to Bonds Ellis re: Debtor's discovery          0.30      1245.00        $373.50
                                  demands for Dondero notes litigation (0.3).
   03/25/2021   LSC     BL        Research document productions for certain              2.90       460.00       $1,334.00
                                  categories of documents and retrieve same.
   03/25/2021   GVD     BL        Conference with PSZJ team and B. Sharp re              0.50       950.00        $475.00
                                  document preservation issues
   03/25/2021   GVD     BL        Conference with K. George re UBS settlement            0.50       950.00        $475.00
                                  agreement issues and follow up correspondence with
                                  PSZJ team re same
   03/25/2021   GVD     BL        Review draft objections to administrative claims       0.70       950.00        $665.00
   03/25/2021   GVD     BL        Conference with J. Pomerantz and R. Feinstein re       0.50       950.00        $475.00
                                  UBS settlement agreement
   03/26/2021   IDK     BL        Attend conference call with J Pomerantz, R             0.40      1325.00        $530.00
                                  Feinstein re UBS settlement agreement (.4).
   03/26/2021   JNP     BL        Conference with John A. Morris regarding litigation    0.10      1295.00        $129.50
                                  issues including notes and Hunter Mountain.
   03/26/2021   JNP     BL        Conference with DSI and John A. Morris regarding       0.40      1295.00        $518.00
                                  record retention and related issues.
   03/26/2021   JNP     BL        Conference with Iain A. W. Nasatir regarding UBS       0.10      1295.00        $129.50
                                  settlement and insurance issues.
   03/26/2021   JNP     BL        Email to and from J. Seery regarding UBS               0.10      1295.00        $129.50
                                  settlement and insurance issues.
   03/26/2021   JNP     BL        Email to Latham regarding insurance issues and         0.10      1295.00        $129.50
                                  settlement agreement.
   03/26/2021   JNP     BL        Conference with Iain A. W. Nasatir regarding UBS       0.10      1295.00        $129.50
                                  agreement and insurance issues.
   03/26/2021   JNP     BL        Review UBS Settlement Agreement.                       0.20      1295.00        $259.00
   03/26/2021   JNP     BL        Email to Latham regarding insurance issues and         0.10      1295.00        $129.50
                                  UBS Settlement Agreement.
   03/26/2021   JNP     BL        Review Dondero motion for continuance of note          0.10      1295.00        $129.50
                                  lawsuit.
   03/26/2021   JNP     BL        Review latest turn of UBS Settlement Agreement.        0.30      1295.00        $388.50
   03/26/2021   JNP     BL        Conference with Robert J. Feinstein and Ira D.         0.40      1295.00        $518.00
                                  Kharasch regarding UBS Settlement Agreement.
   03/26/2021   JNP     BL        Review emails regarding Dondero note litigation        0.10      1295.00        $129.50
   03/26/2021   JNP     BL        Review and respond to Gregory V. Demo email            0.10      1295.00        $129.50




                                                                                                              D-CNL001097
                                                                                                        Appx. 02719
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                         Entered 12/18/21 02:23:50               Page 489 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    33
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                            Hours           Rate     Amount
                                  regarding UBS.
   03/26/2021   JMF     BL        Review motion to extend briefing deadline.                 0.20      1050.00        $210.00
   03/26/2021   JAM     BL        Telephone conference with J. Seery re: Dondero             2.90      1245.00       $3,610.50
                                  request for extension of trial date in notes litigation
                                  (0.2); telephone conference with J. Pomerantz re:
                                  status of notes litigation, Dondero request for
                                  extension of schedule (0.1); e-mail to J. Pomerantz,
                                  I. Kharasch, G. Demo, H. Winograd re: Dondero
                                  request for extension of trial date in notes litigation
                                  (0.1); e-mail to B. Assink re: Dondero request for
                                  extension of trial date in notes litigation (0.1);
                                  review Dondero demand notes and e-mail to D.
                                  Klos, B. Sharp, J. Pomerantz, G. Demo, H.
                                  Winograd re: same (0.5); review documents
                                  concerning Dondero demand notes (0.8); e-mail to
                                  K. Hendricks, D. Klos, B. Sharp, J. Pomerantz, G.
                                  Demo, H. Winograd re: facts/documents concerning
                                  Dondero demand notes (0.3); review Dondero
                                  motion to extend trial date in Notes litigation and
                                  emergency motion for expedited hearing (0.4);
                                  e-mail to J. Seery, J. Pomerantz, I. Kharasch, G.
                                  Demo, H. Winograd re: Dondero motion to extend
                                  trial date in Notes litigation and emergency motion
                                  for expedited hearing (0.1); telephone conference
                                  with H. Winograd re: facts/objection to Dondero
                                  motion to extend trial date (0.2); telephone
                                  conference with J. Seery re: objection to Dondero
                                  motion to adjourn trial date (0.1).
   03/26/2021   JAM     BL        E-mails with T. Ellison, L. Hogewood, D. Rukavina,         0.90      1245.00       $1,120.50
                                  J. Pomerantz re: rescheduling of hearing concerning
                                  Funds and Advisors (0.1); draft amended notices of
                                  hearings concerning Funds and Advisors (0.2);
                                  telephone conference with G. Demo re: litigation
                                  matters (0.1); e-mail to Z. Annable, H. Winograd re:
                                  amended notices of hearings concerning Funds and
                                  Advisors (0.1); communications with P. Keiffer, J.
                                  Pomerantz, G. Demo re: documents for withdrawal
                                  of Hunter Mountain claim and adversary proceeding
                                  (0.2); e-mail to J. Bonds re: Dondero deposition
                                  (0.1); e-mails with T. Surgent re: status of e-mails
                                  searches in response to United subpoena (0.1);
   03/26/2021   LSC     BL        Conduct research and retrieve and transmit                 4.30       460.00       $1,978.00
                                  numerous documents in connection with
                                  Dondero/Dondero entities and transmit same for G.
                                  Demo.
   03/26/2021   GVD     BL        Correspondence with R. Feinstein re UBS settlement         0.10       950.00         $95.00
                                  agreement




                                                                                                                  D-CNL001098
                                                                                                            Appx. 02720
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50              Page 490 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    34
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate     Amount
   03/26/2021   GVD     BL        Draft summary of Dondero Entity litigation               3.70       950.00       $3,515.00
   03/26/2021   GVD     BL        Conference with J. Morris re demand note issues          0.20       950.00        $190.00
   03/26/2021   GVD     BL        Correspondence with UBS re litigation issues             0.20       950.00        $190.00
   03/26/2021   GVD     BL        Research service addresses re potential litigation       0.20       950.00        $190.00
   03/26/2021   GVD     BL        Conference with J. Donohue re service addresses for      0.10       950.00         $95.00
                                  potential litigation
   03/26/2021   GVD     BL        Conference with R. Feinstein and J. Pomerantz re         0.40       950.00        $380.00
                                  revisions to UBS settlement agreement
   03/26/2021   GVD     BL        Revise UBS settlement agreement and circulate            0.30       950.00        $285.00
                                  same
   03/26/2021   HRW     BL        Call with J. Morris re: objection to Dondero             2.10       695.00       $1,459.50
                                  emergency motion for continuance of demand note
                                  proceeding (0.1); Review Dondero emergency
                                  motion for continuance of demand note proceeding
                                  (0.2); Draft request for admission directed to James
                                  Dondero in demand note proceeding (1.8).
   03/27/2021   IDK     BL        E-mails with J Pomerantz, G Demo on Gov Re               0.10      1325.00        $132.50
                                  issues and next steps (.1).
   03/27/2021   JNP     BL        Conference with Latham, Gregory V. Demo and              0.60      1295.00        $777.00
                                  Robert J. Feinstein regarding settlement agreement
                                  issues.
   03/27/2021   JNP     BL        Review latest version of UBS Settlement                  0.10      1295.00        $129.50
                                  Agreement.
   03/27/2021   JAM     BL        Review documents and draft objection to Dondero          4.90      1245.00       $6,100.50
                                  motion for continuance in notes litigation (4.4);
                                  e-mails to H. Winograd, L. Canty re: draft objection
                                  to Dondero motion for continuance in notes
                                  litigation (0.3); e-mail to D. Klos, K. Hendricks, J.
                                  Pomerantz, G. Demo, H. Winograd, B. Sharp re:
                                  facts concerning Notes litigation against Dondero
                                  (0.2).
   03/27/2021   LSC     BL        Review documents and retrieve and prepare exhibits       4.40       460.00       $2,024.00
                                  in connection with Dondero Motion for Continuance
                                  in Notes Actions.
   03/27/2021   GVD     BL        Draft summary of Dondero entity litigation               1.30       950.00       $1,235.00
   03/27/2021   GVD     BL        Conference with Latham and PSZJ re UBS                   0.60       950.00        $570.00
                                  settlement agreement
   03/27/2021   GVD     BL        Correspondence with J. Seery re status of UBS            0.20       950.00        $190.00
                                  settlement agreement
   03/27/2021   GVD     BL        Correspondence with J. Morris re Cayman counsel          0.10       950.00         $95.00




                                                                                                                D-CNL001099
                                                                                                          Appx. 02721
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50               Page 491 of 533




  Pachulski Stang Ziehl & Jones LLP                                                               Page:    35
  Highland Capital Management LP                                                                  Invoice 127522
  36027 - 00002                                                                                   March 31, 2021


                                                                                          Hours           Rate     Amount
   03/27/2021   GVD     BL        Review Latham revisions to UBS settlement                0.30       950.00        $285.00
                                  agreement and revise and circulate same
   03/27/2021   HRW     BL        Draft objection to Dondero's emergency motion to         5.00       695.00       $3,475.00
                                  continue demand note proceedings (5.0).
   03/28/2021   JAM     BL        E-mails with D. Klos, K. Hendricks, J. Pomerantz, I.     5.60      1245.00       $6,972.00
                                  Kharasch, G. Demo, H. Winograd re: facts relating
                                  to Dondero loans and notes (0.3); review/revise draft
                                  objection to Dondero motion to modify scheduling
                                  order (4.8); communications with J. Pomerantz, I.
                                  Kharasch, G. Demo, H. Winograd, L. Canty re:
                                  objection to Dondero motion to modify scheduling
                                  order (0.3); communications with H. Winograd, L.
                                  Canty re: RFAs directed to Dondero (notes
                                  litigation) (0.2).
   03/28/2021   LSC     BL        Continued preparation of exhibits in connection with     1.20       460.00        $552.00
                                  Dondero Motion for Continuance in Notes Actions.
   03/28/2021   GVD     BL        Review correspondence from Latham re service             0.60       950.00        $570.00
                                  addresses re potential litigation
   03/28/2021   HRW     BL        Draft objection to Dondero's emergency motion to         4.80       695.00       $3,336.00
                                  continue demand note proceedings (4.5); Research
                                  contact information for serving litigation hold
                                  notices on Maples FS Limited and CIBC First
                                  Caribbean International Bank (0.3).
   03/29/2021   IDK     BL        Review of various correspondence with UBS, others        0.20      1325.00        $265.00
                                  on UBS new upcoming papers on adversary and
                                  motion to seal.
   03/29/2021   JNP     BL        Review opposition to motion by Dondero to                0.10      1295.00        $129.50
                                  continue trial on note litigation.
   03/29/2021   JNP     BL        Review issues and emails regarding UBS settlement.       0.30      1295.00        $388.50
   03/29/2021   JNP     BL        Conference with M. Hankin regarding UBS filings.         0.30      1295.00        $388.50
   03/29/2021   JNP     BL        Conference with John A. Morris and Gregory V.            0.20      1295.00        $259.00
                                  Demo regarding SCRE litigation issues and Wick
                                  Phillips conflict.
   03/29/2021   JNP     BL        Review latest changes to UBS Settlement                  0.10      1295.00        $129.50
                                  Agreement.
   03/29/2021   JNP     BL        Review and respond to email regarding Wick               0.10      1295.00        $129.50
                                  Phillips and SE Multi Family issues.
   03/29/2021   JNP     BL        Review email from T. Ellison regarding UBS filings       0.10      1295.00        $129.50
                                  and email regarding same.
   03/29/2021   JNP     BL        Conference with Gregory V. Demo regarding UBS            0.10      1295.00        $129.50
                                  litigation and email regarding same.
   03/29/2021   JNP     BL        Emails and conference with M. Clemente regarding         0.20      1295.00        $259.00




                                                                                                                D-CNL001100
                                                                                                          Appx. 02722
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                          Entered 12/18/21 02:23:50              Page 492 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    36
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                            Hours           Rate     Amount
                                  UBS litigation and Plan issues.
   03/29/2021   JNP     BL        Emails regarding pending litigation filed by UBS           0.30      1295.00        $388.50
                                  and court response; Conference with Gregory V.
                                  Demo regarding same.
   03/29/2021   JNP     BL        Emails regarding UBS 9019.                                 0.10      1295.00        $129.50
   03/29/2021   JNP     BL        Review UBS 9019 motion.                                    0.20      1295.00        $259.00
   03/29/2021   JNP     BL        Conference with Robert J. Feinstein regarding UBS          0.20      1295.00        $259.00
                                  9019 motion.
   03/29/2021   JNP     BL        Conference with J. Dubel regarding UBS issues,             0.30      1295.00        $388.50
                                  status and timing.
   03/29/2021   JNP     BL        Review emails with Court and others regarding UBS          0.10      1295.00        $129.50
                                  litigation.
   03/29/2021   JNP     BL        Review of UBS litigation papers.                           0.50      1295.00        $647.50
   03/29/2021   RJF     BL        Review UBS motion to seal and TRO papers.                  1.00      1395.00       $1,395.00
   03/29/2021   RJF     BL        Draft response to motion to seal.                          0.50      1395.00        $697.50
   03/29/2021   RJF     BL        Review and comment on draft debtor motion to seal.         0.30      1395.00        $418.50
   03/29/2021   RJF     BL        Emails regarding Chambers conference.                      0.30      1395.00        $418.50
   03/29/2021   JMF     BL        Review UBS seal motion.                                    0.20      1050.00        $210.00
   03/29/2021   JAM     BL        Review and send RFAs for Dondero's notes                   2.40      1245.00       $2,988.00
                                  litigation (0.2); revise objection to Dondero's motion
                                  to modify scheduling order (0.9); e-mails to J.
                                  Pomerantz, I. Kharasch, G. Demo, H. Winograd, L.
                                  Canty re: revised objection to Dondero's motion to
                                  modify scheduling order and exhibits in support
                                  thereof (0.2); review exhibits and e-mail to L. Canty
                                  re: redactions and related matters (0.5); e-mails to J.
                                  Seery, J. Pomerantz, I. Kharasch, G. Demo, H.
                                  Winograd re: draft objection to Dondero's motion to
                                  modify scheduling order and exhibits in support
                                  thereof (0.1); review/revise objection to Dondero
                                  motion to modify scheduling order (0.2);
                                  review/revise JAM declaration in support of
                                  objection to Dondero motion to modify scheduling
                                  order (0.3).
   03/29/2021   JAM     BL        Prepare for HCRE/Dondero depositions (2.6);                4.50      1245.00       $5,602.50
                                  telephone conference with G. Demo re: HCRE facts
                                  (0.2); e-mail to counsel re: Zoom instructions for
                                  HCRE deposition (0.1) telephone conference with
                                  G. Demo re: Wicks Phillips' conflicts (0.2);
                                  telephone conference with J. Pomerantz, I.
                                  Kharasch, G. Demo re: Wicks Phillips' conflicts
                                  telephone conference with J. Seery, G. Demo re:
                                  Wicks Phillips' conflicts (0.2); draft e-mail to L.




                                                                                                                  D-CNL001101
                                                                                                            Appx. 02723
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 493 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    37
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
                                  Drawhorn re: Wicks' Phillips' conflicts (0.4); e-mails
                                  with J. Seery, J. Pomerantz, I. Kharasch, G. Demo,
                                  H. Winograd re: draft e-mail to L. Drawhorn (0.1);
                                  communications to all counsel, TSG, PSZJ team re:
                                  adjournment of HCRE depositions (0.2); draft
                                  amended deposition notices for HCRE and Dondero
                                  (0.1); e-mails with Z. Annable, G. Demo, H.
                                  Winograd re: amended deposition notices for HCRE
                                  and Dondero (0.1); telephone conference with J.
                                  Seery re: Wicks Phillips' conflicts (0.1); telephone
                                  conference with H. Winograd re: HCRE litigation
                                  matters (0.1); telephone conference with J. Bonds re:
                                  Dondero deposition and related matters (0.1).
   03/29/2021   LSC     BL        Prepare redacted exhibits for Objection to Dondero        0.50       460.00        $230.00
                                  motion to modify scheduling order.
   03/29/2021   GVD     BL        Conference with J. Pomerantz re filing of stay            0.10       950.00         $95.00
                                  pending appeal in District Court
   03/29/2021   GVD     BL        Conference with J. Morris re preparation for              0.70       950.00        $665.00
                                  HCRE/SEMF deposition
   03/29/2021   GVD     BL        Conference with J. Morris and J. Seery re HCRE            0.20       950.00        $190.00
                                  conflict of interest
   03/29/2021   GVD     BL        Conference with J. Morris and D. Klos re HCRE             0.20       950.00        $190.00
                                  issues re deposition
   03/29/2021   GVD     BL        Correspondence with Hunton re deficiency bond             0.10       950.00         $95.00
                                  issues
   03/29/2021   GVD     BL        Review draft objection to Dondero motion to               0.50       950.00        $475.00
                                  continue hearing
   03/29/2021   GVD     BL        Attend to multiple issues re filing of UBS response       2.60       950.00       $2,470.00
                                  under seal
   03/29/2021   GVD     BL        Review exhibits to Dondero objection for                  0.30       950.00        $285.00
                                  confidentiality
   03/29/2021   GVD     BL        Prepare back up information re UBS claim issues           0.60       950.00        $570.00
   03/29/2021   HRW     BL        Edit and review objection to Dondero's emergency          2.50       695.00       $1,737.50
                                  motion to continue demand note proceedings (2.5).
   03/30/2021   JNP     BL        Conference with J. Dubel regarding UBS 9019               0.30      1295.00        $388.50
                                  motion.
   03/30/2021   JNP     BL        Review and revise UBS 9019.                               0.50      1295.00        $647.50
   03/30/2021   JNP     BL        Review emails regarding litigation hold letter and        0.10      1295.00        $129.50
                                  respond.
   03/30/2021   JNP     BL        Conference with John A. Morris regarding document         0.30      1295.00        $388.50
                                  issues and pursuit of claims issues.
   03/30/2021   JNP     BL        Review of Settlement Agreement with Siepe.                0.20      1295.00        $259.00




                                                                                                                 D-CNL001102
                                                                                                           Appx. 02724
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 494 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                Page:    38
  Highland Capital Management LP                                                                   Invoice 127522
  36027 - 00002                                                                                    March 31, 2021


                                                                                           Hours           Rate     Amount
   03/30/2021   JNP     BL        Review and respond to email regarding Wick                0.10      1295.00        $129.50
                                  Phillips conflict.
   03/30/2021   JNP     BL        Conference with Robert J. Feinstein regarding 2004.       0.20      1295.00        $259.00
   03/30/2021   JNP     BL        Conference with J. Seery and John A. Morris               0.30      1295.00        $388.50
                                  regarding litigation issues, sharing information with
                                  Committee and related matters.
   03/30/2021   JNP     BL        Emails regarding Court ruling on extending Dondero        0.10      1295.00        $129.50
                                  note litigation trial date.
   03/30/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz            0.20      1395.00        $279.00
                                  regarding Reid Collins.
   03/30/2021   RJF     BL        Review document presentation notices, related             0.30      1395.00        $418.50
                                  emails.
   03/30/2021   JMF     BL        Review updated litigation chart.                          0.30      1050.00        $315.00
   03/30/2021   JAM     BL        Telephone conference with G. Demo re: litigation          0.50      1245.00        $622.50
                                  matters (0.2); telephone conference with J.
                                  Pomerantz re: litigation matters (0.3).
   03/30/2021   JAM     BL        Review/revise objection to Dondero motion to              1.10      1245.00       $1,369.50
                                  modify scheduling order (0.2); e-mails with Z.
                                  Annable, H. Winograd, L. Canty re: exhibits to
                                  objection to Dondero motion to modify scheduling
                                  order (0.1); e-mail to B. Assink, Bonds Ellis, J.
                                  Pomerantz, G. Demo, H. Winograd re: timing of
                                  discovery (0.2); e-mails with Z. Annable, G. Demo,
                                  H. Winograd re: objection to Dondero motion to
                                  modify scheduling order (0.2); communications with
                                  J. Seery, J. Pomerantz re: court's ruling on Dondero
                                  motion to modify scheduling order (0.2); e-mails
                                  with T. Surgent, J. Sommer re: results from e-mail
                                  searches in response to United subpoena (0.2).
   03/30/2021   LSC     BL        Redact additional exhibits (.3); research and review      3.20       460.00       $1,472.00
                                  document productions for J. Morris and
                                  correspondence regarding the same (2.9).
   03/30/2021   GVD     BL        Review and revise draft 9019 motion re UBS                1.40       950.00       $1,330.00
                                  settlement
   03/30/2021   GVD     BL        Review redacted exhibits to Dondero objection re          0.20       950.00        $190.00
                                  confidentiality
   03/30/2021   GVD     BL        Conference with J. Morris re litigation issues            0.30       950.00        $285.00
   03/30/2021   GVD     BL        Review UBS litigation hold notice and                     0.20       950.00        $190.00
                                  correspondence with T. Surgent re same
   03/30/2021   GVD     BL        Finalize UBS settlement agreement                         0.30       950.00        $285.00
   03/30/2021   GVD     BL        Conference with J. Morris re litigation hold notice re    0.40       950.00        $380.00
                                  UBS




                                                                                                                 D-CNL001103
                                                                                                           Appx. 02725
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                       Entered 12/18/21 02:23:50              Page 495 of 533




  Pachulski Stang Ziehl & Jones LLP                                                              Page:    39
  Highland Capital Management LP                                                                 Invoice 127522
  36027 - 00002                                                                                  March 31, 2021


                                                                                         Hours           Rate     Amount
   03/30/2021   GVD     BL        Conference with J. Seery re UBS settlement issues       0.20       950.00        $190.00
   03/30/2021   GVD     BL        Further revise and circulate UBS 9019 motion re         1.20       950.00       $1,140.00
                                  changes from J. Pomerantz and R. Feinstein
   03/30/2021   GVD     BL        Correspondence with PSZJ team re letter from Reid       0.10       950.00         $95.00
                                  Collins re UBS litigation hold
   03/30/2021   HRW     BL        Review pending adversary proceedings (0.5).             0.50       695.00        $347.50
   03/31/2021   IDK     BL        E-mails with J Pomerantz, others on UBS litigation      0.20      1325.00        $265.00
                                  holds and Dondero counsel feedback on same.
   03/31/2021   JNP     BL        Review emails regarding litigation hold.                0.10      1295.00        $129.50
   03/31/2021   JNP     BL        Conference with Robert J. Feinstein regarding next      0.30      1295.00        $388.50
                                  steps after court ruling on UBS and Debtor seal
                                  motion.
   03/31/2021   JNP     BL        Email to Board regarding Court ruling on UBS and        0.10      1295.00        $129.50
                                  Debtor seal motions.
   03/31/2021   JNP     BL        Email to Latham regarding call to discuss next steps    0.10      1295.00        $129.50
                                  regarding UBS litigation.
   03/31/2021   JNP     BL        Conference with J. Seery regarding UBS issues and       0.30      1295.00        $388.50
                                  related.
   03/31/2021   JNP     BL        Conference with J. Dubel regarding UBS 9019             0.40      1295.00        $518.00
                                  motion and stay pending appeal issues.
   03/31/2021   JNP     BL        Review email from C. Taylor regarding litigation        0.10      1295.00        $129.50
                                  under seal.
   03/31/2021   JNP     BL        Review C. Taylor email regarding litigation hold        0.10      1295.00        $129.50
                                  and review litigation hold.
   03/31/2021   JNP     BL        Conference with John A. Morris regarding Wick           0.10      1295.00        $129.50
                                  Phillips conflicts.
   03/31/2021   JNP     BL        Conference with Robert J. Feinstein regarding call      0.10      1295.00        $129.50
                                  with Latham.
   03/31/2021   JNP     BL        Participate In call with Latham, John A. Morris,        0.70      1295.00        $906.50
                                  Robert J. Feinstein and Gregory V. Demo regarding
                                  status of UBS lawsuit and related issues.
   03/31/2021   MDJ     BL        Email exchanges with L. Canty, G. Demo and copy         3.20       395.00       $1,264.00
                                  personnel re litigation hold letters; Revisions to
                                  letterhead and delivery; Prepare Express Mail/FedX
                                  labels and coordinate delivery; Call with copy
                                  personnel re Cayman FedXs; Vfile letters.
   03/31/2021   RJF     BL        Call with Latham regarding TRO proceedings.             0.70      1395.00        $976.50
   03/31/2021   RJF     BL        Review and comment on litigation hold letter and        0.30      1395.00        $418.50
                                  related emails.




                                                                                                               D-CNL001104
                                                                                                         Appx. 02726
Case 21-03007-sgj Doc 127-3 Filed 12/18/21                        Entered 12/18/21 02:23:50                Page 496 of 533




  Pachulski Stang Ziehl & Jones LLP                                                                 Page:    40
  Highland Capital Management LP                                                                    Invoice 127522
  36027 - 00002                                                                                     March 31, 2021


                                                                                           Hours            Rate       Amount
   03/31/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz             0.30      1395.00          $418.50
                                  regarding TRO proceeding.
   03/31/2021   RJF     BL        Revise draft statement regarding TRO, related              0.30      1395.00          $418.50
                                  emails.
   03/31/2021   RJF     BL        Review proposed revisions to draft 9019 motion,            0.30      1395.00          $418.50
                                  emails Gregory V. Demo regarding same.
   03/31/2021   JMF     BL        Review UBS complaint and seal motion.                      0.30      1050.00          $315.00
   03/31/2021   JAM     BL        Review/revise draft litigation hold letter concerning      1.60      1245.00         $1,992.00
                                  sealed litigation (0.6); communications with J.
                                  Pomerantz, I. Kharasch, G. Demo, R. Feinstein re:
                                  litigation hold letter concerning sealed litigation
                                  (0.2); telephone conference with J. Pomerantz, R.
                                  Feinstein, G. Demo, L& W attorneys re: UBS
                                  adversary proceeding and related matters (0.7);
                                  e-mails with B. Assink, H. Winograd re: modified
                                  scheduling order in Dondero's notes litigation (0.1).,
   03/31/2021   GVD     BL        Conference with PSZJ and UBS re next steps re              0.70       950.00          $665.00
                                  adversary proceeding
   03/31/2021   GVD     BL        Further revise UBS 9019 motion re comments from            0.40       950.00          $380.00
                                  J. Dubel
   03/31/2021   GVD     BL        Draft and send litigation hold notices                     2.90       950.00         $2,755.00
   03/31/2021   GVD     BL        Draft and circulate order on motion to seal                0.20       950.00          $190.00
   03/31/2021   GVD     BL        Conference with J. Pomerantz re UBS conference             0.10       950.00           $95.00

                                                                                           448.20                    $451,649.00

    Case Administration [B110]
   03/01/2021   BMK     CA        Prepared daily memo narrative and coordinated              0.40       375.00          $150.00
                                  client distribution.
   03/01/2021   GVD     CA        Attend to issues re scheduling calls                       0.20       950.00          $190.00
   03/02/2021   IDK     CA        Review of updated WIP list (.1); Attend WIP call on        1.10      1325.00         $1,457.50
                                  open issues (1.0).
   03/02/2021   JNP     CA        Participate in WIP call.                                   1.00      1295.00         $1,295.00
   03/02/2021   KKY     CA        Review and revise critical dates                           2.50       460.00         $1,150.00
   03/02/2021   JEO     CA        Participate in PSZJ WIP Call                               0.80      1050.00          $840.00
   03/02/2021   JMF     CA        Draft memorandum re pending case issues (.4);              1.10      1050.00         $1,155.00
                                  telephone call with G. Demo, I. Kharasch and J.N,
                                  Pomerantz re same (.7).
   03/02/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, G.           0.80      1245.00          $996.00
                                  Demo, J. Fried, J. O'Neill, H. Wonograd) (0.8).




                                                                                                                  D-CNL001105
                                                                                                            Appx. 02727
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 497 of 533




                              EXHIBIT 173




                                                                          Appx. 02728
Case 21-03007-sgj Doc 127-3 Filed 12/18/21             Entered 12/18/21 02:23:50        Page 498 of 533




                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      April 30, 2021
  Board of Directors                                                  Invoice 127680
  Highland Capital Management LP                                      Client    36027
  300 Crescent Court ste. 700                                         Matter    00002
  Dallas, TX 75201
                                                                                JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2021




                                                                                               D-CNL000923
                                                                                         Appx. 02729
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 499 of 533




                                                                                D-CNL000924
                                                                          Appx. 02730
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 500 of 533




                                                                                D-CNL000925
                                                                          Appx. 02731
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 501 of 533




                                                                                D-CNL000926
                                                                          Appx. 02732
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 502 of 533




                                                                                D-CNL000927
                                                                          Appx. 02733
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 503 of 533




                                                                                D-CNL000928
                                                                          Appx. 02734
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 504 of 533




                                                                                D-CNL000929
                                                                          Appx. 02735
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 505 of 533




                                                                                D-CNL000930
                                                                          Appx. 02736
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 506 of 533




                                                                                D-CNL000931
                                                                          Appx. 02737
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 507 of 533




                                                                                D-CNL000932
                                                                          Appx. 02738
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 508 of 533




                                                                                D-CNL000933
                                                                          Appx. 02739
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 509 of 533




                                                                                D-CNL000934
                                                                          Appx. 02740
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 510 of 533




                                                                                D-CNL000935
                                                                          Appx. 02741
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 511 of 533




                                                                                D-CNL000936
                                                                          Appx. 02742
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 512 of 533




                                                                                D-CNL000937
                                                                          Appx. 02743
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 513 of 533




                                                                                D-CNL000938
                                                                          Appx. 02744
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 514 of 533




                                                                                D-CNL000939
                                                                          Appx. 02745
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 515 of 533




                                                                                D-CNL000940
                                                                          Appx. 02746
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 516 of 533




                                                                                D-CNL000941
                                                                          Appx. 02747
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 517 of 533




                                                                                D-CNL000942
                                                                          Appx. 02748
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 518 of 533




                                                                                D-CNL000943
                                                                          Appx. 02749
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 519 of 533




                                                                                D-CNL000944
                                                                          Appx. 02750
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 520 of 533




                                                                                D-CNL000945
                                                                          Appx. 02751
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 521 of 533




                                                                                D-CNL000946
                                                                          Appx. 02752
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 522 of 533




                                                                                D-CNL000947
                                                                          Appx. 02753
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 523 of 533




                                                                                D-CNL000948
                                                                          Appx. 02754
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 524 of 533




                                                                                D-CNL000949
                                                                          Appx. 02755
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 525 of 533




                                                                                D-CNL000950
                                                                          Appx. 02756
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 526 of 533




                                                                                D-CNL000951
                                                                          Appx. 02757
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 527 of 533




                                                                                D-CNL000952
                                                                          Appx. 02758
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 528 of 533




                                                                                D-CNL000953
                                                                          Appx. 02759
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 529 of 533




                                                                                D-CNL000954
                                                                          Appx. 02760
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 530 of 533




                                                                                D-CNL000955
                                                                          Appx. 02761
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 531 of 533




                                                                                D-CNL000956
                                                                          Appx. 02762
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 532 of 533




                                                                                D-CNL000957
                                                                          Appx. 02763
Case 21-03007-sgj Doc 127-3 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 533 of 533




                                                                                D-CNL000958
                                                                          Appx. 02764
